                                              EXHIBIT 2

              Water                  Water
Auto         Damaged      Auto      Damaged
 No.          Parts        No.       Parts
- - - - -   -----------   - - - - - -----------
A0201          965.00     A0404     1,875.00
Y0104        1,299.18     A0408     2,130.00
A0706        4,042.00     Y0505        640.00
A0102        1,627.00     A0518        690.00
Z1103        1,415.00     Z0411     1,195.00
A0509        2,507.00     A0510     1,224.00
ZlOOl        3,329.00     Y0304        870.00
Y1206        1,346.18     Al006     1,132.00
A0602          663.00     A0803     2,370.00
A0311        2,019.00     X0304        880.00
A0811        2,557.00     20513     1,450.00
A0518          690.00     20516     4,062.00
C0806        3,702.00     A0413     2,043.00
W0316          480.00     B0107     2,881.00
Y0803          300.00     A0702     3,564.00
N243           405.00     A0504     1,548.00
Z1010        2,841.00     A0503     2,673.00
Y0308        2,015.00     A0402     1,726.50
A0802        3,640.00     A1202     2,095.00
A0405        3,194.00     20806     2,580.00
A0512        4,815.00     20406     3,180.00
W0109        1,495.98     A0107     1,630.00
A0601          975.00     C1002     2,385.50
Z0312        2,066.18     A0611     1,725.00
A0313        3,767.00     B0705       797.00
A0403        2,024.00     AOlll     1,706.50
21006          714.00     A0315     1,048.00
A0804        1,238.50     B0702     2,494.00
A0902        2,195.00     B0503       700.00
A0105        1,765.00     B0303     1,303.00
C0705        2,303.00     20808     1,610.00
Z0705        2,090.00     B0104       542.00
A0604        1,668.00     A0106     1,484.00
Z0701        2,729.00     A0410     2,546.00
B0106        1,936.00     A0907     1,263.50
U0906        1,550.38     X1102     1,216.18
C0302        2,604.00     W0611       285.00
Z1209        2,328.00     A1002       822.00
B0105        1,654.00     20903     2,782.00
Z0903          485.00     A0303       863.00
X0302          948.00     20911     1,099.00
A0505        5,095.00     20306     2,049.00
B1001        2,727.00     C0804     2,533.50
X1107          130.00     A0606     1,737.00
                                  -----------
                                  163,769.08
                                  -----------
                                  STOCK NUMBER ANALYSIS
                                       STOCK # C0804
                                         Yard: 389


                   Part   Model       Year         Location                     DateEntered                  Retail Price
      INVENTORY:
                   ASH    COROLL       2008       RFS3                           08/19/2015                         19.00
                   ASH    COROLL       2008       RFS3                           08/19/2015                         20.00
                   BAX    COROLL       2008       RFS3                           08/19/2015                        125.00
                   BMT    COROLL       2008       RFS3                           08/19/2015                         25.00
                                       2800       ;1104411:'. I                  60/ ISi'!'fl 16                    2&.08'         =
                   CAL
                   CAL
                          COROLL
                          COROLL       2008       Q194e-~                       •~ii!11HiM;;!Q ~ Iii                !!!fii.!.Q€l
                                                                                                                    35.00
                                                                                                                                    ...
                   CBX    COROLL       2008       RFS3                           08/19/2015
                   CSX    COROLL       2008       RFS3                           08/19/2015                         35.00
                   COi    COROLL       2008       RFS3                           08/19/2015                         19.00
                   COi    COROLL       2008       RFS3                           08/19/2015                         19.00
                   COi    COROLL       2008       RFS3                           08/19/2015                         19.00
                   COi    COROLL       2008       RFS3                           08/19/2015                         19.00
                                                                                 08/19/2015                         50.00
                   COL
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                   CON
                          COROLL
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                          COROLL
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                   csw    COROLL       2008       RFS3                           08/19/2015                         24.00
                   csw    COROLL       2008       RFS3                           08/19/2015                         24.00
                   DLG    COROLL       2008       RFS3                           08/19/2015                        125.00
                   DWM    COROLL       2008       RFS3                           08/19/2015                         19.00
                   DWM    COROLL       2008       RFS3                           08/19/2015                         19.00
                                       20Q,i'                                    ~f1~~                 ow:    :a:zz.~
                   EBX    COROLL                  f½lilai'"J
                   EFB    COROLL       2008       RFS3                           08/19/2015                         75.00
                   EMA    COROLL       20
                   ENV    COROLL       2008       RFS3                           08/19/2015                         45.00
                   FBR    COROLL       2008       RFS3                           06/15/2016                        125.00
                   FCN    COROLL       2008       RFS3                           08/19/2015                         25.00
                   FDR    COROLL       2008       RFS3                           08/19/2015                        125.00
                   FDR    COROLL       2008       RFS3                           08/19/2015                         50.00
                   FDW    COROLL       2008       RFS3                           08/19/2015                         35.00
                   FLS    COROLL       2008       RFS3                           08/19/2015                         45.00
                   FLY    COROLL       2008       RFS3                           08/19/2015                         20.00
                   FNR    COROLL       2008       RFS3                           06/15/2016                        100.00
                   FPM    COROLL       2008       RFS3                           08/19/2015                         60.00
                   FST    COROLL       2008       RFS3                           08/19/2015                         40.00
                   FST    COROLL       2008       RFS3                           08/19/2015                         40.00
                   FTK    COROLL       2008       RFS3                           08/19/2015                         60.00
                   GLB    COROLL       2008       RFS3                           08/19/2015                         40.00
                   GPO    COROLL       2008       RFS3                           08/19/2015                         25.00
                   HAC    COROLL       2008       RFS3                           08/19/2015                         22.50
                   HLP    COROLL       2008       RFS3                           08/19/2015                         35.00
                   LCF    COROLL       2008       RFS3                           08/19/2015                         25.00
                   NOS    COROLL       2008       RFS3                           08/19/2015                        250.00
                   ODH    COROLL       2008       RFS3                           09/16/2015                         25.00
                   ODH    COROLL       2008       RFS3                           09/16/2015                         25.00
                   PBR    COROLL       2008       RFS3                           08/19/2015                         30.00
                   PSR    COROLL       2008       RFS3                           08/19/2015                         30.00
                   RBR    COROLL       2008       RFS3                           08/19/2015                        125.00
                   RDO    COROLL       2008       RFS3                           08/19/2015                         35.00
                   RDR    COROLL       2008       RFS3                           08/19/2015                        150.00
                   RSP    COROLL       2008       RFS3                           08/19/2015                        100.00

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                   SPM    COROLL       2888       A~RS                                                              2~00
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                   SPN    COROLL       2.QQ!il · ···,.li@,44'~•                                                     ~.00
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                   THB    COROLL       200~       Mlff'm!'                                             'di


                   TLP    COROLL       2008       RFS3                           08/19/2015                          35.00
Page 2 of 3                                                                                                       Printed on: 7/19/2016 at 12:41: 18PM
Ver:1.04
                         STOCK NUMBER ANALYSIS
                              STOCK # C0804
                                    Yard: 389
              VIS   COROLL   2008     RFS3      08/19/2015
              vuc   COROLL   2008     RFS3      08/19/2015
              WAR   COROLL   2008     RFS3      08/19/2015
              WAR   COROLL   2008     RFS3      08/19/2015
              WMF   COROLL   2008     RFS3      08/19/2015
              WTR   COROLL   2008     RFS3      08/19/2015




Page 3 of 3                                                  Printed on: 7/19/2016 at 12:41:18PM
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TOO lE]   [ 9ZSS ON     nuXJ.]        Sf': OT NOJ~       91/ZZ/SO




                                                  Inventory Damage


                                               water                                     water
                            Aut.o             Damaged                       Auto        Damaged
                             No.                Parts               /        No.              l?arts
                                            -------- . . . . -✓"'                           130.00
                            A020l               965.00 f /                  X1107
                            Y0104              1,299.18 ~                   A.0404        ,875.0   ~
                            A0706             4,042.00 ✓_/'                 A0408        2,    .00 ~
                            ~0102             1,627.00 ~                    Y0505              640,00 ✓..,,,,.,..
                            Zl103             1,415.00 /                    A0518          s 9 o . o a .,,,,,,-,,,,,,,,-
                            AOS09             2,507.00              /       Z0411        1,19 s, oo ~
                            ZlOOl             3,3~9.00 ,,,,_                A0510       1,224.00 - _,,,,,.,,
                            Yl20G             1,34.6.18 ✓/"                 Y0304         a10.oo v /
                            A0602               663.00 V                    A1006       1,13.2.00 ✓~..,,,.
                            A03ll             2,0lS.00 ~                    A0803       2,370.00 . / /
                            A0811             2,557.00 /                    X0304         880.00 ~
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                            A0518
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                                                690.00 ✓
                                               3,702,00
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                                                                V       /
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                           YOB03                  300.00 .,,r               B0107       2,981. DO ~.,,.,,....
                           N243                                             .1\0702      3, ss·4. oo        v./'
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                                                                            A0503
                                                                                        1,548,00v-_,,,,-,
                                                                                        2, 673. 00 V /
   ~                  ( Y0308                  2,015.00             ,.,,-   A0402       1,726.50             ...........-.....--
                        -,;, ~                 3,640,00 v-                  Al202       2 l Q ~.s • 0 0        ~
                            A0405              3,194.00 ~                   Z0805       2,580.00              ~
                            A0512              4,815.00 ✓                   Z0406       3,180.00              :,......-
                            W0109              1,495.98             /       A0107       1, 63.0. 0 0          .:...---::
                            A0601                  975.00v.-                C1002       2,385.50              ~
                            Z0312              2,066.lB
                                               3 1 767.00 V
                                                                0           AOSll
                                                                            :S0705
                                                                                        'I,125.00 - _,,.,.
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                            A0313
                                               2,024.00 ~                   A0111        1,706.50 ,,,,,.,..-
                            A0403
                            Z1006
                            A0804
                                                 714.00 V
                                               1,238;50         V-:::..
                                                                            A0315
                                                                            B0702
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                            A0902
                            AOlOS
                            C0705              2,303.oov
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                                                                                        1,303,00
                                                                                        1,1510.00             v_,..,
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                                                                                                              v.,,,,.,,..-
                            Z0705              2,090.00 ~                   B0104              542.00 ....,.-
                            A0~04              1,668.00        ~            A0106       1,484.00 ~
                            Z0701              2 / 729, 00 - ,,,,.,..       A0410       2,5~6.00 ✓
                            l:30106            1,936.00 ""./                AOS!O?      1,263,50 - ../
                            U0906              1,550.38~                    Xl102       1,216.. 18 ~ /
                            C0302              2,604.00 -,,,,,,.-           W06:tl             28:5,   co V _.......-
                            Zl209              2,32B.OO v" ../              A.1002             s22. oo         ~
                            80105             1, Ei54   ._oo ~.,....        Z0903       2 / 78'.2 • 00 i,//"
                            Z0:103                4 8 5 . ,0 0 V"_,..,      A03D3         863, 00 V'
                            X:0302               94B. 00 i//                Z09l.l      1,os~.00 ,./"
                            A0505              5,095.oo ✓                   Z0306       2,049.00 ✓~
                            B:1001             2,727.00         v           C0S04
                                                                            A0606
                                                                                        2,533.50
                                                                                        1,73,7.00
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   LOCI/LOCI' cl
                                  STOCK NUMBER ANALYSIS
                                       STOCK # Y0308
                                         Yard: 389


                   Part   Model       Year     Location   DateE'ntered      Retail Price
      INVENTORY:
                   ABK    DIAMAN       2002   RAS4         03/25/2011           25.00
                   ASH    DIAMAN       2002   RAS4         03/25/2011           25.00
                   ASH    DIAMAN       2002   RAS4         03/25/2011           25.00
                   BAG    DIAMAN       2002   RAS4         03/25/2011           35.00
                   BAG    DIAMAN       2002   RAS4         03/25/2011           35.00
                   BBR    DIAMAN       2002   RAS4         07/21/2012           75.00
                   BWN    DIAMAN       2002   RAS4         03/25/2011           55.00
                   CBX    DIAMAN       2002   RAS4         03/25/2011           50.00
                   CON    DIAMAN       2002   RAS4         03/25/2011           60.00
                   CRB    DIAMAN       2002   RAS4         03!:?5/2011          35.00
                   csw    DIAMAN       2002   RAS4         03/25/2011           35.00
                   DMR    DIAMAN       2002   RAS4         03/25/2011           35.00
                   FDR    DIAMAN       2002   RAS4         03/25/2011          100.00
                   FDW    DIAMAN       2002   RAS4         04/02/2015           45.00
                   FEN
                   FNL
                          DIAMAN
                          DIAMAN
                                       2002
                                       2002
                                              RAS4
                                              4'fXlH
                                                           03/25/2011
                                                           liiO:'@Q1£0 11      ,~
                                                                                65.00

                                                                               100.00
                   FNR    DIAMAN       2002   RAS4         06/06/2011
                   IDH    DIAMAN       2002   ~ee;         63)£6)£615           Mi¥N5
                   KNE    DIAMAN       2002   RAS4         03/25/2011          100.00
                   KNE    DIAMAN       2002   RAS4         03/25/2011          100.00
                   QTR    DIAMAN       2002   RAS4         03/25/2011          175.00
                   RDR    DIAMAN       2002   RAS4         03/25/2011           50.00
                   RDR    DIAMAN       2002   RAS4         03/25/2011           50.00
                   ROW    DIAMAN       2002   Y0308        02/03/2016           35.00
                   RGL    DIAMAN       2002   RAS4         03/2p/2011           35.00
                   RSA    DIAMAN       2002   RAS4         03/25/2011          100.00
                   RSP    DIAMAN       2002   RAS4         03/25/2011          100.00
                   STT    DIAMAN       2002   RAS4         03/27/2012           75.00
                   TLP    DIAMAN       2002   RAS4         03/25/2011           75.00
                   TLP    DIAMAN       2002   RAS4         03/25/2011           75.00
                   UCM    DIAMAN       2002   RAS4         03/25/2011           65.00
                   UCM    DIAMAN       2002   RAS4         03/25/2011           40.00
                   vuc    DIAMAN       2002   RAS4         03/25/2011            0.00
                   WMF    DIAMAN       2002   RAS4         03/25/2011           40.00
                                                                            ~~




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Page 2 of 2
                                                                              Printed on: 7/19/2016   at 11:43:19AM
Ver:1.04
Mailing Address
 STAN RAULS
 10201 W. MARKHAM
 SUITE 327

    City: LITTLE ROCK                       City:
 ST/Prov: AR      Zip: 72205             ST/Prov:        Zip:
 country:                                country:
 contact:                                contact:
Alpha Sort: RAULS                          Phone:
                                        ship via:
                                        comments:
                                        Partial shipment: No Email Stmts:
                                                   class: car Rebuilder
                                        Internal Account:
Email:
 web:
      IM:
(!) Account history, (S)ystem defaults,
(F)ile, (E)dit, (A)ccounting, (AC)count number, (D)elete, (N)otes, (Q)uit:   ■
                 Inventory Damage



               Water                                Water
Auto          Damaged               Auto           Damaged
 No.           Parts                 No.            Parts
--   - - -   -----------            -   ---   -   -----------
A0201           965.00              X1107            130.00
Y0104         1,299.18              A0404          1,875.00
A0706         4,042.00              A0408          2,130.00
A0102         1,627.00              Y0505            640.00
Z1103         1,415.00              A0518            690.00
A0509         2,507.00              Z0411          1,195.00
Zl00l         3,329.00              A0510          1,224.00
Yl206         1,346.18              Y0304            870.00
A0602           663.00              A1006          1,132.00
A0311         2,019.00              A0803          2,370.00
A0811         2,557.00              X0304            880.00
A0518           690.00              Z0513          1,450.00
C0806         3,702.00              Z0516          4,062.00
W0316           480.00              A0413          2,043.00
Y0803           300.00              B0107          2,881.00
N243            405.00              A0702          3,564.00
ZlOl0         2,841.00              A0504          1,548.00
Y0308         1,915.00              A0503          2,673.00
Y0308         2,015.00              A0402          1,726.50
A0802         3,640.00              A1202          2,095.00
A0405         3,194.00              Z0806          2,580.00
A0512         4,815.00              Z0406          3,180.00
W0109         1,495.98              A0107          1,630.00
A0601           975.00              Cl002          2,385.50
Z0312         2,066.18              A0611          1,725.00
A0313         3,767.00              B0705            797.00
A0403         2,024.00              A0lll          1,706.50
Z1006           714.00              A0315          1,048.00
A0804         1,238.50              B0702          2,494.00
A0902         2,195.00              B0503            700.00
A0105         1,765.00              B0303          1,303.00
C0705         2,303.00              Z0808          1,610.00
Z0705         2,090.00              B0104            542.00
A0604         1,668.00              A0106          1,484.00
Z0701         2,729.00              A0410          2,546.00
B0106         1,936.00              A0907          1,263.50
U0906         1,550.38              X1102          1,216.18
C0302         2,604.00              W0611            285.00
Z1209         2,328.00              A1002            822.00
B0105         1,654.00              Z0903          2,782.00
Z0903           485.00              A0303            863.00
X0302           948.00              Z0911          1,099.00
A0505         5,095.00              Z0306          2,049.00
B1001         2,727.00              C0804          2,533.50
                                    A0606          1,737.00
                                                  -----------
                                                  165,684.08
                                                  -----------
                                        STOCK NUMBER ANALYSIS
                                             STOCK# A0201
                                                    Yard: 389

                        Part    Model       Year       Account                     Credit Date   Credit Amt
             CREDITS:
                        FDR    CIVIC         2006      CLR5020                      12/28/2013        -60.00
                        RSA    CIVIC         2006      7814109                      9/25/2014        -140.00
                                                                                                   -$200.00

                                                                                  Net Sal.es:     $6,074.00



                        Part   Model                       Location                DateEntered   Retail Price
        INVENTORY:
                        AFM    CIVIC        2006                                    02/12/2013                  <)0
                        BMT    CIVIC        2006       RAS3 __,-                    02/12/2013        25.00 ·-
                        CAN    CIVIC        2006                                    02/12/2013            •     1·1


                        CFB    CIVIC        2006                                    12/13/2013
                        COi    CIVIC        2006                                    04/12/2013
                        COi    CIVIC        2006                                    04/12/2013                ,.11- I


                        COi    CIVIC        2006                                    04/12/2013
                        COi    CIVIC        2006      ·MR1i::C::'"'                 04/12/2013                    )   ,


                        COL    CIVIC        2006       KAS3 ,,,.~                   02/12/2013       125.00
                        CRU    CIVIC        2006       RAS3 ~···                    04/22/2013        35.00
                        csw    CIVIC        2006       COL                          02/12/2013        25.00
                        csw    CIVIC        2006       COL                          02/12/2013        25.00 -·-
                        DLA    CIVIC        2006       RAS3 _,,,.,,                 03/05/2013        50.00
                        DSF    CIVIC        2006                                    1012v2014
                        FOL    CIVIC        2006       RAS3 /                       02/12/2013        35.00 ,,,
                        FDW    CIVIC        2006       RAS3·/                       04/22/2013        65.00 ....
                        FLS    CIVIC        2006       RAS3,,,,                     02/12/2013        35.00 -·
                        FNL    CIVIC        2006       RAS3 /                       04/22/2013       100.00
                        FPM    CIVIC        2006                     I              02/12/2013
                        FST    CIVIC        2006                                    02/12/2013
                        FST    CIVIC        2006                                    02/12/2013
                        GLB    CIVIC        2006       RAS3 -·-                     02/12/2013        50.00 ....
                                                       RAS3 _,,.                                      25.00 ., ..
                        GPO
                        GRL
                               CIVIC
                               CIVIC
                                            2006
                                            2006
                                                                                    02/12/2013
                                                                                    04/04/2016
                                                                                                      .
                        HLP    CIVIC        2006       \   --- ....., ,             04/14/2014
                        HOD    CIVIC        2006       RAS3        --               03/05/2013        50.00
                        HTC    CIVIC        2006       RAS3        ·-'              04/22/2013        45.00
                        MIR    CIVIC        2006       RAS3        ,_..             04/22/2013        15.00
                        OOH    CIVIC        2006       RAS3        -··              03/05/2013        30.00
                        PBR    CIVIC        2006       RAS3        --               04/22/2013        75.00
                        SDO    CIVIC        2006                                    02/12/2013
                        SDO    CIVIC        2006                                    02/12/2013        25.00
                        THB    CIVIC        2006                                    02/12/2013
                        vuc    CIVIC        2006       RAS3                         02/12/2013            0 00
                        WHC    CIVIC        2006                                    04/11/2013
                        WMF    CIVIC        2006       RAS3                         02/12/2013        30.00 -
                        WNO    CIVIC        2006       RAS3,,,.-·                   04/22/2013        55.00 ·
                        WNO    CIVIC        2006       RAS3 ,,,.,,..                04/22/2013        45.00 .,-
                                                                                                 ,-$1,666;50·--




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Page 2 of 2                                                                                         Printed on: 7/12/2016 at 4:33:37PM
 '<ir:1.04
                                  STOCK NUMBER ANALYSIS
                                       STOCK# Y0104
                                              Yard: 389


                   Part   Model       Year       location   DateEntered    Retail Price
      INVENTORY:
                   ACL    ACCENT       2005      RAS3       02/17/2011             20.00
                   AFM    ACCENT       2005      RAS3       01/07/2011             35.00
                   ASH    ACCENT       2005      RAS3       02/17/2011             20.00
                   BAG    ACCENT       2005      RAS3       01/07/2011             50.00
                   BAG    ACCENT       2005      RAS3       01/07/2011             50.00
                   BWN    ACCENT       2005                 01/07/2011
                   COi    ACCENT       2005                 02/17/2011             ,:.;J,UU

                   CRB    ACCENT       2005      RAS3       02/17/2011             25.00
                   csw ACCENT          2005      RAS3       01/07/2011             35.00
                   ECM    ACCENT       2005      RAS3       02/1,7/2011            30.00
                   ECM    ACCENT       2005      RAS3       02/1.7/2011            25.00
                   FRG    ACCENT       2005      RAS3       01/07/2011             30.00
                   FST    ACCENT       2005      RAS3       02/17/2011             85.00
                   FST    ACCENT       2005      RAS3       02/17/2011             85.00
                   FTK    ACCENT       2005      RAS3       11/22/2013             50.00
                   LCF    ACCENT       2005      RAS3       01/07/2011             25.00
                   LCR    ACCENT       2005      RAS3       04/04/2013             25.00
                   LCR    ACCENT       2005      RAS3       04/04/2013             25.00
                   PBR    ACCENT       2005      RAS3       02/17/2011             30.00
                   PLR    ACCENT       2005      RAS3       02/17/2011            100.00
                   RDR    ACCENT       2005      RAS3       01/07/2011             50.00
                   RDW    ACCENT       2005      RAS3       01/07/2011             25.00
                   RRG    ACCENT       2005      RAS3       01/07/2011             35.00
                   RSA    ACCENT       2005      RAS3       01/07/2011             50.00
                   SDO    ACCENT       2005      RAS3       01/67/2011             ?5.00
                   SPM    ACCENT       2005                 01/07/2011
                   SPN    ACCENT       2005                 01/07/2011
                   STB    ACCENT       2005      RAS3       02/17/2011             25.00
                   STG    ACCENT       2005      RAS~       01/07/2011             ?5.00
                   STR    ACCENT       2005                 01/07/2011
                   STT    ACCENT       2005      RAS3       01/07/2011             35.59
                   STT    ACCENT       2005      RAS3       01/07/2011             35.59
                   STT    ACCENT       2005      RAS3       04/04/2013             35.59
                   UCM    ACCENT       2005      RAS3       01/07/2011             45.00
                   VIS    ACCENT       2005      RAS3       01/07/2011             35.00
                   VIS    ACCENT       2005      RAS3       01/07/2011             35.00
                   vuc    ACCENT       2005      RAS3       01/07/2011              0.00 ·
                   WHC    ACCENT       2005      RAS3       01/07/2011             19.00
                   WHC    ACCENT       2005      RAS3       02/17/2011             19.00
                   WMF    ACCENT       2005      RAS3       01/07/2011             25.00
                   WND    ACCENT       2005      RAS3       02/17/2011             35.00
                                                                            $1fl_?,4.7-7-

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                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0706
                                              Yard: 389


                   Part   Model       Year            Location            Date Entered   Retail Price
      INVENTORY:
                   ABK    AUDIA4       2001                               09/26/2013
                   AGL    AUDIA4       2001         RAS::\                09/26/2013         35.00
                                                                          09/26/2013                      )
                   AFM    AUDIA4       2001
                   ASH    AUDIA4       2001         RAS3                  09/26/2013         30.00
                   ASH    AUDIA4       2001         RAS3                  09/26/2013         30.00
                   BAG    AUDIA4       2001         RAS3                  09/26/2013         19.00
                   BAG    AUDIA4       2001         RAS3                  09/26/2013         25.00
                   BMT    AUDIA4       2001         RAS3                  09/26/2013         35.00
                   BWN    AUDIA4       2001         RAS3                  09/26/2013         50.00
                                                                                              ..-
                   CAL    AUDIA4       2001                               09/26/2013
                   CAL    AUDIA4       2001            .. ...,vv.;;J      09/26/2013
                   CBX    AUDIA4       2001         RAS3                  09/26/2013         20.00
                   CBX    AUDIA4       2001                               09/.26/2013
                   CBX    AUDIA4       2001                      ..A      11/11/2013         -:.:!:}   ,11,


                   COi    AUDIA4       2001                               09/.26/2013
                   COi    AUDIA4       2001     ·- ,.....,"\ "\.._•s:::   09/26/2013
                   COi    AUDIA4       2001                               09/26/2013
                          AUDIA4       2001
                                                   ,-\·
                                                            __ ...,       09/26/2013         10.00
                   COi
                   COL    AUDIA4       2001         RAS3                  09/26/2013         40.00
                   COM    AUDIA4       2001                               09/26/2013
                   csw    AUDIA4       2001        RAS3                   09/26/2013         25.00
                   csw    AUDIA4       2001        RAS3                   09/26/2013         25.00
                   DMR    AUDIA4       2001        RAS3                   09/26/2013         35.00
                   DMR    AUDIA4       2001        RAS3                   09/26/2013         35.00
                   DSF    AUDIA4       2001        RAS3                   09/26/2013         25.00
                   ECM    AUDIA4       2001        RAS3                   04/08/2016         35.00
                   EMA    AUDIA4       2001        RAS3                   09/26/2013         50.00
                   FDR    AUDIA4       2001        RAS3                   09/26/2013        100.00
                   FDR    AUDIA4       2001        RAS3                   09/26/2013         99.00
                   FEN    AUDIA4       2001        RAS3                   09/26/2013         45.00
                   FLS    AUDIA4       2001        RAS3                   09/26/2013         45.00
                   FPM    AUDIA4       2001        RAS3                   09/~6/2013         65.00
                   FRG    AUDIA4       2001        RAS3                   09/26/2013         75.00
                   FSB    AUDIA4       2001        RAS3                   09/26/2013         30.00
                   FSB    AUDIA4       2001        RAS3                   09/26/2013         30.00
                   FST    AUDIA4       2001        RAS3                   09/26/2013        5'0.00
                   FST    AUDIA4       2001        RAS3                   09/26/2013        50.00
                   FTK    AUDIA4       2001        RAS3                   09/26/2013        100.00
                   GPO    AUDIA4       2001        RAS3                   09/26/2013         35.00
                   GRL    AUDIA4       2001        BR5S1                  09/26/2013         45.00
                   HAG    AUDIA4       2001        RAS3                   09/26/2013         35.00
                   HLP    AUDIA4       2001                               09/26/2013
                   HLP
                   HOD
                          AUDIA4
                          AUDIA4
                                       2001
                                       2001        RAS3
                                                       --   -----         09/26/2013
                                                                          09/26/2013         95.00
                   HUB    AUDIA4       2001        RAS3                   09/26/2013         30.00
                   HUB    AUDIA4       2001        RAS3                   09/26/2013         30.00
                   ITC    AUDIA4       2001                               10/02/2013
                   LCF    AUDIA4       2001        RAS3                   09/26/2013         25.00
                   LCF    AUDIA4       2001        RAS3                   09/26/2013         25.00
                   LCF    AUDIA4       2001        RAS3                   09/26/2013         25.00
                   LCF    AUDIA4       2001        RAS3                   09/26/2013         25.00
                   LID    AUDIA4       2001        RAS3                   09/26/2013        100.00
                   NOS    AUDIA4       2001        RAS3                   09/26/2013        750.00
                   OTR    AUDIA4       2001        RAS3                   09/26/2013        125.00
                   OTR    AUDIA4       2001        RAS3                   09/26/2013        125.00
                   OWN    AUDIA4       2001        RAS3                   09/26/2013         40.00
                   OWN    AUDIA4       2001        RAS3                   09/26/2013         40.00
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                         STOCK NUMBER ANALYSIS
                              STOCK # A0706
                                Yard: 389
              RAD   AUDIA4    2001   RAS3     09/26/2013                      35.00
              RBR   AUDIA4    2001   RAS3     09/26/2013                      75.00
              RDR   AUDIA4    2001   RAS3     09/29/2013                     100.00
              RDR   AUDIA4    2001   RAS3     09/26/2013                     100.00
              RGL   AUDIA4    2001   RAS3     09/26/2013                      35.00
              RRG   AUDIA4    2001   RAS3     09/26/2013                      75.00
              RSP   AUDIA4    2001   RAS3     09/26/2013                     100.00
              SDO   AUDIA4    2001   RAS'.i   09/26/2013                      35.00
              8PM   AUDIA4    2001            09/26/2013
              SPN   AUDIA4    2001   RAS3     09/26/2013                           30.00
              SPN   AUDIA4    2001   RAS3     09/26/2013                           30.00
              8TB   AUDIA4    2001   A0706    10/02/2013                           50.00
              STB   AUDIA4    2001   A0706    10/02/2013                           50.00
              STG   AUDIA4    2001   RAS3     09/26/2013                           50.00
              STT   AUDIA4    2001   RAS3     09/26/2013                           35.00
              STT   AUDIA4    2001   RAS'.i   09/26/2013                           35.00
              THB   AUDIA4    2001            09/26/2013
              TLP   AUDIA4    2001   RAS3     09/26/2013                          25.00
              TLP   AUDIA4    2001   RAS3     09/26/2013                          25.00
              TRB   AUDIA4    2001   A0706    10/02/2013                          75.00
              UCF   AUDIA4    2001   RAS3     09/26/2013                          25.00
              UCF   AUDIA4    2001   RAS3     09/26/2013                          25.00
              UCF   AUDIA4    2001   RAS3     09/26/2013                          25.00
              UCF   AUDIA4    2001   RAS3     09/26/2013                          25.00
              UCM   AUDIA4    2001   RAS3     09/26/2013                          74.00
              UCM   AUDIA4    2001   RAS3     09/26/2013                          40.00
              VAC   AUDIA4    2001   RAS3     09/26/2013                          35.00
              vuc   AUDIA4    2001   RAS3     09/26/2013                           0.00
              WMF   AUDIA4    2001   RAS3     09/26/2013                          25.00
              WWB   AUDIA4    2001   RAS3     09/26/2013                          45.00      ·""
                                                                 $4,4i6.-00--,,..·                   /·
                                                                  .,.,. . . ,. . . .               c1,,·
                                                           .,,.---~                    Ll0'-\'2,




Page 3 of 3                                                            Printed on: 7/19/2016 at 10:56:32AM
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                                  STOCK NUMBER ANALYSl,S
                                       STOCK# A0102
                                              Yard: 389


                   Part   Model       Year       Location            Date Entered   Retail Price
      INVENTORY:
                   ABK    SONATA       2011                          01/09/2013
                   ACH    SONATA       2011             -   -----~   01/18/2013
                   ACL    SONATA       2011                          01/09/2013
                   ANT    SONATA       2011      RAS3                01/09/2013          35.00
                   BMT    SONATA       2011      RAS3                01/09/2013          25.00
                   CBX    SONATA       2011      RAS3                01/15/2013          35.00
                   CLI    SONATA       2011      RAS3                01/09/2013         125.00
                   CLK    SONATA       2011                          01/23/2013
                   COi    SONATA       2011                          01/09/2013
                   COi    SONATA       2011                          01/09/2013
                   COi    SONATA       2011                          01/09/2013
                   COi    SONATA       2011                          01/09/2013
                   CRB    SONATA       2011      RAS3                01/15/2013            9.00
                   DSF    SONATA       2011                          01/18/2013
                   DWM    SONATA       2011      RAS3                01/09/2013          45.00
                   DWM    SONATA       2011                          01/18/2013
                   ENV    SONATA       2011                          01/15/2013                  I\,;

                   EXH    SONATA       2011                          01/18/2013
                   EXP    SONATA       2011                          10/13/2015
                   FCN    SONATA       2011      RAS3                01/18/2013          30.00
                   FDL    SONATA       2011                          01/18/2013
                   FLS    SONATA       2011      RAS3                01/09/2013          35.00
                                                                                             -    -
                   FPM    SONATA       2011                          01/17/2013
                   FST    SONATA       2011                          01/09/2013
                   FTK    SONATA       2011      A0102               01/18/2013          65.00
                   FTP    SONATA       2011      A0102               01/18/2013          65.00
                   GPD    SONATA       2011      RAS3                01/09/2013          25.00
                   HAC    SONATA       2011                          01/22/2013
                   HLP    SONATA       2011                          01/09/2013
                   HRT    SONATA       2011      FST                 01/09/2013          40.00
                   HRT    SONATA       2011      RAS3                01/09/2013          40.00
                   HRT    SONATA       2011      RAS3                01/09/2013          40.00
                   HRT    SONATA       2011      RAS3                01/09/2013         100.00
                                                                                             - -
                   MAT    SONATA       2011                          01/09/2013
                   NOS    SONATA       2011      t<AS3               01/09/2013     ~IO O 0.bU-
                   OOH    SONATA       2011      RAS3                11/24/2014          25.00
                   QTR    SONATA       2011      A0102               01/18/2013         199.00
                   QWN    SONATA       2011      RAS3                01/09/2013          50.00
                   ROW    SONATA       2011      RAS3                01/09/2013          35.00
                   RFP    SONATA       2011                          01/23/2013
                   RRG    SONATA       2011      RAS3                01/09/2013          65.00
                   RSA    SONATA       2011      RAS3                01/09/2013         100.00
                   RST    SONATA       2011      A0102               01/18/2013         150.00
                   RTP    SONATA       2011      A0102               01/18/2013          65.00
                   RTP    SONATA       2011      A0102               01/18/2013          65.00
                   SAX    SONATA       2011      A0102               01/18/2013          65.00
                   STG    SONATA       2011      RAS3                01/09/2013          35.00
                   STR    SONATA       2011                          01/09/2013
                   TLP    SONATA       2011                          01/09/2013
                   TRB    SONATA       2011                          01/18/2013
                   VIS    SONATA       2011      A0102               01/18/2013        35.00
                   vuc    SONATA       2011      RAS3                01/03/2013         0.00
                   WMF    SONATA       2011      RAS3                01/09/2013        24.00
                                                                                    ~4&9G=-             t VJ'L7


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                                  STOCK NUMBER ANALYSIS
                                       STOCK# 21103
                                              Yard: 389


                   Part   Model       Year        Location                  DateEntered             Retail Price
      INVENTORY:
                   ASH    ECLIPS       2002     -,l\1Hl~O•                  11
                                                                                 I 1,1Hl11!e 1~         !!:HJ&,e
                   ASH    ECLIPS       2002       A'40R?                         11:'16 1@0H!           Qg:,i@ID
                   BAG    ECLIPS       2002      RAS3                            11/15/2012             50.00
                   BAG
                   BMT
                          ECLIPS
                          ECLIPS
                                       2002
                                       2002
                                                """~
                                                 RAS3
                                                                                 11 :'161fO@HJ
                                                                                 11/15/2012
                                                                                 11/15/2012
                                                                                                         3i,.Qiw
                                                                                                        25.00
                                                                                                        50.00
                   CAN    ECLIPS       2002      RAS3
                   CBX    ECLIPS       2002      RAS3                            11/15/2012             40.00
                   CBX    ECLIPS       2002      RAS3                            11/15/2012             25.00
                   CLI    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   COL    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   CRB    ECLIPS       2002      RAS3                            11/1512012             15.00
                   DSF    ECLIPS       2002      RAS3                            11/15/2012             20.00
                   FPM    ECLIPS       2002      I t5£34                         11 '1 §fQfj 10         50-!@@d
                   FST    ECLIPS       2002      RAS3                            11/15/2012             50.00
                   FST    ECLIPS       2002      RAS3                            11/15/2012             50.00
                   FTD    ECLIPS       2002      RAS3                            11/15/2012             25.00
                   FTK    ECLIPS       2002      RAS3                            11/15/2012             45.00
                   FTP    ECLIPS       2002      RAS3                            11/15/2012             50.00
                   FTP    ECLIPS       2002      RAS3                            11/15/2012             50.00
                   GLB    ECLIPS       2002      RAS3                            11/15/2012             50.00
                   GPO    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   HAC    ECLIPS       2002     •J-6682                          I 1~191!!!01E          Q(   oo.
                   ICN    ECLIPS       2002      Q;iliHi,i                       I l1lllii!aiiQ~~       ~a.Pn-
                   IWK    ECLIPS       2002      RAS3                            11/15/2012             25.00
                   LCF    ECLIPS       2002      RAS3                            11/15/2012             30.00
                   LCF    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   LID    ECLIPS       2002      RAS3                            11/15/2012             50.00
                   OOH    ECLIPS       2002      RAS3                            11/15/2012             30.00
                   PSR    ECLIPS       2002      RAS3                            11/15/2012             20.00
                   OWN    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   OWN    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   RBR    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   RDO    ECLIPS       2002     "B'Rl#S3                         I il 18/!0 !fl         16.@@9
                   RDO    ECLIPS       2002      RAS3                            11/15/2012            100.00
                   RFP    ECLIPS       2002      RAS3                            11/15/2012             45.00
                   RGL    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   RRS    ECLIPS       2002      RAS3                            11/04/2013            100.00
                   SOO    ECLIPS       2002      A~!                             1111011!01!.           23. Oel"
                   SPN    ECLIPS       2002     ~(iiq(~ii!                       ~~ ~li,;;!Q~;;!        ri!e.@e-
                   SPN    ECLIPS       2002      -'la1..1olll~i!                 ~~ '~i,.Q~.J           2~.e~
                   STG    ECLIPS       2002      Ai,il,ii!li.;l                  ~~,,~1!~!!94~          ~~-~fj
                   STT    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   TLP    ECLIPS       2002      RAS3                            11/15/2012             25.00
                   TRA    ECLIPS       2002      re,~              -   WY
                                                                                 ◄:11+1 i,2;© 12     --l~
                   UCM    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   VIS    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   VIS    ECLIPS       2002      RAS3                            11/15/2012             35.00
                   vuc    ECLIPS       2002      RAS3                            11/14/2012
                                                                                     '.
                                                                                                         0.00
                   WMF    ECLIPS       2002      RAS3                            11/15/2012             25.00
                                                                                                    ~               iv! \b




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                                  ~ I Ut;K NUMBER                 ANALYSIS
                                         STOCK # A0509
                                                  Yard: 389

                   Part   Model        Year          Location         DateEntered              Retail Price
      INVENTORY:
                   ACL    ION           2006        RA83               09/05/2013                  25.00
                   AFM    ION           2006        RA83               05/17/2013                  30.00
                   ALT    ION          ~0           h086Jiil6          95'1?iPM-3                  36.@i
                   ASH    ION           2006        RA83               05/17/2013                  25.00
                   BAG    ION           2006        RA83               05/17/2013                  35.00
                   BMT    ION           2006        RA83               05/17/2013                  35.00
                   BWN    ION           2006        RA83               05/17/2013                  50.00
                   CAL    ION          .-Qfslfi     Nlill!i!~          @IJ 81l~Jjil1IH I (IJ       ii!i 9@1'
                   CSX    ION           -"132       ; tR0£80           95(17'.filfM(IJ             :i!'ii'.W
                   CSX    ION           2006         RA83              05/17/2013                  30.00
                   CBX    ION           2006         RAS3              09/05/2013                 100.00
                   COi    ION           2006          RAS3             09/05/2013                  35.00




                                       -
                   COL    ION          ll!'@j@o     .; tl1'lf8f        @1£:! I ?:'ii@ 10          HlEiJrO
                   COM
                   csw
                   DPN
                          ION
                          ION
                          ION           2006
                                                    QM;i
                                                    RA83
                                                                      an::::::
                                                                      05/17/2013
                                                                                                   !~:g:::.
                                                                                                   50.00
                   DSF    ION           2006        RAS3              05/17/2013                   10.00
                   DSF    ION           2006        RA83              05/17/2013                   10.00
                   DSF    ION           2006        RAS3              05/17/2013                   25.00
                   ESX    ION           2006        BR3S1             05/17/2013                   45.00
                   ECM    ION           2006        RAS3              09/05/2013                   55.00
                   EFB    ION           2006        RAS3              09/05/2013                  100.00
                   FDR    ION           2006        RAS3              05/17/2013                   94.00
                   FDR    ION          11@@)615"    DR23ikl I         OGfi ,i261S                  IWbtf
                   FLS    ION           2006        RAS3              05/17/2013                   35.00
                   FST    ION           2006        RAS3              05/17/2013                   35.00
                   FST    ION           2006        AST01             05/17/2013                   50.00
                   GLB    ION           2006        RAS3              05/17/2013                   45.00
                   GPO    ION           2006        AR3S1             05/17/2013                   15.00
                   HAG    ION          -2606        7<~85             t,S; I 1120 F5               '25'."0U"
                   HUB    ION           2006        RAS3              05/17/2013                   35.00
                   HUB    ION           2006        RAS3              05/17/2013                   45.00
                   JAK    ION           2006        RAS3              05/17/2013                   25.00
                   KNE    ION           2006        RAS3              05/17/2013                   99.00
                   LCF    ION           2006        RAS3              05/17/2013                   25.00
                   LID    ION           2006        RAS3              05/17/2013                   40.00
                   MCY    ION           2006        RAS3              05/17/2013                   30.00
                   MIR    ION           2006        RAS3              05/17/2013                   25.00
                   PSR.   ION           2006        RAS3              05/17/2013                   40.00
                   PLR    ION          2006         RAS3              09/05/2013                  125.00
                   PLR    ION          2006         RAS3              09/05/2013                  125.00
                   QTR    ION           2006        RAS3              05/17/2013                  150.00
                   QTR    ION           2006        RAS3              05/17/2013                  150.00
                   RBR    ION           2006        RAS3              05/17/2013                   40.00
                   RDO    ION           @!,@@6      ~Sa               urn I mrn 10                 45.btl
                   RDR    ION           2006        RAS3              05/17/2013                   94.00
                   RDR    ION           2006        RAS3              05/17/2013                   94.00
                   SDO    ION          ~            --ARO090          95,117;12010                 25ThF
                   SPN    ION           2006        RAS3              05/17/2013                   35.00
                   STG    ION           2006        RAS3              09/05/2013                   35.00
                   STT    ION           2006        RAS3              05/17/2013                   45.00
                   TLP    ION           2006        RAS3              05/17/2013                   23.00
                   TLP    ION           2006        RAS3              05/17/2013                   23.00
                   UCM    ION           2006        RAS3              05/17/2013                  150.00
                   VIS    ION           2006        RAS3              05/17/2013                   25.00
                   vuc     ION          2006        RAS3              05/17/2013                    0.00
                   WMF     ION          2006        RAS3              05/17/2013                   30.00
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                          STOCK NUMBER ANALYSIS
                               STOCK # A0509
                                     Yard: 389
              WND   ION       2006      RAS3     05/17/2013         45.00
              WWB   ION       2006      RAS3     09/05/2013         20.00
                                                               $3~if                @"
                                                              ,./' ,_5'01




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                                  STOCK NUMBER ANALYSIS
                                        STOCK# Z1001
                                                  Yard: 389


                   Part   Model       Year            Location                      Date Entered                       Retail Price
      INVENTORY:
                   AFM    CCLASS       :J011         ,Q1Q99R4                          ,e,11a,1~s ~ ie                      Q6.9@-
                   ASH    CCLASS       :.Q,;t 1      :MORO                         4~~@1,@                                  RP~
                   ASH    CCLASS       2Q:11         Q~ ml fit@!                     viii!■ Iii 'iiUiil ad                  99:r:9,p
                   BAG    CCLASS       2011          RAS3                            10/25/2012                             45.00
                                       2011          RAS1                            08/14/2015                             50.00



                                       ~·
                   BCL    CCLASS
                   BCL    CCLASS       ?0 11         ~0'1~~2                         O!iH~ ;.l~QHi                          50 00,....
                   BMT    CCLASS       2011          RAS3                            10/25/2012                             49.00
                   BTE    CCLASS                    -~                             . 08,IOJQQ15                             iQQQ,,IP
                   BWN    CCLASS       2011          RAS3                            10/25/2012                           100.00
                   CAL    CCLASS       ailll         !tl!@H5!~                       I f!Mi~i1li Iii~ m        IJ ..      - J.6,.Q&'
                   CAL    CCLASS       2911           Q!il ~ liiliii                 I 8i'~t!i!lll!8 I~                     50 QQt
                   CAL    CCLASS       2Qiid         1&1H~1,l!I!                      l@llll'!!5!!"1 I!                   u1~
                   CAL
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                   COi    CCLASS                     BR12S3
                   COi    CCLASS                        2
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                   CON    CCLASS                      Q~se4                           8iii!1~F.J1iiiiii~ iii                Ji,,00
                   DSF    CCLASS                     ,~e!'~ I                         Ili.l!i!!§1lifel 4ii                  Qij,00
                   ECM    CCLASS       "'1.11        ,1188!!!e                        8811@81'ii!®~ a                     22900
                   ENV    CCLASS       2QiU         :bft 8f Iii I                      IM~il'QQ.O                          50 pp---,
                   FCN    CCLASS       2011          RAS3                             08/14/2015                           45.00
                   FDR    CCLASS       2011          RAS3                             10/25/2012                          200.00
                   FDW    CCLASS       2011          RAS3                             10/28/2014                           75.00
                   FNL    CCLASS       2011          RAS1                             08/14/2015                          150.00
                   FNR    CCLASS       2011          RAS3                             10/28/2014                          150.00
                   FPM    CCLASS       2011          RAS3                             10/25/2012                           50.00
                   FPM    CCLASS       2011          RAS3                             10/25/2012                           50.00
                   FST    CCLASS       2011          RAS3                             08/14/2015                          200.00
                   FTK    CCLASS       2011          RAS3                             10/25/2012                          100.00
                   FTP    CCLASS       2011          RAS3                             10/25/2012                           75.00
                   GLB    CCLASS       2011          RAS3                             10/25/2012                           75.00
                   GPO    CCLASS       2011          RAS3                             10/25/2012                          100.00
                   GRL    CCLASS       '.1Qjj        ,9,R31 lii1                      lili:'90/£818                       2W.ffi11
                   HOD    CCLASS       2011          RAS3                             10/05/2015                            65.00
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                   HSH    CCLASS       2011          RAS3                             10/28'/2014                           65.00
                   HSW    CCLASS       ~qq           ,2,R32S1                         1Qf£6)2El 12                          so.oo=
                   IFL    CCLASS       2011          RAS3                             08/14/2015                            50.00
                   JAK    CCLASS       :tu I I       00896S I                         IO!!S/£010                          1i0 00
                   MCY    CCLASS       2011          RAS3                             10/28/2014                            50.00
                   MIP    CCLASS       2011          A30S3                            10/29/2012                            50.00
                   MIR    CCLASS       2011          RAS3                             10/25/2012                            50.00
                   MUF    CCLASS       2@-t I             l~H~ 13 f!!ijii~ liil!
                                                     ~11'11!1!                         1e,2~,~o 1~                        350.00-
                   MUF    CCLASS       ~Qa1          '0 '70GQml512                    11,~ 4/tl019                        256':Urf"
                   OOH    CCLASS       2011          RAS3                             10/28/2014                           25.00
                   PBR    CCLASS       2011          RAS3                             10/10/2012                           50,00
                   PLR    CCLASS       2011          RAS3                             10/28/2014                          200.00
                   RDO    CCLASS       29ill 1       SR13S5                           ;J,CiHt!i11ae 13                      1~
                   RDR    CCLASS       2011          RAS3                             10/25/2012                          200.00
                   RDS    CCLASS       2011          RAS3                             10/25/2012                          225.00
Page 2 of 3                                                                                                              Printed on: 7/19/2016 at 11:36:13AM
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                              STOCK# 21001
                                Yard: 389
              RDW   CCLASS    2011    RAS3         10/25/2012          65.00
              RDW   CCLASS    2011    RAS3         10/28/2014          65.00
              RRG   CCLASS    2011    RAS3         10/25/2012          75.00
              RRG   CCLASS    2011    RAS3         10/28/2014          75.00
              RSA   CCLASS    2011    RAS3         10/10/2012         100.00
              RTP   CCLASS    2011    RAS3         10/25/2012          50.00
              RTP   CCLASS    2011    RAS3         10/28/2014          50.00
              SAX   CCLASS    2011    SEERSA       08/14/2015          75.00
              SDO   CCLASS    2011    ~            ~Q,~i,.Q~m!        ~ ~CJlO..
              STB   CCLASS    2011      RAS3       10/2~/2012          60.00
              STB   CCLASS    2011      RAS3       10/28/2014          50.00
              STG   CCLASS    2011   '"'1'll~~     18,'-IQ,l~Q~       ~-ro.oo
              THB   CCLASS    2011    .,Qii8SOR1   1011 fl:'2012     ·rttu.otl
              TLP   CCLASS    2011    ~Ge el       ~   c,~5,20:12     ~
              TRA   CCLASS    2011    ua~.         HW:l2 ,2 Q.1,2     ;ji;H,i.88-
              VIS   CCLASS    2011    RAS3         10/25/2012           35.00
              vuc   CCLASS    2011    RAS3         10/25/2012             0.00
              WAR   CCLASS    2011    RAS3         10/28/2014           25.00
              WAR   CCLASS    2011    RAS3         10/28/2014           25.00
              WMF   CCLASS    2011    RAS3         10/10/2012           35.00


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              WWB   CCLASS    2011    RAS3         10/28/2014
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                                   STOCK NUMBER ANALYSIS
                                        STOCK# Y1206
                                               Yard: 389


                    Part   Model       Year           Location             Date Entered          Retail Price
       INVENTORY:
                    ACL    ELANTR       2005         RAS3                   12/21/2011                25.00
                    AFM    ELANTR       2005    oa   "1'~0251               12)22,2011                nor.
                    ASH    ELANTR       2005        RAS3                    12/22/2011                25.00
                    ASH    ELANTR       2005       RAS3                     12/22/2011                25.00
                    BAG    ELANTR       2005       ~r0 mu@                  l!M!f,!!811               86.@@ffll9
                    BMT    ELANTR       2005        RAS3                    12/22/2011                20.00


                                                                                                  -~
                    BWN    ELANTR       2005        RAS3                    12/22/2011                55.00
                    COL    ELANTR       2005        RAS3                    12/22/2011                45.00
                    COM    ELANTR       2005      ~iai!iil                  ~ 1Hlia.iH1Hil ~ ~
                    csw    ELANTR       2005        RAS3                    01/19/2012                25.00
                    DPN    ELANTR       2005        RAS3                    12/22/2011                75.00
                    DSF    ELANTR       2005       AR1S1                    12/22/2011                25.00
                    ENV    ELANTR       2005        RAS3                    01/19/2012                25.00
                    EVP    ELANTR       2005        RAS3                    12/22/2011                45.00
                    FPM    ELANTR       2005        RAS3                    12/22/2011                30.00
                    FSB    ELANTR       2005        RAS3                    12/22/2011                25.00
                    FTK    ELANTR       2005        RAS3                    12/22/2011                50.00
                    HAC    ELANTR       2005        RAS3                    12/22/2011                25.00
                    HTC    ELANTR       2005        RAS3                    12/22/2011                45.00
                    IDH    ELANTR       2005     ..:.14£ 0J eYr, iCE        a1,ornl@@ 10             .,Hi 99 &11111
                    IWK    ELANTR       2005        RAS1                   01/19/2012                 35.00
                    OMA    ELANTR       2005     ;:O □ O?i                 {)ii 1@2011!              1~
                                        2005         RAS3                  01/19/2012               100.00
                    PLR
                    PSH
                    QTR
                           ELANTR
                           ELANTR
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                    QTR    ELANTR       2005         RAS3                  12/2272011               150.00
                    RBR    ELANTR       2005         .Pfiil:ftMt!•~t!~-1    12Y22f0811.          ... -.-·§0.00-
                    RDR    ELANTR       2005          RAS3                  12/22/2011              100.00
                    SPN    ELANTR       2005          RAS3                  12/22/2011               35.00
                    STG    ELANTR       2005          RAS3                  12/22/2011               35.00
                    STT    ELANTR       2005          RAS3                  03/08/2016               35.59
                    STT    ELANTR       2005          RAS3                  03/08/2016               35.59
                    THB    ELANTR       2005         -A©82ff.5              12(23(2011              Pl~~

                    UCM    ELANTR       2005          RAS3                  01/19/2012                35.00
                    VIS    ELANTR       2005          RAS3                  12/22/2011                25.00
                    VIS    ELANTR       2005          RAS3                  12/22/2011                25.00
                    vuc    ELANTR       2005          RAS3                  12/22/2011                 0.00
                    WMF    ELANTR       2005          RAS3                  12/22/2011                20.00
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0602
                                         Yard: 389


                   Part   Model       Year      Location    Date Entered                   Retail Price
      INVENTORY:
                   BAL    ALTIMA       2001    A2@~~-        @(ii!~iiH.IQ~iil                    ~




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                   BWN    ALTIMA       2001    RAS3-4        06/10/2013                         45.00
                   CAL    ALTIMA       2001    A!(l}e.~,     @~ 1lliil i11ii! iiln4             atii.iiaP
                   COM    ALTIMA       2001   114!S1~e       @8:f~@.ii!QQ
                   CON    ALTIMA       2001    RAS3-4        06/10/2013                         35.00
                   DMR    ALTIMA       2001    RAS3-4        06/12/2013                         25.00
                   DSF    ALTIMA       2001    RAS3-4        06/10/2013                         35.00
                   ECM    ALTIMA       2001    RAS3-4        06/12/2013                         70.00
                   FEN    ALTIMA       2001    ~1362         1!1J5'f"I @!I!!! I!! I !I!         ~~-
                   HAC    ALTIMA       2001    ,uia .11      liiHill~lil~                        di&leQQ •-
                   HED
                   PAN
                   RAD
                   RDO
                          ALTIMA
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                   RDR    ALTIMA       2001    RAS3-4        06/10/2013                         65.00
                   RDR    ALTIMA       2001    RAS3-4        06/12/2013                         65.00
                   RSA    ALTIMA       2001    RAS3-4        06/12/2013                         65.00
                   RSA    ALTIMA       2001    RAS3-4        06/12/2013                         65.00
                   SAX    ALTIMA       2001    RSA           06/12/2013                         40.00
                   SAX    ALTIMA       2001    RSA           06/12/2013                         40.00
                   STR    ALTIMA       2001   -Hlil I        ee, I!!~811 ~                      ii!ii.~
                   THB    ALTIMA       2001     ~12Q1        I Ii I!/!@! I                      2s on--
                   TLP    ALTIMA       2001     RAS3-4       06/12/2013                         19.00
                   TLP    ALTIMA       2001     RAS3-4       06/12/2013                         19.00
                   VIS    ALTIMA       2001   """A860~       ee,:12t2e1s                        zs.oo =
                   VIS    ALTIMA       2001     RAS3-4      06/12/2013                          25.00
                   vuc    ALTIMA       2001     RAS3-4      06/10/2013                            0.00
                   WNO    ALTIMA       2001     RAS3-4      06/10/2013                          50.00
                                                                                          -$+,1-ri'-;-00-      l:ta 3




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                                       STOCK # A0311
                                         Yard: 389


                   Part   Model       Year    Location            DateEntered       Retail Price
      INVENTORY:
                   ACL    AVALON      2001    RAS4                03/30/2013            45.00
                   AFM    AVALON      2001    RAS4                03/30/2013            25.00
                   ALP    AVALON      2001    RAS4                03/30/2013            35.00
                   ASH    AVALON      2001    RAS4                03/30/2013            25.00
                   BBF    AVALON      2001    RAS4                05/30/2013            35.00
                   BMT    AVALON      2001    RAS4                03/30/2013            20.00
                   BWN    AVALON      2001    RAS4                03/30/2013            40.00
                   CBX    AVALON      2001    RAS4                03/30/2013            35.00
                   CBX    AVALON      2001    RAS4                03/30/2013            25.00
                   CBX    AVALON      2001    RAS4                03/30/2013            40.00
                   COL    AVALON      2001    RAS4                03/30/2013            45.00
                   COM    AVALON      2001   ~6-R:I-              037:301~0 I~          -~.i@@
                   CON    AVALON      2001   .Jl.i391A             so,:ao,2e 10         55.Gtr •
                   CRB    AVALON      2001    RAS4                03/30/2013            20.00
                   csw    AVALON      2001    RAS4                03/30/2013            25.00
                   OPN    AVALON      2001    RAS4                03/30/2013            85.00
                   OSF    AVALON      2001   M@SB                 03)30)2013            45.06
                   OWM    AVALON      2001    RAS4                03/30/2013            45.00
                   ECM    AVALON      2001   .Gmiliill!il!!l1i1   eo,10@,11!@ ~ B       06.~!Y""•
                   ECM    AVALON      2001   Atlil@0@/1           80:'0011£918          85.6£1"
                   FOL    AVALON      2001    RAS4                03/30/2013            50.00
                   FOL    AVALON      2001    RAS4                03/30/2013            50.00
                   FOW    AVALON      2001    RAS4                03/30/2013            35.00
                   FOW    AVALON      2001    RAS4                03/30/2013            35.00
                   FPM    AVALON      2001    RAS4                03/30/2013            35.00
                   FRG    AVALON      2001    RAS4                03/30/2013            45.00
                   FSB    AVALON      2001    RAS4                03/30/2013            20.00
                   FSB    AVALON      2001    RAS4                03/30/2013            35.00
                   FSB    AVALON      2001    RAS4                03/30/2013            20.00
                   FSB    AVALON      2001    RAS4                03/30/2013            35.00
                   FST    AVALON      2001    RAS4                03/30/2013            50.00
                   FST    AVALON      2001    RAS4                03/30/2013            50.00
                   FTK    AVALON      2001    RAS4                03/30/2013            45.00
                   GLB    AVALON      2001    RAS4                03/30/2013            35.00
                   LCF    AVALON      2001    RAS1                03/30/2013            25.00
                   OOH    AVALON      2001    RAS4                03/30/2013            45.00
                   QTR    AVALON      2001    RAS4                03/30/2013           150.00
                   OWN    AVALON      2001    RAS4                03/30/2013            35.00
                   OWN    AVALON      2001    RAS4                03/30/2013            35.00
                   RBR    AVALON      2001    RAS4                03/30/2013            75.00
                   ROL    AVALON      2001    RAS4                03/30/2013            50.00
                   ROL    AVALON      2001    RAS4                03/30/2013            50.00
                   ROW    AVALON      2001    RAS4                03/30/2013            25.00
                   ROW    AVALON      2001    RAS4                03/30/2013            25.00
                   RGL    AVALON      2001    RAS4                03/30/2013            45.00
                   RRG    AVALON      2001    RAS4                03/30/2013            19.00
                   RRG    AVALON      2001    RAS4                03/30/2013            45.00
                   RSP    AVALON      2001    RAS4                03/30/2013           100.00
                   SM     AVALON      2001    RAS4                03/30/2013            50.00
                                      2001    A'R26$3              e5,1 11120 lo
                   SRM
                   STR
                          AVALON
                          AVALON      2001    ~~4AIIJ,             '13~e91'!!Q~ 3       2~
                                                                                        '2 .
                   THB    AVALON      2001    SJ::,D,LL            Q3:'3Dfi2018         35.dtJ   :rre-

                   UCM    AVALON      2001    RAS4                 03/30/2013           45.00
                   VIS    AVALON      2001    RAS4                 03/30/2013           45.00
                   VIS    AVALON      2001    RAS4                 03/30/2013           45.00
                   vuc    AVALON      2001    RAS4                 03/30/2013            0.00
                   WMF    AVALON      2001    RAS4                 03/30/2013           25.00
                                                                                      Printed on: 7/19/2016 at 11:39:04AM
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                   STOCK # A0311
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                                   STOCK NUMBER ANALYSIS
                                         STOCK # A0811
                                           Yard: 389


                   Part   Model        Yea.r         Location           Date Entered          Retail Price
      INVENTORY:
                   ABK    AUDIA4        290?       :AR43S3               89i'1012019                50.00
                   ACL    AUDIA4        2007        RAS4                 12/26/2013                 35.00
                   AFM    AUDIA4       ,.OOZ        ◊94£2                Q9Hii'£0~8                <10.00-
                   ASH    AUDIA4        2007        RAS4                 09/10/2013                 45.00
                   BAG    AUDIA4       ~Q_QJ        ◊ R500 I             ©!!!I l!l:ifH ti           1~
                   BAG    AUDIA4       2007         RAS4                 09/10/2013                 25.00
                   BAG    AUDIA4       aooz        ""~&I                - I2i08)2J-i JiL           !~
                   BAG    AUDIA4       2007         FST                  12/26/2013                 85.00
                   BAG    AUDIA4       2007         FST                  12/26/2013                 85.00
                   BWN    AUDIA4                                                                  '"4~
                   COL    AUDIA4                                                                      .00
                   csw    AUDIA4                                                                    35.
                   csw    AUDIA4
                   csw    AUDIA4
                   DMR    AUDIA4
                   DPN    AUDIA4       2007         RAS4                 09/10/2013
                   DSF    AUDIA4       2007         RAS4                 09/10/2013
                   DSF    AUDIA4       2007         RAS4                 09/10/2013
                   OSF    AUOIA4       2007         RAS4                 09/10/2013
                   OSF    AUOIA4       2007         RAS4                 09/10/2013
                   OWM    AUOIA4       2007         RAS4                 09/10/2013
                   EBX    AUOIA4       2007'       'A'~1988 .    -- . -6~i1ffl~T~                   6"7 .m,n1
                   FCN    AUOIA4       ~            P:~4~              99M. O,'£ 0"1-o              45.bt'.1' 4
                   FDR    AUOIA4       2007         RAS4                 09/03/2013               175.00
                   FDR    AUOIA4       2007         RAS4                 09/10/2013               175.00
                   FPM    AUOIA4       ~66¥          ,a:3295-       7
                                                                         {'J9/fbi2013              86.00        -;;:e

                   FST    AUOIA4       2007       ..,.i.";i;ei           QQ,!~ 01le!Q ~   e       12'5".'tlO
                   FST    AUOIA4       2QOJ         lile;i;~             QQ,~Q,;iQ~~              4!':'.l.Oe'
                   FTP    AUOIA4       2007         RAS4                 09/10/2013                 50.00
                   FTP    AUOIA4       2007         RAS4                 12/26/2013                 35.00
                   GPO    AUOIA4       2007         RAS4                 09/10/2013                 50.00
                   HRT    AUOIA4       2,QQ;;,l     ~as~                 g-i,~o~~Q~e                ,e~
                   HRT    AUDIA4       ?JJDZ        BRRSJ                09? IOJ2013                aa.mr
                   HSW    AUDIA4       2007         RAS4                 09/10/2013                 35.00
                   IWK    AUDIA4       2007         COL                  09/10/2013                 50.00
                   JAK    AUOIA4       2QQ?         13R882               09/ 1012013                45.00-
                   KNE    AUOIA4       2007         RAS4                 09/03/2013                 99.00
                   KNE    AUDIA4       2007         RAS4                 09/10/2013                 99.00       -e
                   LBD    AUDIA4       JQQ:;z       ,~19688              o:m:.;,2012J               ss.rm
                   OOH    AUOIA4       gQQ:;z       !i>R13G3             02,i1a,12O1z1:             35.00
                   PLR    AUDIA4       2007         RAS4                 12/26/2013               125.00
                   QTR    AUDIA4       2007         RAS4                 09/03/2013               175.00
                   QWN    AUOIA4       2007         RAS4                 09/03/2013                45.00
                   RDL    AUOIA4       2007         RAS4                 09/10/2013                35.00
                   ROR    AUDIA4       2007         RAS4                 09/03/2013               150.00
                   ROW    AUOIA4       W@y          0~801                O§i' 1B112013             35.00
                   RGL    AUOIA4       2007         RAS4                 09/10/2013                50.00
                   RMD    AUDIA4       2007         RAS4                 12/26/2013                35.0Q,,,.
                   RRG    AUOIA4       2.QQ7        424~2                42{0912013               100.00
                   RSA    AUOIA4       2007         RAS4                 09/03/2013               125.00
                   RSA    AUOIA4       2007         RAS4                 09/03/2013               125.00
                   RTP    AUOIA4       2007         RAS4                 12/26/2013                35.00
                   SOO    AUOIA4       2007         RAS4                 09/10/2013                45.00
                   SOX    AUOIA4       QQW          OR:14~                1!f!'ef2(:l'tS,W wr =rr-,@@~-@@--1 WI'
                   SRM    AUDIA4       2007         RAS4                 12/26/2013                 35.00
                   STB    AUDIA4       2007         RAS4                 06/16/2014                 45.00
                   SWH    AUOIA4       2007         RAS4                 09/10/2013                 50.00
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                             STOCK NUMBER ANALYSIS
                                  STOCK # A0811
                                    Yard: 389
              THB
              TLP
                    AUDIA4
                    AUDIA4
                                 *?
                                 2007
                                          ,a,9~9~@
                                          RAS4
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                                                              09/03/2013
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                                                                                                 34.00
              TRA   AUDIA4       290?     ~ee                 QQ!rilaH.iHil~ iii               ~ii.Q QQ
              UCM   AUDIA4       2007     RAS4                06/16/2014                        75.00
              VEN   AUDIA4       2007     RAS4                09/10/2013                         15.00
              VEN   AUDIA4       2007     RAS4                09/10/2013                         15.00
              VEN   AUDIA4       2007     RAS4                09/10/2013                        45.00
              VIS   AUDIA4       .aw      Qliilliii           H1 11il1lf!Hilli                  iilii f.ilQlf
              vuc   AUDIA4       2007     RAS4                09/03/2013                          0.00
              WHL   AUDIA4       i?O?     !~lfJ!l!l!!~        iilrili,!~ 8 liilfil 41!1      n. ~Q,,00
              WHL   AUDIA4       &aiiif   1¥'9 '"'"~, ,~      -181.!Mil@                      · l~ee'
              WHL   AUDIA4       006,     I ! l!!le@i!f!~ -   ~el'!e ,~                         ijile,,etr"
              WMF   AUDIA4       2l0f     :r,PNOOG            O®iOS/2013                        25.00 •
              WTR   AUDIA4       2007     RAS4                09/03/2013                        25.00
                                                                                          J4,643.laQ            ~



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Ver:1.04
                                   STOCK NUMBER ANALYSIS
                                           STOCK# A0518
                                             Yard: 389


                    Part   Model        Year                 Location                     Date Entered                  Retail Price
       INVENTORY:
                    BAG    SIENNA        2e0i               ~r:,:3'~'                      e~,'2Ml'l8                             6~
                    BAG    SIENNA       ~                  ,Q,~1!,d!                       @li!j1l@(!!1I@@) ~8                    e~~




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                    BMR    SIENNA
                    BMT    SIENNA        2Qlili             ~~I                            lilHiHill•lilia I .                    i Iii (ii ljiallllU
                    BMT    SIENNA       ~!!),iii
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                    BST    SIENNA                          ,!If~~•@ H                 - -.lri11ililililili!l!i .-                ~eie.ee        11111

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                    CBX
                    CBX
                    CBX
                           SIENNA
                           SIENNA
                           SIENNA
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                                         2007

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                                                           RAS4
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                                                                                           05/29/2013

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                    DCX    SIENNA       .-,ifili          liililiQfil.i                    fil [ij !■i8,N ~ e,.111 H i,~~
                                        eoo;
                                                                                                                    -
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                    DLA    SIENNA                          Al< 16156                 &%£   64.POf,26'1&,.           2
                                                                                                                                  Sbffl'
                    FDL    SIENNA        2i/iMiljj;        !iii!;}         ! !!            11d::a1~Q~ii                           .~i~
                    FDR    SIENNA        200;,c       ~     ~5ell~l6                       ~~~19                                Qff>r:6)@P
                    FPM    SIENNA      .;.QC?·              I tttrf:Y5!1!'~-           -~.IQ~@                                   ~
                    FSB    SIENNA        2007               RAS4                           05/29/2013                             50.00
                    FST    SIENNA       rMJ©I.            - 6 I Acl!f!?m'E!, I             Ofijg'!if)!!l:rn 10          l         @~UQ •
                    FST    SIENNA        299¥              , ~ . ~Q                        ca,2~;H2c~ ;;i                         e~. B@-"""
                    FTK    SIENNA        2007              RAS4                            05/29/2013                            50.00
                    GPO    SIENNA        2007              RAS4                            05/29/2013                           100.00
                    HAC    SIENNA      ~®iii               "'~:!5 I                        @!i11i!91I~@ ~ 8                       i!fii.@@
                    ICN    SIENNA       3997               ;1(2934                         eai2s,12e 15                         ~
                    LRK    SIENNA        2007              RAS4                            05/29/2013                             65.00
                    OMA    SIENNA       _2,99;.            89~,            .   ii"
                                                                                           ee~ ,e,1!:e ,8                         !8".'e&
                    PAS    SIENNA       ~eie;;            -Yl'i~!2·~~                      e,~~e~e ••                           ... i~@@
                    PAS    SIENNA       ~iii!              ~"~~~~                          ~,~~,~                                ~s.eie•
                    PAS    SIENNA     ~3                   ◊ii?.2,2 %3         m          >81 ,'M;@@4'e                          35.!5c'l
                    QTR    SIENNA      2007                RAS4                            09/26/2013                           100.00
                    QTR    SIENNA      2007                RAS4                            09/16/2015                           125.00
                    QWN    SIENNA       d@©f               ARSSS                           ,e,'IM!6 IB                           65.00
                    RDO    SIENNA
                                        ~~-                1Qfil.!ail~li                   Q(ii1lri!Q1,e!Qilo@l                  ee.ee-
                    RDR    SIENNA       ~@ijl              BRH,~                           e)!;ff!5!1!fl ~ 8                    @9®.ae-
                    ROW    SIENNA       2~j:;              Ca~2S.J                         QZml~Q~dl                             .~Q.e
                    RRG
                    RRG
                    RST
                           SIENNA
                           SIENNA
                           SIENNA
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                    SPK    SIENNA       -'i)(ilijil        ,~,Fl!~~                       Q!i1~81 1i!el I~                      ~!;,;,6-
                                                                                                                                      71
                    STR    SIENNA      CL ?QOZ             ◊02285                          96i'2U!fl 13                         24.00
                    VIS    SIENNA       2007               RAS4                           05/29/2013                75.00
                    VIS    SIENNA       2007               RAS4                           05/29/2013                75.00
                    vuc    SIENNA       2007               RAS4                           05/23/2013                 0.00
                                                                                                                    ~


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Page 2 of 2                                                                                                                 Printed on: 7/19/2016 at 11:40:42AM
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # C0806
                                         Yard: 389


                   Part   Model       Year      Location    Date Entered           Retail Price
      INVENTORY:
                   ABK    AMANTI       2005    :A©2"R4       ·OSr l-4'~e+5             20'.'6e'
                   ACH    AMANTI       2005    RAS5           08/14/2015               50.00
                   ACH    AMANTI       2005    RAS5           08/14/2015               50.00
                   ACL    AMANTI       2005    RAS5           08/14/2015               25.00
                   AFM    AMANTI       2005    ~I             @@11 I 1111!!8 ~ i       ~@            •
                   ASH    AMANTI       2005    lcihii™i@     ©iiM 1/Q04 5              QC:OQ
                                                                                       25.00
                                                                                                     •
                   BAG    AMANTI       2005    RAS5          08/14/2015
                   BAG    AMANTI       2005    RAS5          08/14/2015                25.00
                   BAG    AMANTI       2005   _,fill,
                                                 16i!J       Ml--tf.@019               SJ.Ga-'
                   BAG    AMANTI       2005    RAS5          08/14/2015                35.00
                   BAG    AMANTI       2005    RAS5          08/14/2015                35.00
                   BBF    AMANTI       2005    RAS5          08/14/2015                50.00
                   BBR    AMANTI       2005    RAS5          08/14/2015                50.00
                   BMT    AMANTI       2005    RAS5          08/14/2015                35.00
                   CAL    AMANTI       2005   ~i             ii) i,14 ~ 1!i            ~
                   CAL    AMANTI       2005    ~li?,3        H1!1fi4'll!ill~           !Mi. ®@all'
                   CAL    AMANTI       2005    ~             r:,~ffl-·                l!!I~~~

                   CAL    AMANTI       2005   ~~2-          -oa,·1m::.rn 15 -          25'.'0'r:J
                   CBX    AMANTI       2005   ,\Rwi><l       ee, t4i'!t'945-           30!'8&-
                   CBX    AMANTI       2005    RAS5          08/14/2015                35.00
                   CFB    AMANTI       2005    RAS5          08/14/2015                35.00
                   COi    AMANTI       2005    RAS5          08/14/2015                25.00
                   COi    AMANTI       2005    RAS5          08/14/2015                25.00
                   COi    AMANTI       2005    RAS5          08/14/2015                25.00
                   COL    AMANTI       2005    RAS5          08/14/2015                60.00
                   COM    AMANTI       2005   ~•1•~ I        Q@?~,811!!:8 ~ Ei         15'.lj{j""'
                   CON    AMANTI       2005    A.2300:9:.    1Q:fQQle015               35.00' :..
                   CRB    AMANTI       2005    RAS5          08/14/2015                 30.00
                   csw    AMANTI       2005    RAS5          08/14/2015                 35.00
                   DMR    AMANTI       2005    RAS5          08/14/2015                 35.00
                   DMR    AMANTI       2005    RAS5          08/14/2015                 35.00
                   DPN    AMANTI       2005    RAS5          08/14/2015                 50.00
                   DSF    AMANTI       2005    RAS5          08/14/2015                 35.00
                   DSF    AMANTI       2005    RAS5          08/14/2015                 45.00
                   ECM    AMANTI       2005    RAS5          08/14/2015                 35.00
                   ECM    AMANTI       2005    RAS5          08/14/2015                 22.50
                   EFB    AMANTI       2005    RAS5          08/14/2015               100.00
                   FCN    AMANTI       2005    RAS5          08/1.4/2015                40.00
                   FCN    AMANTI       2005    RAS5          08/14/2015                 35.00
                   FDR    AMANTI       2005    RAS5          08/14/2015               175.00
                   FDR    AMANTI       2005    RAS5          08/14/2015                 85.00
                                               RAS5          08/14/2015                 75.00

                                               ~1-
                   FEN    AMANTI       2005
                   FLS    AMANTI       2005    RAS5          08/14/2015                 45.00
                   FLY    AMANTI       2005                  oim~'20J§                  ~i.Q~
                   FNR    AMANTI       2005    RAS5          10/08/2015               100.00            w
                   FPM    AMANTI       2005    ~,~~          O!ilil~ t,.ifil~ ii        ei&.iee
                   FRG    AMANTI       2005    RAS5          08/14/2015               100.00
                   FRL    AMANTI       2005    RAS5          08/14/2015                 50.00
                   FRL    AMANTI       2005    RAS5          08/14/2015                   5.00
                   FSB    AMANTI       2005    RAS5          08/14/2015                 45.00
                   FSB    AMANTI       2005    RAS5          08/14/2015                 45.00
                   FSH    AMANTI       2005    RAS5          08/14/2015                 50.00
                   FST    AMANTI       2005    RAS5          08/14/2015                 50.00
                   FST    AMANTI       2005    RAS5          08/14/2015                 50.00
                   GLB    AMANTI       2005    RAS5          08/14/2015                 40.00
                   GPD    AMANTI       2005    RAS5          08/14/2015                 35.00
                   HAG    AMANTI       2005    A~S 1         Q8(14(?Q,;Le               55.00
Page 2 of 3                                                                          Printed on: 7/19/2016 at 11:41:0BAM
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      _·_!_...,.,   ••
                                        " ' V\.,I'\.   NUIVltsl::K        ANALYSIS
                                                   STOCK # C0806
                                                         Yard: 389
                         HDL   AMANTI             2005      RAS5                                 08/14/2015                              100.00
                         HOD   AMANTI             2005      RAS5                                 08/14/2015                              200.00
                         HRT   AMANTI             2005      RAS5                                 08/14/2015                               50.00
                         HRT   AMANTI             2005      RAS5                                 08/14/2015                               50.00
                         ICN   AMANTI             2005      t(R38~                               68) 14)201!1                                 35.ao    .W!fR4isoma


                         IWK   AMANTI             2005      RAS5                                 08/14/2015                               75.00
                         MIR   AMANTI             2005      RAS5                                 08/14/2015                               35.00
                         oco   AMANTI             2005      RAS5                                 08/14/2015                               35.00
                         PBR   AMANTI             2005      RAS5                                 08/:14/2015                              35.00
                         PLR   AMANTI             2005      RAS5                                 10/02/2015                              100.00
                         PLR   AMANTI             2005      RAS5                                 10/08/2015                              100.00 ..,
                         RDO   AMANTI
                               AMANTI
                                                  2005
                                                  2005
                                                           ""'~~1:'S-~   .!!!!.!!!         ---'l:l~rJ-!f:Jzu,'!:5""' !!1!!11
                                                                                     aL aas::z@.8,lfl:4!':@@,!f'!!IJ .:.
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                         RDO                               ~@.i.£4
                         RDO   AMANTI             2005      RAS5                                08/14/2015                                    35.00
                         RDR   AMANTI             2005      RAS5                                08/14/2015                                    75.00
                         RDR   AMANTI             2005      RAS5                                08/14/2015                                    75.00
                         RMD   AMANTI             2005      RAS5                                10/08/2015                                    35.00
                         RSA   AMANTI             2005      RAS5                                08/14/2015                                    75.00
                         SN<   AMANTI             2005      RAS5                                08/1412015                                    65.00
                         SPM   AMANTI             2005     .,Qi@~ ;_ .                        - ~ei-li!l!l!t'.I lei                           36900
                         SPN   AMANTI             2005     ~                                    OOP'M,'!61 G                                  ~
                         SRM   AMANTI             2005      RAS5                                08/14/2015                                    45.00
                         STB   AMANTI             2005      RAS5                                08/14/2015                                    45.00
                         STG   AMANTI             2005      RAS5                                08/14/2015                                    50.00
                         STT   AMANTI             2005      RAS5                                08/14/2015                                    50.00
                         SWH   AMANTI             2005      RAS5                                08/14i2015                                    35.00
                         TLP   AMANTI             2005      RAS5                                10/08/2015                                    20.00
                         UCF   AMANTI             2005     w&fJ6                                 auo,;20 /6                                   25.W
                         UCM   AMANTI             2005      RAS5                                 08/14/2015                                   60.00
                         VIS   AMANTI             2005      RAS5                                 08/14/2015                                   35.00
                         VIS   AMANTI             2005      RAS5                                 08/14/2015                                   35.00
                         vuc   AMANTI             2005      RAS5                                 08/14/2015                                    0.00
                         WAR   AMANTI             2005      RAS5                                 08/14/2015                                   25.00
                         WAR   AMANTI             2005      RAS5                                 08/14/2015                                   25.00
                         WMF   AMANTI             2005      RAS5                                 08/14/2015                                   35.00
                         WTR   AMANTI             2005      RAS5                                 08/14/2015                                   35.00
                         WWB   AMANTI             2005      RAS5                                 08/14/2015                                   35.00
                                                                                                                               ,...$4,372.60 _.

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Page 3 of 3                                                                                                                           Printed on: 7/19/2016 at 11:41:08AM
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                                        STOCK NUMBER ANALYSIS
                                                 STOCK# W0316
                                                   Yard: 389

                         Part                                  Account              Credit Date            Credit Amt
              CREDITS:
                         NOS                    2000          Walk-In/No Ace         1/11/2010                -200.00
                         PAN                    2000          YOR9722                4/131,2010               -100.00
                         EMA                    2000          YAR5585                4/16/2010                -150.00
                         FST    BMWZ3           2001          3824144                2/11/2011                -300.00
                         VCO    BMWZ3           2001          Walk-In/No Ace         6/9/2011                  -35.00
                         RBR    BMWZ3           2001          6895738                6/9/2011                  -30.00
                                                                                                            -$815.00
                                                                                  Net Sales:               $9,510.00



                         Part   Model          Year            Location             Date Entered          Retail Price
       INVENTORY:
                         CBX    BMWZ3           2001    RAS4                    11/04/2009                  25.00
                         CBX    BMWZ3           2001 --MIS        ·--"~'- "'"''"•®Q;f@#l-1§~8w @-           ~
                         CBX    BMWZ3           2Q.Q1   Mli = +          · 4 : l z f f l l - ' ~ .1..aiQ.00
                         csw
                         csw
                                BMWZ3
                                BMWZ3
                                                2001
                                                20Q1m        ;;4;
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                         csw    BMWZ3           2091 ~p~§4                          · 12, r@~!IBl"•,t..J       ~~- lfila
                         DPN    BMWZ3           20~           , ~ ~ , fR              , jj@l&JU8            AIVNMfl            a;
                         EBX    BMWZ3                         t>tPir!Wl               1¥¥611,!JBS -          &JG?CO        L
                         EMB    BMWZ3           20fJ1         A25S3                  sa4;0112e1e                Bo.oe
                         ENC    BMWZ3          2001         CB18                         12/08/2009          125.00
                         EVP    BMWZ3        @091           AR:4~53                      1118:4,'2009          135.00
                         FCN    BMWZ3        ~..--,.,a~,R:~8'80&S.it-1_ _ __,,1.,1/~&.5~/~2:0!'ffbffl9~--"'l;"'!l5:i".OTr'Jd__
                                                                                                                             _
                         FDW    BMWZ3         2001          RAS4                        01/16/2016             65.00
                         FPM    BMWZ3         2001          RAS4                        11/04/2009             50.00
                         FRG    BMWZ3         2001          RAS4                        11/04/2009            50.00
                         FTK    BMWZ3         2001          RAS4                        11/04/2009             50.00
                         FVW    BMWZ3         2001          RAS4                        11/04/2009            45.00
                         HAG    BMWZ3         .260 I        AR605 I                     04/0112016            45.00
                         HTC    BMWZ3        lQ0 1          8B49S3                      12'1b:1201B           50.00 _
                         HUB    BMWZ3         34901         e>PFIOE                     99/14f2012            75.00
                         MIS    BMWZ3      - 20Q:l          4B49S4                      Q2/91,.ffl"IO
                         SPN    BMWZ3       _299 1          AD55li?3 r              ·· ,.f f,'Q4J2009         26.06'
                         SPN    BMWZ3         aQQ<I -·     ·~t06GR€1 · ···· ·--z ··· ---rr,a,::ty2089 ... 23.0tJ --
                         STT    BMWZ3
                         STT    BMWZ3                                                                           65.00
                         UCM    BMWZ3          2001            RAS4                 11/04/2009                  35.00
                         UCM    BMWZ3          2001            RAS4                 11/04/2009                  35.00
                         VIS    BMWZ3          ~01             A~9•2                12)0812009                  20.mr
                         vuc    BMWZ3          2001            RAS4                 08/18/2009
                         WMF    BMWZ3          ~o ,i---· -   --A"RBS"Str -         s1·1-tMf2ElflS
                         WTR    BMWZ3                                               14<~PAAAw-m             ~no
                                                                                                          '$1 ,418.06"'-"




Page 2 of 2                                                                                                  Printed   on: 7/19/2016 at 11:41:34AM
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                                        STOCK NUMBER ANALYSIS
                                             STOCK# Y0803
                                               Yard: 389


                        Part   Model        Year      Location                     DateEntered                  Retail Price
           INVENTORY:
                        ACS
                        AFM
                               SILV15
                               SILV15
                                            2007
                                            2007
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                                                                                                                           50.00
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                        ALP    SILV15       2007     RAS4                            01/16/2016                            35.00
                        ASH    SILV15       2007
                                                   -.~-:/:·                         S!liii;::                            .;;:-
                        ASH
                        BAG
                        BWN
                               SILV15
                               SILV15
                               SILV15
                                            2007
                                            2007
                                            2007     RAS4
                                                         S5A                        08/0S,'2011
                                                                                    01/16/2016   -                        30-.00 •
                                                                                                                          65.00 •



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                        COL    SILV15       2007   •I~ I. 9eH,al                                          Iii
                        csw    SILV15       2007    .:JOS5.f.                        80ffl'8,I~01~       Sf       ~
                        ENV    SILV15       2007                                                                          ~                   !II
                        KNE    SILV15       2007                                                                         IY&.tio
                        LCF    SILV15       2007     A036Rl.       -.              _-J;JfHQ~J-~tail.            ------    lf!!@!J.!!!@lllf
                        LCF    SILV15       2007                                    iiilO lll;.@8 If                     __ l}N@f
                                                     tat'E 93689
                        QTR    SILV15       2007     RFS2                           12/07/2012                           200.00




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                                                    ;:6
                        RDO    SILV15       2007     aaml•~                                                               !i!ti~
                        SOX
                        SPN
                               SILV15
                               SILV15
                                            2007
                                            2007                                    ~;;;;;;
                        SPN
                        STG
                               SILV15
                               SILV15
                                            2007
                                            2007
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                        STR    SILV15       2007    ~IA!II!                         ~e•f"I"'"'                            ~~.ffl
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                        UCF    SILV15       2007   ~@if                             02ld&lz012                            62tf.66
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Ver:1.04
                                         STOCK NUMBER ANALYSIS
                                               STOCK# N243
                                                     Yard: 389
                         Part    Model       Year       Sold To             Sold Date           Sale Price
 INVENTORY SOLD:
                         RDO    FTF150        1994      DA5209              9/15/2004               0.00
                         RAD    FTF150        1994      YOR6388             11/24/2004             75.00
                         CAL    FTF150        1994      9442737             6/21/2006               5.00
                         CAL    FTF150        1994      9442737             6/21/2006               5.00
                         COL    FTF150        1994      YNL78               4/27/2007             100.00
                         FDW    FTF150        1994      YOR2203             12/20/2007             45.00
                         NOS    FTF150        1994      CLR5200             8/30/2008             500.00
                         FVW    FTF150        1994      YJV7451             6/30/2011              25.00
                         WLM    FTF150                  Walk-In/No Acct     12/21/2012             10.00
                         JAK    FTF150                  Walk-In/No Acct     7/2/2013               25.00
                         FSB    FTF150                  9822732             10/6/2015              20.00
                                                                                                 $810.00

                         Part    Model       Year     ~ Account            Credit Date         Credit Amt
              CREDITS:
                                                       Walk-In/No Ace


                                                                          Net Sales:             $810.00



                         Part   Model        Year       location           DateEntered         Retail Price
       INVENTORY:
                         DMR    FTF150       1994      RAS4                 08/12/2003             25.00
                         DMR    FTF150       1994      RAS4                 09/01/2011             25.00
                         FCL    FTF150       1994      RAS4                 08/12/2003             25.00
                         FDR    FTF150       1994      RAS4                 08/12/2003            100.00
                         FRG    FTF150       1994      RAS4                 08/12/2003             35.00
                         FST    FTF150       1994      li,1~~1-'-           liliilia. '■ iii        fiii,~
                         HAC    FTF150       1994      RAS4                 08/12/2003             30.00
                         MCY    FTF150       1994      RAS4                 08/12/2003             25.00
                         PBR    FTF150       1994      RAS4                 08/12/2003             25.00
                         SPN    FTF150       1994      RAS4                 08/12/2003             45.00
                         SPN    FTF150       1994      RAS4                 08/12/2003             45.00
                         VIS    FTF150       1994      RAS4                 09/01/2011             25.00
                         vuc    FTF150       1994      RAS4                 08/12/2003              0.00
                                                                                               -$4~
                                                                                                              ,_,.,,,,
                                                                                                    y 11 '.)




Page 1 of 1                                                                                      Printed on: 7/19/2016 at 11:42:25AM
Ver:1.04
                                  STOCK NUMBERANALYS.IS
                                       STOCK# Z1010
                                         Yard: 389


                   Part   Model       Year     Location         Date Entered             Retail Price
      INVENTORY:
                   ABK    J30         1996    RAS4                  10/16/2012                25.00
                   ACL    J30         1996    RAS4                  10/16/2012                25.00
                   BAG    J30         1996    RAS4                  10/16/2012                25.00
                   BAG    J30         1996    RAS4                  10/16/2012                25.00
                   BMR    J30         1996    RAS4                  10/16/2012                45.00
                          J30         1996   ~@---·             111111 i,1~ i ,.;ia~ •        liai,~
                   BWN
                   CAL    J30         1996   .,.Q,Q;;l;aliil~       H:H~fiil;;jQ~e            SEU!&-
                   CAL    J30         1996      8!!i6ffl!f        1ewie,~s1~                  86.ee•
                   CAL    J30         1996   eli€i82!~ ~          ~ Q114 91'!!81 ~            ii!lii~
                   CAL    J30         1996    8i92ft4             lt'li 16)2012               35.00
                   CBX    J30         1996    RAS4                10/16/2012                  25.00
                   CBX    J30         1996    RAS4                10/16/2012                  35.00
                   CBX    J30         1996    RAS4                10/16/2012                  25.00
                   CBX    J30         1996    RAS4                10/16/2012                  40.00
                   CBX    J30         1996    RAS4                10/16/2012                  30.00
                   CBX    J30         1996    RAS4                10/16/2012                  35.00
                   COL    J30         1996    RAS4                10/16/2012                  45.00
                   COM    J30         1996    ,iie£Ri4            18/H3J'2012                 00.0~
                   CON    J30         1996    RAS4                10/16/2012                 25.00
                   CRR    240SX       1996    litHH,iil           ~~,,i!iif@!il~ ii!        !~00
                   CRR    J30         1996    M,11£2             il0,i:Hi'2012               l"t5'.tffl'
                   csw    J30         1996    RAS4                10/16/2012                  25.00
                   csw    J30         1996    RAS4                10/16/2012                  22.00
                   DIS    J30         1996    RAS4                10/16/2012                  50.00
                   DMR    J30         1996    RAS4                10/16/2012                  25.00
                   DSF    J30         1996    RAS4                10/16/2012                  35.00
                   EBX    J30         1996    RAS4                10/16/2012                  45.00
                   ECM    J30         1996    RAS4                10/16/2012                  30.00
                   FBR    J30         1996    RAS4                10/16/2012                  65.00
                   FCL    J30         1996   -1.~0"9~             JIJ,HH2C~::l                ~!Hlf:J'     ollfl

                   FDR    J30         1996    RAS4                10/16/2012                  75.00
                   FDR    J30         1996    RAS4                10/16/2012                  90.00
                   FDW    J30         1996    RAS4                10/16/2012                  45.00
                   FEN    J30         1996    RAS4                10/16/2012                  25.00
                   FEN    J30         1996    RAS4                10/16/2012                  25.00
                   FLS    J30         1996    RAS4                10/16/2012                  ~~   gg
                   FPM    J30         1996   ·M3~:315             10/16/2012                100.00
                   FRG    J30         1996   RAS4                 10/16/2012                 29.00
                   FRL    J30         1996   RAS5                 10/07/2015                 19.00
                   GLB    J30         1996   RAS4                 10/16/2012                 45.00
                   GPO    J30         1996   RAS4                 10/16/2012                 25.00
                   GRL    J30         1996
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                   HAC    J30
                   HLP    J30         1996   RAS4                 10/16/2012                  29.00
                   HOD    J30         1996   RAS4                 10/16/2012                  49.00
                   HRT    J30         1996   RAS4                 10/16/2012                  35.00
                   HRT    J30         1996   RAS4                 10/16/2012                  35.00
                   HRT    J30         1996   RAS4                 10/16/2012                  35.00
                   HRT    J30         1996   RAS4                 10/16/2012                  35.00
                   IWK    J30         1996   RAS4                 10/16/2012                  50.00
                   LCF    J30         1996    RAS4                10/16/2012                  45.00
                   LID    J30         1996    RAS4                10/16/2012                  75.00
                   OOH    J30         1996    RAS4                10/16/2012                  45.00
                   PBR    J30         1996    RAS4                10/16/2012                  45.00
                   QTR    J30         1996    RAS4                10/16/2012                150.00
                   QTR    J30         1996    RAS4                10/16/2012                150.00
                   RBR    J30         1996    RAS4                10/16/2012                  50.00
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              RDR   J30        1996    RAS4                10/16/2012           90.00
              RDR   J30        1996    RAS4                10/16/2012           90.00
              RDS   J30        1996   -A4!!F\l             1rn 10;20 iz         56.00"-
              ROW   J30        1996    RAS4                10/16/2012           30.00
              ROW   J30        1996    RAS4                10/16/2012           30.00
              RRG   J30        1996    RAS4                10/16/2012           29.00
              RSA   J30        1996    RAS4                10/16/2012           75.00
              RSA   J30        1996    RAS4                10/16/2012           75.00
              RSP   J30        1996    RAS4                10/16/2012          100.00
              RVW
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              STB   J30        1996    ~ZS?                I J, ,O)ib 12        ab.db
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              THB   J30        1996    RAS4                10/16/2012           50.00
              TLP   J30        1996    RAS4                10/16/2012           25.00
              TLP   J30        1996    RAS4                10/16/2012           25.00
              TPN   J30        1996    RAS4                10/16/2012           35.00
              UCM   J30        1996   ~ I i MU@            1-8J.i.11%10x1@_   .. ! I ~

              UCM   J30        1996   RAS4                 10/16/2012           50.00
              vuc   J30        1996   RAS4                 10/1q/2012            0.00
              WHL   J30        1996   \Qi]ribA:t~&         ffiHG}lb 12          J9¥tfA¥f
              WMF   J30        1996   RAS4                 10/16't2012          25.00
                                                           10/16/2012           25.00
              WWB   J30        1996   RAS4
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                                  STOCK NUMBER ANALYSIS
                                        STOCK # Y0308
                                          Yard: 389


                   Part   Model       Year      Location       DateEntered          Retail Price
      INVENTORY:
                   ABK    DIAMAN       2002     RAS4           03/25/2011                25.00
                   ASH    DIAMAN       2002     RAS4           03/25/2011                25.00
                   ASH    DIAMAN       2002     RAS4           03/2,5/2011               25.00
                   BAG    DIAMAN       2002     RAS4           03/25/2011                35.00
                   BAG    DIAMAN       2002     RAS4           03/25/2011                35.00
                   BBR    DIAMAN       2002     RAS4           07/21/2012                75.00
                   BWN    DIAMAN       2002     RAS4           03/25/2011                55.00
                   CBX    DIAMAN       2002     RAS4           03/25/2011                50.00
                   CON    DIAMAN       2002     RAS4           03/2,5/2011               60.00
                   CRB    DIAMAN       2002     RAS4           03/25/2011                35.00
                   csw    DIAMAN       2002     RAS4           03/25/2011                35.00
                   DMR    DIAMAN       2002     RAS4           03/25/2011                35.00
                   FDR    DIAMAN       2002     RAS4           03/25/2011               100.00
                   FDW    DIAMAN       2002     RAS4           04/02/2015                45.00
                   FEN    DIAMAN       2002     RAS4           03/25/2011                65.00
                   FNL    DIAMAN       2002     Y0308          06/06/2011               100.00
                   FNR    DIAMAN       2002     RAS4           06/06/2011               100.00
                   IDH    DIAMAN       ~QQ;;l   i1Pl!@@lf9@1   _iiHiiliiHilil ie          ail ~ -
                   KNE    DIAMAN       2002     RAS4           03/25/2011               100.00
                   KNE    DIAMAN       2002     RAS4           03/25/2011               100.00
                   QTR    DIAMAN       2002     RAS4           03/25/2011               175.00
                   RDR    DIAMAN       2002     RAS4           03/25/2011                50.00
                   RDR    DIAMAN       2002     RAS4           03/25/2011                50.00
                   RDW    DIAMAN       2002     Y0308          02/03/2016                35.00
                   RGL    DIAMAN       2002     RAS4           03/25/2011                35.00
                   RSA    DIAMAN       2002     RAS4           03/25/2011               100.00
                   RSP    DIAMAN       2002     RAS4           03/25/2011               100.00
                   STT    DIAMAN       2002     RAS4           03/27/2012                75.00
                   TLP    DIAMAN       2002     RAS4           03/25/2011                75.00
                   TLP    DIAMAN       2002     RAS4           03/25/2011                75.00
                   UCM    DIAMAN       2002     RAS4           03/25/2011                65.00
                   UCM    DIAMAN       2002     RAS4           03/25/2011                40.00
                   vuc    DIAMAN       2002     RAS4           03/25/2011                 0.00
                   WMF    DIAMAN       2002     RAS4           03/25/2011                40.00
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                            STOCK NUMBER ANALYSIS
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              RDO   LS400        1998       RAS5           08/19/2013                150.00
              RDR   LS400        1998       RAS5           08/19/2013                100.00
              RDR   LS400        1998       RAS5           08/19/2013                100.00
              RRG   LS400        1998       RAS5           01/16/2016                 35.00
              RRG   LS400        1998       RAS5           01/16/2016                 35.00
              RSA   LS400        1998       RAS5           08/19/2013                125.00
              RSA   LS400        1998       RAS5           08/19/2013                125.00
              RSP   LS400        1998       RAS5           08/19/2013                 75.00
              RTP   LS400        1998       RAS5           08/19/2013                100.00
              RTP   LS400        1998       RAS5           08/19/2013                100.00
              SPK   LS400       .,J,,00,8   ffi!i J        B 1/1:C,ZD I I              seog.
              STT   LS400        1998       RAS5           08/19/2013                  50.00
              UCM   LS400        1998       RAS5           08/19/2013                  50.00
              UCM   LS400        1998       RAS5           08/19/2013                  50.00
              VIS   LS400        1998       RAS5           08/19/2013                  20.00
              VIS   LS400        1998       RAS5           08/19/2013                  20.00
              vuc   LS400        1998       RAS5           08/19/2013                   0.00
              WMF   LS400        1998       RAS5           08/19/2013                  35.00
              WTR   LS400        1998       RAS5           08/19/2013                  35.00
              WWB   LS400        1998       RAS5           08/19/2013                  30.00
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                                  STOCK NUMBER ANALYSIS
                                         STOCK # A0405
                                                  Yard: 389


                   Part   Model       Year            Location             DateEntered                  Retail Price
      INVENTORY:
                   ABK    LS400        ~6            (,~                    G1 1QliHil9tl 3         &          83 .1'®'
                   ACL    LS400        1995          RAS5                   04/08/2013                         45.00
                   AFM    LS400         1s9@"§       Mt:13:1                 @,cHfi)(iilf2Q13            .......~
                   ALP    LS400        1995          RAS5                   04/09/2013                         35.00
                   ASH    LS400        1iitH!i       /t 1~R'4 0          ZXEtJ410-'bW1 5                &£ii~
                   ASH    LS400         ~~i          11!f@!fiti!I!         Qiii lliils '•'-~ 3                 ~a QQ•
                   ASH    LS400        1995          RFS1                   09/17/2015                         25.00
                   BAG    LS400        1995          RAS5                   04/09/2013                         25.00
                   BAG    LS400        1995          RAS5                   04/09/2013                         25.00
                   BBF    LS400        1995          RAS5                   10/07/2015                         50.00
                   BMT    LS400        1995          RAS5                   04/09/2013                         35.00
                   BWN    LS400        1995          RAS5                   04/99/2013                         25.00
                   CAL    LS400        ~            ~~~                     ~iiililala                         ~
                   CAL    LS400        1QH5        w:A:Ai@rRril             S l)@&N I 0                        ?&©-
                   CAN    LS400        1995          RAS5                   04/09/2013                         50.00
                   CBX    LS400        ..LQGS        Q~q                  ~!!1'2615                            OUIW
                   CBX    LS400        1995    RAS5                         04/09/2013                         35.00
                   CBX    LS400        ~Iii   A7XQ                          M ~Me I 3                          23':'6\¥
                   CBX
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                          LS400
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                   CBX    LS400        1995    RAS5                         04/09/2013                         35.00



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                   CBX    LS400        1995    RAS5                         04/09/2013                         25.00
                   CSX    LS400        1995    RAS5                         04/09/2013                         45.00
                   CBX    LS400                      i~HI                   !IJ"l l!!l!l! H I I!!              !!!l'l~
                   CBX    LS400        1!'ti Ii      i~Oleil                 I i, 11,~~ I~                     !".Be•
                   CFB    LS400         MS           ,!&Si                  OJjld)fu 13                        33.0J jll
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                   CLK    LS400        1995          RAS5
                   CRB    LS400        1995          RAS5                   04/09/2013                         35.00
                   CRR    LS400        1al,05                               GlM!i,E&rS                         86.CJG4t
                   csw    LS400        1995          RAS5                   04/09/2013                      35.00
                   DMR    LS400        1995          RAS5                   04/99/2013                      50.00
                   DPN    LS400        1995          RAS5                   04/09/2013                     100.00
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                   ECM    LS400        1995
                   ENV    LS400        1995          RAS5                   04/09/2013                         50.00
                   FAN    LS400        1005          0:lili@i               MZZ2613                            00%:Jid
                   FBR    LS400        1995          RAS5                   04/08/2013                     100.00
                   FCL    LS400                      Q.illiiiii            ri!!MallliiliUa                ~
                   FCN    LS400        ~i
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                   FOL    LS400        1995          RAS5                   04/09/2013                         65.00
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                   FNL    LS400        1995          RAS5                   10/07/2015                      75.00
                   FRG    LS400        1995          RAS5                   04/09/2013                      35.00
                   FRL    LS400        1995          RAS5                   10/07/2015                      25.00
                   FRL    LS400        1995          RAS5                   10/07/2015                      15.00
                   FSB    LS400        1995          RAS5                   04/09/2013                      35.00
                   FST    LS400        1995          RAS5                   04/09/2013                      65.00
                   FST    LS400        1995          RAS5                   04/09/2013                      65.00
                   FTK    LS400        1995          RAS5                   04/09/2013                     100.00
                   GPO    LS400        1995          RAS5                   04/09/2013                      45.00
                   ICN    LS400        1995          RAS5                   04/09/2013                      45.00
                   IDH    LS400        1995          RAS5                   04/09/2013                      50.00
                   IWK    LS400         1QQli        ~Q~Q~                  Q~HQ~/2013                       ~g~
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                            STOCK NUMBER ANALYSIS
                                 STOCK # A0405
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              KNE   LS400        1995    RAS5               04/09/2013            125.00
              LCR   LS400        WE       Q~ii1 ...         fil~~~                 ~~ &}Q illl
              LCR   LS400        1995      RAS5             09/17/2015             25.00
              LCR   LS400        1995      RAS5             09/17/2015             35.00
              LCR   LS400        1995      RAS5             09/17/2015             45.00
              LID   LS400        1995      RAS5             04/09/2013             70.00
              NOS   LS400        1995      RAS5             04/08/2013            125.00
              OOH   LS400        1995      RAS5             04/09/2013             45.00
              PSR   LS400        1995      RAS5             04/09/2013             35.00
              RBR   LS400        1995      RAS5             04/09/2013             75.00
              RDR   LS400       Ji;PE     li.lilil ni ii    ~~lslildi              dQQ P.Q       '
              RDR   LS400        1995     RAS5              04/09/2013            125.00
              RDS   LS400        1995      RAS5             04/09/2013             50.00
              RRG   LS400        1995     RAS5              04/09/2013             35.00
              RSA   LS400        1995      RAS5             04/09/2013            100.00
              RSA   LS400        1995      RAS5             04/09/2013            100.00
              RSP   LS400        1995      RAS5             04/08/2013            100.00
              SAX   LS400        1995      RAS5             04/09/2013             49.00
              SPN   LS400        i@OC    II.ill dirili!il   @ii!IM~dtil            ~~ W¾e
              SPN   LS400        19£)5    r ~_.►            '4(0912018:             35 pp.,
              SRM   LS400        1995    RAS5               08/22/2015              35.00
              TLP   LS400        1995    RAS5               04/09/2013              50.00
              UCF   LS400        1995    RAS5               04/09/2013              50.00
              UCM   LS400        1995    RAS5               04/08/2013              50.00
              UCR   LS400        1995    RAS5               09/17/2015              25.00
              VIS   LS400        1995    RAS5               04/09/2013              35.00
              VIS   LS400        1995    RAS5               04/09/2013              35.00
              vuc   LS400        1995    RAS5               04/09/2013               0.00
              WWB   LS400        1995    RAS5               04/09/2013              50.00
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                                  STOCK NUMBER ANALYSIS
                                          STOCK # A0802
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                   Part   Model       Year            Location            Date'Entered           Retail Price
      INVENTORY:
                   ABK    LS400        1998          RAS5                  08/19/2013                35.00
                   AFM    LS400        1~98          1)1)$11 @[!           f?'.19'.?ilP              3590-
                   ALP    LS400        1998          RAS5                  08/J 9/2013               1-0.00
                   ASH    LS400        1998          RAS5                  08/19/2013                25.00
                   BAG    LS400        1998          RAS5                  08/')9/2013               75.00
                   BAG    LS400        1998          RAS5                  08/19/2013                75.00
                   BMR    LS400        1998          RAS5                  08/19/2013                35.00
                   BMT    LS400        1998          RAS5                  08/19/2013                35.00
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                   COi    LS400                      A026R
                   CRB    LS400         1998         RAS5                  08/19/2013                35.00
                   CRR    LS400         1998         RAS5                  08/1_9/2013               70.00
                   DSF    LS400         WQlih-       ◊R!iie3              -QQ)19½!81Sr -             ~-
                   DSF    LS400         1998         RAS5                   08/19/2013           25.00
                   ECM    LS400         1998         RAS5                   08/19/2013           25.00
                   EFB    LS400         1998         RAS5                   08/19/2013          100.00
                   EVP    LS400         1998         RAS5                   08/19/2013           50.00
                   FAN    LS400        +9~681                               Qg/.!)~00-.
                   FCL    LS400        1-908 BR't'B~if                   - 8£l~ 2riW H - .. --- •iiiQQ ,,....
                   FDR    LS400         1998         RAS5                   08/19/2013          200.00
                   FNL    LS400         1998         RAS5                   09/17/2015           75.00
                   FPM    LS400         1998         RAS5                   08/19/2013          100.00
                   FRG    LS400         1998         RAS5                   01/16/2016           35.00
                   FRL    LS400         ~            ,1.1tRees            ..QQ ~4~~G-I 4-, -     ~~e@ - eel
                   FST    LS400         1998         RAS5                   08/19/2013         100.00
                   FST    LS400         1998         RAS5                   08/19/2013         I0'0.00
                   FTK    LS400         1998         RAS5                   08/19/2013          100.00
                   GLB    LS400         1998         RAS5                   08/19/2013           50.00
                   GPD    LS400         1998         RAS5                   08/19/2013           45.00
                   HTC    LS400         1998         RAS5                   08/19/2013           50.00
                   JAK    LS400         1998         RAS5                   08/19/2013            0.00
                   KNE    LS400         1998         RAS5                   08/19/2013          120.00
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                   LID    LS400
                   MIR    LS400         1998         RAS5                   08/19/2013           40.00
                   OMA    LS400         18,98        ~,as~                  l'.lfJij !;H2Q~ :a   1~
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                   PLR    LS400         1998         RAS5                   08/19/2013
                   PSR    LS400         1998         RAS5                   08/19/2013           40.00
                   QTR    LS400         1998         RAS5                   08/19/2013          150.00
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                                   ~   rocK NUMBER ANALYSIS
                                             STOCK# A0512
                                                      Yard: 389


                   Part   Model           Year             Location                 Date Entered                   Retail Price
      INVENTORY:
                   ABK    INFG35          ~0?             QQ;!iii,Q                  es~e!'!m                                ,g gg.,
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                   AFM    INFG35
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                   ALP    INFG35
                   ASH    INFG35           2007          RAS5                        05/29/2013                              50.00
                   ASH    INFG35           2007          RAS5                        05f29/2013                              50.00
                   BAG    INFG35          ~oz             ~~                         lilQ~iH~Q~ ~
                   BAG    INFG35           4i)@!jli "'1~                             0 1/1,.iiM 1
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                   BMR    INFG35           2007     RAS5
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                   CAN    INFG35           2007     RAS5                             05/29/2013                            100.00
                   CBX    INFG35           2007     RAS5                             05/29/2013                             50.00
                   CBX    INFG35           2007     RAS5                             05/29/2013                              0.00
                   CBX    INFG35           2007     RAS5                             05/29/2013                             45.00
                   CBX    INFG35           2007     RAS5                             05/29/2013                            125.00
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                   CLI    INFG35           2007     BST2                            08/15/2013                             150.00
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                   COL    INFG35           2007     RAS5                            05/29/2013
                   CRR    INFG35           2007     RAS5                            05/29/2013                             200.00
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                   EFB    INFG35          11Hil        iiiilHI                       Hrnii!HIB                             ~
                   ENV    INFG35          3#7          ~1                           OSYN~                                   4€¥:ilWr•
                   EVP    INFG35           2007          RAS5                       05/29/2013                             175.00
                   FCN    INFG35           2007          A0512                      08/23/2013                              65.00
                   FEN    INFG35           20oz           ~lliilii~'l-Q             Qi,l;.l liil1'el l!H el                  ;is,, 88
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                   FTK    INFG35           2007          RAS5                       05/29/2013                             200.00
                   FTP    INFG35           2007          RAS5                       05/29/2013                             100.00
                   FTP    INFG35           2007          RAS5                       05/29/2013                             100.00
                   GLB    INFG35           2007          RAS5                       05/29/2013                              35.00
                   GPO    INFG35           2007          RAS5                       05/29/2013                              50.00
                   HAC    INFG35           211Q 7        RW.;J.£1                   eo,2~12013                             1%.00
                   HTC    INFG35           2007          RAS5                       05/29/2013                             150.00
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                   LCF    INFG35          s¢00Z          M5S7                       9&.'201125 13                            SO.OU--
                   LID    INFG35           2007          RAS5                       05/30/2014                            250.00
                   MIR    INFG35           2007          RAS5                       05/29/2013                            100.00
                   MUF    INFG35           2QQZ          ~~,;;:;:;i ~ i li\m1       @!81'~~-                               ~QQ~-
                   MUF    INFG35         ~E)?            W?£06R1                    08' 13)2613                            ~6&,,S®•                  =
                   PLR    INFG35           2007          RAS5                       02/12/2016                            200.00
                   PLR    INFG35           2007          RAS5                       02/12/2016                            175.00
                   QTR    INFG35           2007          RAS5                       05/30/2014                            250.00
                   QTR    INFG35           2007          RAS5                       05/30/2014                            250.00
                   RCP    INFG35           2007          RAS5                       05/23/2013                            900.00
                   RDO    INFG35           2001          AR880'4                    85{29,'Ji!QqQ                            QQ.@@f

Page 2 of 3                                                                                                               Printed on: 7/19/2016 at 11:48:07AM

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              RSA   INFG35        2007      RAS5                           05/29/2013                      100.00
              RST   INFG35        2007      FST                            04/17/2014                      200.00
              RTP   INFG35        2007      RAS5                           05/29/2013                      100.00
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              VIS   INFG35        2007      RAS5                          05/29/2013                        45.00
              VIS   INFG35        2007      RAS5                          05/29/2013                        45.00
              vuc   INFG35        2007      RAS5                          05/23/2013                         0.00
              WMF   INFG35        2007      RAS5                          05/29/2013                        35.00
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # WO 109
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                   Part   Model       Year    Location   DateEntered     Retail Price
      INVENTORY:
                   ABK RODEO           1999   RAS4       01/20/2009             20.00
                   AFM RODEO           1999   RAS4       01/22/2009              19.99
                   ANT RODEO           1999   RAS4       01/22/2009             25.00
                   BMT RODEO           1999   RAS4       01/20/2009             25.00
                   CAL RODEO           1999   RAS4       01/20/2009              15.00
                   CAL RODEO           1999   RAS4       01/20/2009             15.00
                   COL RODEO           1999   RAS4       01/20/2009             35.00
                   COL RODEO           1999   RAS4       01/22/2009             35.00
                   CRB RODEO           1999   RAS4       01/22/2009             15.00
                   EFB RODEO           1999   RAS4       01/22/2009             55.00
                   EVP RODEO           1999   RAS4       01/20/2009             65.00
                   FBK RODEO           1999   RAS4       01/22/2009             10.00
                   FBK RODEO           1999   RAS4       01/22/2009             10.00
                   FCN RODEO           1999   RAS4       01/22/2009             35.00
                   FDR RODEO           1999   RAS4       01/20/2009             50.00
                   FNR RODEO           1999   RAS4       01/22/2009            100.00
                   FTK RODEO           1999   W0109      10/13/2009             35.99
                   HLP RODEO           1999   RAS4       01/22/2009             25.00
                   HTC RODEO           1999   RAS4       01/20/2009             55.00
                   HUB RODEO           1999   RAS4       01/20/2009             45.00
                   IWK RODEO           1999   RAS4       01/20/2009             25.00
                   LCF RODEO           1999   RAS4       01/20/2009             20.00
                   LCF RODEO           1999   RAS4       01/20/2009             20.00
                   LRK RODEO           1999   RAS4       01/22/2009             55.00
                   MCY RODEO           1999   RAS4       01/20/2009             15.00
                   PBR RODEO           1999   RAS4       01/20/2009             25.00
                   QTR RODEO           1999   RAS4       01/20/2009            100.00
                   QTR RODEO           1999   RAS4       01/20/2009            100.00
                   QWN RODEO           1999   RAS4       01/20/2009             35.00
                   OWN RODEO           1999   RAS4       01/2072009             35.00
                   RBD RODEO           1999   RAS4       01/22/2009             55.00
                   RDR RODEO           1999   RAS4       01/20/2009             50.00
                   RDR RODEO           1999   RAS4       01/20/2009             50.00
                   SPM RODEO           1999   RAS4       01/20/2009             15.00
                   SPN RODEO           1999   RAS4       01/20/2009             25.00
                   SPN RODEO           1999   RAS4       01/20/2009             25.00
                   TIP RODEO           1999   RAS4       02/11/2011             35.00
                   TIP RODEO           1999   RAS4       02/11/2011             35.00
                   UCF RODEO           1999   RAS4       01/20/2009             15.00
                   vuc RODEO           1999   RAS4       01/20/2009               0.00
                   WHL RODEO           1999   RAS4       01/22/2009             25.00
                   WMF RODEO           1999   RAS4       01/20/2009             25.00
                   WWB RODEO           1999   RAS4       01/22/2009           --2.0•.0.Q
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Page 2 of 2
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                                        STOCK NUMBER ANALYSIS
                                                STOCK # A0601
                                                  Yard: 389

                                Model         Year         Account                      Credit Date                 Credit Amt
              CREDITS:
                         CBX   ACCORD          2006        YOR4504                       9/25/2013                      -75.00
                         FEN   ACCORD          2006        YMO2644                       9/25/2013                      -90.00
                         BAG   ACCORD          2006        BNL5005                       2/4(2014                       -50.00
                         RSA   ACCORD          2006        3963966                       2/26/2014                     -150.00
                         WHE   ACCORD          2003        7496196                       5/27/2014                     -100.00
                         CFB   ACCORD          2006        Walk-In/No Ace                6/3/2015                       -45.00
                         ASH   ACCORD          2006        9524174                       7/12/2016                      -20.00
                                                                                                                     -$530.00
                                                                                    Net Sales:                      $5,778.54


                                             Year           Location                    Date Entered                Retail Price
       INVENTORY:
                         ABK ACCORD           2006         RBS4                          07/15/2013                        35.00
                         AFM ACCORD           2006         ARG2R'"i'--   .. A   2
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                         BAG ACCORD                                                 . I!@@;@@--~               ...         ""~
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                         BMT ACCORD           2006         RBS4                          07/15/2013                        25.00
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                         DLA ACCORD           2006         RBS4                          06/12/2013                     50.00
                         DPN ACCORD           2006         RBS4                          07/15/2013                    100.00
                         EMA ACCORD           2oee:        A18GQo                        8i'f11f!O 15                   35.uu -
                         FST ACCORD           2600         VvM15:3ECB                    BiYIBf20I3                        rb.00
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                         FTK ACCORD           2006         RSA                          07/17/2013                         35.00
                         IDH ACCORD           2006         RBS4                         06/12/2013                         25.00
                         LCR ACCORD           2008         ,a,3999                      s2,12z:t,2.a 12+                   25:00 -
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                         LOC ACCORD           2006         RBS4                         06/12/2013                         65.00
                         PIG ACCORD           2096        .J\33S&                       6!!JfO'fi2.0 I 5                   SO.OU
                         QTR ACCORD           2006         RBS4                         06/03/2013                     350.00
                         RMD ACCORD           2006         RBS4                         09/04/2013                      65.00
                         RSA ACCORD           2006         RBS4                         02/24/2014                     150.00
                         8TB ACCORD           2006         RBS4                         07/15/2013                      25.00
                         STT ACCORD           2066-        /\3@88               577Qi'(j2)1~ rl2"6'1'lt    7Tt777   ==• 3'5''.e,'6    err

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                         UCR ACCORD                        A39S9                        ,421241,2-044
                         UCR ACCORD        ...,,aQQ€ijn    ~                            ~:f,1-:                            £Y.e'C1
                         VIS ACCORD          2006          RBS4                         06/12/2013                         25.00
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                         vuc ACCORD          2006          RBS4                         06/03/2013                          0.00
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                                        STOCK# 20312
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                   Part   Model       Year         Location           Date Entered        Retail Price
      INVENTORY:
                   ACL ELANTR         2001        20312                08/23/2012             25.00
                   ASH ELANTR         2001        RBS4                 03/22/2012             25.00
                   BAG ELANTR         2001        RBS4                 03/22/2012             15.00
                   BAG ELANTR         2001        RBS4                 03/22/2012             20.00
                   BBR ELANTR         2001        RBS4                 03/22/2012             50.00
                   BMT ELANTR          ~Q~        ,Q,~8~8e             Q;;i,22,2Q~~           I!~
                   BWN ELANTR          2001       RBS4                 03/22/2012             45.00
                   CAL ELANTR          2001       RBS4                 03/22/2012             35.00
                   CAL ELANTR          2001       RBS4                 03/22/2012             35.00
                   CBX ELANTR          2001       RBS4                 03/22_/2012            20.00
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                   EBX ELANTR          2001       RBS4                03/22/2012
                   ECM ELANTR          2001       RBS4                03/22/2012              25.00
                   ECM ELANTR          2001       RBS4                03/22/2012              25.00
                   ENV ELANTR          2001       20312               08/23/2012              25.00
                   EVP ELANTR          2001       RBS4                03/22/2012              45.00
                   FCN ELANTR          2001       RBS4                03/22/2012              25.00
                   FDR ELANTR          2001       RBS4                03/22/2012             125.00
                   FLS ELANTR          2001       RBS4                03/22/2012              50.00
                   FPM ELANTR          2001       RBS4                03/22/2012              35.00
                   FST ELANTR          2001       RBS4                03/22/2012              40.00
                   FST ELANTR          2001       RBS4                03/22/2012              40.00
                   FTK ELANTR          2001       RBS4                03/22/2012              45.00
                   GLB ELANTR          2001       RBS4                03/22/2012              35.00
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                   HTC ELANTR          2001      RBS4                 03/22/2012              45.00
                   KNE ELANTR          2001       RBS4                03/22/2012             100.00
                   LCF ELANTR          2001       RBS4                05/15/2015              35.00
                   LID ELANTR          2001       RBS4                03/22/2012              50.00
                   QTR ELANTR          2001       RBS4                03/22/2012             150.00
                   QTR ELANTR          2001       RBS4                03/22/2012             150.00
                   RDR ELANTR          2001       RBS4                03/22/2012              75.00
                   RDR ELANTR          2001      RBS4                 03/22/2012             100.00
                   RSA ELANTR          2001      RBS4                 03/22/2012              75.00
                   RSA ELANTR          2001      RBS4                 03/22/2012              75.00
                   SDO ELANTR          2001      RBS4                 03/22/2012              25.00
                   SPM ELANTR          ~         .'1\iQ.4 ;jl Ii?.)   ,@~Q'4B                 ~Q,,(;)Q
                   SPN ELANTR          2001       RBS4                05/15/2015              35.00
                   STG ELANTR          2001       RBS4                03/22/2012              35.00
                   STT ELANTR          2001       RBS4                03/08/2016              25.59
                   STT ELANTR          2001      RBS4                 03/08/2016              25.59
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                   UCM ELANTR          2001       RBS4                03/22/2012              35.00
                   VIS ELANTR          2001       RBS4                03/22/2012              25.00
                   VIS ELANTR          2001       RBS4                03/22/2012              25.00
                   vuc ELANTR          2001       RBS4                03/2112012               0.00
                   WMF ELANTR          2001       RBS4                03/22/2012              20.00
                   WWB ELANTR          2001       20312               08/23/2012              25.00

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                   Part   Model        Year       Location        Date Entered        Retail Price
      INVENTORY:
                   ACL    VOLV80       2000      RBS4              03/30/2013               60.00
                   AFM    VOLVB0       2000      RBS4              03/30/2013               35.00
                   BAG    VOLV80       2000      RBS4              04/01/2013               25.00 ,..,,✓
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                   BAG    VOLVB0       2000      RBS4              04/01/2013               25.00 ,,,,,-
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                   BAG    VOLVB0
                   BWN    VOLVB0       2000      RBS4              04/01/2013               35.00
                   CAL    VOLVB0       2000      ,At918RA          e4ffl>'t i:te 1e         2~
                   CAL    VOLV80       2000       Q,Qi@~4          @i~rnHl~.!               .llii..QQ       •
                   CAL    VOLV80       2000      RBS4              04/01/2013               25.00
                   CAL    VOLVB0       2000      .QP5?121          etWOl:'E!OI'@:           @§.@@-
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                   COL    VOLV80       2000      RBS4              04/01/2013               45.00
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                   CSP    VOLV80       2000      RBS4              04/01/2013               35.00
                   csw    VOLV80       2000      RBS4              04/01/2013               20.00
                   DMR    VOLVBO       2000      RBS4              04/01/2013               40.00
                   DPN    VOLV80       2000      RBS4              04/91/2013               65.00
                   DSF    VOLVB0       2000      RBS4              04/01/2013               35.00
                   EBX    VOLVB0       2000      RBS4              04/01/2013               35.00
                   ECM    VOLV80       2000      RBS4              03/30/2013               65.00
                   FDL    VOLVB0       2000      RBS4              04/01/2013               75.00
                   FOL    VOLVB0       2000      RBS4              04/01/2013               65.00
                   FDR    VOLVB0       2000      RBS4              04/01/2013              145.00
                   FDR    VOLVB0       2000      RBS4              04/01/2013              199.00
                   FLS    VOLVB0       2000      RBS4              04/01/2013               45.00
                   FSB    VOLVB0       2000      RBS4              04/01/2013               25.00
                   FSB    VOLV80       2000      RBS4              04/01/2013               25.00
                   FSB    VOLV80       2000      RBS4              04/01/2013               35.00
                   FST    VOLV80       2000      RBS4              04/01/2013               50.00
                   FST    VOLV80       2000      RBS4              04/01/2013               50.00
                   FTK    VOLV80       2000      RBS4              04/01/2013               75.00
                   GLB    VOLV80       2000      RBS4              04/01/2013               45.00
                   GPO    VOLV80       2000      RBS4              04/01/2013               45.00
                   HED    VOLV80       2000      RBS4              03/30/2013              150.00
                   HLP    VOLV80       2000      \7\78!'.J:3S'1    es1r,e~fe ,~             :56.M
                   ITC    VOLV80       2000      ~3885             O'.V~0.12@13            75.~
                   IWK    VOLV80       2000      RBS4              04/01/2013              45.00
                   NOS    VOLV80       2000      RBS4              03/30/2013             200.00
                   PBR    VOLVB0       2000      ~6R1              Qif!0~~c815              58.@9
                   OTR    VOLVB0       2000      RBS4              04/01/2013              125.00
                   OTR    VOLV80       2000      RBS4              04/01/2013              125.00
                   OWN    VOLVB0       2000      RBS4              04/01/2013                35.00
                   OWN    VOLVB0       2000      RBS4              04/01/2013                45.00
                   RDL    VOLV80       2000      RBS4              04/01/2013                45.00
                   RDL    VOLV80       2000      RBS4              04/01/2013                65.00
                   RDR    VOLV80       2000      RBS4              04/01/2013                99.00
                   RDR    VOLV80       2000      RBS4              04/01/2013              199.00
                                                                                          Printed on: 7/19/2016 at 11 :50:20AI\
Page 2 of 3
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                         STOCK NUMBER ANALYSIS
                              STOCK # A0313
                                    Yard: 389
              RRG   VOLV80   2000      RBS4            04/01/2013                         35.00
              RRG   VOLV80   2000      RBS4            04/01/2013                         75.00
              RSA   VOLV80   2000      RBS4            04/01/2013                         50.00
              RSA   VOLVB0   2000      RBS4            04/01/2013                         50.00
              RSP   VOLV80   2000      RBS4            03/30/2013                        150.00
              SAA   VOLV80   2000      RBS4            04/01/2013                         50.00
              SAA
              SDO
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                    VOLV80
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              TRB   VOLV80   2000     RBS4             03/30/2013                        125.00
              UCM   VOLV80   2000     RBS4             03/30/2013                         45.00
              UCR   VOLV80   2000     RBS4             04/01/2013                         50.00
              VIS   VOLV80   2000     RBS4             04/01/2013                         35.00
              VIS   VOLV80   2000     RBS4             04/01/2013                         25.00
              vuc   VOLV80   2000     RBS4             03/30/2013                          0.00
              WHL   VOLV80   2•      . m:s2~1          "3'!'30i~e I~                      ~~ffl'""'
              WHL   VOLV80   200i     1~~£             ~EIOQ.<12+                         J5 on,...
              WMF   VOLV80   2000     RBS4             03/30/2013                         20.00
              WWB   VOLV80   2000     RBS4             03/30/2013                         35.00
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0403
                                              Yard: 389


                   Part   Model       Year       Location       Date Entered             Retail Price
      INVENTORY:
                   ACL    SENTRA      2000      RBS4             04/03/2013                  35.00
                   ALP    SENTRA      2000      RBS4             04/03/2013                  25.00
                   ASH    SENTRA      2000      RBS4             04/03/2013                  25.00
                   ASH    SENTRA      2000      RBS4             04/03/2013                  25.00
                   BAG    SENTRA      2QQQ      B~HI             ilhiil i liiiHil i\sl      . OlwMrd
                   BAX    SENTRA      ,.AA@     ~-@i(t        .#~&                       __ L J i ~
                   BMT    SENTRA      2000      RBS4               04/.03/2013               25.00
                   BWN    SENTRA      QAA9      bM4Q .             Jl,ll!l~                  56:01'} •
                   CAN    SENTRA      2000      RBS4               04/03/2013                35.00
                   CSX    SENTRA      ?i.@2     ill.it~IW         -~eeP!l')l!P!!JII .        Qjj . .
                   CSX    SENTRA      2(ii@     QO?FND.      ·· . 314}'8.M 10                :M.@@!!11
                   CBX    SENTRA      2000      RBS4               04/03/2013                25.00
                   COi
                   COL
                          SENTRA
                          SENTRA
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                                                RBS4
                                                                   8'4-i!.1•.Sf.294 G
                                                                   04/03/2013
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                                                                                             50.00
                   CON    SENTRA      2000      RBS4               04/03/2013                35.00
                   CRB    SENTRA      2000      RBS4               04/03/2013                15.00
                   csw    SENTRA      2000      RBS4               04/03/2013                10.00
                   csw    SENTRA      2000      RBS4               04/03/2013                25.00
                   csw    SENTRA      2000      RBS4               04/03/2013                15.00
                   DMR    SENTRA      2000      RBS4               04/03/2013                35.00
                   DMR    SENTRA      2000      RBS4               04/03/2013                35.00
                   OWM    SENTRA      2000      RBS4               04/03/2013                35.00
                   OWM    SENTRA      2000      RBS4               04/p3/2013                19.00
                   ECM    SENTRA      2000      RBS4               04/03/2013                50.00
                   FOL    SENTRA      2000      RBS4              04/03/2013                 45.00
                   FDL    SENTRA      2000      RBS4               04/03/2013                45.00
                   FDR    SENTRA      2000      RBS4               04/03/2013               150.00
                   FDR    SENTRA      2000      RBS4               04/03/2013               100.00
                   FDW    SENTRA      2000      RBS4               04/03/2013                30.00
                   FDW    SENTRA      2000      RBS4               04/03/2013                45.00
                   FLS    SENTRA      2000      RBS4               04/03/2013                35.00
                   FRG    SENTRA      2000      RBS4               04/03/2013                35.00
                   FRG    SENTRA      2000      RBS4              04/b3/2013                 25.00
                   FSB    SENTRA      2000      RBS4              04/03/2013                 35.00
                   FSB    SENTRA      2000      RBS4              04/03/2013                 35.00
                   FSB    SENTRA      2000      RBS4              04/03/2013                 25.00
                   FSB    SENTRA      2000      RBS4              04/03/2013                 35.00
                   GPO    SENTRA      2000      RBS4              04/03/2013                 25.00
                   IDH    SENTRA      2000      RBS4              04/03/2013                 20.00
                   IOH    SENTRA      2000      RBS4              04/03/2013                 20.00
                   IDH    SENTRA      2000      RBS4              04/03/2013                 20.00
                   IDH    SENTRA      2000      RBS4              04/03/2013                 20.00
                   LCF    SENTRA      2000      RBS4              04/03/2013                 35.00
                   OOH    SENTRA      ~ee·      ffll/{5gr1       •~;'2018                    .2t'1."6V3·
                   ODH    SENTRA      2000      RBS4              04/03/2013                 35.00
                   QTR    SENTRA      2000      RBS4               04/03/2013               145.00
                   RBR    SENTRA      2000      RBS4              04/03/2013                 75.00
                   RDR    SENTRA      2000      RBS4              04/03/2013                 65.00
                   RSP    SENTRA      2000      RBS4              04/03/2013                125.00
                   STB    SENTRA      2000      RBS4              04/03/2013                 25.00
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                   STR    SENTRA      @@®@      ~@               ~13                         ict.60
                   STT    SENTRA      2000      RBS4               05/29/2014                35.00
                   THB    SENTRA      2000      RBS4              04/03/2013                 45.00
                   TRA    SENTRA      2000      M8S4               04/03/2013                75.00
                   UCM    SENTRA      2000      RBS4              04/03/2013                 35.00
                   UCM    SENTRA      2000      RBS4              04/03/2013                 50.00

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                         STOCK NUMBER ANALYSIS
                              STOCK# A0403
                                Yard: 389
              VUC   SENTRA   2000   RBS4     04/03/2013         0.00
              WMF   SENTRA   2000   RBS4     04/03/2013        15.00
                                                          ....$2-,3-~




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                                  STOCK NUMBER ANALYSIS
                                        STOCK# 21006
                                          Yard: 389


                   Part   Model       Year           Location                 Date Entered                 Retail Price
      INVENTORY:
                   ABK ACCORD          1998        RBS4                         10/10/2012                             19.00
                   BMT ACCORD          1998        RBS4                         10/10/2012                             25.00
                   BWN ACCORD          1998        RBS4                         10/10/2012                             40.00
                   CBX ACCORD          1998        RBS4                         10/10/2012                             35.00
                   COL ACCORD          1998        RBS4                         10/10/2012                             45.00
                   CRB ACCORD          1998        RBS4                         10/10/2012                             10.00
                   csw ACCORD          1998        RBS4                         10/10/2012                             25.00
                   DMR ACCORD          4 999 _ -. -~~@!                             ! @ii 1!@~8111 ~                   ;;i~
                   DSF ACCORD          ~Qfii        ~                            ii~ _Q I.Q~- -             Jl!l!l!L    Hi~ e
                   DSF
                   ECM
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                       ACCORD
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                   FDR ACCORD          1~08         s@~.                -- - - l!@fi.~ 8/@Q 'I@ ..                     -~
                   FDW ACCORD          1998         RBS4                           10/10/2012                          50.00
                   FPM ACCORD          1998         RBS4                           10/10i2012                          25.00
                   GPO ACCORD          1998         RBS4                           10/10/2012                          25.00
                   HRT ACCORD          1998         RBS4                           10/10/2012                          50.00
                   HRT ACCORD          1998         RBS4                           10/10/2012                          50.00
                   LCF ACCORD          1998         RBS4                           11/20/2012                          25.00
                       ACCORD          .ai.QiiHil   Al~                         (wl}QQ;'Q:@16                   ·- ·-- j i$%'6 __phi
                   PSR
                   RGL ACCORD         1998          RBS4                        10/10/2012                             35.00
                   RSA ACCORD         1998          RBS4                        10/10/2012                             75.00
                   RSA ACCORD         1998          RBS4                        10/10/2012                             75.00
                   SDO ACCORD         ~g            J!:£!¥'@!14                  lb?IOJ2012                      - -35'.8&""'
                   UCM ACCORD         1998          RBS4                        10/10/2012                             50.00
                   vuc ACCORD         1998          RBS4                        10/10/2012                              0.00
                   WMF ACCORD         1998          RBS4                        10/10/2012                             15.00
                                                                                                                       25.00
                   WWB ACCORD         1998          RBS4                        10/10/2012
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Page 2 of 2
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0804
                                         Yard: 389


                   Part   Model       Year       Location          Date Entered       Retail Price
      INVENTORY:
                   ALT    CAMRY        1999     RBS4                08/14/2013            19.00
                   BAG    CAMRY        1999     RBS4                08/14/2013            25.00
                   BAG    CAMRY        1999     RBS4                08/14/2013            20.00
                   BMT    CAMRY        1999     RBS4                08/14/2013            25.00
                   BWN    CAMRY        1999     RBS4                08/14/2013            35.00
                   CAL    CAMRY        1999     RBS4                08/14/2013            20.00
                   CAL    CAMRY        1999     RBS4                08/14/2013            20.00
                   CBX    CAMRY        1999     RBS4                08/14/2013            35.00
                   COM    CAMRY        1999     RBS4                08/14/2013            40.00
                   CRB    CAMRY        1999     RBS4                08/14/2013            10.00
                   csw    CAMRY        1999     RBS4                08/14/2013            30.00
                   DMR    CAMRY        1999     RBS4                08/14/2013            35.00
                   DSF
                   EBX
                          CAMRY
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                                                                    08/14/2013
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                   ECM    CAMRY        1999     RBS4                08/14/2013
                   EMA    CAMRY        1999     RBS4                08/14/2013            30.00
                   FDR    CAMRY        1999     RBS4                08/14/2013            75.00
                   FDR    CAMRY        1999     RBS4                08/14/2013           100.00
                   FPM    CAMRY        ~        /'!!tJ8!.           ©iiilli'iUO           iilfl.,
                   HAC    CAMRY        1999     RBS4               08/14/2013             15.00
                   LID    CAMRY        1999     RBS4               08/14/2013             50.00
                   PSR    CAMRY        1999     RBS4               08/14/2013             25.00
                   RDR    CAMRY        1999     RBS4               08/14/2013            100.00
                   RDR    CAMRY        1999     RBS4               08/14/2013            100.00
                   RFP    CAMRY        118@@    ;Ofiq@Qi.   LU&   udm~t&E                 !;&,00,:
                   RSA    CAMRY        1999     RBS4               08/14/2013           50.00
                   RSA    CAMRY        1999     RBS4               08/14/2013           50.00
                   SOO    CAMRY        1999     RBS4               08/14/2013           25.00
                   STG    CAMRY        1999     RBS4               08/14/2013           35.00
                   STR    CAMRY        1999     RBS4               08/14/2013           24.50
                   THB    CAMRY        1999     RBS4               08/14/2013           20.00
                   TLP    CAMRY        1999     RBS4               08/14/2013           35.00
                   UCM    CAMRY        1999     RBS4               08/14/2013           45.00
                   vuc    CAMRY        1999     RBS4               08/14/2013            0.00
                   WHL    CAMRY        1999     RBS4               08/14/2013           20.00
                   WHL    CAMRY        1999     RBS4               08/14/2013           20.00
                   WMF    CAMRY        1999     RBS4               08/14/2013           25.00
                   WWB    CAMRY        1999     RBS4               08/14/2013           30.00
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                                  STOCK NUMBER ANALYSIS
                                        STOCK # A0902
                                          Yard: 389


                   Part   Model       Year     Location   DateE'ntered      Retail Price
      INVENTORY:
                   ABK    PASSAT      -2!0@e   A513Pfo     O!Jf6!Ji!O 18         t&.:00
                   BAG    PASSAT       2006    RBS4        09/09/2013           25.00
                   BAG    PASSAT       2006    RBS4        09/09/2013           25.00
                   BAG    PASSAT       2006    RBS4        09/09/2013           25.00
                   BAG    PASSAT      a:7AC6   9~8        FiiS@i811~1'@i9   i'I~

                   BMT    PASSAT        2006   RBS4        09/09/2013           25.00
                   CAN    PASSAT        2006   RBS4        09/09/2013           50.00
                   CBX    PASSAT        2006   RBS4        09/09/2013           35.00
                   CBX    PASSAT        2006   RBS4        09/09/2013           35.00
                   CBX    PASSAT        2006   RBS4        09/09/2013           50.00
                   COi    PASSAT        2006   RBS4        09/09/2013           10.00
                   COL    PASSAT        2006   RBS4        09/09/2013           50.00
                   CRB    PASSAT        2006   RBS4        09/09/2013           17.00
                   csw    PASSAT        2006   RBS4        09/09/2013           25.00
                   DSF    PASSAT        2006   RBS4        09/09/2013           25.00
                   DWM    PASSAT        2006   RBS4        09/09/2013           45.00
                   FOL    PASSAT        2006   RBS4        09/09/2013           50.00
                   FDW    PASSAT        2006   RBS4        09/09/2013           35.00
                   FLS    PASSAT        2006   RBS4        09/09/2013           45.00
                   FNL    PASSAT        2006   RBS4        01/15/2014          100.00
                   FRG    PASSAT        2006   RBS4        09/09/2013           35.00
                   FST    PASSAT        2006   RBS4        09/09/2013           50.00
                   FST    PASSAT        2006   RBS4        09/09/2013           50.00
                   FTK    PASSAT        2006   RBS4        09/09/2013           75.00
                   GLB    PASSAT        2006   RBS4        09/09/2013           45.00
                   GPO    PASSAT        2006   RBS4        09/09/2013           35.00
                   HLP    PASSAT      -@00t)   W8®4@8      94,117,rg@.'14       8&.@@-
                   HRT    PASSAT        2006   RBS4        09/09/2013           45.00
                   HRT    PASSAT        2006   RBS4        09/09/2013           45.00
                   HRT    PASSAT        2006   RBS4        09/09/2013           45.00
                   IWK    PASSAT        2006   RBS4        09/09/2013           45.00
                   KNE    PASSAT        2006   A0902       01/14/2014           99.00
                   ODH    PASSAT        2006   RBS4        09/09/2013           25.00
                   PBR    PASSAT        2006   RBS4        01/15/2014           35.00
                   PLR    PASSAT        2006   RBS4        01/15/2014          150.00
                   RDR    PASSAT        2006   RBS4        09/05/2013          199.00
                   RSA    PASSAT        2006   RBS4        09/09/2013          100.00
                   RSA    PASSAT        2006   RBS4        09/09/2013          100.00
                   SAX    PASSAT        2006   RBS4        09/09/2013           50.00
                   SDO    PASSAT        2006   RBS4        09/09/2013           35.00
                                                                                35.00

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                   SRM    PASSAT        2006   RBS4        01/16/2016
                   STT    PASSAT        2006   RBS4        01/15/2014           45.00
                   TCO    PASSAT       2G@8    ~ 8ir       ~8'11~@ ~ .,        ~ere,'
                   THB    PASSAT       7-QO§   QQao4R.i    89{©9~013            35.60
                   TLP    PASSAT       2006    RBS4        09/09/2013           45.00
                   TLP    PASSAT       2006    RBS4        01/15/2014           25.00
                   TLP    PASSAT       2006    RBS4        01/15/2014           25.00
                   VIS    PASSAT       2006    RBS4        09/09/2013           25.00
                   VIS    PASSAT       2006    RBS4        09/09/2013           25.00
                   vuc    PASSAT       2006    RBS4        09/09/2013            0.00
                   WWB    PASSAT       2006    RBS4        09/0~/2013           35.00
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Page 2 of 2                                                                   Printed on: 7/19/2016 at 11:52:Z0AM
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                                   STOCK NUMBER ANALYSIS
                                         STOCK# A0105
                                           Yard: 389




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                   Part   Model        Year        Location                       Date Entered                Retail Price
      INVENTORY:
                   ASH    BM325I        ~e        .21091d                          e,w~ 'lilf.lnlwOS223!! !                                   .
                   BAG    BM325I        2002      RBS4                             01/22/2013                     35.00
                   BAG    BM325I        2002      RBS4                             01/22/2013                     35.00
                   BAG    BM325I        2002      RBS4                             01/22/2013                     50.00
                   BBR    BM325I        2002      RBS4                             01/21/2013                     50.00
                   BBR    BM325I        2002      RBS4                             01/23/2013                     50.00
                   BMR    BM325I        2002      RBS4                             01/21/2013                     45.00
                   BMT    BM325I        2002      RBS4                             01/21/2013                     35.00
                   CSX    BM325I       -'iliQal   liHi~@                           @~-~Ii!                       ~~
                   CSP
                   csw
                   csw
                          BM325I
                          BM325I
                          BM325I
                                        ~Q2
                                         002
                                        2002
                                                  'W~fili?
                                                  RBS4
                                                  RBS4
                                                                                   O:ZJ&BJaQ:13
                                                                                   01/23/2013
                                                                                   01/23/2013
                                                                                                                  ?5JM.i
                                                                                                                  25.00
                                                                                                                  35.00
                                                                                                                                   --
                   DLA    BM325I       .a@8@!     .%~@                 aa;afj~@!l~za ..                        ,a~                  ll!lll

                   DPN    BM325I       2002       RBS4                             01/23/2013                     75.00
                   EMA    BM325I       ~~~        M).(J~                    Q~i!al!tsl - -· - -g'J-~~!111 •
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                                                                      a ca .Q,IJQ:iH281.8' . ..L a .. ,A,~9,:,0@>
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                                        ~8~~
                   EMA    BM325I                  019M'-l       ~Z
                   EVP    BM325I                  RBS4                             01/23/2013                     65.00
                   FLS    BM325I        2002      RBS4                             01/22/2013                     45.00
                   FNL    BM325I        2002      RBS4                             01/23/2013                    100.00
                   FNR    BM325I        2002      RBS4                             01/23/2013                    100.00
                   FPM    BM325I        2002      RBS4                             01/23/2013                     35.00
                   FPM    BM325I        288£      ,Q,aeeii!                        1~H,1~a,,a9~ ;;i               ~~
                   FRL    BM325I        2.,00:a   ,StR2SS1                         0212¥,1201 a                   16.00-
                   FST    BM325I        2002      RBS4                             01/23/2013                    100.00
                   FST    BM325I        2002      RBS4                             01/23/2013                    100.00
                   FTK    BM3251        2002      RBS4                             01/21/2013                     50.00
                   FTP    BM325I        2002      RBS4                             01/23/2013                     50.00
                   FTP    BM325I        2002      RBS4                             01/23/2013                     50.00
                   GLB    BM325I        2002      RBS4                             01/22/2013                     40.00
                   HLP    BM325I        ~e2       15~ 188§                         9~~2~,120 I :5                 :35.0el
                   HLP    BM325I        ~Q2       ,ti,R:@9~1i                      ~~ii'r2e ,~                    :;~.or,•
                   HSW    BM325I       '"'092     AR9$4                            01<~~2913                      ss-:ee
                   HTC    BM325I        2002      RBS4                             01/23/2013                     50.00
                   HUB    BM325I        uic:a     !:IQ~~                           e1,~:3,201:3                   mum         Ill
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                   JAK    BM325I        :2ea~     ~A&lil96S~                       Q4il!l ar~ et ~                I !5.00
                   LID    BM325I        2002      RBS4                            01/21/2013                      90.00
                   PBR    BM325I        2002      RBS4                            01/23/2013                      35.00
                   QTR    BM325I        2002      RBS4                            01/23/2013                     125.00
                   QWN    BM325I        2002      RBS4                            01/21/2013                      50.00
                   RDO    BM325I       ~9iil      .A1R@We                          eY"r1T!'1:?0 1J                f'H@w»--
                   RRS    BM325I        2002      RBS4                             01/23/2013                    125.00
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                   SRM    BM325I        a(i.@i.   A25~                       II    0411n'2tn4                     50.60
                   VAC    BM325I        2002      RBS4                             01/23/2013                     65.00
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                                                                                                                  zS.00 ...
                   VIS    BM325I        3.QQ~
                   VIS    BM325I       .,.3002    on,2s4r                          fJ f/23120 13
                   vuc    BM325I        2002      RBS4                             01/14/2013                      0.00
                   WTR    BM325I        2002      RBS4                             01/21/2013                     30.00
                   WWB    BM325I        2002      RBS4                             01/21/2013                     25.00
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Page 2 of 2
                                                                                                                Printed on: 7/19/2016 at 11 :52:46AM
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                                   ..-:, 1   uvn. NUIVlt::St:.K ANALYSIS
                                                  STOCK # C0705
                                                          Yard: 389

                   Part   Model                 Year             Location                            Date Entered                      Retail Price


                                                                                                      ~.,~~,-lil~
      INVENTORY:
                   ACL    STRATU                2001            RBS3                                  07/20/2015                              22.50
                   ASH    STRATU                2QQ~            ~~liHiiilaa                                             Iii ,,,               g~
                   ASH    STRATU               eJ!M             J114i~                          ~;!§is                            IQ     ~
                   BAG    STRATU                2001            RBS3                                  07/29/2015                              25.00
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                   BMT    STRATU                2001            RBS3                                  07/29/2015                              25.00
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                   CBX    STRATU                2001            RBS3                                  07/29/2015                              30.00
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                   CRB    STRATU                2001            RBS3                                  07(20/2015                             25.00
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                   DMR    STRATU                2001            RBS3                                  07/29/2015                             22.50
                   DMR    STRATU                2001            RBS3                                  07/29/2015                             22.50
                   DPN    STRATU                2001            RBS3                                  07/29/2015                             50.00
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                   DWM    STRATU                2001            RBS3                                  07/29/2015                             25.00
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                   FBR    STRATU                2001            RBS3                                  07/20/2015                          65.00
                   FCN    STRATU                2001            RBS3                                  07/29/2015                          35.00
                   FDR    STRATU                2001            RBS3                                  07/29/2015                          75.00
                   FDW    STRATU                2001            RBS3                                  07/29/2015                          30.00
                   FDW    STRATU                2001            RBS3                                  07/29/2015                          25.00
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                   FLS    STRATU                2001            RBS3                                  07/29/2015                          35.00
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                   FTK    STRATU                2001            RBS3                                  07/29/2015                          '40.00
                   GLB    STRATU                2001            RBS3                                  07/29/2015                           45.00
                   GPO    STRATU                2001            RBS3                                  07/29/2015                           35.00
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                   HOD    STRATU                2001            RBS3                                  07/20/2015                            50.00
                   HUB    STRATU                2001            SPN                                   07/29/2015                            35.00
Page 2 of 3                                                                                                                              Printed on: 7/19/2016 at 11:53:12AM
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              PSR  STRATU    2001    RBS3                    07/20/2015                      20.00
              QTR  STRATU    2001    RBS3                    07/29/2015                     125.00
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              RBR  STRATU    2001    RBS3                    07/29/2015                      35.00
              RDR  STRATU    2001    RBS3                    07/29/2015                      65.00
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              RGL  STRATU    2001    RBS3                    07/29/2015                      35.00
              RRG  STRATU    2001    RBS3                    07/29/2015                      25.00
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              RSA  STRATU    2001    RBS3                    07/29/2015                      35.00
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              RSP  STRATU    2001    RBS3                    07/20/2015                      65.00
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              SPN  STRATU    2001    M?7.fl1                 Qij'}QQ,I201'6                  8&.ee
              SRM  STRATU    2001    RBS3                    07/2~/2015                      35.00
              STB  STRATU    2001    RBS3                    07/29/2015                      35.00
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              STT  STRATU    2001    RBS3                    07/29/2015                      25.00
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              UCF  STRATU    2001    RBS3                    07/29/2015                      25.00
              UCF  STRATU    2001    C0705                   08/12/2015                      25.00
              UCM  STRATU    2001    RBS3                    07/29/2015                      50.00
              UCM  STRATU    2001    RBS3                    07/29/2015                      35.00
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              VIS  STRATU    2001    RBS3                    07/29/2015                      15.00
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              vuc  STRATU    2001    RBS3                    07/20/2015                       0.00
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               WMF STRATU    2001    RBS3                    07/20/2015                      25.00
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Page 3 of 3
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # 20705
                                         Yard: 389


                   Part   Model       Year     Location            Date Entered    Retail Price
      INVENTORY:
                   AFM ECLIPS          2000   RBS3                  09/26/2012         15.00
                   ASH ECLIPS          2000   RBS3                  07/24/2012         25.00
                   ASH ECLIPS          2000   RBS3                  09/26/2012         25.00
                   BBR ECLIPS          2000   RBS3                  07/24/2012         50.00
                   BMT ECLIPS          2000   RBS3                  07/24/2012         25.00
                   CLI ECLIPS          2000   R883                  07/24/2012         45.00
                   COL ECLIPS          2000   RBS3                  07/24/2012         50.00
                   DMR ECLIPS          2000   RBS3                  07/24/2012         25.00
                   DSF ECLIPS          2000   RBS3                  09/26/2012         20.00
                   ECM ECLIPS          2000   RBS3                  07/24/2012         35.00
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                   FDR ECLIPS          2000   RBS3                  07/24/2012         75.00
                   FDR ECLIPS          2000   RBS3                  07/24/2012        100.00
                   FDW ECLIPS          2000   RBS3                  01/,16/2016        35.00
                   FEN ECLIPS          2000   RBS3                  07/24/2012         65.00
                   FLS ECLIPS          2000   RBS3                  07/24/2012         50.00
                   FNR ECLIPS          2000   RBS3                  09/26/2012        100.00
                   FRG ECLIPS          2000   RBS3                  01/16/2016         35.00
                   FST ECLIPS          2000   RBS3                  07/24/2012         50.00
                   FST ECLIPS          2000   RBS3                  07/24/2012         50.00
                   FTP ECLIPS          2000   RBS3                  09/27/2012         35.00
                   FTP ECLIPS          2000   RBS3                  09/27/2012         35.00
                   GPO ECLIPS          2000   RBS3                  07/24/2012         35.00
                   HED ECLIPS          2 ~ P •0                     QQ'•-~Q~!I        ~   da   r.)g
                   ICN ECLIPS          2000   RBS3                  07/24/2012         25.00
                   LID ECLIPS          2000   RBS3                  07/24/2012        100.00
                   MIR ECLIPS          2000   RBS3                  09/26/2012         25.00
                   OTR ECLIPS          2000   RBS3                  07/24/2012        175.00
                   OTR ECLIPS          2000   RBS3                  07/24/2012        175.00
                   OWN ECLIPS          2000   RBS3                  07/24/2012         35.00
                   OWN ECLIPS          2000   RBS3                  07/24/2012         35.00
                   ROF ECLIPS          2000   RBS3                  07/24/2012        100.00
                   RSA ECLIPS          2000   RBS3                  07/24/2012        100.00
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                   STG ECLIPS          2000   RBS3                  07/24/2012            35.00
                   STT ECLIPS          2000   RBS3                  07/24/2012            35.00
                   TCV ECLIPS         -@6M    ,e,nc 1i,,11          oa,aoai012            15.e-&
                   UCM ECLIPS          2000   RBS3                  07/24/2012            75.00
                   UCM ECLIPS          2000   RBS3                  07/24/2012            35.00
                   UCR ECLIPS          2000   RBS3                  09/27/2012            25.00
                   UCR ECLIPS          2000   RBS3                  09/27/2012            25.00
                   VIS ECLIPS          2000   RBS3                  07/24/2012            25.00
                   VIS ECLIPS          2000   RBS3                  07/24/2012            25.00
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                   WMF ECLIPS          2000   RBS3                  07/24/2012            25.00
                   WWB ECLIPS          2000   RBS3                  09/2(3/2012           35.00

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                   Part   Model       Year            Location                        DateEntered                          Retail Price
      INVENTORY:
                   ASH PASSAT          2002          RBS3                                 03/21/2014                             25.00
                   ASH PASSAT          2002          RBS3                                 03/21/2014                             25.00
                   BAG PASSAT          2002          RBS3                                 03/?1/2014                             35.00
                   BAG PASSAT          2002          RBS3                                 03/21/2014                             35.00




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                   BAX PASSAT          2002          RBS3                                 09/30/2013                          100.00
                   BWN PASSAT          2002          RBS3                                 09/:30/2013                          35.00
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                   DMR PASSAT          2002          RBS3                                 09/30/2013                             35.00
                   DMR PASSAT          2002          RBS3                                 09/30/2013                             35.00
                   DPN PASSAT          2002          RBS3                                 03/21/2014                             75.00
                   ECM PASSAT          2002          RBS3                                 09/30/2013                             50.00
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                   ENC PASSAT          2Q,Qo,z       ®OICLSFE1~                           H,iif '2911                          75 00
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                   ENV PASSAT          2002          RBS3                                 03/21/2014
                   FBR PASSAT          2002          RBS3                                 09/30/2013                          150.00
                   FDR PASSAT          2002          RBS3                                 09/30/2013                          125.00
                   FDW PASSAT          2002          R8S3                                 03/21/2014                           30.00
                   FLY PASSAT          2002          RBS3                                 03/21/2014                           35.00
                   FRG PASSAT          2002          RBS3                                 09/30/2013                           45.00
                   FRG PASSAT          2002          RBS3                                 03/21/2014                           45.00
                   HAG PASSAT          2002          RBS3                                 03/2~/2014                           35.00
                   LCF PASSAT          2002          RBS3                                 03/21/2014                           35.00
                   LCF PASSAT          2002          RBS3                                 03/21/2014                           25.00
                   LCF PASSAT          2002          RBS3                                 03/21'/2014                          25.00
                   LID PASSAT          2002          RBS3                                 01/16/2016                           59.00
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                   ODH PASSAT          2002          RBS3                                 03/21/2014                             35.00
                   QWN PASSAT          2002          RBS3                                 03/21/2014                             40.00
                   QWN PASSAT          2002          RBS3                                 03/21/2014                             40.00
                   RBR PASSAT          2002          RBS3                                 09/30/2013                             60.00
                   RDR PASSAT          2002          RBS3                                 09/30/2013                             85.00
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                   TLP PASSAT          2002          RBS3                                 09/30/2013                             19.00
                   UCM PASSAT          2002          RBS3                                 09/30/2013                             75.00
                   VIS PASSAT          2002          RBS3                                 03/21/2014                             25.00
                   VIS PASSAT          2002          RBS3                                 03/21/2014                             25.00
                   vuc PASSAT          2002          RBS3                                 06/10/2013                              0.00
                   WNO PASSAT          2002          RBS3                                 03/21/2014                             50.00
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                   Part   Model                              Location                            DateEntered                           Retail Price
      INVENTORY:
                   AFM    XJ8         !OS I                 B~@Z                                 " se;z;.~                                      GGM@!1W
                   ASH    XJ8         2004                  RBS3                                    07/19/2012                                  35.00
                   BAG    XJ8         2004                  RBS3                                    07/19/2012                                  25.00
                   BAG    XJ8         2004                  RBS3                                    07/20/2012                                  25.00
                   BAG    XJ8         2004                  RBS3                                    07/20/2012                                  25.00
                   BMT    XJ8         2004                  RBS3                                    07/1~/2012                                  50.00
                   BWN    XJ8         2004                  RBS3                                    07/j9/2012                                 120.00
                   CBX    XJ8         2004                  RBS3                                    07/19/2012                                  99.00
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                   EVP    XJB         2004                  RBS3                                   07/20/2012                                 150.00
                   FDR    XJB         2004                  RBS3                                   07/19/2012                                 125.00
                   FNL    XJ8         2004                  RBS3                                   03/21/2013                                 150.00
                   FRG    XJ8         2004                  RBS3                                   01/16/2016                                  75.00
                   FRG    XJ8         2004                  RBS3                                   01/16/2016                                  70.00
                   FST    XJB         2004                  RBS3                                   07/20/2012                                  75.00
                   FTK    XJB         2004                  RBS3                                   03/21/2013                                  75.00
                   FTP    XJ8         2004                  RBS3                                   03/21/2013                                  55.00
                   GPD    XJ8         2004                  RBS3                                   07/?0/2012                                  75.00
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                   HRT    XJ8         2.QQ4                 El~6                                   07/20/2012                                    5fr.~
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                   LID    XJB         2004           RBS3                                    07/19/2012                                    140.00
                   MBR    XJ8
                   PBR    XJB                               RBS3                                   03/21/2013                                  65.00
                   QTR    XJB                               RBS3                                   07/19/2012                                 175.00
                   QTR    XJB                               RBS3                                   07/19/2012                                 175.00
                   RDO    XJB                                                                      @?-ftlt@t'@@"l>fe.                         m01Y.@:S--
                   RDR    XJB         2004                  RBS3                                   07/19/2012                                 125.00
                   RDR    XJ8         2004                  RBS3                                   07/19/2012                                 125.00
                   RDS    XJ8         2004                  RBS3                                   07/19/2012                                  75.00
                   RGL    XJ8         2004                  RBS3                                   07/20/2012                                 120.00
                   RRG    XJ8         2004                  RBS3                                   01/16/2016                                  70.00
                   RRG    XJB         2004                  RBS3                                   01/16/2016                                  70.00
                   RTP    XJ8         2004                  RBS3                                   03/21/2013                                  50.00
                   RTP    XJ8         2004                  RBS3                                   03/21/2013                                  50.00
                   SAX    XJ8         2004                  RBS3                                   04/06/2016                                  75.00
                   SDO    XJ8         2004                  RBS3                                   07/19/2012                                  50.00
                   SPN    XJ8         20M                   1ifl0608R4                              1£;108/2@-1-5                              ?Ii QQsz?
                   STB    XJ8         2004                  20701                                   03/20/2015                                 35.00
Page 2 of 3                                                                                                                                 Printed on: 7/19/2016 at 11:54:27AM
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                                      Yard: 389
              STG   XJ8       ~pa
              STR   XJ8       2004
              THB   XJ8       2ii1
              TLP   XJ8       ¥88r+               Q.iHrn 12012
              UCR   XJ8        2004     20701     03/25/2015         100.00
              vuc   XJ8        2004      R8S3     07/19/2012           0.00
              WHL   XJ8        2Q01               95{13'2013     ~ c"r
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                                  ~   I UGK NUMBER ANALYSIS
                                           STOCK# 80106
                                                    Yard: 389


                   Part   Model          Year          location                   Date Entered                  Retail Price
      INVENTORY:
                   ABK    SONATA          2011         RBS3                        01/.17/2014                           24.00
                   ANT    SONATA          2011         RBS3                        01/23/2014                            35.00
                   BMT    SONATA          2011         RBS3                        01/23/2014                            25.00
                   CBX    SONATA          2011         RBS3                        01/23/2014                            35.00
                   CBX    SONATA          2011         RBS3                        01/23/2014                            65.00
                   CBX    SONATA          2011         RBS3                        01/23/2014                            25.00
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                   COi    SONATA          36)4
                   csw    SONATA          2011         RBS3                       04/22/2014                             20.00
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                   EBX    SONATA          .ga~                                     64/iiizd l'lF'3'                                    I .,_


                   EFB    SONATA          2011         RBS3                        01/23/2014                            35.00
                   EMA    SONATA          ~1           J ✓i2&4Ri2            --    eeH1[6J'!@>:1'6              Sil.    . 45.00-
                   FCN    SONATA          2011         RBS3                        04/22/2014                            30.00
                   FLS    SONATA          2011         RBS3                        01/23/2014                            35.00
                   FSB    SONATA          2011         RBS3                        01/23/2014                            35.00
                   FTK    SONATA          2011         RBS3                        01/23/2014                            65.00
                   FTP    SONATA          2011         BST3                        04/22/2014                            65.00
                   GLB    SONATA          ?.Q,;t1     ;81R4'@8&"                   WZ'.3'tzd 14                          ::t&.'e!O--
                   GPO    SONATA          2011        RBS3                         01/23/2014                            25.00
                   HAC    SONATA          20+-I       .A:2§81                      Oil t?3(20 14                         35 QO Z1'il
                   HLT    SONATA          2011        RBS3                         01/23/2014                            35.00
                   ICN    SONATA          2011        RBS3                         01/23/2014                            48.00
                   LCF    SONATA          ~'111        ◊3981                       00i'18i'@815                          85!~
                   ODH    SONATA          2011         RBS3                        04/22/2014                           35.00
                   PBR    SONATA          2011         RBS3                        01/17/2014                           40.00
                   PLR    SONATA          2011         RBS3                        04/22/2014                          275.00
                   QWN    SONATA          2011         RBS3                        04/22/2014                           35.00
                   QWN    SONATA          2011         RBS3                        04/22/2014                           50.00
                   RDO    SONATA          2041        ,i!i:286'1-                  0~1121911!!81,4!                      ;i!;,"tr"
                   RFP    SONATA          2~          4',e9€l1                     8£1)22)2014                           35.DtY
                   RSA    SONATA         2011          RBS3                        01/23/2014                           100.00
                   RSA    SONATA         2011          RBS3                        01/23/2014                           100.00
                   RTP    SONATA         2011          RBS3                        04/22/2014                            50.00
                   RTP    SONATA         2011          RBS3                        04/22/2014                            65.00
                   SAX    SONATA         2011          RBS3                        01/23/2014                            50.00
                   SDO    SONATA         2011          RBS3                        01/23/2014                            25.00
                   STB    SONATA         2011          RBS3                        04/22/2014                            35.00
                   STG    SONATA         2011          RBS3                        01/17/2014                            35.00
                   SWH    SONATA         ~II          ~~9~E'F                      fHi'~B,~Q~ 4                          Iii~
                   THB    SONATA          2.Q4ol      ;At~               Wddil     o111 n~ITl'2r                         30.eltr"
                   TRA    SONATA          2011         M7S3                        01/17/2014                           350.00
                   UCM    SONATA          2011         RBS3                        01/23/2014                            50.00
                   VIS    SONATA          2011         RBS3                        04/22/2014                            25.00
                   VIS    SONATA          2011         RBS3                        04/22/2014                            25.00
                   vuc    SONATA          2011         RBS3                        01/23/2014                             0.00
                   WMF    SONATA          2011         RBS3                        01/17/2014                            24.00

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                   STOCK# 80106
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # U0906
                                         Yard: 389


                   Part   Model       Year      Location   DateEntered       Retail Price
      INVENTORY:
                   ACL    TL           1996     RBS3       09/26/2008            20.00
                   ASH    TL           1996     RBS3       09/26/2008            35.00
                   CAL    TL           1996     RBS3       09/26/2008            25.00
                   CAL    TL           1996     RBS3       09/26/2008            25.00
                   CAL    TL           1996     RBS3       09/26/2008            25.00
                   CBX    TL           1996     RBS3       01/27/2009            15.00
                   CRB    TL           1996     RBS3       09/26/2008            35.00
                   csw    TL           1996     RBS3       09/26/2008            25.00
                   DPN    TL           1996     RBS3       01/27/2009            65.00
                   DSF    TL           1996     RBS3       09/26/2008            45.00
                   ECM    TL           1996     RBS3       09/26/2008            25.00
                   EVP    TL           1996     RBS3       09/26/2008            45.00
                   FNR    TL           1996     RBS3       01/27/2009           100.00
                                      -il,QOQ   ;0;0188    99'-i~&l           , w 88:®e• cu
                   FRG    TL
                   FTK    TL           1996     RBS3       01/27/2009            55.00
                   HTC    TL           1996     RBS3       09/26/2008           100.00
                   MCY    TL           1996     RBS3       01/27/2009            25.00
                   OOH    TL           1996     RBS3       08/14/2015            30.00
                   OOH    TL           1996     RBS3       08/14/2015            30.00
                   OOH    TL           1996     RBS3       08/14/2015            30.00
                   OOH    TL           1996     RBS3       08/14/2015            30.00
                   PBR    TL           1996     RBS3       01/27/2009            35.00
                   ROR    TL           1996     RBS3       09/26/2008            65.69
                   RDR    TL           1996     RBS3       09/26/2008            65.69
                   RGL    TL           1996     RBS3       09/26/2008            35.00
                   RRG    TL           1996     RBS3       09/26/2008            25.00
                   RSA    TL           1996     RBS3       09/26/2008            75.00
                   SAX    TL           1996     RBS3       09/26/2008            34.00
                   S0O    TL           1996     RBS3       09/26/2008            25.00
                   SPN    TL           1996     RBS3       09/26/2008            35.00
                   SPN    TL           1996     RBS3       09/26/2008            35.00
                   STB    TL           1996     RBS3       01/27/2009            35.00
                   STT    TL           1996     RBS3       09/26/2008            35.00
                   THB    TL           1996     RBS3       09/26/2008            85.00
                   UCF    TL           1996     RBS3       09/26/2008            25.00
                   UCM    TL           1996     RBS3       01/27/2009           100.00
                   vuc    TL           1996     RBS3       09/26/2008             0.00



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                   WTR    TL           1996     RBS3       01/27/2009
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                                  STOCK NUMBER ANALYSIS
                                         STOCK # C0302
                                                    Yard: 389


                   Part   Model       Year              Location                     Date Entered                        Retail Price
      INVENTORY:
                   ACL CRV             1998            RBS3                            03/,11/2015                             35.00
                   ASH CRV            tildil!iHil      A.a.a.Q.1eee          Rlll!!!I.I I 0@J~~l!ll!l!IJU!!I II !~~

                   ASH CRV           ., 1P98         ~AA 2 $                      ttJ!U~J.1 ,~!!!!,'J!!;NJQij U M ~ , _ , _
                   BDR CRV             1998            RBS3                            03/11/2015                             149.00
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                   FDW CRV             1998            RBS3                  03/11/2015   45.00
                   FDW CRV             1998            RBS3                  03/11/2015   35.00
                   FRG CRV             1998            RBS3                  03/11/2015   35.00
                   FRG CRV             1998            RBS3                  03/11/2015   45.00
                   FST CRV             1998            RBS3                  03/12/2015   50.00
                   FST CRV             1998            RBS3                  03/12/2015   50.00
                   FTK CRV             1998            RBS3                  03/11/2015   35.00
                   HAC CRV             1998            RBS3                  03/11/2015   35.00
                   LCF CRV             1998            RBS3                  03/11/2015   45.00
                   MIR CRV             1998            RBS3                  03/12/2015   20.00
                   OMA CRV             l!JM            99~..                           a.am,2Q~li                              1'&.t)t)        ;;..-,


                   PBR CRV             1998            RBS3                            03/11/2015                              25.00
                   PLR CRV             1998            RBS3                            03/11/2015                             100.00
                   PLR CRV             1998            RBS3                            03/11/2015                             100.00
                   QTR CRV             1998            RBS3                            03/11/2015                             150.00
                   QTR CRV             1998            RBS3                            03/11/2015                             150.00
                   QWN CRV             1998            RBS3                            03/11/2015                              35.00
                   RDR CRV             1998            RBS3                            03/11/2015                             125.00
                   RDR CRV             1998            RBS3                            03/11/2015                             125.00
                   ROW CRV             1998            RBS3                            03/11/2015                              35.00
                   ROW CRV             1998            RBS3                            03/11/2015                              30.00
                   RMD CRV             1998            RCS1                            05/05/2015                              35.00
                   RRG CRV             1998            RBS3                            03/11/2015                              35.00
                   RRG CRV             1998            RBS3                            03/11/2015                              35.00
                   RSA CRV             1998            RBS3                            03/11/2015                             250.00
                   RSA CRV             1998            RBS3                            03/11/2015                             100.00
                   RSA CRV             1998            RBS3                            03/11/2015                             100.00
                   RST CRV             1998            RBS3                            03/12/2015                              50.00
                   SPM CRV            ~e,,-           1P1~,.~.,,,rn                    D3(1 :J (20:15- ·                     •'• 3500         ¥MY


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                   TLP CRV             1998            RBS3                            03/11/2015                              30.00
                   TLP CRV             1998            RBS3                            03/11/2015                              30.00
                   UCM CRV             1998            RBS3                            03/11/2015                              65.00
                   UCM CRV             1998            RBS3                            03/12/2015                              65.00
                   VIS CRV             1998            RBS3                            03/12/2015                              20.00
                   VIS CRV             1998            RBS3                            03/12/2015                              20.00




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                   vuc CRV             1998            RBS3                            03/09/2015                               0.00
                   WHL CRV
                   WHL CRV                             ~!~~;;                          :~~;;;~;;                               g;_~~
                   WMR CRV             ~Qfi            ,~,~ 8~'86                      Q~iii~Q~5                               J5   QQ    .
                   WNO CRV             1998            RBS3                            03/11/2015                              45.00
                   WWB CRV             1998            RBS3                            03/12/2015                              25.00

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                   STOCK # C0302
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                                  STOCK NUMBER ANALYSIS
                                        STOCK# 21209
                                          Yard: 389


                   Part   Model       Year            location                     DateEntered             Retail Price
      INVENTORY:
                   ACL ACCORD          2906          •~tli~rm U N ' ' ~ ~ ~ ~
                   ANT ACCORD          2006           RCS3      01/16/2013  50.00
                   BCR ACCORD          2006           RCS3      03/30/2016 150.00
                   BMT ACCORD          2006           RCS3      04/30/2013  25.00
                   ccs ACCORD         aifj)@@o.
                   COL ACCORD           2006 ·    - ~04/30/2013
                                                RCS3   · ~ ·        ~
                                                                 65.00
                   csw ACCORD           2006    RCS3 04/30/2013  25.00
                   csw ACCORD           2006    RCS3 04/30/2013  15.00
                   CSW ACCORD           2006    RCS3 04/30/2013  15.00
                   DPN ACCORD           2006    RCS3 04/30/2013   0.00
                   FCN ACCORD           2006    RCS3 01/16/2016  19.00
                   FLS ACCORD           2006    RCS3 01/16/2013  35.00
                   FNR ACCORD           2006    RCS3 05/18/2015 250.00
                   FTK ACCORD           2006    RCS3 01/16/2013  50.00
                   GPO ACCORD           2006    RCS3 01/16/2013  35.00
                   HLT ACCORD
                   HOR ACCORD                                              '   .
                   HOR ACCORD          ?~            -~®Jl.JkiWJ.X2.~t4!i~@@)W
                   LID ACCORD          2006          RCS3                          01/03/2013                       50.00
                   MUF ACCORD          2006          RCS3                          01/16/2013                      250.00
                   PBR ACCORD          2006          RCS3                          12/31/2012                       50.00
                   PLR ACCORD          2006          RCS3                          04/30/2013                      175.00
                   PLR ACCORD          2006          RCS3                          04/30/2013                      175.00
                   QTR ACCORD          2006          21209                         05/19/2015                      250.00
                   RBR ACCORD          2006          RCS3                          01/03/2013                      150.00
                   RGL ACCORD          2006          RCS3                          05/19/2015                       40.00
                   RSA ACCORD          2006          RCS3                          04/30/2013                       90.00
                   RTP ACCORD          2006          RCS3                          04/30/2013                       65.00
                   SDO ACCORD         fJGG       L   .¢@!j)@4t@a:.                 t9'1Hffi2frfoE. '   Lii/4ii4~tf-iW"""
                   SRM ACCORD          2006          RCS3                          01/16/2016                      29.00
                   STB ACCORD          2006          RCS3                          12/31/2012                      25.00
                   TFP ACCORD          2006          RCS3                          01/03/2013                      50.00
                                                                                    a...iaiL,'-'                xs&j/Ef.btfPL 4§
                   UCM ACCORD          iQQ           iiaY-!!;!
                   UCM ACCORD            06          RCS3                          12/31/2012                       75.00
                   VAC ACCORD          2006          RCS3                          01/16/2013                       75.00
                   VIS ACCORD          2006          RCS3                          01/16/2013                       45.00
                   vuc ACCORD          2006          RCS3                          01/03/2013                        0.00
                   WMF ACCORD          ~             ~~                            @~~~~-                           _lii,00--
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                                  STOCK NUMBER ANALYSIS
                                         STOCK# 80105
                                           Yard: 389


                   Part   Model        Year        Location                      Date Entered                Retail Price
      INVENTORY:
                   ACL
                   AFM
                   ASH
                          MAZDA3
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                   BAG    MAZDA3        2010      RCS3                             01/23/2014                     25.00
                   BAG    MAZDA3        2010      RCS3                             01/23/2014                     50.00
                   BMT    MAZDA3        2010      RCS3                             01/23/2014                     25.00
                   CAN    MAZDA3        2010      RCS3                             03/12/2015                     50.00
                   CBX    MAZDA3        2010      RCS3                             01/23/2014                     25.00
                   CBX    MAZDA3        ~illi@I   ,e!(ild~@)@                    .. ~rn,r;;i,.filaii    ~~
                   CNV    MAZDA3       ~          ~-                    .!!L     --el~ 12H1!l'H~        -.     -~
                   COi    MAZDA3       -rn~ Q     M~!BI!            !
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                   COi    MAZDA3       ~lil
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                   COL    MAZDA3        2010      RCS3                             01/23/2014                     50.00
                   csw    MAZDA3        2010      RCS3                             01/23/2014                     25.00
                   csw    MAZDA3        2010      RCS3                             01/23/2014                     15.00
                   DPN    MAZDA3        2010      RCS3                             01/23/2014                    120.00
                   DSF    MAZDA3        2010      RCS3                             01/23/2014                     25.00
                   DWM    MAZDA3        2010      RCS3                             01/23/2014                     35.00
                   EBX    MAZDA3        Md        ~r,~5~,       I                  e~11 !12e 1!13                $ ~


                   ECM    MAZDA3        ~         A415SR.5                         QQ,IQ@ir.QQ1i -            , ,•., ®ii uQQ.-
                   ENG    MAZDA3        2Q~Q      ua:;,~                           Q~ l~lil2Qj'1,                  62~ !JO       •
                   EVP    MAZDA3        2010      RCS3                             03/12/2015                        75.00
                   FDW    MAZDA3        2010      RCS3                             01/23/2014                        40.00
                   FPM    MAZDA3        2010      RCS3                             03/12/2015                        50.00
                   FRG    MAZDA3        2010      RBS3                             01/16/2016                        45.00
                   FST    MAZOA3        2Q4Q      88-F~                            @01l~oii!1!1Hil~ i             ii'l'@lil      II

                   FTK    MAZDA3        2010      RCS3                             03/12/2015                     55.00
                   GPO    MAZDA3        2010      RCS3                             01/23/2014                     35.00
                   HAC    MAZOA3        2010      RCS3                             01/23/2014                     30.00
                   HTC    MAZDA3        2010      RCS3                             03/12/2015                    100.00
                   ICN    MAZOA3        2010      RCS3                             01/23/2014                     60.00
                   IWK    MAZOA3        2010      RCS3                             01/23/2014                     45.00
                   OOH    MAZOA3        2010      RCS3                             01/23/2014                     19.00
                   PBR    MAZOA3        2010      RCS3                             01/23/2014                     40.00
                   RRG    MAZOA3        2010      RCS3                             01/23/2014                     35.00
                   RSA    MAZOA3        2010      RBS1                             05/06/2015                    150.00
                   SAX    MAZOA3        2010      RCS3                             03/12/2015                     65.00
                   SAX    MAZOA3        2010      RCS3                             03/12/2015                     65.00
                   SO0    MAZDA3        2010      RCS3                             01/23/2014                     35.00
                   SPN    MAZDA3        2010      RCS3                             03/12/2015                     25.00
                   STG    MAZDA3        2010      B0105                            01/23/2014                     60.00
                   UCM    MAZDA3        2010      RCS3                             03/02/2015                    120.00
                   vuc    MAZDA3        2010      RCS3                             01/23/2014                      0.00
                   WMF    MAZDA3        2010      RCS3                             01/23/2014                     35.00




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                                       STOCK NUMBER ANALYSIS
                                             STOCK# A0903
                                               Yard: 389


                        Part   Model        Year       Location                DateEntered                    Retail Price
           INVENTORY:
                        AFM    CAMRY        2e,e      s ~ ~ e1i;,ei
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                        BAG    CAMRY
                        CON    CAMRY        ?Q1Q      !i\~~J                                            11!!\ll       ~~g~
                        ECM    CAMRY        2010      RCS3                      09/17/2014                            25.00
                        ECM    CAMRY        2010      RCS3                      09/17/2014                            25.00
                        FOL    CAMRY        2010      RCS3                      09/17/2013                            45.00
                        FDW    CAMRY        ,@@1110    @.fi\@(9 Ii-            -8®/@@Jil0ir1 G               21oi4    dlia&e
                        FPM    CAMRY        2010       RCS3                     09/17/2013                            45.00
                        GPD    CAMRY        2010       RCS3                     09/17/2013                            25.00
                        HED    CAMRY        .,?910    '\kli@ 6 t}<l•6           0 i Fffliidf&        !ilia           ''2'5'J~
                        HRT    CAMRY         2010     A0903                     11/05/2013                            35.00
                        HRT    CAMRY         2010     A0903                     11/05/2013                            35.00
                        RDW    CAMRY         2010     A0903                     11/05/2013                            35.00
                        RRG    CAMRY         2010     A0903                     11/05/2013                            50.00
                        RSA    CAMRY         2010     RCS3                     09/17/2013                            140.00
                        RVW    CAMRY         2010     A0903                     11/05/2013                            25.00
                        THB    CAMRY       -1210      , 9,@M~                  09i I 2tztfl 3                         45':fJ&"ZZ
                        vuc    CAMRY         2010     RCS3                     09/12/2013                              0.00



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                        WMF    CAMRY         20$8     A24C5!fl                 oo,i 1?i'2e Is


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Page 2 of 2                                                                                                       Printed on: 7/19/2016 at 11:56:44Af
Ver:1.04
                                  STOCK NUMBER ANALYSIS
                                           STOCK # X0302
                                             Yard: 389


                   Part   Model        Year         Location   Date Entered     Retail Price
      INVENTORY:
                   ASH    SONATA           2002     RCS3        03/15/2010          25.00
                   ASH    SONATA           2002     RCS3        03/15/2010          25.00
                   BBR    SONATA           2002     RCS3        03/15/2010          75.00
                   BWN    SONATA           2002     RCS3        03/15/2010          35.00
                   COi    SONATA           200'2    8~12~2      10!'4'ii!O 11       ~
                   COL    SONATA        2002        RCS3        03/15/2010          35.00
                   csw    SONATA        2002        RCS3        03/15/2010          24.00
                   ECM    SONATA        2002        RCS3        10/11/2011          18.00
                   ECM    SONATA        2002        RCS3        09/30/2014          10.00
                   FNL    SONATA        2002        RCS3        09/30/2014          75.00
                   FSB    SONATA        2002        RCS3        03/15/2010          35.00
                   FST    SONATA        2002        RCS3        03/15/2010          50.00
                   LCF    SONATA        2002        RCS3        03/15/2010          15.00
                   LID    SONATA        2002        RCS3        03/15/2010          34.00
                   QTR    SONATA        2002        RCS3        03/15/2010         125.00
                   QTR    SONATA        2002        RCS3        03/15/2010         150.00
                   RDR    SONATA       di'!@O£      1!!1~688    ~/iiiQ.1Q          ~
                   RGL    SONATA        2002        RCS3        03/15/2010          25.00
                   RMD    SONATA         2002       RCS3        03/15/2010          25.00
                   RMD    SONATA        2002        RCS3        09/30/2014          25.00
                   SPN    SONATA         2002       RCS3        03/15/2010          25.00
                   SRM    SONATA        2002        RCS3        01/16/2016          15.00
                   STR    SONATA         '.WO?      QQQQR~      8'8¢1MM31e         wsa.o"
                   STT    SONATA         2002       RCS3        03/15/2010          19.00
                   THB    SONATA      J2   ii!Q@Q   B08£R0      @i/1 6iQ0+Q         £~
                   TLP    SONATA           2002     RCS3        03/15/2010          20.00
                   TLP    SONATA           2002     RCS3        10/28/2010          35.00
                   TRA    SONATA           iQQzl    ~           1Qil:IM@iil1       2~
                   UCF    SONATA           2002     RCS3        03/15/2010          14.00
                   UCF    SONATA           2002     RCS3        03/15/2010          14.00
                                                                                                   /

                   vuc    SONATA           2002     RCS3        03/15/2010           0.00      ,


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Page 2 of 2                                                                       Printed on: 7/19/2016 at 11:57:0BAr
Ver:1.04
                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0505
                                         Yard: 389


                   Part   Model       Year       Location                    DateEntered                Retail Price
      INVENTORY:
                   ACL    XJ8         1998       RCS3                        05/07/2013                        45.00
                   AFM    XJ8         1998       RCS3                        05/08/2013                        40.00
                   ALP    XJ8         1998       RCS3                        05/08/2013                        45.00
                   ASH    XJ8         1998       RCS3                        05/08/2013                        25.00
                   ASH    XJ8         1998       RCS3                        05/08/2013                        25.00
                   BAG    XJ8         1998       RCS3                        05/08/2013                        25.00
                   BAG    XJ8         1998       RCS3                        05/08/2013                        25.00
                   BMT    XJ8         1998       RCS3                        05/08/2013                        45.00
                   BMT    XJ8         1998       RCS3                        05/08/2013                        45.00
                                                                                                               ;1;fi.@Q        ....,
                   BWN    XJ8         1998       ~e~:i3-~E                   85;188;'2. ~
                   CAL    XJ8         1999      i,l18ei~ I@                  8~                                ,J5,.Q..0
                                      1998      M&JR2                        ~,ee1 2e 1oa
                                                                                    1         i!I               i4'&.'@}(t ·re-
                   CAL    XJ8
                   CAL    XJ8         10913   11~1                           ®~Jif(3e                          e,~
                   CAL    XJ8         199&1      fa~t                        ~!f3Y3                          • 19¥@®
                   CAN    XJ8         1998      RCS3                         05/08/2013                         0.00
                   CBX    XJ8         1998      RCS3                         05/08/2013                        35.00
                   CBX    XJ8         1998      RCS3                         05/08/2013                        50.00
                   CSX    XJ8         1998      RCS3                         05/08/2013                        35.00
                   CBX    XJ8         1998      RCS3                         05/08/2013                        35.00
                   CBX    XJ8         1998      RCS3                         05/08/2013                        50.00
                   COi    XJ8         1998      1Q1il H,!i!                  se,es,1~eis                       ~
                   COi    XJ8         19QQ      111f!!!lf.,~8                ~s,12e• 1~                  I   · .25.e~-
                   COi    XJ8         19Qi      1e1it88' ,...           "'   e!~l'B,~I~                        ~!l~t'.1'1"'8
                   COi    XJ8         W@        ~J~C:~.                      @etef3,~ei 1:3                    25~0
                   COi    XJ8         1~S        Qo,41!,~                    00fflB,2.8 I:9                    @e.~
                   COi    XJ8         ~8         Aiil1ee                      sei'~e,i2e 1s                    £~~
                   COL    XJ8         1998      RCS3                         05/08/2013                        65.00
                   CRB    XJ8         1998      RCS3                         05/08/2013                        50.00
                   CRR    XJ8         1998      RCS3                         05/08/2013                        50.00
                   CSP    XJ8         1998      RCS3                         05/08/2013                        50.00
                   CSP    XJ8         1998      RCS3                         05/08/2013                        75.00
                   CSP    XJ8         1998      RCS3                         05/08/2013                        50.00
                   CSP    XJ8         1998      RCS3                         05/08/2013                        50.00
                   csw    XJ8         1~98      ,e~5~,4,                     lileil@8~S•                       2'&'00-
                   csw    XJ8         1~8        ;2108®4 i       HFD!        @M8~~&1B               p
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                   DMR    XJ8         1998        RCS3                       05/08/2013                        45.00
                                                                             6310-8720' I ~
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                   DSF    XJ8         19tW    -"iffl,4.,~S8fts                                                 3!1.'~
                   DWM    XJ8         1998       RCS3                        05/08/2013                         50.00
                   DWM    XJ8         1998        RCS3                       05/08/2013                         50.00
                   DWM    XJ8         1998       RCS3                        05/08/2013                         50.00
                   EBX    XJ8         1998        RCS3                       05/08/2013                         45.00
                   EBX    XJ8         1998        RCS3                       05/08/2013                         45.00
                   ECM    XJ8         1998       RCS3                        05/08/2013                       100.00
                   EFB    XJB         1998        RCS3                       05/08/2013                         50.00
                   FDR    XJ8         1998        RCS3                       05/08/2013                       100.00
                   FDR    XJB         1998        RCS3                       05/08/2013                       125.00
                   FDW    XJ8         1998        RCS3                       05/08/2013                         45.00
                   FDW    XJ8         1998        RCS3                       05/08/2013                         50.00
                   FEN    XJ8         1998        RCS3                       05/08/2013                         50.00
                   FEN    XJ8         1998        RCS3                       05/08/2013                         50.00
                   FRG    XJ8         1998        RCS3                       05/08/2013                         60.00
                   FRG    XJB         1998        RCS3                       05/08/2013                         70.00
                   FSB    XJ8         1998        RCS3                       05/08/2013                         35.00
                   FSB    XJ8         1998        RCS3                       05/08/2013                         35.00
                   FST    XJ8         1998        RCS3                       05/08/2013                         50.00
                   FST    XJ8         1998        RCS3                       05/08/2013                         50.00
                   FTK    XJ8         1998        RCS3                       05/08/2013                       100.00
Page 2 of 4                                                                                                  Printed on: 7/19/2016 at 11:57:31A
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                        STOCK NUMBER ANALYSIS
                             STOCK # A0505
                               Yard: 389
              GLB XJ8        1998         RCS3              05/08/2013         50.00
              GPD XJ8        1998         RCS3              05/08/2013         50.00
              GRL XJ8        1998         AR4:";S~-~IB      96,'90/2:0~ 3      4§ QQ-
              HAC XJ8        1998         AR4S1             05/08/2013         65.00
              IWK XJ8        1998         RCS3              05/08/2013         35.00
              KNE XJ8        1998         RCS3              05/08/2013         90.00
              KNE XJ8        1998         RCS3              05/08/2013         90.00
              LCF XJ8        1998         RCS3              05/08/2013         45.00
              LCF XJ8        1998         RCS3              05/08/2013         45.00
              LID XJ8        1998         RCS3              05/08/2013         75.00
              MCY XJ8        1998         RCS3              05/08/2013         35.00
              NOS
              ODH
              PBR
                  XJ8
                  XJ8
                  XJ8
                            -t"Q9B"---=::::::_Re6~
                             19S~Affi if
                             1998 RCS3
                                                           =~~~:=:: :::gg__
                                                            05/08/2013         50.00
              PSR XJ8        10~  i.Q.12.&i:;;;l            Q2/.Q5,JQH;i       ai,QQ
              QTR XJ8        1998 RCS3                      05/08/2013        125.00
              QTR XJ8        1998 RCS3                      05/08/2013        125.00
              QWN XJ8        1998 RCS3                      05/08/2013         45.00
              QWN XJ8        1998 RCS3                      05/08/2013         45.00
              RBR XJ8        1998 RCS3                      05/08/2013        125.00
              RDO XJ8        1998 RCS3                      05/08/2013         35.00
              RDO XJ8        1998 RCS3                      05/08/2013         35.00
              RDO XJ8        1~   BR14S3""                  el5rMf2018         aB.W
              RDR XJ8        1998 RCS3                      05/08/2013        125.00
              RDR XJ8        1998 RCS3                      05/08/2013        125.00
              RDS XJ8        1998 RCS3                      05/08/2013         50.00
              ROW XJ8        1998 RCS3                      05/08/2013         35.00
              ROW XJ8        1998 RCS3                      05/08/2013         35.00
              RGL XJ8        1998 RCS3                      05/08/2013        100.00
              RRG XJ8        1998 RCS3                      05/08/2013         85.00
              RRG XJ8        1998 RCS3                      05/08/2013         65.00
              RSA XJ8        1998 RCS3                      05/08/2013         75.00
              RSA XJ8        1998 RCS3                      05/08/2013        100.00
              RSP XJ8        1998 RCS3                      05/08/2013         65.00
              S00 XJ8        1998 RCS3                      05/08/2013         25.00
              SPM XJ8        1998 STALL                     05/08/2013         35.00
              SRM XJ8        1998 RCS3                      05/,08/2013        35.00
              STB XJ8        1998 RCS3                      05/08/2013         50.00
              STG XJ8        1998 RCS3                      05/08/2013         65.00
              STR XJ8        iQOil        ,Q,Q~J            ca ,oi1,,e1~ e     ~i.Q~
              STT XJ8        1998         RCS3              05/08/2013         50.00
              STT XJ8        1998         RCS3              05/08/2013         50.00
              THB XJ8        13~          ActeRtr           Ot;ra¥"11201 s     60.-e-er-
              TLP XJ8        1998         RCS3              05/08/2013         45.00
              TRC XJ8        1998         RCS3              05/08/2013        200.00
              UCF XJ8        1998         RCS3              05/08/2013         50.00
              UCF XJ8        1998         RCS3              05/08/2013         50.00
              UCM XJ8        1998         RCS3              05/08/2013         50.00
              UCM XJ8        1998         RCS3              05/08/2013         90.00
              VEN XJ8        1998         RCS3              05/08/2013         15.00
              VEN XJ8        1998         RCS3              05/08/2013         15.00
              VIS XJ8        1998         RCS3              05/08/2013         45.00
              VIS XJ8        1998         RCS3              05/08/2013         45.00
              vuc XJ8        1998         RCS3              05/07/2013          0.00
              WHL XJ8        '½108        'a"il'r'.'3~2M    o~n,a12B1s         ee.QQ
              WHL XJ8        1-QOi        wn<e~,            Qe~13             "3'!5.o'eF
              WHL XJ8        1~98         lCl&Z;3S ~ E&2    Q5"1~'2Q~~         06.00---
              WHL XJ8        1~~-                          ~~~4                ~
              WHL XJ8        1006 m .3S rntt                0'57m3"/zui3       35':'tit)
                                                                                           @II




              WMF XJ8        1998 RCS3                      05/08/2013         35.00
              WWB XJ8        1998         RCS3              05/08/2013         45.00

Page 3 of 4                                                                  Printed on: 7/19/2016 at 11:57:31AM
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                  STOCK NUMBER ANALYSIS
              /
                       STOCK# A0505
                         Yard: 389
                                                 .00




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                                              :SI UCK NUMBER ANALYSIS
                                                        STOCK# 81001
                                                          Yard: 389


                   Part       Model                Year              Location             Date Entered                  Retail Price
      INVENTORY:
                   ABK       PATHFI                    2004         RCS3                    10/08/2014                        32.00
                   ACH       PATHFI                    2004         RCS3                    10/08/2014                        35.00
                   ACL       PATHFI                    2004         RCS3                    10/08/2014                        35.00
                   BAG       PATHFI                    2004         RCS3                    10/08/2014                        35.00
                             PATHFI                    2004         RCS3                    10/08/2014                        35.00



                                                                  .~
                   BMT
                   CBX       PATHFI                    2004         RCS3                    10/08/2014                        45.00
                   CBX       PATHFI                    2004         RCS3                    10/08/2014                        40.00
                   COL       PATHFI                    2004         RCS3                    10/08/2014                        50.00
                   C-@M      F'iA"JEI IFI              f!@i@I
                                                                    RCS3
                                                                                 AW       - :liWQRl;?Qj a
                                                                                            10/08/2014
                                                                                                                              z~
                                                                                                                              35.00
                                                                                                                                          a.::...
                   CSP       PATHFI                    2004
                   csw       PATHFI                    2004         RCS3                    10/08/2014                         25.00
                   csw       PATHFI                    2004         RCS3                    10/08/2014                          0.00
                   CSW       PATHFI                    2004         RCS3                    10/08/2014                         25.00
                                                       2004         RCS3                    10/08/2014                         25.00
                   DMR
                   @@Ii
                             PATHFI
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                   DWM       PATHFI                    2004         RCS3                   10/08/2014                          45.00
                   OWM       PATHFI                    2004         RCS3                   10/08/2014                          25.00
                   OWM       PATHFI                    2004         RCS3                   10/08/2014                          45.00
                   EFB       PATHFI                    2004         RCS3                   10/08/2014                          35.00
                   @M(;      f¥?1i1"1'FI           · !064            Aitz6~0t              1uitIB7zo"l'ff   !44--   ! ..   - ~Q...-
                   F,MO      ldQ;!;;! llial            agg~       .. AM!2~~/;i             ~Q.Q2'-Q~ 4                       ~,Ui QQ       ,,
                   EVP       PATHFI                    2004         RCS3                   10/08/2014                          75.00
                   <t=Cls    ~(;,I                     B@Q4         .M~~p.,,,.             1©1@8;128 14                       ~
                   FOL       PATHFI                    2004         RCS3                   10/08/2014                         45.00
                   FOL       PATHFI                    2004         RCS3                   10/08/2014                         35.00
                   FDW       PATHFI                    2004         RCS3                   10/08/2014                         35.00
                   FEN       PATHFI                    2004         RCS3                   10/08/2014                         65.00
                   FLS       PATHFI                    2004         RCS3                   10/08/2014                         50.00
                   FLY       PATHFI                    2004         RCS3                   10/08/2014                         50.00
                   FPM       PATHFI                    2004         RCS3                   10/08/2014                         70.00
                   FRG       PATHFI                    2004         RCS3                   10/08/2014                         35,00
                   FRG       PATHFI                    2004         RCS3                   10/08/2014                         35.00
                   FSB       PATHFI                    2004         RCS3                   10/08/2014                         60.00
                   FSH       PATHFI                    2004         RCS3                   10/08/2014                         45.00
                   FSH       PATHFI                    2004         RCS3                   10/08/2014                         30.00
                   FST       PATHFI                    2004         RCS3                   10/08/2014                        125.00
                   FST       PATHFI                    2004         RCS3                   10/08/2014                         75.00
                   FTK       PATHFI                    2004         RCS3                   10/08/2014                         45.00
                   GAH       PATHFI                    2004         RCS3                   10/08/2014                         25.00
                   GLB       PATHFI                    2004         RCS3                   10/08/2014                         50.00
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                   HLP       PATHFI                    2004         RCS3                   10/08/2014                         35.00
                   HUB       PATHFI                    2004         RCS3                   10/08/2014                         35.00
                   IWK       PATHFI                    2004         RCS3                   10/08/2014                         45.00
                   MCY       PATHFI                    2004         RCS3                   10/08/2014                         50.00
                   MIR       PATHFI                    2004         RCS3                   10/08/2014                         15.00
                   MUF       PATHFI                    2004         RCS3                   10/08/2014                        100.00
                   ODH       PATHFI                    2004         RCS3                   10/08/2014                         25.00
                   ODH       PATHFI                    2004         RCS3                   10/08/2014                         25.00
                   PBR       PATHFI                    2004         RCS3                   10/08/2014                         50.00
                   QWN       PATHFI                    2004         RCS3                   10/08/2014                         45.00
                    ~i       ~                   z;_   !'ee,$,A 4 11\'3!:lOO'I        a    11afi8M@illu1                ;Z)F~

                    RAX      PATHFI                    2004         RCS3                   10/08/2014                        140.00
                    RDO      PATHFI                    2004         RCS3                   10/08/2014                         25.00
                    RDR      PATHFI                    2004         RCS3                   10/08/2014                         75.00
                    ~        FiZI RPI                  2004         ~2ffli                 10r88i'2e' lit                     56'.dlf'
Page 2 of 3                                                                                                                 Printed on: 7/19/2016 at 11:57:57AM
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                             STOCK NUMBER ANALYSIS
                                  STOCK# 81001
                                    Yard: 389
              RRG   PATHFI        2004   RCS3    10/08/2014        25.00
              RSP   PATHFI        2004   RCS3    10/08/2014       100.00
              SPN   PATHFI        2004   RCS3    10/08/2014        35.00
              SPN   PATHFI        2004   RCS3    04/08/2016        35.00
              STB   PATHFI        2004   RCS3    10/08/2014        35.00
              STT   PATHFI        2004   RCS3    10/08/2014        45.00
              SWH   PATHFI        2004   RCS3    10/08/2014        50.00
              UCM   PATHFI        2004   RCS3    10/08/2014        45.00
              VIS   PATHFI        2004   RCS3    10/08/2014        45.00
              vuc   PATHFI        2004   RCS3    10/08/2014         0.00
              WAR   PATHFI        2004   RCS3    10/08/2014        15.00
              WAR   PATHFI        2004   RCS3    10/08/2014        15.00
              WMF   PATHFI        2004   RCS3    10/08/2014        25.00
              WMR   PATHFI        2004   RCS3    10/08/2014        40.00
              WTR   PATHFI        2004   RCS3    10/08/2014


                                                              r    35.00/



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Ver:1.04
                                        STOCK NUMBER ANALYSIS
                                              STOCK# X1107
                                                Yard: 389


                        Part   Model        Year              location             DateEntered            Retail Price
           INVENTORY:
                        BAL    FTF350        1 9_9:5         03692
                        CON    FTF350        WPS • q!i~4•• · A& ..- u ~ ~ d . M&v.m.; 3h00
                        EMA    FTF350       )99§             ~.si&ll!lll!ll!lll!IJ_ll!l@ !!l~'.lml_ !!110!11! .1Z.    ttl,M'@ll'
                        EMA    FTF350       .,.Q9,5-,       MAAi4~•s.r &isl. . .•... .,I! r-1m12tr~6'; oo ,_
                        FCL    FTF350       ,Ji)PF      Ai -®~®~li .... ' ! ' l ~ ~
                        FVW    FTF350       1995             X1107                        03/18/2015                   20.00
                        HLP    FTF350       1995             RCS4                         11/22/2010                   25.00
                        HLP    FTF350       1995             RCS4                         11/22/2010                   25.00
                        RAD    FTF350       <iii H         ,,w3e04 a                      &Ji 2 ;; 2 Ji 2          &i&?f&.-OEfW"
                        STG    FTF350       1995             RCS4                         11/22/2010                   35.00
                        vuc    FTF350       1995             RCS4                         11/22/2010                     0.00
                        WMF    FTF350       1995             RCS4                         11/22/2010           ~5.00
                                                                                                             $39    ·O


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                                  STOCK NUMBER ANALYS·IS
                                            STOCK# A0404
                                              Yard: 389


                   Part   Model            Year           Location             Date Entered            Retail Price
      INVENTORY:
                   ACL BEETLE              2000          RCS4                   04/03/2013                 25.00
                   AFM BEETLE              2000          RCS4                   04/03/2013                 25.00
                   ASH BEETLE              ~QQQ          ;t;Q i;;i_~~il         '11!'.Ulila!!iiHil~i       a!illii QQ,.a
                   BAG BEETLE               2000         RCS4                   04/03/2013                 25.00
                   BBF BEETLE               2000         RCS4                   07/20/2015                 35.00
                   BMT
                   BWN
                       BEETLE
                       BEETLE
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                   CAL BEETLE          ~eee         r TA'@'€jf ~ I -            i:i~i                      ~
                   CAL BEETLE              ,JPPDszn~                          e-Jii)il™Q,1 ? a + u         i~
                   CAN BEETLE              2000          RCS4                   04/03/2013                 35.00
                   CBX BEETLE              2000          RCS4                   04/03i2013                 50.00
                   COL BEETLE              2000          RCS4                   04/03/2013                 35.00
                                                                                                          ~


                                                                                ~--
                   COM BEETLE              ~             A921"' rt             =~~@ii®
                   CRB BEETLE              2000          RCS4                   04/03/2013                 15.00
                   csw BEETLE              ~             1:13,~!                                          ~·,.~
                   csw BEETLE          ~o                15'R'-1"1:'.':l:4   ~18                           16.~
                   EMA BEETLE              2000          RCS4                 04/03/2013                   85.00
                   FDR BEETLE              2000          RCS4                 04/03/2013                  100.00
                   FDR BEETLE              2000          RCS4                 04/03/2013                  100.00
                   FEN BEETLE              2000          RCS4                 04/03/2013                   30.00
                   FEN BEETLE              2000          RCS4                 04/03/2013                   35.00
                   FNL BEETLE              2000          A0404                07/15/2016                   75.00
                   FNR BEETLE              2000          A0404                07/15/2016                   75.00
                   FRG BEETLE              2000          RCS4                 07/07/2014                   45.00
                   FST BEETLE              2000          RCS4                 04/03/2013                   35.00
                   GLB BEETLE              2000          A0404                07/15/2016                   35.00
                   HOD BEETLE              2000          DR2S1                04/03/2013                   90.00
                   ITC BEETLE              2000          A0404                07/:15/2016                  35.00
                   JAK BEETLE              2000          A0404                07/15/2016                   20.00
                   KNE BEETLE              2000          RCS4                 04/03/2013                   65.00
                   KNE BEETLE              2000          RCS4                 04/03/2013                   65.00
                   LCF BEETLE              2000          RCS4                 04/03/2013                   25.00
                                                                              04/03/2013                   25.00

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                   LCF BEETLE              2000          RCS4
                   LID
                   PBR
                       BEETLE
                       BEETLE
                                           ~·
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                                                                                07/15/2016
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                                                                                                           25.00
                   QTR BEETLE              2000          RCS4                   04/03/2013                150.00
                   QTR BEETLE              2000          RCS4                   04/03/2013                125.00
                   OWN BEETLE         _;j!Q98            6R1'S2R~               0'1 IQ~,2C~ J              ~.GQ:
                   QWN BEETLE              LdOO          GR3S IR I              04703,2013                 23.66
                   RBR BEETLE              2000          RCS4                   04/03/2013                 65.00
                   RGL BEETLE              2000          RCS4                   04/03/2013                 50.00
                   RST BEETLE              2000          A0404                  07/15/2016                 50.00
                   SPM BEETLE              ~@            Q.i6.31il 1            o.weS1!e Io                2~
                   SPN BEETLE              2000          A0404                  07/15/2016                 25.00
                   SRM BEETLE              2000          RCS4                   01/18/2016                 35.00
                   STB BEETLE              2000          RCS4                   04/03/2013                 25.00
                   STR BEETLE              2QQQ          86061-R'"I             04)63)2013                 '.tfu@@S
                   STT BEETLE              2000          RCS4                   04/03/2013                 30.00
                   STT BEETLE              2000          RCS4                   04/03/2013                 30.00
                   UCM BEETLE              2000          RCS4                   04/03/2013                 35.00
                   vuc BEETLE              2000          RCS4                   04/03/2013                  0.00
                   WMF BEETLE              2000          RCS4                   04/03/2013                 20.00
                   WNO BEETLE          ~ee&              o" 1'5--lrrn           di, 1&~8◄ 8                ?5Q~
                   WWB BEETLE              2000          RCS4                   04/03/2013                 25.00 ----
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Page 2 of 2                                                                                              Printed on: 7/19/2016 at 11 :58:57!
Ver:1.04
                                      STOCK NUMBER ANALYSIS
                                                 STOCK# A0408
                                                   Yard: 389


                   Part      Model              Year       location                 DateEntered                 Retail Price
      INVENTORY:
                   ALP       ELANTR              2002     RCS4                       04/22/2013                          15.00
                   ASH       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   BAG       ELANTR              2002     RCS4                       04/22/2013                          15.00
                   BAG       ELANTR              2002     RCS4                       04/22/2013                          20.00
                   BBF       ELANTR              2002     RCS4                       07(17/2013                          35.00
                   BMT       ELANTR              2002     RCS4                       04/22/2013                          20.00
                   BWN       ELANTR              2002     RCS4                       04/22/2013                          45.00
                   CSX       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   COL       ELANTR              2002     RCS4                       04/22/2013                          45.00
                   cw        ~            &    . !lie.    e-@':::ffi d              ....~Ii~               LWWWM~
                   CRB       ELANTR              2002     RCS4                       04/22/2013                          10.00
                   csw       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   csw       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   DfoWit    E5:f5~~           "-fl@@    Ii ~                        ~J'3QU                XS      ra;;;;JA~L-
                   DSF       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   EBX       ELANTR              2002     RCS4                       04/22/2013                          50.00
                   ECM       ELANTR              2002     RCS4                       07/17/2013                          20.00
                   EMA       ELANTR              2002     RCS4                       04/22/2013                          75.00
                   FDR       ELANTR              2002     RCS4                       04/22/2013                         150.00
                   FLS       ELANTR              2002     RCS4                       04/22/2013                          45.00
                   FNR       ELANTR              2002     RCS4                       07/17/2013                         100.00
                   FPM       ELANTR              2002     RCS4                       04/22/2013                          35.00
                   FSB       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   FSB       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   FSB       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   FST       ELANTR              2002     RCS4                       07/17/2013                          45.00
                   FST       ELANTR              2002     RCS4                       07/17/2013                          45.00
                   FTK       ELANTR              2002     RCS4                       07/17/2013                          35.00
                   GPO       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   h,A6lil   EEAN fiF 1       ZJJJ4@8@@!ii2.44&,_~       !PJWM _   . z , e , ~ ..          -,!!ffl.!i   a~.-
                   IWK       ELANTR              2002     RCS4                       04i22/2013                          35.00
                   LCF       ELANTR              2002     RCS4                       04/22/2013                          45.00
                   LCF       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   PSR       ELANTR              2002     RCS4                       04/22/2013                          15.00
                   QTR       ELANTR              2002     RCS4                       04/22/2013                         150.00
                   QTR       ELANTR              2002     RCS4                       04/22/2013                         150.00
                   RBR       ELANTR              2002     RCS4                       04/22/2013                         100.00
                   RDR       ELANTR              2002     RCS4                       04/22/2013                         100.00
                   RSA       ELANTR              2002     RCS4                       04/22/2013                          65.00
                   RSA       ELANTR              2002     RCS4                       04/22/2013                          65.00
                   SOO       ELANTR              2002     RCS4                       04/22/2013                          25.00
                   SPN       ELANTR              2002     RCS4                       04/22/2013                          35.00
                   STB       ELANTR              2002     RCS4                       04i22/2013                          35.00
                   STG       ELANTR              2002     RCS4                       04/22/2013                          35.00
                   ~         liiil.Qi~~          2CQJ     ii@@@'~   I                ei!!li~~l!1I!! Q~ s                 ~Q......u
                   UCM       ELANTR              2002     RCS4                       04/22/2013                         75.00
                   UCM       ELANTR              2002     RCS4                       04/22/2013                         35.00
                   VIS       ELANTR              2002     RCS4                       04/22/2013                         25.00
                   VIS       ELANTR              2002     RCS4                       04/22/2013                         25.00
                   vuc       ELANTR              2002     RCS4                       04/22/2013                          0.00
                   WHC       ELANTR              2002     RCS4                       04/22/2013                         15.00
                   WHL       ELANTR              2002     RCS4                       07/17/2013                         25.00



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                   WMF       ELANTR              2002     RCS4                       04/22/2013


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Page 2 of 2                                                                                                        Printed on: 7/19/2016 at 11:59:22AM
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                                     STOCK NUMBER ANALYSIS
                                          STOCK # Y0505
                                            Yard: 389
                      Part    Model      Year    Sold To             Sold Date       Sale Price
INVENTORY SOLD:
                      TRA    SOLARA       2000   Walk-In/No Acct     6/14/2011          250.00
                      DMR    SOLARA       2000   Walk-In/No Acct     6/27/2011           35.00
                      WHL    SOLARA       2000   3596325             6/30/2011           50.00
                      WHL    SOLARA       2000   3596325             6/30/2011           50.00
                      WHL    SOLARA       2000   3596325             6/30/2011           50.00
                      RBR    SOLARA       2000   RAR1111             7/6/2011           100.00
                      ALT    SOLARA       2000   RAR1111             9/6/2011            40.00
                      STR    SOLARA       2000   YAS2786             10i8/2011           25.00
                      TLP    SOLARA       2000   477311              10/13/2011          65.00
                      ENG    SOLARA       2000   AR8473              11/1/2011          900.00
                      DMR    SOLARA       2000   Walk-In/No Acct     11/15/2011          35.00
                      FDR    SOLARA       2000   YAS7652             1/18/2012          250.00
                      WHL    SOLARA       2000   EHL7024             3/9/2012            45.00
                      TLP    SOLARA       2000   EDN2562             4/5/2012            50.00
                      CAL    SOLARA       2000   9442737             7/21/2012           10.00
                      CAL    SOLARA       2000   9442737             7/21/2012           10.00
                      LID    SOLARA       2000   BNL5005             10/~8/2013         150.00
                      FDR    SOLARA       2000   BLR7245             10/31/2013         175.00
                      DSF    SOLARA       2000   RAR1111             10/10/2014          35.00
                      BWN    SOLARA       2000   9552428             4/27/2015           50.00
                      QWN    SOLARA       2000   RAR1111             3/29/2016           35.00
                      BLT    SOLARA              RAR1111             6/2/2011            50.00
                      FST    SOLARA              AR0911              8/1112014           50.00
                                                                                     $2,510.00


                      Part    Model      Year    Account            Credit Date      Credit Amt
           CREDITS:
                      TRA    SOLARA       2000   Walk-In/No Ace      9/21/2011          -250.00
                      LID    SOLARA       2000   BNL5005             1012a12013         -150.00
                                                                                      -$400.00
                                                                   Net Sales:        $2,110.00



                      Part   Model       Year     Location          OateEntered      Retail Price
      INVENTORY:
                      AFM    SOLARA       2000   ""BztSS-R4          0512712011          35-:00
                      AIT    SOLARA       2000   RCS4                02/19/2015          25.00
                      ASH    SOLARA       2000   RCS4                05/27/2011          15.00
                      BBR    SOLARA       2000   RCS4                07/08/2011          35.00
                      COL    SOLARA       2000   RCS4                05/27/2011          50.00
                      COM    SOLARA       2000   B35:6R4             os;271zo11           46,.(JQ,
                      csw    SOLARA       2000   RCS4                05/27/2011          25.00
                      EBX    SOLARA       2000   A2Qg2               05/r7/2Q11          ~00-
                      HAC    SOLARA       2000   RCS4                05/27/2011          15.00
                      KNE    SOLARA       2000   RCS4                05/27/2011         100.00
                      LID    SOLARA       2000                                  ~j      HiQ.GG       ...
                      QTR    SOLARA       2000   RCS4                05/27/2011         150.00
                      QTR    SOLARA       2000   RCS4                05/27/2011         150.00
                      RSA    SOLARA       2000   RCS4                05/27/2011          75.00
                      RSA    SOLARA       2000   RCS4                05/27/2011          75.00
                      THB    SOLARA       2000   A032R&              6"51'27/2011        25.00--
                      vuc    SOLARA       2000   RCS4                05/27/2011           0.00
                      WMF    SOLARA       2000   RCS4                05/27/2011          25.00
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Page 1 of 1
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                                       STOCK NUMBER ANALYSIS
                                              STOCK # A0518
                                                      Yard: 389

                        Part   Model        Year           Location                   Date Entered               Retail Price
           INVENTORY:
                        BAG    SIENNA        .1:QOZ       168:f:BS                    £. ~@,liJ!!MW.!&li\4fl!,~@ll'
                        BAG    SIENNA      ...@kl~       ~iiia-                  !1Eldilii9~1m1                                ~
                        BMR    SIENNA        "9/i"i      ;ii1~.Qffl! M i ! S M E l l ! l l ~ ~
                        BMT    SIENNA        2i?Z        miJ~liiJ        HH            ~•®iiPtfil\~~
                        BMT    SIENNA      ~ii-•• - ~ , - .              I Ill         -1~~
                        BST
                        CBX
                               SIENNA
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                                               2007       RAS4
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                        FPM    SIENNA          aiCJ       Ar~                   ®MeiM46 I z                  H!~et•
                        FSB    SIENNA          2007      RAS4                   05/29/2013                     50.00
                        FST    SIENNA          2"00      :iiiliiQl!!i~          8ffl~i~,~ J!til D B I ~
                        FST    SIENNA          2Qff3      C.8TJIIIJi0          0612\!Jrib 13                  BY.VO.._.
                        FTK    SIENNA          2007      RAS4                   05/29/2013                    50.00
                        GPO    SIENNA          2007      RAS4                   05/29/2013                  100.00
                        HAC    SIENNA     .eos;;i         ~""rs I                      ~~§,~o;:r·-        •.•       _Q~   --~'tl.Oll'.._
                        ICN    SIENNA       2QD?        w-o,_;A.2-~~     2       $.    0~2l7~l           .L     J
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                        LRK    SIENNA       WO?           RAS4                         05/29/2013                          65.00
                        OMA    SIENNA       2997          80M                          Mi 18H~0 1.3                       Ll>&.'00'°'
                        PAS    SIENNA       2QQ?         IQ!R~~88                      Q~ ,.a~l!d!ila           . I :.     25.e'f:Yl
                        PAS    SIENNA       2,QQZ        ,Q1~z1-s.                     Q~,~~~Q@~e                             ~!5.88-
                        PAS    SIENNA       ~;.         •..Q~~~~                       Q~,~~~                                 @lj,,.f}Q
                        QTR    SIENNA       2007          RAS4                         09/26/2013                         100.00
                        QTR    SIENNA       2007          RAS4                         09/16/2015                         125.00
                        QWN    SIENNA       20.QJ         Q~~~~                        ~ Q1le!i@,l!,e                     •5~_m,•
                        RDO    SIENNA       ~oz          ,~~~s                         Qi,;;iQ!;;jQ~j,                        ~t'm
                        RDR    SIENNA       20()~        IY~4e~                        Qi,~;;!'2Q~ ;;i               -e e,e,. r1f'.r
                        ROW    SIENNA       2001-        C~liie                        Q-3tl0,'3EM3                       ~
                        RRG    SIENNA       "OOZ         r.~.                          Q~J,;1.Qt.Q.l.a                    ~
                        RRG    SIENNA       ~g~          ,~55Sj                        c~,2'1-,2~1 a" •• ~                !   .ilii,Q.Q-
                        RST    SIENNA       a!QQ;.       Q~J.:~Q                       ,Qli~~~a                      -1'~
                        SPK    SIENNA       4'!.Q•       &l i..-1,4,~i                 Qlii,!~Q~                              ~!5'.'00.
                        STR    SIENNA       a:GlO?       AQ'li!dR&                    ,Q5,'29i1£t31 &                M
                                                                                                                              24.88
                        VIS    SIENNA       2007         RAS4                          05/29/2013                             75.00
                        VIS    SIENNA       2007         RAS4                          05/29/2013                             75.00
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                               SIENNA       2007         RAS4                          05/23/2013



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Page 2 of 2                                                                                                          Printed on: 7/19/2016 at 12:00:12PN
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                                    STOCK NUMBER ANALYSIS
                                            STOCK# 20411
                                              Yard: 389


                    Part   Model        Year        Location         OateEntered            Retail Price
       INVENTORY:
                    AFM    FVE250        2002     RCS4                05/10/2012                 35.00
                    ALT    FVE250        ~        AOffli(J            H1iOIQ0&3             JfflMQ~
                    BAG    FVE250        2002     RCS4                06/22/2012                 25.00
                    CBX
                    CON
                    FPM
                    FRNI
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                    HAC    FVE250        2002                          6/22/2012
                    KNE    FVE250        2002                         06/22/2012
                    QTR    FVE250        2002                         06/22/2012
                    RAD    FVE250        ~i       :Wfilti           w@i:M)Q:l.001,zl    CCISJQ~            T
                    RAX    FVE250        2002     RCS4               05/10/2012                275.00
                    RDO    FVE250        2002     RCS4               06/22/2012                 25.00
                    RDR    FVE250        2002     20411              04/30/2016                150.00
                    RDR    FVE250        2002     20411              04/30/2016                150.00
                    ROW    FVE250        2002     RCS4               06/22/2012                 35.00
                    THB    FVE250        2€10!    ; (@l>lfi!li'&   ......~R91?         2%       ~ga,..,,.
                    TLP    FVE250        2002     RCS4                   06/22/2012             20.00
                    TLP    FVE250        2002     RCS4                   06/22/2012             20.00
                    VIS    FVE250        2002     RCS4                   06/22/2012             25.00
                    VIS    FVE250        2002     RCS4                   06/22/2012             25.00
                    vuc    FVE250        2002     RCS4                   09/10/2012
                    WMF    FVE250        2002     RCS4                   05/10/2012             25.00
                                                                                            $1,854.00


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Page 2 of 2                                                                                  Printed on: 7/19/2016 at 12:14:27P
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                                  STOCK NUMBER ANALYSIS
                                       STOCK# A0510
                                                Yard: 389


                   Part   Model       Year           Location      Date Entered          Retail Price
      INVENTORY:
                   ABK    CAMRY        1998        RC84             05/21/2013               20.00
                   ACL    CAMRY        1998        RCS4             05/21/2013               29.00
                   ALT    CAMRY        wee          (Klm!i/j        N:'81'2813                1f¾Qkl,.__,
                                                                                             20.00
                   BAG    CAMRY        1998        INCAR            05/21/2013
                   BAG    CAMRY        1998        INCAR            05/21/2013               20.00
                   BWN    CAMRY        1998        RC84             05/21/2013               35.00
                   CBX    CAMRY        1900        .~e!"            riNMtJ"IS                213:'~
                   COL    CAMRY        1998       RC84              05/21/2013                35.00
                   COM    CAMRY        1ftilA    mA:e&?rliil,,il   ~8~UM e                   ~Jt

                   CON    CAMRY        1998       RC84              05/21(2013               35.00
                   CRB    CAMRY        1998       RCS4              05/21/2013               25.00
                   csw    CAMRY        19H         0ifAl!.L         ~l!IN•l8 -               •Afuew,mt
                   DSF    CAMRY        1998        RC84             05/21/2013               25.00
                   EBX    CAMRY        1890        Kz9S2            omz 1,2er1s              M!~
                   ECM    CAMRY        1998        RC84             05/21/2013               25.00
                   ECM    CAMRY        1998        R.CS4            05/21/2013               25.00
                   EMA CAMRY           1998        RCS4             05/21/2013               30.00
                   ENC CAMRY           ~            ers~e           omknztfl3                so.oo--•
                   FDR CAMRY           1998        RCS4             05/21/2013              100.00
                   FDW CAMRY           1998        RCS4             05/21/2013               35.00
                   FPM CAMRY           1998        RCS4             05/21/2013               50.00
                   FRL CAMRY           1998        RCS4             05/21/2013               25.00
                   HAC CAMRY           1998        RCS4             05/21/2013               15.00
                   HLP CAMRY           1998        RCS4             05/21/2013               35.00
                   HLP CAMRY           1QQ8         BR@'ii@         96t£1J£810               £5.ee>
                   LID CAMRY           1998        RCS4             05/21/2013               50.00
                   PSR CAMRY           1998        RCS4             05/21/2013               25.00
                   QTR CAMRY           1998        RCS4             05/21/2013              100.00
                   RBR
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                       CAMRY
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                   RDR CAMRY           1998         RCS4            05/21/2013              100.00
                   RDR CAMRY           1998         RCS4            05/21/2013              100.00
                   RRG CAMRY           Ht9t3       A2483            OM~!B 11                 0e.~
                   RSA CAMRY           1998        RCS4             05/21/2013               50.00
                   SDO CAMRY           1998        RCS4             05/21/2013               25.00
                   8PM CAMRY           1998        RCS4             05/21/2013               20.00
                   STR CAMRY          '4998        ,Ai03R40-        69~2. I!@819             ,M,50,_
                   STT CAMRY           1998        A0510            07/17/2014               35.00
                   THB CAMRY           ~998        ~*~9             Qi,l;jl ~ ,;;iQ~ ~       I!~
                   TLP CAMRY          .-000        Nl:Q.8O1         Q5"3 t<aMe               @6.~
                   TLP CAMRY           1998        RCS4             05/21/2013               35.00
                   UCM CAMRY           1998        RCS4             05/21/2013               45.00
                   vuc CAMRY           1998        RCS4             05/21/2013                0.00
                   WMF CAMRY           1998        RCS4             05/21/2013               25.00
                   WWB CAMRY           1998        RCS4             05/21/2013
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Page 2 of 2                                                                                Printed on: 7/19/2016 at 12:14:50Pl'v
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # Y0304
                                         Yard: 389


                   Part   Model       Year    Location   DateEntered   Retail Price
      INVENTORY:
                   ASH    ACCORD       1997   RCS4        03/10/2011       20.00
                   BWN    ACCORD       1997   RCS4        03/10/2011       65.00
                   COL    ACCORD       1997   RCS4        03/10/2011       50.00
                   DMR    ACCORD       1997   RCS4        03/10/2011       25.00
                   FDW    ACCORD       1997   RCS4        03/10/2011       35.00
                   FRG    ACCORD       1997   RCS4        06/11/2013       35.00
                   LCF    ACCORD       1997   RCS4        03/10/2011       25.00
                   LID    ACCORD       1997   RCS4        03/10/2011       75.00
                   OOH    ACCORD       1997   RCS4        03/10i2011       25.00
                   OOH    ACCORD       1997   RCS4        03/10/2011       25.00
                   OOH    ACCORD       1997   RCS4        03/10/2011       25.00
                   OOH    ACCORD       1997   RCS4        03/10/2011       25.00
                   ROW    ACCORD       1997   RCS4        03/10/2011       25.00
                   ROW    ACCORD       1997   RCS4        03/10/2011       25.00
                   RRG    ACCORD       1997   RCS4        06/11/2013       35.00
                   RRG    ACCORD       1997   RCS4        06/11/2013       35.00
                   RSA    ACCORD       1997   RCS4        03/10/2011       75.00
                   RSA    ACCORD       1997   RCS4        03/10/2011       75.00
                   STT    ACCORD       1997   RCS4        03/10/2011       25.00
                   THB    1':CCC~O     1~9r   A812R5      eo,· tM&M         @i.G@     lll!9

                   TLP    ACCORD       1997   RCS4        03/10/2011       25.00
                   UCM    ACCORD       1997   RCS4        03/10/2011       40.00
                   VIS    ACCORD       1997   RCS4        03/10/2011       25.00
                   VIS    ACCORD       1997   RCS4        03/10/2011       25.00
                   vuc    ACCORD       1997   RCS4        03/10/2011        0.00
                   WHC    ACCORD       1997   RCS4        03/10/2011       15.00
                   WHC    ACCORD       1997   RCS4        03/10/2011       15.00



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Page 2 of 2
Ver:1.04
                                   STOCK NUMBER ANALYSIS
                                          STOCK # A 1006
                                                  Yard: 389


                    Part   Model        Year           Location                  DateEntered               Retail Price
       INVENTORY:
                    ABK
                    BAG
                    BAG
                    BMT
                           CRV
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                    CON
                    FNR
                           CRV
                           CRV
                                       ~:
                                        2006
                                                   ll!.!;=-'""_~!!J!!!!l~!!!!!
                                                      RCS4
                                                                                    ~ e!~~--·-·--1---------·~
                                                                                    03/23/2015                100.00
                    HRT    CRV          2006          RCS4                          11/12/2013                 25.00
                    JAK    CRV          2006          RCS4                          11/12/2013                 45.00
                    QTR    CRV          2006          RCS4                          10/30/2013                199.00
                    QTR    CRV          2006          RCS4                          01/18/~016                225.00
                    OWN    CRV          JJB88        GS3zR4                         10/30/2013                 so.mr
                    RBR    CRV             2006      RCS4                           10/30/2013                140.00
                    RMD    CRV             2006      RCS4                           11/12/2013                 45.00
                    RRG    CRV             2006      RCS4                           10/30/2013                 35.00
                    RSA    CRV             2006      RCS4                           10/30/2013                 99.00
                    RSA    CRV             2006      RCS4                           10/30/2013                 99.00
                    RVW    CRV             2006      RCS4                           10/30/2013                 25.00
                    STT    CRV         11
                                          -£889      ,~,e,ee                        ~Q§~~4           •         4~
                    THB    CRV          2008         ~~SR&                          ~.Q;~,HJQ~ :3             ~Q~...       ,Ji#


                    TLP    CRV         -!006         Al\:5051                       I e,136;!2610              1~
                    vuc    CRV          2006         RCS4                           10/30/2013                  0.00
                    WMF    CRV          2006         RCS4                           10/30/2013                 25.00
                                                                                                           $1,577.


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Page 2 of 2                                                                                                 Printed on: 7/19/2016 at 12:15:38Pr
Ver:1.04
                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0803
                                         Yard: 389


                   Part   Model       Year     Location       Date Entered                     Retail Price
      INVENTORY:
                   ACL    SATRNL      2000    RCS4             08/15/2013                             25.00
                   AFM    SATRNL      ~1,0    /tOf 1PW         ~;1001 ►                            .. , @ ~

                   BAG    SATRNL      2000    RCS4               08/15/2013             15.00
                   BAG    SATRNL      2000    RCS4               08/15/2013             25.00
                   BBF    SATRNL      2000    RCS4               08/15/2013            45.00
                   BMT    SATRNL      2000    RCS4               08/15/2013            25.00
                   BWN    SATRNL      2000    RCS4               08/15/2013             35.00
                   CAL    SATRNL      ~       ~t,'SzP(J!I!   ·-ul:J~F~~.,1-!l- · - -L-.!!~@,,--
                   CAL    SATRNL      ~       AV64R42 •       2!!!8i,1'1J,6;!0Q.!i,3,;   22... -.LL __ zA;fu@.G;   1

                   CAN    SATRNL      2000    RCS4             08/15/2013                             35.00
                   CBX    SATRNL      2000    RCS4             08/15/2013                             25.00
                   CBX    SATRNL      2000    RCS4             08/15/2013                             35.00
                   CBX    SATRNL      2000    RCS4             08/15/2013                             25.00
                   CBX    SATRNL      2000    RCS4             08/15/2013                             25.00
                   CBX    SATRNL      woo     AR34S5           02:{1312016                            26.W•
                   COL    SATRNL      2000    RCS4             08/15/2013                            45.00
                   CRB    SATRNL      2000    RCS4             08/15/2013                            25.00
                   CSW    SATRNL      2000    RCS4             08/15/2013                            25.00
                   csw    SATRNL      2000    RCS4             08/15/2013                            25.00
                   DMR    SATRNL      2000    RCS4             08/15/2013                            25.00
                   DSF    SATRNL      2000    RCS4             08/15/2013                            10.00
                   DSF    SATRNL      2000    RCS4             08/15/2013                            10.00
                   ECM    SATRNL      2000    RCS4             08/15/2013                            35.00
                   ECM    SATRNL      2000    RCS4             08/15/2013                            50.00
                   EFB    SATRNL      2000    RCS4             08[15/2013                            50.00
                   FDR    SATRNL      2000    RCS4             08/15/2013                           125.00
                   FDR    SATRNL      2000    RCS4             08/15/2013                           125.00
                   FEN    SATRNL      2000    RCS4             08/15/2013                            40.00
                   FLS    SATRNL      2000    RCS4             08/15/2013                            45.00
                   FPM    SATRNL      2000    RCS4             08/15/2013                           125.00
                   FRG    SATRNL      2000    RCS4             08/15/2013                            60.00
                   FSB    SATRNL      2000    RCS4             08/15/2013                            25.00
                   FSB    SATRNL      2000    RCS4             08/15/2013                            25.00
                   GLB    SATRNL      2000    RCS4             08/15/2013                            45.00
                   GPO    SATRNL      2000    RCS4             08/15/2013                            35.00
                   HLP    SATRNL      2000    RCS4             03/26/2014                            25.00
                   QTR    SATRNL      2000    RCS4             08/15/2013                           175.00
                   QWN    SATRNL      2000    RCS4             08/15/2013                            35.00
                   QWN    SATRNL      2000    RCS4             08/15/2013                            35.00
                   RDR    SATRNL      2000    RCS4             08/15/2013                           125.00
                   RDR    SATRNL      2000    RCS4             08/15/2013                           125.00
                   RSA    SATRNL      2000    RCS4             08/15/2013                           100.00
                   RSP    SATRNL      2000    RCS4             08/15/2013                            75.00
                   SDO    SATRNL      2000    RCS4             08/15/2013                            25.00
                   STB    SATRNL      2000    RCS4             08/15/2013                            25.00
                   STR    SATRNL      2000    A92R3            08/15/2013                            30.00
                   TLP    SATRNL      2000    RCS4             08/15/2013                            35.00
                   TLP    SATRNL      -2000   ~~               cim.Go.a:1~                         ~
                   TLP    SATRNL      2000    A0803            03/27/2014                             45.00
                   TRA    SATRNL      ~8      M?Fl::R          08,'10i2810                           fS.re-
                   UCM    SATRNL      2000    RCS4             08/15/2013                            50.00
                   VIS    SATRNL      2000    RCS4             08/15/2013                            25.00
                   VIS    SATRNL      2000    RCS4             08/15/2013                            25.00
                   vuc    SATRNL      2000    RCS4             08/15/2013                              0.00
                   WMF    SATRNL      2000    RCS4             08/15/2013                            25.00
                   WNO    SATRNL      2000    RCS4             08/15/2013                            75.00
                   WTR    SATRNL      2000    RCS4             08/15/2013                            25.00
Page 2 of 3                                                                                       Printed on: 7/19/2016 at 12:16:03PM
Ver:1.04
                         STOCK NUMBER ANALYSIS
                              STOCK # A0803
                                Yard: 389
              WWB   SATRNL   2000   RCS4
                                              08/15/2013    $2,5~~~

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                                   STOCK NUMBER ANALYSIS
                                        STOCK # X0304
                                          Yard: 389


                    Part   Model       Year     Location           Date Entered          Retail Price
       INVENTORY:
                    ASH    NAVIGA      2004    RCS4                 06/02/2010               35.00
                    ASH    NAVIGA      2004    RCS4                 06/02/2010               35.00
                    BAG    NAVIGA      2004   -A~eee1               arn 2 tw! e-1 0          5~
                    BMT    NAVIGA      2004    ~               -    r.1!.i,cJ,:;iQ~r.1       d~
                    DWM    NAVIGA      2004   .~~                   Q,H:.a,dlQ~~            ~




                                               ~--
                    FRM    NAVIGA      2004    RCS4                 03/25/2010              500.00
                    HTC    NAVIGA      2004    RCS4                 06/02/2010               35.00
                    JAK    NAVIGA      2004   41Rfl'4236            04)2592011               2s.w-
                    LCR    NAVIGA      2004                         Q'1,Q;;i,~r.1~:a         4.i..QQ,.
                    LRK    NAVIGA      2004   ~el¥~                 Q ~1!si1lii!Q.1M         i i QQ,_,
                    RDS    NAVIGA      2004   J?CT@FOiJiiAIR        98?4>61£0,tJ 0          ~
                    RSA    NAVIGA      2004    RCS4                 03/25/2010              150.00
                    RSP    NAVIGA      2004    RCS4                 08/15/2012              125.00
                    TLM    NAVIGA      2004   ..a~4ie4             ee, 1"25' "'             e~
                    TLM    NAVIGA      2004     ~;1~~'1            ~,1~81@                  ~~Q..QQ.,
                    TLP
                    UCR
                    vuc
                           NAVIGA
                           NAVIGA
                           NAVIGA
                                       2004
                                       2004
                                       2004
                                              -~Ri+§iSe
                                              -otst:532
                                               RCS4
                                                                   lili1!~ :4~;i.i
                                                                   Mf62;12018
                                                                   03/25/2010
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Page 2 of 2                                                                               Printed on: 7/19/2016 at 12:16:30PM
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                                  STOCK NUMBER ANALYSIS
                                        STOCK # 20513
                                          Yard: 389


                   Part   Model       Year        Location                     DateEntered                         Retail Price
      INVENTORY:
                   ABK    RAV4         2G40 - ··A2'8-&4                         ~'ii'l'~O 12                              :jl:6,00
                                                                                                                   m
                   AFM    RAV4         ?QJ.O     ~~?                            t:fMTt'jztJ I z"                           I !f.00
                   ASH    RAV4         2™Q       A-~                           ~~~                                       ~-~
                   ASH    RAV4         201,Jk    4µa1q                          8~~mrl~                                   21!.@@,,,
                   ASH    RAV4         20,,1,Q   ,~!@                          ffl'2!'f'/"ffj' r2'"""' .............~~-
                   BAG    RAV4         2Q.1.Q    ~3'4                           ~§!0014                          ~
                   BBR    RAV4         2010      RES4                           01/06/2016                           35.00
                   BDR    RAV4         2010      RES4                           06/22/2012                           75.00
                   BMT    RAV4         2010      RES4                           01/06/2016                           25.00
                   csw    RAV4         2010      RES4                           06/22/2012                           20.00
                                                                                                                     25'.W,_
                   csw
                   DLA
                   EBX
                          RAV4
                          RAV4
                          RAV4
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                   FDW    RAV4         2010      RES4                           06/22/2012                           35.00
                   FLY    RAV4         2010      RES4                           07/03/2012                           15.00 illllll
                   FPM    RAV4         2GAO      ~                              6513612612                             · M.off
                   FTP    RAV4         2010      RES4                           06/22/2012                               150.00
                   GLB    RAV4         2010      RES4                           01/06/2016                                35.00
                   GPO    RAV4         204@      Ri\2tl33            zn        41518M@ll:f                         w    · 5tfo(:)iiii2l
                   LOG    RAV4         20:ail,Q -~Gliliii                       Qi~1111i@4i -                             8,iv@.Q,,,o-m
                   MSW    RAV4         2010      RES4                           06/22/2012                                25.00
                   NVC
                   OOH
                          RAV4
                          RAV4
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                   OOH    RAV4         201Qss    BR42@£                        4)@,i££,1£01'@                            26.@@r""
                   OOH    RAV4         2010      RES4                           12/12/2012                               50.00
                   PBR    RAV4         2010      RES4                           01/06/2016                               35.00
                   QTR    RAV4         2010      RES4                           01/06/2016                              125.00
                   QWN    RAV4         2010      RES4                           06/22/2012                               35.00
                   RDL    RAV4         291Q      ~2                             64/IT/2014                                ®~
                   RRG    RAV4         201,e     8W!'8@i8      -"ldlllfl   .
                                                                                ~l@i!i1@@i!I ~- 1-           Ill         -@~

                   RSA    RAV4         2010      RES4                           07/27/2012                              100.00
                   RST    RAV4         2010      RES4                           12/12/2012                              150.00
                   RTP    RAV4         2010      RES4                           06/22/2012                              125.00
                   RVW    RAV4         2010      RES4                           08/01/2012                               25.00
                   SAX    RAV4         2010      RES4                           09/18/2015                               75.00
                   SAX    RAV4         2010      RES4                           01/06/2016                               75.00
                   SRM    RAV4         2010      RES4                           01/19/2016                               45.00
                   STB    RAV4         2010      RES4                           07/27/2012                               25.00
                   TCS    RAV4         3@10      1'>:l't1~~                     ilePe~1'ii!Q,,1,I!!                     ~!'@0--
                   TFP    RAV4         2"218     13f<B34                        06J22:i2.0 I'!'                           4~
                   TLP    RAV4         2~        1i1ReJ!@ee                     lilGH.I~ ,;;3g~ al                        iiHii,@©11
                   UCM    RAV4         2010      RES4                           07/27/2012                                75.00
                   VIS    RAV4         2010      RES4                           01/06/2016                                25.00
                   vuc    RAV4         2010      RES4                           05/30/2012                                 0.00




                                                                                                       7 :~~
                   WMF    RAV4         2010      RES4                           06/01/2012
                   WMR    RAV4         2010      RES4                           01/06/2016


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  ~                                   ~ I Ut;K   NUMBER ANALYSIS
                                              STOCK# 20516
                                                       Yard: 389

                   Part   Model             Year          Location            DateEntered               Retail Price
      INVENTORY:
                   ACL    SMB95             1999          RDS4                 08/15/2012                       25.00
                   ASH    SMB95             1999          RDS4                 08/15/2012                       35.00
                   ASH    SMB95             1999          RDS4                 08/15/2012                       35.00
                   BAG    SMB95             1999          RDS4                 08/15/2012                       25.00
                   BAG    SMB95             1999          RDS4                 08/15/2012                       25.00
                   BAG    SMB95             1999          RDS4                 08/15/2012                       35.00
                   BAG    SMB95             1999          RDS4                 08/15/2012                       35.00
                   BWN    SMB95             1999          RDS4                 08/15/2012                       35.00
                   CBX    SMB95             1999          RDS4                 08/15/2012                       35.00
                   CBX    SMB95             1999          RDS4                 08/15/2012                       35.00
                   CBX    SMB95             1999          RDS4                 08/15/2012                       45.00
                   CBX    SMB95             1999          RDS4                 08/15/2012                       45.00
                   CBX    SMB95             1999          RDS4                 09/14/2012                       65.00
                   CLI    SAAB95            1999           RDS4                oa11512012                       50.00
                   COL    SMB95             1999          RDS4                 08/15/2012                       50.00
                   COM    sAfffl!'3         l!J@)!'J     •111,e~!!!     !II   ~e1S'J'r~~ffl'!li! 1 !lilll1Jlll.!Mll!lll ;~~
                   CON    SA◊ Fa9i          1999          ,0,2@.C4Pl,    r    •em r5?~'f'.2- ·                   l
                                                                                                                        ~&""
                   CRB    SMB95             1999          RDS4                 08/15/2012                      35.00
                   csw    SMB95             1999          RDS4                 08/15/2012                      25.00
                   csw    SMB95             1999          RDS4                 08/15/2012                      25.00
                   DPN    SMB95             1999          RDS4                 08/15/2012                     100.00
                   DSF    SMB95             1999          RDS4                 08/15/2012                      15.00
                   DSF    SMB95             1999          RDS4                 08/15/2012                      25.00
                   DSF    SMB95             1999          RDS4                 08/15/2012                      15.00
                   ECM    SMB95             1999           RDS4                08/15/2012                      50.00
                   EMA    SMB95             1999          RDS4                 09/14/2012                      35.00
                   EVP    SAAB95            1999          RDS4                 08i15/2012                      50.00
                   FCN    SMB95             1999           RDS4                08/15/2012                      50.00
                   FDR    SMB95             1999          RDS4                 08/16/2012                      75.00
                   FDR    SMB95             1999           RDS4                08/15/2012                      75.00
                   FDW    SMB95             1999           RDS4                08/15/2012                      35.00
                   FEN    SMB95             1999           RDS4                08/15/2012                      45.00
                   FEN    SMB95             1999          RDS4                 08/15/2012                      45.00
                   FLS    SMB95             1999          RDS4                 08/15/2012                      45.00
                   FRG    SMB95             1999           RDS4                08/16/2012                      35.00
                   FSB    SMB95             1999           RDS4                08/15/2012                      25.00
                   FSB    SMB95             1999          RDS4                 08/15/2012                      25.00
                   FST    SMB95             1999          RDS4                 08/15/2012                     100.00
                   FST    SMB95             1999          RDS4                 08/15/2012                     100.00
                   FTP    SMB95             1999          RDS4                 08i15/2012                      50.00
                   FTP    SMB95             1999           RDS4                08/15/2012                      50.00
                   GLB    SMB95             1999           RDS4                08/15/2012                      50.00
                   GPO    SMB95             1999           RDS4                08/15/2012                      35.00
                   GRL    @MM!;             ~pgp           Q.~J;.S.1           '1iHHi,:ilQ~:il                  45DQ       Z:P

                   GRL    SMB95             1999           RDS4                08/15/2012                       15.00
                   GRL    SMB95             1999           RDS4                08/15/2012                       14.00
                   HAG    SMB95             1999           RDS4                08/15/2012                       25.00
                   HRT    SMB95             1999           RDS4                08/15/2012                       50.00
                   HRT    SMB95             1999           RDS4                08/15/2012                       50.00
                   HRT    SMB95             1999           RDS4                08/15/2012                       50.00
                   HRT    SAAB95            1999           RDS4                08/15/2012                       50.00
                   HSW    SMB95             1999           RDS4                08/15/2012                       35.00
                   HTC    SAAB95            1999           RDS4                08/15/2012                       50.00
                   HUB    SMB95             1999           RDS4                08/15/2012                       45.00
                   KNE    SAAB95            1999           RDS4                08/15/2012                       90.00
                   KNE    SMB95             1999           RDS4                08/15/2012                       90.00
                   LCF    SMB95             1999           RDS4                08/15/2012                       45.00
                                                                                                             Printed on: 7/19/2016 at 12:17:21PM
Page 2 of 3
Ver:1.04
                      STOCK NUMBER ANALYSIS
                            STOCK# 20516
                              Yard: 389
              LCR SMB95    1999      RDS4       08/15/2012            100.00
              LCR SMB95    1999      RDS4       08/15/2012            100.00
              LID SMB95    1999      RDS4       08/15/2012             75,00
              oco SMB95   "T'999     A23S4B     ffi!Jl'l"4o/~O I!     ~~
              OOH SMB95    1999      RDS4       08/19/2012             25.00
              OOH SMB95    1999      RDS4       08/15/2012             25.00
              OOH SMB95    1999      RDS4       01/19/2016             25.00
              OOH SMB95    1999      RDS4       01/19/2016             25.00
              PBR SMB95    1999      RDS4       08/15/2012             45.00
              PSR SMB95    1999      RDS4       08/15/2012             35.00
              QTR SMB95    1999      RDS4       08/15/2012            125.00
              RAD SMB95   ,qQQQ      A&l!ls1    081'15112012           ~:OG          •
              RBR SMB95    1999      RDS4       08/15/2012             50.00
              RDO SMB95    1999      RDS4       08/15/2012             35.00
              RDO SMB95    1999      RDS4       08/15/2012             25.00
              RDR SMB95    1999      RDS4       08/15/2012             75.00
              RDR SMB95    1999      RDS4       08/15/2012             75.00
              ROW SMB95    1999      RDS4       08/15/2012             25.00
              RGL SMB95    1999      RDS4       08/15/2012             35.00
              RRG SMB95    1999      RDS4       08/15/2012             45.00
              RRG SMB95    1999      RDS4       01/19/2016             35.00
              RSA SMB95    1999      RDS4       08/1$/2012            100.00
              RSA SMB95    1999      RDS4       08/15/2012            100.00
              RSP SMB95    1999      RDS4       08/15/2012            125.00
              RVW SMB95    1999      RDS4       08/15/2012             35.00
              SDO SMB95    1999      RDS4       08/15/2012             25.00
              SPN SMB95    1999      RDS4       08/15/2012             45.00
              SPN SMB95    1999      RDS4       08/15/2012             50.00
              STG SMB95    1999      RDS4       08/15/2012             50.00
              STR SMB95   1"999      AOl3R I    l''81'15/£0H!l       =45;@(>)-
              TLP SMB95    1999      RDS4       08/15/2012             29.00




                                                                       .~
              TLP SMB95    1999      RDS4       08/15/2012             29.00
              VIS SMB95    1999      RDS4       08/15/2012             35.00
              VIS SMB95    1999      RDS4       08/15/2012             35.00
              vuc SMB95    1999      RDS4       08/15/2012              0.00
              WMF SMB95    1'S'~H~   ~§-       .Qikil,i Qr.1..                ....       "'
              WNO SMB95    1999      RDS4       08/15/2012             50.00
              WTR SMB95    1999      RDS4       08/15/2012             25.00
              WWB SMB95    1999      RDS4       08/15/2012             2 5. 00 ~


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                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0413
                                              Yard: 389

                           ~
                          Model       Year       Location   Date Entered         Retail Price
                   Part
      INVENTORY:
                   ACL    ACCORD       2000      RDS4        05/01/2013              25.00
                   ALP    ACCORD       2000      RDS4        05/01/2013              35.00
                   ASH    ACCORD       2000      RDS4        05/01/2013              25.00
                   ASH    ACCORD       2000      RDS4        05/01/2013              25.00
                   ASH    ACCORD       2000      RDS4        05/01/2013              25.00
                   BMT    ACCORD       2000      RDS4        05/01/2013              25.00
                   CAL    ACCORD       2000      RDS4        05/01/2013              25.00
                   CAL    ACCORD       2~        .e.~        eM-1'12613              25.66
                   CSX    ACCORD       2000      RDS4        05/01/2013              35.00
                   COi    ACCORD       2000      RDS4        05/01/2013              35.00
                   COL    ACCORD       2000      RDS4        05/01/2013              50.00
                   csw    ACCORD       2000      RDS4        05/01/2013              25.00
                   csw    ACCORD       2000      RDS4        05/01/2013              25.00
                   DMR    ACCORD       2000      RDS4        10/19/2015              25.00
                   DMR    ACCORD       2000      RDS4        05/01/2013              25.00
                   EMA    ACCORD       2000      RDS4        05/01/2013              65.00
                   FDR    ACCORD       2000      RDS4        05/01/2013              99.00
                   FDR    ACCORD       2000      RDS4        05/01/2013              99.00
                   FPM    ACCORD       2000      RDS4        05/01/2013              25.00
                   FST    ACCORD       2000      RDS4        05/01/2013              45.00
                   FST    ACCORD       2000      RDS4        05/01/2013              45.00
                   FTK    ACCORD       2000      RDS4        05/01/2013              35.00
                   GLB    ACCORD       2000      RDS4        05/01/2013              25.00
                   GPO    ACCORD       2000      RDS4        05/01/2013              25.00
                   IDH    ACCORD       2000      RDS4        05/01/2013              15.00
                   IDH    ACCORD       2000      RDS4        05/01/2013              15.00
                   LCF    ACCORD       2000      RDS4        05/01/2013              25.00
                   LCF    ACCORD       2000      RDS4        05/01/2013              25.00
                   OMA    ACCORD       2000      BOX2        05/01/2013              10.00
                   QTR    ACCORD       2000      RDS4        05/01/2013             150.00
                   QTR    ACCORD       2000      RDS4        05/01/2013             150.00
                   RBR    ACCORD       2000      RDS4        05/01/2013              75.00
                   RDR    ACCORD       2000      RDS4        05/01/2013              75.00
                   RDR    ACCORD       2000      RDS4        05/01/2013              75.00
                   RSA    ACCORD       2000      RDS4        05/01/2013              90.00
                   RSA    ACCORD       2000      RDS4        05/01/2013              90.00
                   SDO    ACCORD       2000      RDS4        05/01/2013              35.00
                   SPN    ACCORD       2000      RDS4        05/01/2013              45.00
                   STB    ACCORD       2000      RDS4        05/01/2013              25.00
                   STT    ACCORD       2000      RDS4        05/01/2013              35.00
                   THB    ACCORD       ~OQ       Q~          8§cf@61<1@8,-& ..      . s~crc,-
                   UCF    ACCORD       2000      RDS4        05/01/2013              25.00
                   UCF    ACCORD       2000      RDS4        05/01/2013              25.00
                   UCM    ACCORD       2000      RDS4        05/01/2013              50.00
                   VIS    ACCORD       2000      RDS4        05/01/2013              15.00
                   VIS    ACCORD       2000      RDS4        05/01/2013              15.00
                   vuc    ACCORD       2000      RDS4        05/01/2013               0.00
                   WHC    ACCORD       2000      RDS4        05/01/2013              15.00
                   WHC    ACCORD       2000      RDS4        05/01/2013              15.00
                   WHC    ACCORD       2000      RDS4        05/01/2013              15.00
                   WHC    ACCORD       2000      RDS4        05/01/2013              15.00
                   WHL    ACCORD       2000      RDS4        05/01/2013              25.00



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                   WMF    ACCORD       2000      RDS4        05/01/2013




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Page 2 of 2
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                                      u   I   vvn. '"UIVltst:K   ANALYSIS
                                                     STOCK# 80107
                                                       Yard: 389


                   Part    Model                  Year            Location                                    DateEntered                Retail Price
      INVENTORY:
                   ABK    KIAOPT                  2009           RDS4                                          02/25/2014                        35.00
                   ALT    KIAOPT                  S:fo09         A&4'5'~                         ~~~~
                   ANT    KIAOPT                  2009           RDS4                                          02/25/2014                        35.00
                   ASH    KIAOPT                  20~            ,, ?4'!fi!!tr'                  •             e2~~ill,,&,ili-~~
                   BAG    KIAOPT                  2009           RDS4                                          0t/21/2014                        25.00
                   BAG    KIAOPT                  2009           RDS4                                          01/21/2014                        25.00
                   BMT    KIAOPT                                 RDS4                                          02/25/2014                        35.00
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                   CBX    KIAOPT                     09          e~~s~                                         03/06/2014                        lffl':'~
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                   COi    KIAOPT                  2,QQQ          I!,~~-                              b ____
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                   COi    KIAOPT                  2006           B'R-58!          .LL.$
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                   COL    KIAOPT                  2009           ~~~                                          Q,l.t~~ ~i:1,4,,..,                ~.mr·
                   CRB    KIAOPT                  2009           RDS4                                          02/25/2014                        25.00
                   DMR    KIAOPT                  2009           RDS4                                          01/21/2014                        74.00
                   EBX    KIAOPT                  ~              ~                                            -!:I H2ti20 '14                •rcrtr.l'ffl""
                   ECM    KIAOPT                  2009           RDS4                                          02/25/2014                       85.00
                   EFB    KIAOPT                  2009           RDS4                                          02/25/2014                       75.00
                   ENM    KIAOPT                  2009           RDS4                                          02i25/2014                       45.00
                   ENV    KIAOPT                  2009           RDS4                                          02/25/2014                       29.00
                   FBK    KIAOPT                  2009           RDS4                                          02/25/2014                       25.00
                   FBK    KIAOPT                  2009           RDS4                                          02/25/2014                       25.00
                   FCN    KIAOPT                  2009           RDS4                                          02/25/2014                       65.00
                   FCN    KIAOPT                  2009           A36S4                                         10/01/2015                       25.00
                   FDR    KIAOPT                  :2009          0~2S26j 2                                     Qt~,l,Jee-+4                 "'*1'!&.ia&-
                   FDR    KIAOPT                  2.Q.Q€l        ~S:2B14                                       &'1121'12644
                   FNL    KIAOPT                  2009           RDS4                                          02/,25/2014                    100.00
                   FNR    KIAOPT                  2009           RDS4                                          02/25/2014                     100.00
                   FRL    KIAOPT                  201)!!!        BH'"lf"l~~                                   l'.:l~fflffl, Ill/!$               ,~ Q~
                   FST    KIAOPT                  2ud§           i\S rn~          -
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                   FST    KIAOPT                  2oog.:=                                                      0~7~b~~14  50~00
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                   HAC    KIAOPT                  20,QQ          B~ l~S:2                                     e!r~, 2@ Mi
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                   INT    KIAOPT                  ?QQ9           Il;;IQM02~4                                  Q~,,~6,128 ~ a+                6§Q,QQ
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                   KNE    KIAOPT                  2009           ,iai~:-,ee                                    017zff,2014                       100.otl
                   PLR    KIAOPT                  2009   RDS4                                                 02/19/2014                     150.00
                   PLR    KIAOPT                  2009   RDS4                                                 02/25/2014                     150.00
                   RDO    KIAOPT                  200©''~"~ 14S3                                              Oli:25/2014                     9~
                   RDR    KIAOPT                  2009   RDS4                                                 01/21/2014                      99.00
                   RDR    KIAOPT                  2009   RDS4                                                 01/21/2014                      99.00
                   RFP    KIAOPT                  2009   RDS4                                                 02/25/2014                      35.00
                   RMD    KIAOPT                  2009   RDS4                                                 02/25/2014                      45.00
                   RSA    KIAOPT                  2009   RDS4                                                 02/19/2014                     500.00
                   ~      Kl;ti;OP I -            2-SW   RBS4                                                 021Ha120j'1                        9,9,-00-
                   ~£A    K.I/\0P=f               2009           BDS!!                                        .o;mg.mi~4                      98.98
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                   RTP    KIAOPT                  ~09            ~1¥r28-4R2                                   e2,12s,12s114                   ~5.tJ0
                   SDO    KIAOPT                  2009           ,i::i1R-ees2                                 t:i 1i·21 t2e 121               ~5.tm'
                   SPM    KIAOPT                  2@@8           il:O~::mi                                    0~7H1'20 121                    25.00
                   SPN    KIAOPT                  2ee~           ~~~a                                         e) 1~~r2e~-4                       "4&.-00-
                   SPN    KIAOPT                  ~9             ~23(37'B'                                     01/21/2014                        35.00
                   STB    KIAOPT                  2009           RDS4                                          02/25/2014                        30.00
                   STG    KIAOPT                  2009           RDS4                                          02/25/2014                        45.00
                   STR    KIAOPT                  2M~            iit65"1R1                                     92/ 19"3014                       '.Ui,,Q.Q                 .
                   STT    KIAOPT                  2089           .439~@-                                      QH2j£2 □ :l~                       '1,;i 00,,,
Page 2 of 3                                                                                                                                 Printed on: 7/19/2016 at 12:18:15PM
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                         STOCK NUMBER ANALYSIS
                               STOCK# 80107
                                 Yard: 389
              THB   KIAOPT    200-9"'"c--·~A~                            --49.9G,,,
              UCM   KIAOPT   ~:iali~-""!!~~t,~~~~.,...1--•..a@~4
                             ....                                  1    -1""25.00-
              VUC   KIAOPT    2009     RDS4           03/17/2014            0.00
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Page 3 of 3                                                            Printed on: 7/19/2016 at 12:18:15PM
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                                   STOCK NUMBER ANALYSIS
                                         STOCK # A0702
                                                 Yard: 389

                   Part   Model        Year               Location           DateEntered     Retail Price
      INVENTORY:
                   ABK    AMANTI       2006               RDS4               07/22/2013          25.00
                   ACL    AMANTI       2006                RDS4              07/22/2013          25.00
                   AFM    AMANTI       2006,..,..-.......,A;R.:J S2          0¥r2£i'@ ~          2~
                   ALP    AMANTI       2006                RDS4               07/22/2013         25.00
                   ASH    AMANTI       2006               RDS4                07/22/2013         25.00
                   BAG    AMANTI       2006                RDS4               07/22/2013         25.00
                   BAG    AMANTI       2006                RDS4               07/22/2013         35.00
                   BAG    AMANTI       2eee!              M:ffl1              @7~048             ~
                   BAG    AMANTI       2~G             -~~                    Qiii,1!em,~        il.i~-
                   BAG    AMANTI       2006               RDS4                07i22/2013         25.00
                   BAG    AMANTI       2006                RDS4               07/22/2013         35.00
                   BAG    AMANTI       2006                RST                07/22/2013         35.00
                   BAG    AMANTI       2006                RST                07/22/2013         35.00
                   BBF    AMANTI       2006                RDS4               07/22/2013         50.00
                   BMT    AMANTI       2006                RDS4               07/22/2013         35.00
                   BWN
                   CAL
                   CAL
                          AMANTI
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                          AMANTI
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                   CAN    AMANTI       2006           RDS4                    07/22/2013         50.00
                   CBX    AMANTI       2006           RDS4                    07/22/2013         35.00
                   CSX    AMANTI       ~Qi            AFH9SS .. ·:
                                                            ,                ~~~--               ~
                   CFS    AMANTI       20                        fj          tfi~-~-§i,Jg~~
                   CFS    AMANTI       20
                   CLI    AMANTI       2006           RDS4                   07/22/2013          50.00
                   CLK    AMANTI       2006           RDS4                   07/22/2013          25.00
                   COi    AMANTI       2.oo&ii        li,~~rl         Oil   ™"~~arzr-            ii.GO
                   COi    AMANTI       ~9§            Q~                     o:27 rID':2 ~
                   CRB    AMANTI        006           RDS4                    07/22i2013           0.00
                   csw    AMANTI       ')Qj&et@"'"~"'"                 @::►-~'P!l!f1ll:~~~~e~
                   DMR    AMANTI       2006           RDS4                   07/22/2013          35.00
                   DPN    AMANTI       2006           RDS4                   07/22/2013          50.00
                   DSF    AMANTI       2006           EDS                    07/22/2013          35.00
                   DSF    AMANTI       2006           EDS                    07/22/2013          15.00
                   DSF    AMANTI       ~@          ~1e41=w..                &l!i~,et,Yie,n.;;;;;u;m.~
                   DWM    AMANTI       2006           RDS4                   07/22/2013          35.00
                   ECM    AMANTI       2006           RDS4                   07/22/2013          35.00
                   EFB    AMANTI       2006           RDS4                   07/22/2013          60.00
                   EMS    AMANTI       2006           RDS4                   07/22/2013          45.00
                   ENV    AMANTI       2006           RDS4                   07/22/2013          70.00
                   FCN    AMANTI       2006           RDS4                   07/22/2013          35.00
                   FDR    AMANTI       2006           RDS4                   07/22/2013          85.00
                   FEN    AMANTI       2006           RDS4                   07/22/2013          35.00
                   FLS    AMANTI       2006           RDS4                   07/22/2013          45.00
                   FPM    AMANTI       2006           RDS4                   07/22/2013          35.00
                   FRL    AMANTI       2006           RDS4                   07/22/2013           5.00
                   FSB    AMANTI       2006           RDS4                   07/22/2013          45.00
                   FSB    AMANTI       2006           RDS4                   07/22/2013          45.00
                   FST    AMANTI       2006           RDS4                   07/22/2013          50.00
                   FST    AMANTI       2006           RDS4                   07/22/2013          50.00
                   FTK    AMANTI       2006           RDS4                   07/22/2013          35.00
                   FTP    AMANTI       2006           RDS4                   07/22/2013          50.00
                   GLB    AMANTI       2006           RDS4                   07/22/2013          35.00
                   GPO    AMANTI       2006           RDS4                   07/22/2013          35.00
                   HAG    AMANTI       zubb           A'PW~                   01'112)20 13       ss.ac.r-
                   HRT    AMANTI       2006           RST                    07/22/2013           50.00
                   HRT    AMANTI       2006           RST                    07/22/2013           50.00
                   HRT    AMANTI       2006           RST                    07/22/2013           50.00
Page 2 of 3                                                                                    Printed on: 7/19/2016 at 12:22:46PM
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                       STOCK NUMBER ANALYSIS
                            STOCK # A0702
                                   Yard: 389
              HRT AMANTI    2006      RST             07/22/2013         50.00
              HSH AMANTI    2006      RDS4            07/22/2013         25.00
              KNE AMANTI    2006      RDS4            07/22/2013        100.00
              KNE AMANTI    2006      RDS4            07/22/2013        100.00
              LCF AMANTI    2006      RDS4            07/22/2013         35.00
              LCF AMANTI    2006      A0702           01/11/2016         35.99
              LID AMANTI    2006      RDS4            07/22/2013        170.00
              MAT AMANTI    2006      RDS4            07/22/2013         50.00
              MIR AMANTI    2006      RDS4            07/22/2013         35.00
              oco AMANTI    2006      RDS4            07/22/2013         35.00
              OOH AMANTI    2006      RDS4            07/22/2013         35.00
              PBR AMANTI    2006      RDS4            07/22/2013         35.00
              PLR AMANTI    2006      RDS4            07/22/2013        125.00
              PSR AMANTI    2006      RDS4            07/22/2013         35.00
              RBR AMANTI    2006      RDS4            07/22/2013         75.00
              RDL AMANTI    2006      RDS4            07/22/2013         45.00
              RDL AMANTI    2006      RDS4            07/22/2013         50.00
              RDO AMANTI    2006      RDS4            07/22/2013         35.00
              ROW AMANTI    2006      RDS4            07/22/2013         25.00
              RGL AMANTI    2006      RDS4            07/22/2013         49.00
              RRG AMANTI    2006      RDS4            07/22/2013         35.00
              RSA AMANTI    2006      RDS4            07/22/2013         75.00
              RST AMANTI    2006      ASTM            02/18/2014        ~5g_-ee-
              RTP AMANTI    2006      RDS4            07/2?/2013         50.00
              RTP AMANTI    2006      RDS4            07/22/2013         50.00
              SDO AMANTI    2006      RDS4            07/22/2013         25.00
              SPN AMANTI    2006      RDS4            07/22/2013         50.00
              STT AMANTI    2006      RDS4            07/22/2013         35.00
              SWH AMANTI    2006      RDS4            07/22/2013         45.00
              TLP AMANTI    2006      RDS4            07/22/2013         35.00
              TRA AMANTI    2006      M7S4            07/15/2013         90.00
              UCF AMANTI    2006      RDS4            07/22/2013         35.00
              UCM AMANTI    2006      RDS4            07/22/2013         60.00
              UCM AMANTI    2006      RDS4            07/22/2013         40.00
              VIS AMANTI    2006      RDS4            07/22/2013         25.00
              vuc AMANTI    2006      RDS4            07/22/2013          0.00
              WHL AMANTI    2006     -wr-1'"5'5 ~ I   07/22/2013         29".uU
              WHL AMANTI    2006     -W~4€2R2         02117720,4         '.29.00
              WHL AMANTI    2006      W7382R1         02/1'112014        2$:"00
              WMF AMANTI    2006      RDS4            07/22/2013         35.00
              WWB AMANTI    2006      RDS4            07/22/2013         35. 00    //


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                                  STOCK NUMBER ANALYSIS
                                        STOCK # A0504
                                          Yard: 389


                   Part   Model       Year             Location                   Date Entered             Retail Price
      INVENTORY:
                   ABK    SATRNL       2002       -   -~•          - £&%     · .J- ..   lf~@0,A,v     ®41Z.IM-•     25,00
                   ALP    SATRNL       2002           RDS3                              05/07/2013                  25.00
                   ALT
                   ASH
                          SATRNL
                          SATRNL
                          SATRNL
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                                       2002
                                                      ~bl4&4@.LH k~-~~~~-L. L

                                                      RDS3                              05/07/2013
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                                                                                                                    25.00
                                                                                                                    25.00
                   ASH
                   BBR    SATRNL       2002           RDS3                              05/07/2013                  35.00
                   BMT    SATRNL       2002           RDS3                              05/07/2013                  25.00
                   BWN    SATRNL       2002           RDS3                              05/07/2013                  35.00
                   CAL    SATRNL       ~(ij~          I~                -        --e5te1+2&1-&...,...,.-.. . __ ;;ie ~
                   CAL    SATRNL      J.')Diii!       kEf&.!fi44@4i,&Ji. -          'ii) §:Miilip !.aQJ 3       2§.QQ..-
                   CAN    SArRNL       2002           RDS3                           05/07/2013                     35.00
                   CBX    SATRNL       2002           RDS3                           05/07/2013                     25.00
                   COL    SATRNL       2002           RDS3                           05/07/2013                     50.00
                   DSF    SATRNL       2002           RDS3                           05/07/2013                     10.00
                   DSF    SATRNL       2002           RDS3                           05(07/2013                     10.00
                   EBX    SATRNL       2002--         ;A;RteSS--- -               ::s&eif© f/2 6 13                 [~
                   ECM    SATRNL       2002           RDS3                           06(13/2013                     35.00
                   FDR    SATRNL       2002           RDS3                           05/07/2013                    125.00
                   FDR    SATRNL       2002           RDS3                           05/07/2013                    125.00
                   HAC    SATRNL       2002           RDS3                           05/07/2013                     25.00
                   HUB    SATRNL       2002           RDS3                           05/07/2013                     45.00
                   HUB    SATRNL       2002           RDS3                           05/07/2013                     45.00
                   LCF    SATRNL       2002           RDS3                           05/07/2013                     25.00
                   LID    SATRNL       2002           RDS3                           05/07/2013                    125.00
                   QTR    SATRNL       2002           RDS3                           05/07/2013                    125.00
                                                                                     05/07/2013                    125.00
                   QTR
                   RDO
                          SATRNL
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                   RDR    SATRNL
                   RDR    SATRNL       2002           RDS3                              05/07/2013                  99.00
                   SDO    SATRNL       2002           RDS3                              05/07/2013                  25.00
                   SPN    SATRNL       2002           RDS3                              05/07/2013                  35.00
                   STB    SATRNL       2002           RDS3                              05/07/2013                  25.00
                   STG    SATRNL       2002           RDS3                              05/07/2013                  35.00
                   STR    SATRNL       .,CCI          A@m::¥N4         __ 423;;;;zz,~"hi¥0W¥¥@i~
                   STT    SATRNL       2002           RDS3                              05/07/2013                  35.00
                   STT    SATRNL       2002           RDS3                              05/07/2013                  35.00
                          SATRNL       2@:iiwa:       A~                 . &&L &~&3pe,zc:2i!'/L1&~
                   THB
                   TLP    SATRNL       2002           RDS3                              05/07/2013                  35.00
                   TRA    SATRNL       2002       ~   -MHlSJ                            O§tQ7129~e                  :;z5,ee--,c
                   vuc    SATRNL       2002           RDS3                              05/07/2013                   0.00
                   WMF    SATRNL       2002           RDS3                              05/07/2013                  25.00         ,,,,,,,..-


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                                   STOCK NUMBER ANALYSIS
                                        STOCK # A0503
                                          Yard: 389


                   Part    Model       Year       Location                 DateEntered                   Retail Price
      INVENTORY:
                   ABK     FRONTI       2002      RDS3                       05/06/2013                           35.00
                   BMR     FRONTI       2002      RDS3                       05/16/2013                           45.00
                   BMT     FRONTI       AAA?      i U.i I              ~ ~ ~ ™ " ' c:22~
                   CAB     FRONT!       2002     RDS3                        05/16/2013                    200.00
                   CAN     FRONTI       2002     RDS3                        05/16/2013                       45.00
                   CBX     FRONTI       2002     RDS3                        05/16/2013                       45.00
                           FRONTI       4i@Q     J\.Mffi@Q+                f P l , . ~ w ;;;;;.m;;!i1l!1,;:;;;;\i:!r!!Jl!!t!J€Jd
                   CBX
                   ccs     FRONT!       2002     RDS3                        05/16/2013                       35.00
                   CFB     FRONTI       2002     RDS3                        05/16/2013                       75.00
                   CFS     FRONTI       2002     RDS3                        10/12/1977                       75.00
                   cu      FRONTI       2002     RDS3                        05/16/2013                       35.00
                   COL     FRONTI       2002     RDS3                        05/16/2013                       50.00
                   CRB     FRONTI       2002     RDS3                        05/16/2013                        15.00
                   csw     FRONTI       2002     RDS3                        05/16/2013                        15.00
                   csw     FRONTI       2002     RDS3                        05/16/2013                       25.00
                   csw     FRONTI       2002     RDS3                        05/16/2013                       25.00
                   DWM     FRONTI       2002     RDS3                        05/16/2013                       35.00
                   DWM     FRONTI       2002     RDS3                        05/16/2013                       45.00
                   DWM     FRONTI       2002     RDS3                        05/16/2013                       45.00
                   DWM     FRONTI       2002     RDS3                        06/03/2014                       35.00
                   ECM     FRONTI       2002     RDS3                        05/16/2013                       30.00
                   FCL     FRONTI      II@,@   3.4Ai,~¢,~¼,:;::;;;;;.;.;.;t;;:{}i,b~;\a,Qit6g,~~m.,~wE~~
                   FDL     FRONTI       2002      RDS3                       05/16/2013                          45.00
                   FDL     FRONTI       2002      RDS3                       05/16/2013                          45.00
                   FDS     FRONTI       2002      RDS3                       05/16/2013                          60.00
                   FFL     FRONTI      "2'1562 4222ffi0zet51at -™ -·05H612eH-5 -                         _.:;;s;;:;,.;:1'30+:'~
                   FLS     FRONTI       2002      RDS3                       05/16/2013                          50.00
                   FRG     FRONTI       2002      RDS3                       05/16/2013                          50.00
                   .ERM,   FRONTI       2~ ---RD83                           0o/16W13                           58&.60-
                   FTK     FRONTI       2002      RDS3                       05/16/2013                           75.00
                   GLB     FRONTI       2002      RDS3                       05/16/2013                           45.00
                   GPD     FRONTI       2002      RDS3                       05/16/2013                           15.00
                   HAC     FRONTI       2002      RDS3                       05/16/2013                           35.00
                   HLP     FRONTI       200.   SP~- □            .1   --     OW-1'6'F2tff-J2                    -4ff.d~
                   HUB     FRONTI       2002      RDS3                       05/16/2013                          35.00
                   HUB     FRONTI       2002      RDS3                       05/16/2013                          35.00
                   IDH     FRONTI       2002      RDS3                       05/16/2013                          15.00
                   IDH     FRONTI       2002      RDS3                       05/16/2013                          15.00
                   IDH     FRONTI       2002      RDS3                       05/16/2013                          15.00
                   IDH     FRONTI       2002      RDS3                       05/16/2013                          15.00
                   IWK     FRONTI       2002      RDS3                       05/16/2013                          45.00
                   KNE     FRONTI       2002      RDS3                       05/16/2013                          99.00
                   LCF     FRONTI       2002      RDS3                       05i16/2013                          50.00
                   ODH     FRONTI       2002      RDS3                       05/16/2013                          20.00
                   ODH     FRONTI       2002      RDS3                       05/16/2013                          20.00
                   ODH     FRONTI       2002      RDS3                       05/16/2013                          20.00
                   ODH     FRONTI       2002      RDS3                       05/16/2013                          20.00
                   PSR     FRONTI       2002      RDS3                       05/16/2013                          20.00
                   QTR     FRONTI       2002      RDS3                       05/16/2013                        250.00
                   RAX     FRONTI       2002      RDS3                       05/16/2013                        199.00
                   RDL     FRONTI       2002      RDS3                       05/16/2013                          45.00
                   RDL     FRONTI       2002      RDS3                       05/16/2013                          35.00
                   RRG     FRONTI       2002      RDS3                       05/16/2013                          35.00
                   RRG     FRONTI       2002      RDS3                       05/16/2013                          35.00
                   RST     FRONTI       2002      RDS3                       05/16/2013                        150.00
                   SPN     FRONTI       2002      RDS3                       05/16/2013                          35.00
                   UCF     FRONTI       2002      RDS3                       05/1p/2013                          25.00
Page 2 of 3                                                                                                   Printed on: 7/19/2016 at 12:23:36PM
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                                                 ANALYSIS
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                                     STOCK # A0503
                                       Yard: 389
              UCM   FRONTI          2002    RDS3      05/16/2013          35.00
              VEN   FRONTI          2002    RDS3      05/16/2013          15.00
              VEN   FRONTI          2002    RDS3      05/16/2013          25.00
              VEN   FRONTI          2002    RDS3      05/16/2013          15.00
              vuc   FRONTI          2002    RDS3      05/16/2013           0.00
              WMF   FRONTI          2002    RDS3      05/16/2013
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                                   STOCK NUMBER ANALYSIS
                                          STOCK # A0402
                                            Yard: 389

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                    Part   Model        Year      Location    Date Entered   Retail Price
       INVENTORY:
                    ACL    ALTIMA        1997     RDS3         04/02/2013           15.00
                    ALP    ALTIMA        1997     RDS3         04/02/2013           20.00
                    BMT    ALTIMA        1997     RDS3         04/02/2013           25.00
                    BWN    ALTIMA        1997     RDS3         04/02/2013           25.00
                    CAL
                    CAL
                           ALTIMA
                           ALTIMA
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                                                               04/02/2013
                                                                           =~
                    CBX    ALTIMA        1997     RDS3         04/02/2013           35.00
                    CBX    ALTIMA        1997     RDS3         04/02/2013           45.00
                    COL    ALTIMA        1997     RDS3         04/02/2013           45.00
                    csw    ALTIMA      CJ/'9Sl           , ="~mA~:,iai:r=,......=~~
                                                  el11~P!!l
                    csw    ALTIMA        1'!19)   t:,Jt'F&r9,e=.=~~~~~
                    DIS    ALTIMA        1997     RDS3         04/02/2013           50.00
                    DSF    ALTIMA        1997     A34S4        04/02/2013           35.00
                    DWM    ALTIMA        1997     RDS3         04/02/2013           25.00
                    DWM    ALTIMA        1997     RDS3         04/02/2013           25.00
                    DWM    ALTIMA        1997     RDS3         04/02/2013           25.00
                    DWM    ALTIMA        19W ..   ~~          ". @{l!:@fi);.@@.sl•••=@/~~
                    EBX    ALTIMA        1997     RDS3         04/02/2013        30.00
                    EBX    ALTIMA        1997     RDS3         04/02/2013        30.00
                    FDW    ALTIMA        1997     RDS3         04/02/2013        25.00
                    FDW    ALTIMA        1997     RDS3         04/,02/2013       25.00
                    FLS    ALTIMA        1997     RDS3         04/02/2013        35.00
                    FPM    ALTIMA        1997     RDS3         04/02/2013        45.00
                    FRG    ALTIMA        1997     RDS3         04/02/2013        24.00
                    FTK    ALTIMA        1997     RDS3         04/02/2013        50.00
                    GPO    ALTIMA        1997     RDS3         04/02/2013        35.00
                    HAC    ALTIMA        1997     RDS3         04/02/2013        20.00
                    LCF    ALTIMA        1997     RDS3         04/02/2013        35.00
                    LID    ALTIMA        1997     RDS3         04/02/2013        50.00
                    OOH    ALTIMA        1997     RDS3         04/02/2013        35.00
                    OOH    ALTIMA        1997     RDS3         04/02/2013        35.00
                    ODH    ALTIMA        1997     RDS3         04/02/2013        35.00
                    OOH    ALTIMA        1997     RDS3         04/02/2013        35.00
                    QTR    ALTIMA        1997     RDS3         04/02/2013       125.00
                    RBR    ALTIMA        1997     RDS3         04/02/2013        50.00
                    RDR    ALTIMA        1997     RDS3         04/02/2013        65.00
                    ROW    ALTIMA        1997     RDS3         04/02/2013        20.00
                    RDW    ALTIMA        1997     RDS3         04/02/2013        20.00
                    RRG    ALTIMA        1997     RDS3         04/02/2013        25.00
                    RRG    ALTIMA        1997     RDS3         04/02/2013        25.00
                    RSA    ALTIMA        1997     RDS3         04/02/2013       100.00
                    RSA    ALTIMA        1997     RDS3         04/02/2013       100.00
                    RVW    ALTIMA        1997     RDS3         04/02/2013        25.00
                    SDO    ALTIMA        1997     RDS3         04/02/2013        25.00
                    SPN    ALTIMA        1997     RDS3         04/02/2013        25.00
                    SPN    ALTIMA        1997     RDS3         04/02/2013        25.00
                    STT    ALTIMA        1997     RDS3         04/02/2013        30.00
                    STT    ALTIMA        1997     RDS3         04/02/2013        30.00
                    THB    ALTIMA        1997     RDS3         04/02/2013        20.00
                    TLP    ALTIMA        1997     RDS3         04/02/2013        20.00
                    TLP    ALTIMA        1997     RDS3         04/02/2013        20.00
                    UCM    ALTIMA        1997     RDS3         04/02/2013        30.00
                    vuc    ALTIMA        1997     RDS3         04/02/2013         0.00
                                                                                 17.50
                    WMF    ALTIMA        1997     RDS3         04/02/2013
                                                                                                       50
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                                                                                            v:}l~
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                   Part   Model       Year           Location                 Date Entered                   Retail Price
      INVENTORY:
                   ACL BEETLE           1999        RDS3                        12/10/2013                       35.00
                   ASH BEETLE            1999       RDS3                        12/10/2013                       35.00
                   ASH BEETLE           1999        RDS3                        12/10/2013                       25.00
                   BAG BEETLE            1999       RDS3                        12/10/2013                       25.00
                   BAG BEETLE            1999       RDS3                        12/10/2013                       25.00
                   BMT BEETLE            1999       RDS3                        12/10/2013                       25.00
                   BWN BEETLE            1999       RDS3                        12/10/2013                       50.00
                   CAL BEETLE          .:1900       1i1@-@@i~at         ·,,, -····-····t2t1-0120~
                   CAL BEETLE         ,.a.00!!!     A052:R4                     "'"1'21'1t.!l12~ •- _.., g ■ uoo.ev 3lllf
                   CAN BEETLE            1999       RDS3                         12/10/2013                      50.00
                   CBX BEETLE            10QQ       l~Hlt                        1'£,11\>@,!@~M         03       Sl8®       I

                   COL BEETLE            1999       RDS3                         12/10/2013                      50.00
                   CRB BEETLE            1999       RDS3                         12/10/2013                      15.00
                   csw BEETLE            1999       RDS3                         12/10/2013                      15.00
                   DMR BEETLE            1999       RDS3                         12/10/2013                      35.00
                   DMR BEETLE            1999       RDS3                         12/1012013                      40.00
                   ENV BEETLE            1999       RDS3                         12/10/2013                      25.00
                   FDR BEETLE            1999       RDS3                         12/10/2013                     100.00
                   FDR BEETLE            1999       RDS3                         12/10/2013                     100.00
                   FDW BEETLE            1999       RDS3                        12/10/2013                       50.00
                   FDW BEETLE            1999       RDS3                         12/10/2013                      50.00
                   FEN BEETLE            1999       RDS3                        12/10/2013                       30.00
                   FEN BEETLE            1999       RDS3                        12/10/2013                       40.00
                   FRL BEETLE          ~99          gi:r~rc                    Mlt,1 /t:,,r;,!!&1 4            ""' +MS,.,-
                   FSB BEETLE          1999         RDS3                        12/10/2013                       35.00
                   FSB BEETLE          1999         RDS3                         12/10/2013                      35.00
                   FST BEETLE          1999         RDS3                        12/10/2013                      100.00
                   FTK BEETLE          1999         RDS3                         12/10/2013                      45.00
                   HOD BEETLE          1999         RDS3                        12/10/2013                       75.00
                   HUB BEETLE          1999         RDS3                        12/10/2013                       35.00
                   IWK BEETLE          1999         RDS3                        12/10/2013                       25.00
                   LCF BEETLE          1999         RDS3                         12/10/2013                      35.00
                   LCF BEETLE          1999         RDS3                        12/10/2013                       35.00
                   LID BEETLE          1999         RDS3                        12/10/2013                       75.00
                   OMA BEETLE          ~-s@®        A28S3                         12.'i'.161281 S                1~
                   QTR BEETLE          1999         RDS3                        12/10/2013                       200.00
                   QTR BEETLE          1999         RDS3                         12/10/2013                      125.00
                   OWN BEETLE          1999         RDS3                         12/10/2013                       30.00
                   OWN BEETLE          1999         RDS3                         12/10/2013                       25.00
                   RBR BEETLE          1999         RDS3                        12/10/2013                        65.00
                   SDO BEETLE          1999         RDS3                         12/10/2013                       30.00
                   SPM BEETLE          1QQQ.        !,J;A,l!sl!.... ,          _ '.l@it1 s;12e.1,::,,          ·-2&.00-
                   SPN BEETLE          1999         RDS3                         12/10/2013                       25.00
                   SPN BEETLE          1999         RDS3                         12/10/2013                       25.00
                   STG BEETLE          1999         RDS3                         12/10/2013                       45.00
                   STR BEETLE          1~Q          ;A~~                      , 12#H3/£6 18                      @€i+Q@     m

                   STT BEETLE          1999         RDS3                         12/10/2013                      30.00
                   STT BEETLE          1999         RDS3                        12/10/2013                       30.00
                   UCM BEETLE          1999         RDS3                         12/10/2013                      50.00
                   UCM BEETLE          1999         RDS3                         12/10/2013                      35.00
                   VIS BEETLE          1999         RDS3                         12/10/2013                      20.00
                   VIS BEETLE          1999         RDS3                         12/10/2013                      20.00
                   vuc BEETLE          1999         RDS3                         12/10/2013                       0.00
                   WHL BEETLE           -1~          i~;p4ei!~®                  ~   :w o,~o.~ :a               .~~

                   WHL BEETLE          1999a        rnW¥:S!!l"mz                1211 ttl20i 3                    ~~&---'
                   WMF BEETLE          1999         RDS3                         12/1°0/2013                      20.00
                   WWB BEETLE          1999         RDS3                         12/10/2013                       35.00
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                                                Yard: 389


                   Part   Model       Year         Location             Date Entered             Retail Price
      INVENTORY:
                   ACH    BEETLE      2000         RES3                  08/20/2012                       50.00
                   ACL    BEETLE      2000         RES3                  08/20/2012                       35.00
                   AFM    BEETLE      2000         RES3                  08/20/2012                       25.00
                   ASH    BEETLE      2000         RES3                  08/20/2012                       35.00
                   ASH    BEETLE      2000         RES3                  08/20/2012                       25.00
                   BAL    BEETLE      2000         RES3                  08/20/2012                       25.00
                   BBF    BEETLE      2000         RES3                  02/04/2013                       35.00
                   BMT    BEETLE      2000         RES3                  08/20/2012                       25.00 ~
                   BWN    BEETLE      "M©O         l!l@s:mztW .   ~swZZZJ8726f2'etTZR".t&S:.S&a;;   r     §o:mr-
                   CAL    BEETLE      2000         RES3                  08/20/2012                       30.00
                   CAL    BEETLE      2000         RES3                  08/20/2012                       30.00
                   CBX    BEETLE      2000         RES3                  08/20/2012                       50.00
                   COL    BEETLE      2000         RES3                  08/20/2012                       50.00
                   csw    BEETLE      2000         RES3                  08/20/2012                       15.00
                   csw    BEETLE      2000         RES3                  08/20/2012                       15.00
                   DPN    BEETLE      2000         RES3                  08/20/2012                      100.00
                   ENV    BEETLE      iQO@         06ttl1                om2Mt1 r~ -       LU.      . . 2b1?u&llffll"I
                   EVP    BEETLE      2000        RES3                   08/20/2012                       45.00
                   FCN    BEETLE      2000        RES3                   08/20/2012                       50.00
                   FDR    BEETLE      2000        RES3                   08/20/2012                      100.00
                   FLY    BEETLE      2000        RES3                   08/20/2012                       50.00
                   FNL    BEETLE      2000        RES3                   03/2:1/2013                      75.00
                   FNR    BEETLE      2000        RES3                   03/21/2013                       75.00
                   FSB    BEETLE      2000        RES3                   08/20/2012                       45.00
                   FSB    BEETLE      2000        RES3                   08/20/2012                       45.00
                   FST    BEETLE      2000        RES3                   08/20/2012                      150.00
                   FST    BEETLE      2000        RES3                   08/20/2012                      150.00
                   GPO    BEETLE      2000        RES3                   08/20/2012                       35.00


                                                                                                               -·
                   HRT    BEETLE      2000        RES3                   08/20/2012                      100.00
                   HRT    BEETLE      2000        hRSElSO                08,120{30~3                     100 00
                   HRT    BEETLE       2000       RES3                   08/20/2012                      100.00
                   HRT    BEETLE       2000       AR56S1                 08Jto,2th'.r-                   ,~er.oo--
                   HSW    BEETLE       2000       RES3                   08/20/2012                       25.00
                   HTC    BEETLE       2000       RES3                   08/20/2012                       45.00
                   IMA    BEETLE       2000       RES3                   08/20/2012                       45.00
                   IMA    BEETLE       2000       RES3                   08/20/2012                       50.00
                   IWK    BEETLE       2000       RES3                   08/20/2012                       25.00
                   JAK    BEETLE       2000       RES3                   08/20/2012                       20.00
                   KNE    BEETLE       2000       RES3                   08/20/2012                       85.00
                   KNE    BEETLE       2000       RES3                   08/20/2012                       85.00
                   LCF    BEETLE       2000       RES3                   08/20/2012                       35.00
                   LID    BEETLE      .200(,)     UB<t68                 9~.01 2                          75 00          =
                   MUF    BEETLE       2000       RES3                   08/20/2012                      150.00
                   PBR    BEETLE       2000       RES3                   08/20/2012                       25.00
                   QTR    BEETLE       2000       RES3                   08/20/2012                      125.00
                   QWN    BEETLE       2000       RES3                   08/20/2012                       25.00
                   RFP    BEETLE       2000       RES3                   08/2p12012                       25.00
                   RGL    BEETLE      2.000       BR I IS IR3            08}20/2012                       aOQQ
                   SPN    BEETLE      2000        RES3                   08/20/2012                       25.00
                   SPN    BEETLE      2000        RES3                   08/20/2012                       25.00
                   STG    BEETLE      2000        RES3                   08/20/2012                       45.00
                   STT    BEETLE      2000        RES3                   08/20/2012                       30.00
                   STT    BEETLE      2000        RES3                   08/20/2012                       30.00
                   UCM    BEETLE      2000        RES3                   08/20/2012                       35.00
                   VIS    BEETLE      2000        RES3                   08/20/2012                       20.00
                   VIS    BEETLE      2000        RES3                   08/20/2012                       20.00

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                                STOCK # Z0806
                                  Yard: 389
              VUC   BEETLE    2000                   RES3                                        08/20/2012                                        0.00
              WHL   BEETLE                                                                                                                   ·••8 ,· ·
                              ~tlJl!b--~~-l~llffl&@!l!IDl!l!!l'IDLlll!!l!ll!!ll!L&!!!f/1@181t/l•Mifl1ANN.il!ll!t~@sg!!&!!!l!l,l!'lll!k.Ql!lllli.
              WMF   BEETLE   2000                    RES3                                        08/20/2012




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                                           STOCK # Z0406
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                   Part   Model          Year              Location                           Date Entered                     Retail Price
      INVENTORY:
                   ACL SEDONA            2004             RES3                                  05/08/2012                          50.00
                   AFM SEDONA            2004             RES3                                  05/08/2012                          25.00
                   ATC SEDONA            2004             RES3                                  05/11/2012                          35.00
                   BAG SEDONA            2004             RES3                                  03/08/2016                          25.00
                   BAX SEDONA            2004             RES3                                  05/08/2012                          90.00
                   BMT SEDONA            2004             RES3                                  05/08/2012                          25.00
                   CON SEDONA            2004             RES3                                  05/08/2012                          50.00
                   CRB SEDONA            2004             RES3                                  05/08/2012                          25.00
                   DPN SEDONA            2004             RES3                                  03/08/2016                          90.00
                   ECM SEDONA            2004             RES3                                  05/08/2012                          30.00
                   EFB SEDONA            2004             RES3                                  05/.11/2012                        100.00
                   EMA SEDONA            20j1             ~ J !...                -Ll_fa,Q;fu(t_~fu!mfA_:g;;;;;:;,_ !!!!l?i•-•CT--~
                   ENV SEDONA            2004             RES3                                  05/08/2012                           35.00
                   EVP SEDONA            2004             RES3                                  05/08/2012                           65.00
                   FDR SEDONA            2004             RES3                                  05/11/2012                          100.00
                   FDR SEDONA            2004             RES3                                  05/11/2012                          100.00
                   FEN SEDONA            2004             RES3                                  05/08/2012                           40.00
                   HDL SEDONA            2004             RES3                                  05/08/2012                          100.00
                                         WJiiii&1)fiji55NS@UQliJJ@ilii&!@~@@G.AU, .....~
                   HED SEDONA
                   HED SEDONA            :.AA4            l~~hm~~                                                                 M~
                   HSH SEDONA            2004             RES3                                  05/08/2012                              50.00
                   HSH SEDONA            2004             RES3                                  05/08/2012                              50.00
                   HTC SEDONA            2004             RES3                                  05/08/2012                              45.00
                   IMA SEDONA            ~I               ~ - I!! ~ - ~ - ..                    !!.-!e-~~oo
                   LCF SEDONA            ?Ja!il d        A~5LLb.i..tL ..              .L----e~~- .. ;:;                    !I!!!.,~~

                   LCF SEDONA            2'iiHi'4cx- .O~-               Z.~§J ____ ,., ...   Q . J ~ - 8 - ' - ~ £.... '            f&:t,tJ'
                                                                                                                                £ LS!

                   LID SEDONA            2004             RES3                                  04/20/2012                         100.00
                   MIR SEDONA            2004             RES3                                  05/11/2012                          25.00
                   OOH SEDONA            2004             RES3                                  01/19/2016                          25.00
                   OOH SEDONA            2004             RES3                                  01/19/2016                          25.00
                   ODH SEDONA            2004             RES3                                  01/19/2016                          25.00
                   OOH SEDONA            2004             RES3                                  01/19/2016                          20.00
                   PAN SEDONA            H@'1             ~ ~ I l l ! ! ! ! ! ·- ~•-~-U.-J!.~M2z51".L ___ £9¥4@~@(,@JMMM

                   PAN SEDONA            2()6i!f-i£J&     &l!>'Ffl~l!!M!l\..~~~
                   PBR SEDONA            2004             RES3                                  05/08/2012                          25.00
                   PLR SEDONA            2004             RES3                                  05/11/2012                         200.00
                   PLR SEDONA            2004             RES3                                  05/11/2012                         225.00
                   PSR SEDONA            2004             RES3                                  05/08/2012                          25.00
                   QTR SEDONA            2004             RES3                                  05/11/2012                         200.00
                   QTR SEDONA            2004             RES3                                  05/11/2012                         350.00
                   QWN SEDONA            2004             RES3                                  05/08/2012                          35.00
                   QWN SEDONA            2004             RES3                                  05/08/2012                          35.00
                   RDO SEDONA           111£064 ·   .&    1-t~,            ;;;;;ac,-"""0'510ITTtotr.#4 - -- 35.dd ....
                   RDR SEDONA             2004            RES3                                  05/11/2012                         100.00
                   RDR SEDONA            2004             RES3                                  05/11/2012                         100.00
                   RFP SEDONA             2004            RES3                                  05/08/2012                          25.00
                   RSP SEDONA            2004             RES3                                  05/08/2012                         250.00
                   RST SEDONA             2004            RES3                                  05/08/2012                          65.00
                   SDO SEDONA            ~'1              OR1?8£                                6fl!f"f"5'/20"f'4                       a.iPD   Z4

                   STB SEDONA            2004             RES3                                  05/08/2012                              35.00
                                                                                                                                        45.00
                   STT
                   TLP
                       SEDONA
                       SEDONA
                                         2004
                                         2004
                                                          RES3
                                                          i::Ml5S'3"'        .          SlE
                                                                                                06/10/2014
                                                                                                %'1~2               liii   i            69¥@@
                   UCM SEDONA            2004             RES3                                  05/08/2012                              45.00
                   vuc SEDONA            2004             RES3                                  05/07/2012                               0.00
                   WMF SEDONA            2004             RES3                                  05/08/2012                              25.00
                   WWB SEDONA            2004             RES3                                  05/11/2012                              45.00


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                                  STOCK NUMBER ANALYSIS
                                         STOCK# A0107
                                                   Yard: 389


                   Part   Model       Year                                                         Date.Entered                   Retail Price
      INVENTORY:
                   ACL    SANTAF      .:ztOG? -0m•&m-i¥GZ                               1   ~ffi-.......!!.--r-£ZL~oo
                   AFM    SANTAF     .-rfr)@i -         W,jffi:~,kf-.                                                                     ~
                   AIT    SANTAF       2002                 RES3                                    02/28/2013                                 25.00
                   ASH    SANTAF       2002                 RES3                                    02/28/2013                                 50.00
                   ASH    SANTAF       2002                 RES3                                    02/28/2013                                 50.00
                   BAG    SANTAF      .@ell£                Affl5       j                    AWWtf2?tJiMR¥f.¥AM~mew. .oo
                   BAG    SANTAF       2002                 RES3                                    02/01/2013                                 50.00
                   CSX    SANTAF       2002                 RES3                                    02/01/2013                                 25.00
                   CSX    SANTAF       ~?                 e#i!liii@~.:::wa-~/.©:!W@i~~wli.f.M£iil~~
                   cu     SANTAF       2002                 RES3                                       02/01/2013                              25.00
                   COL    SANTAF       ::Mi½i?         ➔·~-                    lb) id   sa~~~~~­
                   CRR    SANTAF       2002                 RES3                                       02/01/2013                           200.00




                                       -
                   csw    SANTAF       WP                   ~$W:£.~™*·,J1J,_,l5;,iQJ:l
                   csw    SANTAF       2002            -~@!,.;a;;..a;a:....,;;;,u,;.=,4~~%lwi--£i#¥2mi0
                   csw    SANTAF
                   OMR    SANTAF       200~                 ~ l i t N R ms ~.~~l&t¼IM$.4!4~~,, 00
                   OMR    SANTAF       29DO
                   OPN    SANTAF       2002                 RES3                                    02/01/2013                                 90.00
                   DSF    SANTAF       20M
                   EBX    SANTAF                 ...~rlM·~-."'11-!!'!ll_.~f!li!l!JP.•iAl&-d •• ~
                                       2Q0@'-'1!1&                                                 .      _   -·-~   ,. ........ ____ .....511! .   ~ --....
                   EVP    SANTAF       2002                RES3                       09/30/2014                   35.00
                   FCN    SANTAF       2002                RES3                       02/28/2013                   50.00
                   FDR    SANTAF       2 00!           Ali •"1~ 4-·· •..ti ,r;;;:.qg Mt!J~1201•&.03W¥ia;;_ . ~." ;\3Q.,,0Q_.

                   FOS    SANTAF       2@@ Iii!            ~~iiL@                                  _,ei;li~4;$!li@U&b£,M,@i_ij _,QQ.m,_--
                   FEN    SANTAF       2002                 RES3                                    02/01/2013                                 35.00
                   FNL    SANTAF
                   FPM    SANTAF       ~~~~~-DUUM.~;~1~i~~r-•~·--·~----~-~--~----~k~~;-~~~~~~~~;.~-~1~~-~-------"~!-~~~=
                   FST    SANTAF       2002       RES3                                              02/28/2013                               50.00
                   FST    SANTAF       2002       RES3                                              02/28/2013                               50.00
                   FTP    SANTAF       2002       RES3                                              02/28/2013                               35.00
                   FTP    SANTAF       2002       RES3                                              02/28/2013                               35.00
                   GLB    SANTAF       2002       RES3                                              02/01/2013                               35.00
                   GPO    SANTAF       2002       RES3                                              02/01/2013                               25.00
                   HTC    SANTAF       2002       RES3                                              09/30/2014                               35.00
                   HUB    SANTAF       2002       RES3                                              02/28/2013                               50.00
                   HUB    SANTAF       2002       RES3                                              02/28/2013                               50.00
                   LCF    SANTAF       2002       RES3                                              02/01/2013                               35.00
                   LCF    SANTAF       2002       RES3                                              02/01/2013                               35.00
                   PLR    SANTAF       2002       RES3                                              03/01/2013                              125.00
                   RDL    SANTAF       2002       RES3                                              02/01/2013                               45.00
                   ROR    SANTAF       2002       RES3                                              02/01/2013                               90.00
                   ROW    SANTAF       4llG~-!!1!!!:.@!el~·                                 ,.. 8M 1¥001 @,T¾                                  3/i OP ...
                   RFP    SANTAF       20                                                                              . 0-
                   RRG    SANTAF                                            ........_....l.l,;,~;J;,J,W,w,.......-~eG.Q.Q
                                       200r,i,£-~0Ft4'1,l0&~g.,,,;,,,,..,uwww
                   RVW    SANTAF       2002                 G3S,21P                                @2~~--~
                   STB    SANTAF       2002                 RES3                                   02/28/2013 35.00
                   STG    SANTAF       2002                 RES3                                   02/01/2013 45.00
                   STT    SANTAF       2002                 RES3                                   02/01/2013 35.00
                   STT    SANTAF       2002                 RES3                                   02/01/2013 35.00
                   THB    SANTAF       20.02                A,~                                ~~                                              25,,Q,Q,,,,_
                   VIS    SANTAF       2002                 RES3                                    02/01/2013                                 25.00
                   VIS    SANTAF       2002                 RES3                                    02/01/2013                                 25.00
                   vuc    SANTAF       2002                 RES3                                    02/01/2013                                  0.00
                   WHL    SANTAF       20~                  W'f l ~ I                              4'2/&1+r013                                 40.08-
                   WMF    SANTAF       2                    ~84                                ' 02/0-112&+9                            , --'.35    00

Page 2 of 3                                                                                                                              Printed on: 7/19/2016 at 12:25:43PM
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              STOCK NUMBER ANALYSIS
                   STOCK# A0107
                     Yard: 389




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  C:       rF _,..,
                                      "
                                               STOCK # C1002
                                                    Yard: 389

                      Part   .Model          Year      location                         Date Entered                       Retail Price
       INVENTORY:
                      ALT    SONATA
                      ASH    SONATA          ~Q~
                      ASH    SONATA          ~~~~~=~A,,,Q9--
                      BAG    SONATA           001      RES3
                                                          12/03/2015   10.00
                      BAG    SONATA          2001      RES3
                                                          12/03/2015   ~?;9Q
                      CAL    SONATA                        ... ~~~~5~
                      CAL    SONATA          200~~~'®:2'~~~~=\fi:§t,l}@w.r~
                      CBX    SONATA          '2utf,m;s3   12/03/2015   20.00
                      CBX    SONATA          2001   RES3  12/03/2015   20.00
                      CEN    SONATA          2001   WHL   12/03/2015   20.00
                      CEN    SONATA          2001   WHL   12/03/2015   20.00
                      CEN    SONATA          2001   WHL   12/03/2015   20.00
                      CON    SONATA          2~·1  ~~~©~
                      csw    SONATA          2001   RES3  12/03/2015   24.00
                      DMR    SONATA          2001   RES3  12/03/2015   15.00



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                      DMR    SONATA          2001   RES3  12/03/2015   15.00
                      DPN    SONATA          2001   RES3  12/03/2015   50.00

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                      DSF    SONATA
                      EBX    SONATA                 ~      .    :   -·~   .
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                      ECM    SONATA          2001      RES3  12/03/2015 18.00
                      ECM    SONATA          2001      RES3                              12/03/2015                              18.00
                      ENM    SONATA          2001      RES3                              12/03/2015                              25.00
                      EXH    SONATA          2001                                                .. ~• •   ii,.,;;.,:,~.
                                                                                                                           -       ~
                      FBR    SONATA          2001      RES3                              12/03/2015                              50.00
                      FCN    SONATA          2001      RES3                              12/03/2015                              25.00
                      FDR    SONATA          2001      RES3                              12/03/2015                              75.00
                      FDR    SONATA          2001      RES3                              12/03/2015                              75.00
                      FEN    SONATA          2001      RES3                              12/03/2015                              35.00
                      FEN    SONATA          2001      RES3                              12/03/2015                              45.00
                      FPM    SONATA          2001      RES3                              12/03/2015                              45.00
                      FST    SONATA          2001      RES3                              12/03/2015                              35.00
                      FST    SONATA          2001      RES3                              12/,03/2015                             35.00
                      FTK    SONATA          2001      RES3                              12/03/2015                              25.00
                      GLB    SONATA          2001      RES3                              12/03/2015                              25.00
                      GRL    SONATA          2001      RES3                              12/03/2015                              30.00
                      HAC    SONATA          2001      RES3                              12/03/2015                              25.00
                      HLP    SONATA          2001      RES3                              12/03/2015                              65.00
                      HLP    SONATA          2001      RES3                              12/03/2015                              65.00
                      LCF    SONATA          2001      RES3                              12/03/2015                              15.00
                      LCF    SONATA          2001      RES3                              12/03/2015                              15.00
                      MIR    SONATA          2001      RES3                              12/03/2015                              15.00
                      NOS    SONATA          2001      RES3                              12/03/2015                             500.00
                      PLR    SONATA          2001      RES3                              12/03/2015                             100.00
                      PLR    SONATA          2001      RES3                              12/03/2015                             100.00
                      RDO    SONATA          2001      RES3                              12/03/2015                              35.00
                      RDR    SONATA          2001      RES3                              12/03/2015                              65.00
                      RDR    SONATA          2001      RES3                              12/03/2015                              50.00
                      RFP    SONATA          2001      RES3                              12/03/2015                              20.00
                      RSA    SONATA          2001      RES3                              12/03/2015                              75.00
                      RSA    SONATA          2001      RES3                              12/03/2015                              75.00
                      RSP    SONATA          2001      RES3                              12/03/2015                              75.00
                      RST    SONATA          2001      RES3                              12/03/2015                              50.00
                      SDO    SONATA          2001      RES3                              12/03/2015                              22.50
                      SOX    SONATA          2001      RES3                              12/03/2015                              15.00
                      SPM    SONATA          20Qj      ~Q~JS2               e!lllllal    1:.ifGlz!.'2@1-6--                      ~
                      SPN    SONATA          2001      RES3                              12/03/2015                              25.00
                      SPN    SONATA          2001      RES3                              12/03/2015                              25.00
                                                                                                                               Printed on: 7/19/2016 at 12:26:1 OPM
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                         STOCK NUMBER ANALYSIS
                               STOCK# C1002
                                 Yard: 389
              STB   SONATA    2001        RES3                  12/03/2015                        25.00
              STG   SONATA    2001        RES3                  12/03/2015                        35.00
              STR   SONATA   ...alilP1   ~ @ MX,;s           ..~~§;z;w.;,;:;;;,:;.;;::~
              STT   SONATA    2001        RES3                  12/03/2015                    25.00
              STT   SONATA    2001        RES3                  12/03/2015                    25.00
              TLP   SONATA    2001        RES3                  12/03/2015                    35.00
              TRA   SONATA    20GI        ~)t4Mh,ii&J,      J.4,JAffl'/:tifiB'IB',;;:;q@A!!!•@mi;,1r.·oo™
              UCF   SONATA    2001        RES3                 12/03/2015                     14.00
              UCF   SONATA    2001        RES3                 12/03/2015                     14.00
              UCM   SONATA    2001        RES3                 12/03/2015                     50.00
              VIS   SONATA    2001        RES3                 12/03/2015                     15.00
              VIS   SONATA    2001        RES3                 12/03/2015                     15.00
              vuc   SONATA    2001        RES3                 12/03/2015                      0.00
              WHL
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                    SONATA
                    SONATA
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                              20Qii £1 ,-~#4¥1$i:W.i.ii.4V.~F5°~ ,.i.$_.\QJ.,l¼,'!:',¥1&291ffl'


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                                   STOCK NUMBER ANALYSIS
                                         STOCK# A0611
                                           Yard: 389


                   Part   Model        Year           Location                   Date Entered                   Retail Price
                                                                                           ~·;
      INVENTORY:
                   ABK    INFG35        2004        RES4                      06/20/2013           25.00
                   BWN    INFG35        2004        RES4                      06/20/2013           50.00
                   CAN    INFG35        2004        RES4                      06/20/2013           50.00
                   CSX    INFG35        2004        BR3S1                     06/20/2013           25.00
                   CBX    INFG35        2004        RES4                      06/20/2013           50.00
                   CSX    INFG35        2004        RES4                      06/20/2013           50.00
                   CBX    INFG35        1291        , f~~~~A@WhA4416%i@.!,li

                   CLK    INFG35        2 ~;&2.~i)ll,Ji!¾J.l~~~l_)\!,J!i, I ) . ~ ~ @ ~
                   COM    INFG35        2i0<1 bLli!1.4<~A! I.A. ?.@1!\14iii1@9;(,0~p;;J';!J¾1,~..);e't°J'""'ili"'•"'l'I''
                   CRR    INFG35        2004        RES4                      06/20/2013           50.00
                   CSP    INFG35        zao   ts    1~.&Si..&diJG3~!i4k!#LLU£ .... .X-j15':'(jtf-*

                   csw    INFG35        2004        RES4                     06/20/2013            25.00
                   csw    INFG35        2Nxl - ~™-!~-~~~
                   csw    INFG35        20ilai'   ~IM£WS.~-!&&~{:pidt. .LL ... L-hf:ob""
                   DMR    INFG35        2004        RES4                     06/20/2013            30.00
                                                                l£ __ g . ---u9J7Z'l2U'T3 - ¾AAU\LX,25:do ·
                   ECM    INFG35        2QD1        ~,@@,¢
                   ENV    INFG35        2004        RES4                     06/20/2013            50.00
                   FCN    INFG35        2004        RES4                     06/~0/2013            50.00
                   FPM    INFG35        2e04        "11!e!tsrl            ~I@,               ~~~6!ee ·••
                   FST    INFG35        2"'1i'tkiM . ?£kR.efzM.   J(YAIWJ   .. a a.@8,l2!ili'.20"1'8,.   -t®!ff.-, 34   ,t.z5u~---Ub""
                   FTK    INFG35        2004         RES4                           06/20/2013                             50.00
                   FTP    INFG35        2001       --~'-          11!1 !!    UYUI   ~e,!·rJ1!ffl'3' ,11.•_Q~ !I     _It , ~

                   FTP    INFG35        2n~          Q&f3                           QS,!iQ:'z!~                         ~.GQ.
                   GPD    INFG35        2004         RES4                           06/20/2013                             50.00
                   HAC    INFG35        2Q01         lsRi!9:3                       Q~i!QQq@                               25.~
                   HAC    INFG35        2004         RES4                           06/20/2013                            45.00
                   JAK    INFG35        2004         RES4                           03/22/2015                            35.00
                   LID    INFG35        2004         RES4                           06/20/2013                           140.00
                   MIR    INFG35        2004         RES4                           06/20/2013                            45.00
                   PBR    INFG35        2004         RES4                           06/20/2013                            50.00
                   PSR    INFG35        2004         RES4                           06/20/2013                            25.00
                   QTR    INFG35        2004         RES4                           06/17/2013                           175.00
                   OWN    INFG35        2004         RES4                           06/20/2013                            50.00
                   RDS    INFG35        200A----     A422R1                         oa,·2a,to 1s                           +e.@&-
                   RST    INFG35        2004         RES4                           06/20/2013                           150.00
                   SPK    INFG35        2004         RES4                           06/20/2013                            35.00
                   SPK    INFG35        2004         RES4                           06/20/2013                            35.00
                   SRM    INFG35        2004         RES4                           01/1~/2016                            45.00
                   SWH    INFG35        2004         RES4                           06/20/2013                            50.00
                   UCM    INFG35        2004         RES4                           06/20/2013                            75.00
                   VEN    INFG35        2004         RES4                           06/20/2013                            15.00
                   VEN    INFG35        2004         RES4                           06/20/2013                            15.00
                   VIS    INFG35        2004         RES4                           06/20/2013                            45.00
                   VIS    INFG35        2004         RES4                           06/20/2013                            45.00
                   vuc    INFG35        2004         RES4                           06/20/2013                             0.00
                   WHL    INFG35        ~ ~2                           • · • -@4.tQi.12016                                 6,5,,0.0-



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                   WMF    INFG35        2004         RES4                           06/20/2013                             30.00




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                                   STOCK NUMBER ANALYSIS
                                         STOCK # B0705
                                           Yard: 389


                    Part   Model       Year                 Location                                Date Entered                   Retail Price
       INVENTORY:
                    AFM    FUSION       2QQ§      Ill!   !!!j,§1_§Q,§4     ¥     •ft!SJ~.s~QQ-
                    ALP    FUSION       2008                RES4                                          07/24/2014                       25.00
                    ASH    FUSION      -,A'i!i
                                         a@~1~
                    ASH
                    BAG
                           FUSION
                           FUSION       2Qw•-~~~--~.
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                    BAG    FUSION
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                                       =4M.:~~=~~~~~~11-
                    BAG    FUSION
                    BAG    FUSION       2008                RES4                                          07/24/2014                       35.00
                    BBR    FUSION
                    BMR    FUSION
                    BMT    FUSION       20~~~~~~~~(9p
                    CBX    FUSION       2008                RES4                                          07/24/2014                       35.00
                    CSX    FUSION       ~~~~~~~~~
                    COL    FUSION            , i M ~ ·~-~ • -                                                                                ~o
                    DSF    FUSION
                    DWM    FUSION                                                                                                          25.00
                    DWM    FUSION        ~-~~_;;;;;;;;;;;;;;,.~'i.\bii#i\(W!J\W,ifiiMii~

                    ECM    FUSION       ?.Qli)S            w1Miii,Qia,s~::cw... ----!'Jl'J'~,;;:;:::uwswmi~
                    EMA    FUSION       2.Qlli    - .<@~~ ...              $.2 •. D. $RJ,1@~8i41'41A                         £,.WZ4£!H~0

                    EMA    FUSION       2Q&W __,:_ )lilt'~@.ii              s mu .... JJ.s,a.~aQ4sL.li\iiW!!!l'!!l~
                    FOL    FUSION       2:@1~      u.c~~wa.L             a-.L-"' w,.zs@Q11.:,H11~,e::;;:;~crb'
                    FDW    FUSION       2QQ&ux . €:382,Rk. ;;e:. s ;o:s,~mrne;;;,,;;;g;;;;;.~
                    FLS    FUSION                                                                                                              ..
                    FPM    FUSION       2008              RES4                  07/24/2014                                                 60.00
                    FRG    FUSION       2(G9             - ~ 0 - •;;;; ·· ;;;:;;wa:,ffl'f4fm4@..                             £ii   z.• SJ!!.ai<1Q,Q....,
                    FST    FUSION       2QOO             &CX~-•-;;;;;:.. ...                        u&~!€ff4W 3;.¥!MIM."5"~-                            -

                    FTK    FUSION       2008                RES4                                     07/24/2014       50.00
                    GLB    FUSION       2008                RES4                                     07/24/2014       35.00
                    GPO
                    HAC
                           FUSION
                           FUSION
                           FUSION
                                        2iPB
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                    HSW
                    IWK    FUSION       aQQQ.            .tcA&f'S'4"'- - --~rc16'1tt:l'r2r®u:.oo,~oo
                    LCF    FUSION       2QQ§             m ~     io,;llJlAl1M.ti..w;::z. twLLLt> \t(:j'fF7~-orr::atiW1im$.~~
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                    LID    FUSION       2008                RES4                                   07/24/2014        100.00
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                    OOH    FUSION      2008                RES4                            01/19/2016           25.00
                    ROW    FUSION      2008                RES4                            07/24/2014           25.00
                    ROW    FUSION      2008                RES4                            01/19/2016           25.00
                    RRG    FUSION      2008                RES4                            07/24/2014           25.00
                    RSA    FUSION      2008                RES4                            07/24/2014           99.00
                    RVW    FUSION      2008                RES4                            07/24/2014           19.00
                    RVW    FUSION      2008                RES4                            01/19/2016           19.00
                    800    FUSION      aQI)§               Q?ZS4                          . ~ 4 : A .;, :::aa......o.~
                    STR    FUSION       ~8                 Ae0a+R8"=-                     ~~ ""' ~~
                    STT    FUSION       BQQ§                Q.dQ£7"""""'"'""™'~~~™""''~
                    TRA    FUSION       2,QDB            ~@                                 .,.,        •e~4'2 • · " ' ~
                    UCF    FUSION      !(l)ee            &M~81}1,i0      1"""'""'• 1            I   ""\J7'fzil7ZU~;;;O: ~
                    UCM    FUSION       2008               RES4                                      07/24/2014         50.00
                    VIS    FUSION       2008               RES4                                      07/24/2014         25.00



                                                           -5
                    VIS    FUSION       2008               RES4                                       07/24/2014        25.00
                    vuc    FUSION       2008               RES4                                      07/24/2014          0.00
                    WMF    FUSION      ~s                          I                                      08706/2014               7--']o(I
Page 2 of 2
                                                                                                                                       Printed on: 7/19/2016 at 12:27:41PM
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                                     STOCK NUMBER ANALYSIS
                                           STOCK# A0111
                                             Yard: 389
                      MIS    ACCORD                RAR1111              9/29/2015                   18.43
                      FCN    ACCORD                UAR1717              6/13/2016                   20.00
                                                                                                $5,227.25


                      Part    Model      Year      Account             Credit:Date              Credit Amt
           CREDITS:
                      DSF    ACCORD       2003     YLA3161              4/23/2013                   -40.00
                      RDO    ACCORD       2003     NLR7000              7/5/2013                    -75.00
                      WHL    ACCORD       2003     RAR1111              11/14/2013                  -35.00
                      ACL    ACCORD       2003     UAR8582              6/9/2014                    -25.00
                      THB    ACCORD       2003     LA02                 7/21/2014                   -75.00
                      WHL    ACCORD       2003     RAR1111              8/25/2014                   -35.00
                      CFB    ACCORD       2003     Walk-In/No Ace       4/27/2015                   -75.00
                                                                                                 -$360.00
                                                                     Net Sales:                 $4,867.25



                      Part   Model       Year       Location          Date Entered             Retail Price
      INVENTORY:
                      ABK
                      ACL
                      ASH
                          ACCORD
                          ACCORD
                          ACCORD
                                          2003
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                      BBR ACCORD          2003     RES4                 01/19/2016                     50.00
                      BWN ACCORD          2003     RES4                 02/01/2013                     45.00
                      COL ACCORD          2003     RES4                 02/01/2013                     50.00
                      csw ACCORD          2003     RES4                 02/01/2013                     15.00
                      EBX ACCORD          2003     RES4                 02/01/2013                     65.00
                      FLS ACCORD          ~        .~~!!               !~~
                      FSB ACCORD          2003     RES4                 03/22/2013                    25.00
                      FST ACCORD          2003     RES4                 02/08,/2013                  100.00
                      FST ACCORD          2003     RES4                 02/08/2013                   100.00
                      FTP ACCORD          2003     RES4                 02/08/2013                    35.00
                      JAK ACCORD          2003     RES4                 03/3,1/2016                   22.50
                      LCR ACCORD          2003     RES4                 01/19/2016                    25.00
                      LCR ACCORD          2003     RES4                 01/19/2016                    25.00
                      LCR ACCORD          2003     RES4                 01/19/2016                    25.00
                      PLR ACCORD          2003     RES4                 02/08/2013                   125.00
                      PLR ACCORD          2003     RES4                 02/08/2013                   125.00
                      QTR ACCORD          2003     RES4                 01/19/2016                   175.00
                      RDL ACCORD          2QQa     Q(Ji~~"              Q&l~ '•lfiWiii                ~~
                      RDW ACCORD          2003     RES4                 02/12/2013                     35.00
                      RDW ACCORD          2G02     ~2£~•              , ~ 5 - · -.co= ,, •"'5'@.¥~
                      RGL ACCORD          2003     RES4                 01/19/2016                     40.00
                      RRG ACCORD          20~       Afle4.Q4,.       •• ~~~Q-1.5                       25.00-
                      RSA ACCORD          2003     RES4                 01/19/2016                    90.00
                      RST ACCORD          2003     RES4                 02/08/2013                   100.00
                      RTP ACCORD          2003     BST3                 02/08/2013                    35.00
                      RVW ACCORD          2~       .Ai@~s4R2            08,'1 8,'€&ii"5                ~-.oo -
                      SRM ACCORD          2003     RES4                 01/19/2016                    29.00
                      STB ACCORD          2003     RES4                 02/01'/2013                   50.00
                      TRA ACCORD          2003     M8S4                 02/01/2013                   250.00
                      vuc ACCORD          2003     RES4                 02/01/2013                     0.00
                      WWB ACCORD          2003     RES4                 02/01/2013                    20.00


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                                       STOCK # A0315
                                         Yard: 389


                   Part   Model       Year                Location                  DateEntered                 Retail Price
      INVENTORY:
                   ABK    SONATA       2009            RES4                          04/09/2013                          35.00
                   AFM    SONATA       2009            RES4                          04/09/2013                          25.00
                   ANT    SONATA       2009            RES4                          04/09/2013                          25.00
                   BAG    SONATA       2009            RES4                          04/09/2013                          19.00
                   BAG    SONATA       2009            RES4                          04/09/2013                          19.00
                   BMT
                   CAN
                   CBX
                          SONATA
                          SONATA
                          SONATA
                                       2009
                                       2QQ~--
                                       2009
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                   CBX    SONATA       2009            RES4                          04/09/2013                          25.00
                   CBX    SONATA        "109           Q~,,@~                        M11e~~12e 1s                        85.00""""'
                   CBX    SONATA        2009           RES4                          04/09/2013                             0.00
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                   COi    SONATA
                   COi    SONATA       200
                   COL    SONATA       2009            RES4                          04/09/2013                          50.00
                   CRB    SONATA       2009            RES4                          04/09/2013                          15.00
                   CSW    SONATA       2009            RES4                          04/09/2013                          25.00
                   csw    SONATA       2009            RES4                          04/09/2013                          25.00
                   DSF    SONATA       2009            RES4                          04/09/2013                          10.00
                   DSF    SONATA       2009            RES4                          04/09/2013                          10.00
                   ECM    SONATA       2'){,Q          ElM~-                        . ~~e, 1~ -                       -2~
                   ENV    SONATA       200Q            AR42'8+=                      -90f9Ell-2016                       ~0-
                   FOL    SONATA       2009            RES4                          04/09/2013                          50.00
                   FDW    SONATA       20QQ            OR26£=                        OiffO'!l12U''f3 --                 45.mf'
                   FLS    SONATA       2009            RES4                         04/09/2013                          30.00
                   FST    SONATA       2009            RES4                         04/09/2013                         125.00
                   FST    SONATA       2009            RES4                         04/09/2013                          25.00
                   FST    SONATA       2009            RES4                         04/p9/2013                          25.00
                   FTK    SONATA       2009            RES4                         04/09/2013                          50.00
                   GLB    SONATA       2009            RES4                         04/09/2013                          30.00
                          SONATA       2009            RES4                         04/09/2013                          25.00
                   GPD
                   GRL    SONATA       ~               l":fii!MSI                   03i'00~8                    .       2'~
                   HAC    SONATA      '€009            A-0003                       ~~·                             v-8'5,00,
                   HHN    SONATA       208€)          -+M-&t-R3         ISalilll
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                   HHN    SONATA       20"1~           Ji:. l'G"fr{3                 d37tl~7~1'.H b                    "1b.tiD
                   IWK    SONATA       2009            RES4                          04/09/2013                         45.00
                   LCF    SONATA       2')09           ,Pr+<,~                      ~f{l,Q ~ ~                          ~
                   PLR    SONATA       2:QOO           Re~4                          0Al09l2Qj3                          :175...G-Q-
                   PLR    SONATA       2000            FH=64                         04~09,!~Q.:I ~                    ..:l:Z.5 00
                   RDO    SONATA       2Q.QQ           Cltl!1Qe4            _,.,,,...Q41'00~                        .... 4&.e&i
                   RDR    SONATA       2009            RES4                         04/09/2013  90.00
                   RRG    SONATA       2-0@9          -BR+9ee                       -~~
                   RSA    SONATA       2009            RES4                         04/09/2013  99.00
                   RSA    SONATA       2009            RES4                         04/09/2013 200.00
                   SPN    SONATA       ?~                                           &~~-
                   STB    SONATA                                                           ~~
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                   UCM    SONATA       2009            RES4                          03/30/2013                     35.00
                   vuc    SONATA       2009            RES4                          03/30/2013                      0.00
                   WMF    SONATA       2009            RES4                          04/09/2013                     25.00
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Page 3 of 3
                                                                                                                     Printed on: 7/19/2016 at 12:28:34PM
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                                    STOCK NUMBER ANALYSIS
                                         STOCK # B0702
                                           Yard: 389


                    Part   Model        Year           Location                                      Date Entered                  Retail Price
      INVENTORY:
                     ABK   BM325I        1989         RES4                                                 07/14/2014                      25.00
                     AFM   BM325I       ~~            ~ii~                                 ......Q ~                                       :1:l!IUJO""''"' •
                     ALT   BM325I        1989         RES4                                                 07/11/2014                      30.00
                   . ALT   BM325I        19iQ     I   ;'¾@S6~1!fWPI                                " • i   1O'ft'J6'!'-.0· Iir-    ·1"     14~&-- .....
                     ASH   BM325I        1989         RES4                                                 07/14/2014                      25.00
                     ASH   BM325I        1989         RES4                                                 07/14/2014                      25.00
                     CAL   BM325I        1filQQ       ,0;;8Q.6},t011   JJII                    , .. Q:u,;i,#3@~ 4o;          -
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                     CAL
                     CAL
                           BM325I
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                     CAL   BM325I        rn           j~~.;;;                            i7'W      1§3i~@)~-~
                     CBX   BM325I        1989         RES4                                                 07/14/2014                      15.00
                     CBX   BM325I        1989         RES4                                                 07/14/2014                      35.00
                     COL
                     COM
                     CON
                           BM325I
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                           BM325I
                                         1989
                                         1968
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                                                      RES4
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                     CRR   BM325I        1989         RES4                                             07/14/2014                          40.00
                    csw    BM325I        1989         RES4                                             07/14/2014                          20.00
                    csw    BM3251        1989         RES4                                             07/14/2014                          20.00
                    DMR    BM3251        1989         RES4                                             07/14/2014                          25.00
                    DMR    BM3251        1989         RES4                                             07/14/2014                          25.00
                    DSF    BM325I        1989         RES4                                             07/14/2014                          35.00
                    DWM    BM325I        1989         RES4                                             07/14/2014                          35.00
                    DWM    BM325I        1989         RES4                                             07/14/2014                ...,,....---~~·og,,_
                    EBX    BM325I        1Qil!t       ~                                                6'fl'l'2f72'0 IZJ .                     .00
                    ECM    BM325I        1989         RES4                                             07/14/2014                           35.00
                    FAN    BM325I        1989         RES4                                             07/14/2014                           20.00
                    FCL    BM325I        1989         RES4                                             07114/2014                           25.00
                    FCN    BM325I        1989         RES4                                             10/06/2014                           50.00
                    FDR    BM325I        1989         RES4                                             07/14/2014                           90.00
                    FDR    BM325I        1989         RES4                                             07/14/2014                           99.00
                    FDW    BM325I        1989         RES4                                             07/14/2014                           50.00
                    FDW    BM325I        1989         RES4                                             07/14/2014                           50.00
                    FEN    BM325I        1989         RES4                                             07/14/2014                           35.00
                    FEN    BM325I        1989         RES4                                             07/14/2014                           35.00
                    FLY    BM325I        1989         RES4                                             10/06/2014                           25.00
                    FNL    BM325I        1989         RES4                                             10/06/2014                         100.00
                    FNR    BM325I        1989         RES4                                             10/06/2014                         100.00
                    FRG    BM325I        1989         RES4                                             07/14/2014                           45.00
                    FRG    BM325I        1989         RES4                                             07/14/2014                           35.00
                    FST    BM325I        1989         RES4                                             05/12/2015                         100.00
                    FVW    BM325I        1989         RES4                                             07/14/2014                           25.00
                    FVW    BM325I        1989         RES4                                             07/14/2014                           25.00
                    GRL    BM325I        1989         RES4                                             07/14/2014                           25.00
                    HAC    BM325I        1989         RES4                                             07/14/2014                           25.00
                    HSH    BM325I        1989         RES4                                             10/06/2014                           25.00
                    HSH    BM325I        1989         RES4                                             10/06/2014                           25.00
                    HSW    BM325I        1989         RES4                                             07/14/2014                           15.00
                    LID    BM325I        1989         RES4                                             07/14/2014                           65.00
                    MIR    BM325I        1989         RES4                                             10/06/2014                           20.00
                    NOS    BM325I        1989         RES4                                             07/14/2014                         100.00
                    PBR    BM325I        1989         RES4                                             07/14/2014                           35.00
                    PSR    BM325I        1989         RES4                                             07/14/2014                           25.00
                    QRG    BM325I        1989         RES4                                             07/14/2014                           35.00
                    QRG    BM325I        1989         RES4                                             07/14/2014                           35.00
                    QTR    BM325I        1989         RES4                                             07/14/2014                         100.00
                    QTR    BM325I        1989         RES4                                             07/14/2014                         100.00
                    OWN    BM325I        1989         RES4                                             07/14/2014                           30.00
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                                                                                                                                         Printed on: 7/19/2016 at 12:28:59PM
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                             STOCK NUMBER ANALYSIS
                                  STOCK# B0702
                                    Yard: 389
              QWN   BM325I       1989   RES4     07/14/2014      30.00
              ROF   BM325I       1989   RES4     07/14/2014     150.00
              RSP   BM325I       1989   RES4     10/06/2014     100.00
              TPN   BM325I       1989   RES4     07/14/2014      50.00
              vuc   BM325I       1989   RES4     07/14/2014       0.00
              WMF   BM325I       1989   RES4     07/11/2014      25.00
              WNO   BM325I       1989   RES4     07/14/2014       50.0v


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              WTR   BM325I       1989   RES4     07/14/2014
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                                        STOCK NUMBER ANALYSIS
                                             STOCK # B0503
                                               Yard: 389


                        Part   Model        Year           Location                         Date Entered          Retail Price
           INVENTORY:
                        AGL    ALTIMA        2002         RES4                              06/02/2014                   20.00
                        ASH    ALTIMA       3-00£         :9.1.Hw\3                        wQ
                        ASH    ALTIMA       :"'>CQ.1   I qlil1~t@i;;\fij rrr:,,_,....,....,.._Qi-,(,.~@..,@~---
                        BAG    ALTIMA       2002          RES4                              06/02/2014                   45.00
                        BAG    ALTIMA       2002          RES4                              06/02/2014                   35.00
                        CAL    ALTIMA       3q;@f         ~~~
                        CON    ALTIMA       ?QQ2       ::z:~~r:r:r;-.._-;;;,. __ ~~~-
                        csw    ALTIMA       2002          RES4                              06/02/2014                   30.00
                        csw    ALTIMA       2002          RES4                              06/02/2014                   25.00
                        csw    ALTIMA       2002          RES4                              06/02/2014                   25.00
                        DPN    ALTIMA       2002          RES4                              06/02/2014                   70.00
                        DSF    ALTIMA       200£         ~~~-'llf2!!!B.            . ~~~o~-
                        EBX    ALTIMA       2002          RES4                              06/02/2014                   55.00
                        FDW    ALTIMA       2002          RES4                              06/02/2014                   35.00
                        FRG    ALTIMA       2002          RES4                              06/02/2014                   50.00
                        FSB    ALTIMA       2002          RES4                              06/02/2014                   45.00
                        FSB    ALTIMA       2002          RES4                              06/02/2014                   45.00
                        IMA    ALTIMA       200?         ~;!.Qj;;i~       I ! II   ii Ii    ~~~~s-----
                        LCF    ALTIMA       2002          20505                             06/13/2014                   25.00
                        LCF    ALTIMA       2002          20505                             06/13/2014                   25.00
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                        RRG    ALTIMA       200
                        SPN    ALTIMA       2,i@Q        i!l!tf!f1'~
                        SPN    ALTIMA                     ◊ ~ i:Clff T7SP '!!ifm'
                                            20M
                        STG    ALTIMA       2002         20505                              06/16/2014                   35.00
                        STR    ALTIMA       :2QQ.i!       Qi9ili~- !i!l                    .Q~"1~'•·Qil"lu!!!   1u!l!!l__, 1 m ~
                        STT    ALTIMA       2002         20505                              06/13/2014                   35.00
                        STT    ALTIMA       2002         20505                              06/16/2014                   50.00
                        UCM    ALTIMA       2002         RES4                               06/16/2014                   50.00
                        vuc    ALTIMA       2002         RES4                               06/02/2014                    0.00
                        WHL    135          2004tt       VV 1 ffl"l"R6"                    -e8f,41~"1~.                  ~Q;QO

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Page 2 of 2                                                                                                         Printed on: 7/19/2016 at 12:29:24PM
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # B0303
                                         Yard: 389


                   Part   Model       Year    Location    DateEntered            Retail Price
      INVENTORY:
                   ACL ACCORD          2000   RES4          03/21/2014                  25.00
                   BBR ACCORD          2000   RES4          03/21/2014                  35.00
                   BWN ACCORD          2000   RES4          03/21/2014                  25.00
                   CAL ACCORD          i@H    ~"'llill$P&,§~~

                   CAL ACCORD          2                 ....  ~~
                                                          03121120-i',i · -~~"""'"- -35'~5!r~
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                   DMR ACCORD          2000   RES4
                   DSF ACCORD          2000   RES4          10/19/2015                  30.00
                   ECM ACCORD          2000   RES4          03/21/2014                  25.00
                   ECM ACCORD          2000   RES4          03/21/2014                  25.00
                   FDR ACCORD          2000   RES4          03/21/2014                  99.00
                   FDW ACCORD          2000   RES4          10/19/2015                  35.00
                   FPM ACCORD         .-fi--~~~~~:rmla8·-i~~~~...,~-0.0...- ..,
                   FST ACCORD          2000   RES4          03/21/2014       .    -~'so.'oo-"
                   FTK ACCORD          2000   RES4          03/21/2014                  35.00
                   GLB ACCORD          2000   RES4          03/21/2014                  25.00
                   IMA ACCORD          2                   ·~    J;;,, __ ,_,_   ~~
                   JAK ACCORD          20     RES4          03/21/2014                  35.00
                   LCF ACCORD          2000   B0303         03/21-/2014                 25.00
                   LCF ACCORD          2000   B0303         03/21/2014                  25.00
                   LID ACCORD          2000   RES4          03/21/2014                  99.00
                   QTR ACCORD          2000   RES4          03/21/2014                 150.00
                   QTR ACCORD          2000   RES4          03/21/2014                 100.00
                   RAR ACCORD          2000   RES4          03/07/2016                  30.00
                   RDO ACCORD
                   RDR ACCORD          2000 RES4 03/21/2014  75.00
                   ROW ACCORD          2000 RES4 03/21/2014  25.00
                   RMD ACCORD          2000 RES4 03/21/2014  35.00
                   RSA ACCORD          2000 RES4 03/24/2014 100.00
                   STT ACCORD          2000 RES4 03/21/2014  45.00
                   UCF ACCORD          2000 RES4 03/21/2014  25.00
                   VIS ACCORD          2000 RES4 03/21/2014  15.00
                   VIS ACCORD          2000 RES4 03/21/2014  15.00
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                   WHL ACCORD          2000 RES4 03/21/2014  25.00
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                   WHL ACCORD
                   WMF ACCORD
                   WNO ACCORD          2000   RES4          03/21/2014               45.00
                   WWB ACCORD          2000   RES4          03/21/2014               25.00
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Page 2 of 2
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # 20808
                                         Yard: 389


                   Part   Model       Year          Location   DateEntered    Retail Price
      INVENTORY:
                   ACL    ACCORD       1996        RES4         08/20/2012        35.00
                   ASH    ACCORD       1996        RES4         08/20/2012        25.00
                   ASH    ACCORD       1996        RES4         08/20/2012        25.00
                   BMT    ACCORD       1996        RES4         08/20/2012        20.00
                   BWN    ACCORD       1996        RES4         08/20/2012        25.00
                   CBX    ACCORD       1996        RES4         08/20/2012        15.00
                   CBX    ACCORD       1996        RES4         08/20/2012        25.00
                   CLI    ACCORD       1996        RES4         08/20/2012        25.00
                   COi    ACCORD       1996        RES4         08/20/2012        35.00
                   CRB    ACCORD       1996        RES4         08/20/2012        25.00
                   DMR    ACCORD       1996        RES4         08/20/2012        25.00
                   FCN    ACCORD       1996        RES4         08/20/2012        25.00
                   GLB    ACCORD       1996        RES4         08/20/2012        35.00
                   GPO    ACCORD       1996        RES4         08/20/2012        35.00
                   GRL    ACCORD       1996        RES4         08/20/2012        30.00
                   HLP    ACCORD       1996        RES4         08/20/2012        25.00
                   HRT    ACCORD       1996        RES4         08/20/2012        40.00
                   HRT    ACCORD       1996        RES4         08/20/2012        40.00
                   IDH    ACCORD       1996        RES4         08/18/2012        25.00
                   IDH    ACCORD       1996        RES4         08/18/2012        25.00
                   ODH    ACCORD       1996        RES4         01/19/2016        25.00
                   OOH    ACCORD       1996        RES4         01/19/2016        25.00
                   PSR    ACCORD       1996        RES4         08/20i2012        25.00
                   QTR    ACCORD       1996        RES4         08/20/2012       150.00
                   QTR    ACCORD       1996        RES4         08/20/2012       125.00
                   RBR    ACCORD       1996        RES4         08/20/2012        45.00
                   RDR    ACCORD       1996        RES4         08/20/2012        65.00
                   RDR    ACCORD       1996        RES4         08/20/2012        65.00
                   RDW    ACCORD       1996        RES4         01/19/2016        25.00
                   RDW    ACCORD       1996        RES4         01/19/2016        35.00
                   RGL    ACCORD       \iim        ~ - - -~~g~~'-""''~~
                   RMD    ACCORD       1996        RES4         08/20/2012        35.00
                   RRG    ACCORD       1996        RES4         01/19/2016        35.00
                   RRG    ACCORD       1996        RES4         01/19/2016        35.00
                   RSA    ACCORD       1996        RES4         08/20/2012        75.00
                   RSA    ACCORD       1996        RES4         08/20/2012        75.00
                   RSP    ACCORD       1996        RES4         08/20/2012        75.00
                   SRM    ACCORD       1996        RES4         01/19/2016        25.00
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                   UCM    ACCORD       1996        RES4         08/20/2012        35.00
                   UCM    ACCORD       1996        RES4         08/20/2012        25.00




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                   UCM    ACCORD       1996        RES4         08/20/2012
                   vuc    ACCORD       1996        RES4         08/20/2012




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Page 2 of 2                                                                     Printed on: 7/19/2016 at 12:30:13PM
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                                    STOCK NUMBER ANALYSIS
                                         STOCK# 80104
                                           Yard: 389



       INVENTORY:
                    Part

                    AFM
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                           ALTIMA
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                    CLI    ALTIMA       2008     RES4                             01/29/2014                     50.00
                    COL    ALTIMA       2008     RES4                             01/29/2014                     50.00
                    ENV    ALTIMA       2008     RES4                             01/29/2014                     22.00
                    FDW    ALTIMA       2008     RES4                             10/2~/2015                     50.00
                    FLS    ALTIMA       2008     RES4                             01/29/2014                     35.00
                    FRG    ALTIMA       2008    ~                                ,ilfl(?Q/QQt,,{j& ....Lt 16-U!tm
                    FTK    ALTIMA       2008     RES4                             01/29/2014                     50.00
                    GPO    ALTIMA       2008     RES4                             01/29/2014                     25.00
                    HAC    ALTIMA       2008 lillia~£3 - $ g : \¼&. Q VilQ.!s\i\111                            .ie§fif)
                    HUB
                    IWK
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                    OOH    ALTIMA       2008          ,s,neee              $      1@112Slf.&te<                · 25.Ut'I'
                    PBR    ALTIMA       2008     RES4                            01/19/2016                      25.00,..
                    RDO    ALTIMA       200@!    0"'96!                          e I~2 M0'1"2F                   34.tm
                    RSA    ALTIMA       2008     RES4                            01/29/2014                     100.00
                    SDO    ALTIMA       2008- id~~@@}t; •                        @..1,QQ.laUil~ 4 - • -11'1!1 8 ~
                    SPN    ALTIMA       2006    IJJijJ@{lilR3                    01na,2i:lilt1 WL                a~
                    SRM    ALTIMA       2008     RES4                            01/19/2016                      35.00
                    STG    ALTIMA       2008   ✓,IOJR!                           &'IJ!@Jl!e 1't                  "6j;Qiwl7P"""
                    STR    ALTIMA       2008    RES4                             01/29/2014                      35.00
                    vuc    ALTIMA       2008    RES4                             01/29/2014                       0.00
                    WMF    ALTIMA       2008    RES4                             01/29/2014                      30.00
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Ver: 1.04
                                   STOCK NUMBER ANALYSIS
                                         STOCK# A0106
                                           Yard: 389


                    Part   Model       Year         Location           DateEntered           Retail Price
       INVENTORY:
                    ABK
                    AFM
                    BBR
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                    BLT
                    BLT TIBURO          2004       RES4                 01/22/2013                  75.00
                    BMT TIBURO          2004       RES4                 01/22/2013                  25.00
                    CAN TIBURO          2004       RES4                 01/22/2013                  50.00
                    cu  TIBURO          2004       RES4                 01/22/2013                  50.00
                    COL TIBURO          2004       RES4                 01/22/2013                  50.00
                    CON TIBURO          2• I       C,HU        ~\!Mill                      _ttt!iM!Jf!'f.-tfflBW
                    CRB TIBURO          2004       RES4                 01/22/2013                  10.00
                    csw TIBURO         MJ9irll     ~1&.t,       rsa~~i~J¼f&J~
                    csw TIBURO
                    DMR TIBURO
                                       ;88t      4~££t1~~~£¥S£~

                    DSF TIBURO          2Q04---BR4-S4------0-:1./.2-2-t2013                      ~«··~'6700--
                    EBX TIBURO          2                       .'   ~~J£ii&JiiZZ&J@lt.~
                    ECM TIBURO          2                      . w~~-m,;M.ii*4~
                    ENV TIBURO          20           _,           ,_ _         -- • 10:"""tlf.i~i!i-ffli~~'
                    FCN TIBURO          200        RES4             02/18/2014   35.00
                    FNR TIBURO          2004       A0106            02/18/2014  100.00
                    FPM TIBURO          :.. w      A3ts~rn0t1wuwilli.emw.~
                    FRG TIBURO          2 OCWu@;;::;:,:ii~;:;s-~...mlliiii~
                    FSB TIBURO          2004      RES4                    07/30/2013                45.00
                    FSB TIBURO          2004      RES4                    07/30/2013                45.00
                    FST TIBURO          2004      RES4                    01/22/2013               100.00
                    GPO TIBURO          2004      RES4                    01/22/2013                50.00
                    HAC TIBURO          ~Oj;l & ! ' l / ( l - 5 5 ' 1 J f . ~ ~ , J ! i E \ l i \ ¢ £ ~ ~
                    IWK TIBURO          2004      RES4                    01/22/2013                35.00
                    LID TIBURO
                                        ;~       ~£LW.~Wk~
                    MIR TIBURO
                    MUF TIBURO          2004       RES4                 01/22/2013                 100.00
                    PSH TIBURO          20l I    Aliffrl§@R4£JiJ£-JS_~'k4                ¾¥¥¥!   -.~
                    PSR TIBURO          2004       RES4                 01/22/2013                  10.00
                    QTR TIBURO          2004       RES4                 01/22/2013                 175.00
                    QWN TIBURO          2004       RES4                 01/22/2013                  45.00
                    QWN TIBURO          2004       RES4                 01/22/2013                  45.00
                    RDO
                    RFP
                        TIBURO
                        TIBURO          ~                      --~           -   .   ~
                    RGL TIBURO          2                          -
                    RMD TIBURO          20~          iii~~~~..i!, · •
                    RSA TIBURO          2004           RES4          01/22/2013
                    RSA TIBURO          2004           RES4          01/22/2013
                    SPK TIBURO          20,Willlllltllll!nu•~~-~---~~~-~-~~~
                    STB TIBURO          2004           RES4          01/22/2013
                    STG TIBURO
                    STT TIBURO
                    THB TIBURO
                    UCM TIBURO                                           -
                    VIS TIBURO                     RES4                 01/22/2013                  35.00
                    VIS TIBURO                     RES4                 01/22/2013                  35.00
                    vuc TIBURO                     RES4                 01/14/2013                   0.00           Cl-\
                                                                                                                    _


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                    WMF TIBURO                     M41ez
                    WWB TIBURO                     RES4




Page 3 of 3                                                                                       Printed on: 7/19/2016 at 12:31:10PM
Ver: 1.04
                                  STOCK NUMBER ANALYSIS
                                        STOCK # A0410
                                          Yard: 389


                   Part   Model        Year            Location            DateEntered     Retail Price




                                       -"~
      INVENTORY:
                   AGL    ALTIMA       2000           RFS4                  04/26/2013         50.00
                   AFM    ALTIMA                       Q~            I    ¼'t O r t t ® b ' @ ~
                   ALP    ALTIMA       2000           RFS4                  04/26/2013         25.00
                   ASH    ALTIMA       2000           RFS4                  04/26/2013         25.00
                   BAG    ALTIMA       2000           RFS4                  04/26/2013         35.00
                   BAG    ALTIMA       2000           RFS4                  04/26/2013         35.00
                   BMT    ALTIMA       2000           RFS4                  04/26/2013         35.00
                   BWN    ALTIMA       2000           RFS4                  04/26/2013         45.00
                   CAL    ALTIMA       2000           RFS4                  04/26/2013         10.00
                   CAL    ALTIMA       2000           RFS4                  04/26/2013         10.00
                   COL    ALTIMA       2000           RFS4                  04/26/2013         50.00
                   CON    ALTIMA       2000           RFS4                  04/26/2013         35.00
                   CRB    ALTIMA       2000           RFS4                  04/26/2013         35.00
                   csw    ALTIMA       2000           RFS4                  04/26/2013         15.00
                   csw    ALTIMA       2000           RFS4                  04/26/2013         15.00
                   ECM    ALTIMA       2000           RFS4                  04/26/2013         35.00
                   ENC    ALTIMA                                                           ~
                   FDR    ALTIMA         2000         RFS4                  04/26/2013         75.00
                   FDR    ALTIMA         2000         RFS4                  04/26/2013        100.00
                   FDW    ALTIMA         2000         RFS4                  04/26/2013
                                                                               "
                                                                                               35.00
                   FEN    ALTIMA     ...-file@       ~~ 4M i i l l & % : t ~ ' " ' . ~ 1 t = © ~
                   FEN    ALTIMA         2                                                 ~~
                   FLS    ALTIMA         2000        RFS4                   04/26/2013         35.00
                   FNL    ALTIMA         2000        RFS4                   09/20/2013        100.00
                   FNR    ALTIMA         2000        RFS4                   09/20/2013        100.00
                   FPM    ALTIMA         2000        RFS4                   04/26/2013         65.00
                   FRG    ALTIMA         2000        RFS4                   04/26/2013         45.00
                   FSB    ALTIMA         2000        RFS4                   04/26/2013         25.00
                   FSB    ALTIMA         2000        RFS4                   04/26/2013         25.00
                   FSB    ALTIMA         2000        RFS4                   04/26/2013         15.00
                   FSB    ALTIMA         2000        RFS4                   04/26/2013         25.00
                   FTK    ALTIMA         2000        RFS4                   04/26/2013         35.00
                   GLB    ALTIMA         2000        RFS4                   04/26/2013         25.00
                   GPO    ALTIMA         2000        RFS4                   04/26/2013          0.00
                   HAC    ALTIMA         2000        RFS4                   04/26/2013         18.00
                   HED    ALTIMA       ..iai         ~Q                  !!!~,:20 ~ 3        ~
                   IWK    ALTIMA       2000          RFS4                   04/26/2013         25.00
                   JAK    ALTIMA       2000          RFS4                   09/20/2013         25.00
                   PAN    ALTIMA       2000          RFS4                   04/2(3/2013        35.00
                   PLR    ALTIMA       2000          RFS4                   09/20/2013        100.00
                   PLR    ALTIMA       2000          RFS4                   09/20/2013        100.00
                   PSR    ALTIMA       2000          RFS4                   04/26/2013         25.00
                   QTR    ALTIMA       2000          RFS4                   04/26/2013        100.00
                   QTR    ALTIMA       2000          RFS4                   04/26/2013        100.00
                   RDO    ALTIMA       2000          RFS4                   04/26/2013         25.00
                   RDR    ALTIMA       2000          RFS4                   04/26/2013         50.00
                   RRG    ALTIMA       2000          RFS4                   04/26/2013         25.00
                   RRG    ALTIMA       2000          RFS4                   09/20/2013         25.00
                   RSA    ALTIMA       2000          RFS4                   04/26/2013         65.00
                   RSA    ALTIMA       2000          RFS4                   04/26/2013         65.00
                   RSP    ALTIMA       2000          RFS4                   04/26/2013        150.00
                   RVW    ALTIMA       2000          RFS4                   09/20/2013         25.00
                   SDO    ALTIMA       2000          RFS4                   04/26/2013         25.00
                   SPM    ALTIMA        26M           ~O!f!~~               Q4'2~l,rnj ~       3§--QD
                   SPN    ALTIMA        2QQQ         /tlMOO                 M,!0/28+8          2Qa00
                   STB    ALTIMA        2000         RFS4                   04/26/2013         40.00
                   STR    ALTIMA        2000-,...::= f5€iS!!J,Riil         ,.Q~~,~QJ~          2.S.,A,Q,.-,
                                                                                             Printed on: 7/19/2016 at 12:31:38PM
Page 2 of 3
Ver:1.04
                         STOCK NUMBER ANALYSl!S
                               STOCK # A0410
                                   Yard: 389
              STT   ALTIMA    2000    RFS4     04/26/2013             30.00
              STT   ALTIMA    2000    RFS4     04/26/2013             25.00
              TLP   ALTIMA    2000    RFS4     04/26/2013             19.00
              TLP   ALTIMA    2000    RFS4     04/26/2013             19.00
              UCM   ALTIMA    2000    RFS4     04/26/2013             35.00
              UCM   ALTIMA    2000    RFS4     04/26/2013             30.00
              VIS   ALTIMA    2000    RFS4     04/26/2013             25.00
              VIS   ALTIMA    2000    RFS4     04/26/2013             25.00
              vuc   ALTIMA    2000    RFS4     04/26/2013               0.00
              WHC   ALTIMA    2000    RFS4     04/26/2013             25.00
              WHC   ALTIMA    2000    RFS4     04/26/2013             25.00
              WMF   ALTIMA    2000    RFS4     04/2~/2013             25.00           ,,
              WNO   ALTIMA    2000    RFS4     09/20/2013             45.00 ,.-/
              WWB   ALTIMA    2000    RFS4     04/26/2013             3 5 .0..{),-'"'
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Page 3 of 3                                                         Printed on: 7/19/2016 at 12:31:38PM
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                                  STOCK NUMBER ANALYSIS
                                        STOCK # A0907
                                          Yard: 389


                   Part   Model       Year           Location               DateEntered             Retail Price
      INVENTORY:
                   ABK    SONATA       2008         RFS4                     09/20/2013                          35.00
                   AFM    SONATA      »l&           .~~~..:fa.....,.~~- ... ,....- ~
                   ALT    SONATA      ?QPi         .z~ii~~--~-rn&.1.L'e.!i.~
                   ASH    SONATA       2(81        ~~..!!l!il---~@ft~!Jll!!lJU " - ~ ~ . . . . -
                   ASH    SONATA       20C8         wfwf.@~..$,U~--~~~.!!!d'.i                      .Ml         ~
                   BAG    SONATA       2008         RFS4                     09/20/2013                          25.00
                   BAG    SONATA       2008         RFS4                     09/20/2013                          19.00
                   BAG    SONATA       2008         RFS4                     09/20/2013                          19.00
                   BBR    SONATA       2008         RFS4                     09/20/2013                          40.00
                   BMT    SONATA       2008         RFS4                     09/20/2013                          25.00
                   CAN    SONATA       2008         RFS4                     09/20/2013                          50.00
                   CBX    SONATA       2008         RFS4                     09/20/2013                          25.00
                   CBX    SONATA       2008         RFS4                     09/20/2013                          25.00
                   cu     SONATA       2008         RFS4                     09/20/2013                          35.00
                   CRB    SONATA       2008         RFS4                     09/20/2013                          15.00
                   DSF    SONATA       2008         RFS4                     09/20/2013              ...........J~
                                                                                                 .....
                   DWM    SONATA       2iiiil      31~w.v...:;:;;;.;;~~-
                   DWM    SONATA      ws           ~-Z.~~~a~
                   ENV    SONATA       2008         RFS4                     04/23/2014                          35.00
                   FOL
                   FLS
                          SONATA
                          SONATA
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                                                    RFS4                     09/20/2013
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                                                                                                   30.00
                   FNR    SONATA       2008         RFS4                     09/20/2013                         150.00
                   FST    SONATA       2008         RFS4                     09/20/2013                          50.00
                   FTK    SONATA       2008         RFS4                     09/20/2013                          50.00
                   GPO    SONATA       2008         RFS4                     09/20/2013                          25.00
                   GRL    SONATA       2008         RFS4                     09/20/2013                          35.00
                   HAC    SONATA       2008         RFS4                     09/20/2013                          20.00
                   LID    SONATA       2008         RFS4                     09/20/2013                         100.00
                   PSR    SONATA       2008         RFS4                     09/20/2013                           9.00
                   RDO    SONATA       2008         RFS4                     09/20/2013                          35.00
                   RDR    SONATA       2008         RFS4                     09/20/2013                          90.00
                   RRG    SONATA       2008         RFS4                     09/20/2013                          45.00
                   RSA    SONATA       2008         RFS4                     09/20/2013                          99.00
                   SDO    SONATA       2008         RFS4                     09/20/2013                          35.00
                   SPN    SONATA       2-il.llii    ~ Q_™!.l,.!lliiQ.~.ll!llHW.Q.~ .•.!!l!L.. ----•'~!!!        l!f!15'ffi
                   STG    SONATA       ..,0£2      ~lii!!!igu.!!IIU!!!!!!L.~~1..•.•.• ~~

                   STR    SONATA       20Qiwt       ; 188~-llw   .1   .LAL ~~1-..-!iEF.!f!E!!!!!B@!!!i          45-5%;::?
                   STT    SONATA       2008         RFS4                     03/07/2014                          35.00
                   THB    SONATA       2008s.       liil!i~.     !!!L...l!l!l!! (i}~~~-!!!!.!'!!!1!!!!          ~
                   TLP    SONATA       2008         RFS4                     09/20/2013                          37.50
                   TRA    SONATA       2iitH        I ~ G@jj@£ggg.Q£}i~s0@11&... U •MEL.!!l_i'pW;I~
                   vuc    SONATA       2008         RFS4                     09/20/2013                           0.00
                   WMF    SONATA       2008         RFS4                     09/20/2013                          25.00
                   WWB    SONATA       2008         RFS4                     09/20/2013                          35.00        ,,/
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                                                                                                            Printed on: 7/19/2016 at 12:32:28PM
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                                  STOCK NUMBER ANALYSIS
                                         STOCK# X1102
                                           Yard: 389


                   Part   Model        Year          Location              Date Entered          Retail Price
      INVENTORY:
                   ACL    ACCENT       2003         RFS4                    12/07/2010                    20.00
                   ANT    ACCENT       2003         RFS4                    12/07/2010                    10.00
                   BMT    ACCENT       2003         RFS4                    12/07/2010                    25.00
                   CBX
                   CBX
                          ACCENT
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                   COL    ACCENT        a@ilj
                   DMR    ACCENT       2003         RFS4               11/18/2010                25.00
                   DMR    ACCENT       2003         RFS4               11/18/2010                25.00
                   DSF    ACCENT         Md        :..:sw:+~Gf+rmMA¥t4r-«-.~
                   FDR    ACCENT         2003       RFS4               11/18/2010               200.00
                   FST    ACCENT         2003       RFS4               12/07/2010                55.00
                   GRL    ACCENT         2003       RFS4               12/30/2011                15.00
                   HOD    ACCENT         2003       RFS4               11/18/2010                50.00
                   HTC    ACCENT         2003       RFS4               12/07/2010                45.00
                   HTC    ACCENT         2003       RFS4               06/19/2013                45.00
                   LCF    ACCENT         2003       RFS4               11/18/2010                35.00
                   MCY    ACCENT         2003       RFS4               12/07/2010                25.00
                   PLR    ACCENT         2003       RFS4               12/07'/2010              100.00
                   PLR    ACCENT         2003       RFS4               12/07/2010               100.00
                   RDO    ACCENT         2003       RFS4               11/18/2010                20.00
                   RDR    ACCENT         2003       RFS4               11/18/2010                50.00
                   RDR    ACCENT         2003       RFS4               11/18/2010                75.00
                   RSA    ACCENT         2003       RFS4               11/18/2010                65.00
                   RSA    ACCENT         2003       RFS4               11/18/2010                65.00
                   SPM    ACCENT      6iizill9WIAI ,@if!i.pRfL ... Z££&&Rfr6¥i6Pf&      ¥Z.. i :s2~~
                   SPN    ACCENT         2003       RFS4               11/18/2010                35.00
                   SPN    ACCENT         2003       RFS4               11/18/2010                35.00
                   STR    ACCENT         :&@-6      A&ki(,             I 1,48128 Fb !I t!C 1-.:Wzif.&tlUD
                   STT    ACCENT         2003       RFS4               11/18/2010                35.59
                   STT    ACCENT         2003       RFS4               11/18/2010                35.59
                   THB    ACCENT       ijjMl       . 6@84M!b@t&t~±~22;E~~tt 4;g                         JI 2&.fil!l'I
                   vuc    ACCENT       2003         RFS4                    11/18/2010                     0.00
                   WMF    ACCENT       2003         RFS4                    11/18/2010                    25.00 / /
                   WND    ACCENT       2003         RFS4                    11/18/2010                    35.00,..,/

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Page 2 of 2                                                                                          Printed on: 7/19/2016 at 12:32:53PM
Ver:1.04
                                       STOCK NUMBER ANALYSIS
                                            STOCK# W0611
                                              Yard: 389


                        Part   Model       Year            Location       Date Entered            Retail Price
           INVENTORY:
                        BAG    SONATA      2001            RFS4            06/24/2009                  10.00
                        BAG    SONATA      2001            RFS4            06/24/2009                  10.00
                        COi
                        DMR
                               SONATA
                               SONATA
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                                           2001
                                                       IEfi~i~
                                                           RFS4
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                                                                           03/04/2010                  15.00
                        ECM    SONATA      2001            RFS4            06/24/2009                  10.00
                        ENC    SONATA
                        FST    SONATA      2001            RFS4            06/24/2009                  50.00
                        HED    SONATA      ?!.£ 1 + ;;J7&:f;Sftld4MA•Alt-!¥&1iii®ii\li4~~™"'~~
                        HED    SONATA      ?   o.aa   frWi.'1Sdwme¥!t-i§ii,.ii!ii\\~~4f,,-'\i,,~~~9.&..-.
                        HED    SONATA      flli)IM      ,wmwilii        ffl M1'M~~...m.~.siil~




                                                           '. ·, . . ·====-
                        HED    SONATA      ~Q92       ;w~"·®!!i\lt$Pll6'/\1!i9!1!.,¥*™~
                        IMA    SONATA      2001         W0611           08/11/2009              35.00

                                           ~
                        PAN    SONATA
                        PAN    SONATA
                        RDR    SONATA      2 1             RFS4            06/24/2009                 50.00
                        RDR    SONATA      2001            RFS4            06/24/2009                 50.00
                        THB    SONATA      ~01             W0611           08/11/2009                 20.00
                        vuc    SONATA      2Ll01           RFS4            06/24/2009                  0.00
                        WNO    SONATA      2801            W0611           08/11/2009                 35.00 / /
                                                                                                   $785.9,!V'

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Ver:1.04
                                     STOCK NUMBER ANALYSIS
                                           STOCK # A 1002
                                                    Yard: 389
                      Part   Model       Year          Sold To             Sold Date     Sale Price
INVENTORY SOLD:
                      TRA    ELANTR       1998         Walk-In/No Acct     12/12/2013        250.00
                      TRA    ELANTR       1998         EHL7024             4/21/2014         250.00
                      FTK    ELANTR       1998         AR170               8/13/2014          70.00
                      FPM    ELANTR       1998         AR170               8/19/2014          40.00
                      DMR    ELANTR       1998         GMS9273             12/16/2014         20.00
                      ALT    ELANTR       1998         RAR1111             7/3/2015           45.00
                                                                                            $675.00


                      Part    Model      Year          Account            Credit Date    Credit Amt
           CREDITS:
                      TRA    ELANTR       1998         Walk-In/No Ace      3/6/2014         -250.00
                                                                                          -$250.00
                                                                         Net Sales:        $425.00



                      Part   Model       Year          Location           Date Entered   Retail Price
      INVENTORY:
                      AFM    ELANTR      .iltti I      ~~.5iii.i&\\ii.¥iiii£:£ii.~
                      CAL    ELANTR       1998         RFS4                10/30/2013                15.00
                      CAL    ELANTR       1998         RFS4                10/30/2013                15.00
                      CAN    ELANTR       1998         RFS4                10/30/2013                50.00
                      CBX    ELANTR       1998         RFS4                10/30/2013                25.00
                      CBX    ELANTR       1998         RFS4                10/30/2013                20.00
                      COM    ELANTR       1-...,W~t...W1\ILJ,.@...,...,"~'-1illii&~.-..-..="llti~.'!!9
                      EBX    ELANTR       1998         RFS4                10/30/2013                15.00
                      FDR    ELANTR       1998         RFS4                10/30/2013                40.00
                      FDW    ELANTR       1998         RFS4                10/30/2013                25.00
                      FDW    ELANTR       1998         RFS4                10/30(2013                2.2.00
                      FRG    ELANTR       1998         RFS4                10/30/2013                25.00
                      JAK    ELANTR       ~.&GD).¢@@@:M&&LELE!\,l./@]4'/l2!l!f-fiJ&-ESCi2&ll~
                      LCF    ELANTR       1998         RFS4                10/30/2013                35.00
                      LID    ELANTR       1998         RFS4                10/30/2013                40.00
                      RBR    ELANTR       1998         RFS4                10/30/2013                50.00
                      RDR    ELANTR       1998         RFS4                10/30/2013                40.00
                      ROW    ELANTR       1998         RFS4                10/30/2013                25.00
                      ROW    ELANTR       1998         RFS4                10/30/2013                25.00
                      RRG    ELANTR       1998         RFS4                10/30/2013                25.00
                      RRG    ELANTR       1998         RFS4                10/30/2013                25.00
                      RSA    ELANTR       1998         RFS4                10/30/2013                65.00
                      RSA    ELANTR       1998         RFS4                10/30/2013                65.00
                      RVW    ELANTR       1998         RFS4                10/30/2013                25.00
                      RVW    ELANTR       1998         RFS4                10/30/2013                25.00
                      SPN    ELANTR       1998         RFS4                10/30/2013                25.00
                      STR    ELANTR       ~            ,o~i:               1~5                       22?3111
                      STT    ELANTR       1998         RFS4                10/30/2013        25.00
                      TLP    ELANTR       1998         RFS4                10/30/2013        25.00
                      TLP    ELANTR       1998         RFS4                10/30/2013        25.00
                      UCM    ELANTR       1998         RFS4                10/30/2013        35.00
                      vuc    ELANTR       1998         RFS4                10/30/2013           0.00
                      WMF    ELANTR       1998         RFS4                10/30/2013        15.00/,,,-
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Page 1 of 1                                                                                 Printed on: 7/19/2016 at 12:38:24PM
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                                  STOCK NUMBER ANALYSIS
                                        STOCK # 20903
                                          Yard: 389


                   Part   Model       Year           Location                   Date Entered                  Retail Price
      INVENTORY:
                   ABK    FOREST       N• ◄
                   AFM    FOREST       20
                   ALT    FOREST       20
                   ASH    FOREST       201
                   ASH    FOREST       2011
                   ASH    FOREST       2011         RFS3                         04/22/2013                              25.00
                   ASH    FOREST       2011         RFS3                         04/22/2013                              25.00
                   BBF    FOREST       2011         RFS3                         04/22/2013                             125.00
                   BMT    FOREST       2011         RFS3                         04/22/2013                              24.00
                   COM    FOREST       2@1111      =~&                           t1~t2                L 11 l J        9~s,;rr-
                   CRB    FOREST       2011         RFS3                         04/22/2013                              25.00
                   CRR    FOREST       2011         RFS3                         11/28/2012                             100.00
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                   csw
                   DPN
                   DSF
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                   FDR    FOREST       2i11
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                   FLY    FOREST       2c.,;:;.a    A:@Ht                         Ff~~
                   FST    FOREST       2011         RFS3                         04/22/2013                             150.00
                   FTP    FOREST       2011         RFS3                         04/22/2013                              55.00
                   HAC    FOREST                   WA~8r             &LY        GPfr4::&W5l 9:f\&       422             ~
                   IWK    FOREST       2011         RFS3                         04/22/2013                              35.00
                   KNE    FOREST       2Cefi       ~ M b&                        - ~                  !@!)~
                   LCR    FOREST       2011         RFS3                         09/27/2014                           35.00
                   LCR    FOREST       2011         RFS3                         09/27/2014                           35.00
                   LCR    FOREST       2011         RFS3                         09/27/2014                           35.00
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                   OMA    FOREST       ~II          fl!OOt)
                                                                              ~~-                                     75.00
                   PBR    FOREST       2011         RFS3                         04/22/2013
                   QTR    FOREST       2011         RFS3                         11/28/2012                          250.00
                   RBR    FOREST       2011         RFS3                         11/28/2012                          250.00
                   RDO    FOREST       20.;l       --~aa-i                    li!li•4i-~l!Dlffli!!M                  ~
                   RDR    FOREST       2011          RFS3                        11/28/2012                          500.00
                   RMD    FOREST       2011         RFS3                         04/22/2013                           45.00
                   RSA    FOREST       2011         RFS3                         11/28/2012                           99.00
                   RSA    FOREST       2011         RFS3                         11/28/2012                           99.00
                   RST    FOREST       2011         RFS3                         04/22/2013                          200.00
                          FOREST       2011         RFS3                         09/27/2014                           45.00

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                   STR
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                   THB    FOREST       20tt1        ~RE                          ~tei~S                               111111~""
                   TLP    FOREST       20$11       ,.~                        was@,!$~                        A
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                   UCM    FOREST       2011         RFS3                         11/29/2012                             175.00
                   UCM    FOREST       2011         RFS3                         04/22/2013                             150.00
                   VIS    FOREST       2011         RFS3                         04/22/2013                              35.00
                   vuc    FOREST       2011         RFS3                         12/06/2012                               0.00
                   WAR    FOREST       2011         RFS3                         04/22/2013                              35.00
                   WAR    FOREST       2011         RFS3                         04/22/2013                              35.00
                   WHL    FOREST      ~             .i~.:a                       02,,(kl.~ '2 r.n J                      ~~   Q,Q,
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0303
                                         Yard: 389


                   Part   Model       Tuar      Location             Date Entered                  Retail Price
      INVENTORY:
                   AFM    FIT          2010
                   CAN    FIT          2010
                   COL    FIT          2010
                   csw    FIT          2010
                   csw    FIT          2010
                   csw    FIT          2010
                   DMR    FIT          2010
                   DMR
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                   FOL    FIT          2010    ~:.-                   Qll1~Qi~                                    ll!~ee •
                   FLS    FIT          2010                           ~~~ f!JQiliit                          -@~                  Ylill

                   FPM    FIT          2010    ROS2                  03/25/2013        75.00


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                   FRG    FIT          2010    13Wt3S2               0~157z-OT3---·1-e0:·ee-··-"'·
                   FST    FIT          2010                           00f I 1/£et3                               ~ei-1"
                   FTK    FIT          2010    RDS2                   03/11/2013                                 125.00
                   FTP
                   GPO
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                   IWK    FIT          2010    iQ..liWiHiii~                                                      85.00-
                   JAK    FIT          2010    Qi'dmi&ti              ©8'il4@;~e rn
                   MIR    FIT          2010    ~~~                   @@1i~;;ii~   I~                     ~l'r
                   OOH    FIT          2010    ~©@B@                 OO'fl@ff3 I3                            '    1§.M
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                   OOH    FIT          2010    RDS2                  01/19/2016                                   19.00
                   PLR    FIT          2010    RDS2                  03/25/2013                                  150.00
                   QTR    FIT          2010    ROS2                  03/11/2013                                  200.00
                   QWN    FIT          2010    ROS2                  03/11/2013                                   50.00
                   QWN    FIT          2010    ROS2                  03/,19/2013                                  50.00
                   ROO    FIT          2010   aCiiHJQ0               OJf I li!.l5 1'3                             ~
                   ROW    FIT          2010    ROS2                  01/19/2016                                   29.00
                   SOO    FIT          2010   ,Qiifiiiil 4                  4
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                   WHC    FIT          2010    ROS2                  03/25/2013                                   20.00
                   WHC    FIT          2010    ROS2                  03/25/2013                                   15.00
                   WHC    FIT          2010    RDS2                  03/25/2013                                   15.00
                   WHC    FIT          2010    ROS2                  03/25/2013                                   15.00
                   WMF    FIT          2010   ~~~                    Q~,~ l~~s.;i~ J                              fil~
                   WNO    FIT          2010    r:;~3                 00; 40-.'i:@4,i-                            46.i@I                   _..,.,.··

                   WNO    FIT          2010    G3S.t.el              034~-..:                     , ,..,_z_A,i,,.QQ.. / /
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                                    STOCK NUMBER ANALYSIS
                                         STOCK# 20911
                                                Yard: 389
                     Part    Model      Year       Sold To            Sold 1 Date           Sale Price
INVENTORY SOLD:
                     COi    4RUNNE       1991      YAR5585          10/22/2012                  30.00
                     EBX    4RUNNE       1991      6973440          12/6/2012                   50.00
                     STG    4RUNNE       1991      3684350         .12/7/2012                   50.00
                     ENG    4RUNNE       1991      7399990          3/27/2013                1,000.00
                     TRA    4RUNNE       1991      YOR4111          4/16/2013                  350.00
                     THB    4RUNNE       1991      9314035          5/27/2013                   50.00
                     OWN    4RUNNE       1991      Walk-In/No Acct 7/18/2013                    65.00
                     SDO    4RUNNE       1991      Walk-In/No Acct 7/19/2013                    35.00
                     FDR    4RUNNE       1991      Walk-In/No Acct 10/11/2013                  150.00
                     RBR    4RUNNE       1991      9524174          11/5/2013                   75.00
                     FLY    4RUNNE       1991      8479670          2/17/2014                   45.00
                     csw    4RUNNE       1991      Walk-In/No Acct 7/25/2014                    35.00
                     HAC    4RUNNE       1991      Walk-In/No Acct 11/26/2014                   35.00
                     AFM    4RUNNE       1991      SAR1870          12/14/2015                  60.00
                     EVP    4RUNNE                 BAR800           12/27/2012                  60.00
                     WTR    4RUNNE                 RAR1111          2/21/2013                   35.00
                     MIS    4RUNNE                 3748995          5/29/2013                   25.00
                     IWK    4RUNNE                 BNL8880          7/16/2014                   35.00
                                                                                            $2,185.00

                     Part    Model      Year       Account           Credit Date            Credit Amt
          CREDITS:
                                                   Walk-In/No Ace


                                                                    Net Sales:              $2,185.00



                     Part   Model       Year        Location         DateEntered            Retail Price
      INVENTORY:
                     BMT    4RUNNE       1991      RFS3               10/08/2012                35.00
                     BWN    4RUNNE       1991      RFS3               10/08/2012                25.00
                     CSX    4RUNNE       1991      RFS3               10/08/2012                25.00
                     COL    4RUNNE       1991      RFS3               10/08/2012                45.00
                     DIS    4RUNNE      ~          Q26-.IJ,R,4       ~12rl201£                  75~
                     DPN    4RUNNE       1991      RFS3               10/08/2012                75.00
                     FDR    4RUNNE       1991      RFS3               10/08/2012               125.00
                     FDW    4RUNNE       1991      RFS3               10/08/2012                75.00
                     LID    4RUNNE       1991      RFS3               10/08/2012               100.00
                     OWN    4RUNNE       1991      RFS3               10/08/2012                50.00
                     RAX    4RUNNE       1991      RFS3               10/08/2012               199.00
                     RDR    4RUNNE       1991      RFS3               10/08/2012               125.00
                     RDR    4RUNNE       1991      RFS3               10/08/2012               125.00
                     SWH    4RUNNE       1991      RFS3               10/08/2012                35.00
                     TCS    4RUNNE       1CJ.W.-   D~Sa               @1/HM0O19                4,.7,i,OO
                     vuc    4RUNNE       1991      RFS3               10/08/2012                 0.00
                     WMF    4RUNNE       1991      RFS3               09/27/2012                25.00                                  /


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                     WNO    4RUNNE       1991      RFS3               10/08/2012                                             ,,/


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Page 1 of 1                                                                                   Printed on: 7/19/2016 at 12:39:52P
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # Z0306
                                         Yard: 389


                   Part   Model       Year              Locatio11                  DateEntered                    Retail Price
      INVENTORY:
                   AFM
                   ALT
                   ANT
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                   ASH
                          JETTA
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                   BAG    JETTA        2009            ..rillii@R:'1F               ®Mil'i r.w@..1                        3(1.,QQ
                   BAG    JETTA        2009             RFS3                        03/23/2012                            30.00
                   BBR    JETTA        2009             RFS3                        03/23/2012                            35.00
                   BMT    JETTA        2009             RFS3                        03/23/2012                            25.00
                                                                                                         .ffl!IIJII
                   BWN    JETTA        2009            GFMu!i?fir   z               e'So/~2                               5&.6&4
                   COL    JETTA        2009             RFS3                        03/23/2012                            50.00
                   csw    JETTA        2009             RFS3                        03/23/2012                            35.00
                   DPN    JETTA        2009             RFS3                        03/23/2012                            70.00
                   EBX    JETTA        2009             RFS3                        03/23/2012                            40.00
                   ENG    JETTA        2009   !Pf>llt,I d'(                         10,8912613                        Z?fuO.t:fflffll
                   EVP    JETTA        2009             RFS3                        03/23/2012                           50.00
                   FCN    JETTA        2009             RFS3                        03/23/2012                           25.00
                   FDR    JETTA        2009             RFS3                        01/19/2016                          150.00
                   FLS    JETTA        2009             RFS3                        03/23/2012                           50.00
                   FRG    JETTA        2009             RFS3                        01/19/2016                           75.00
                   FSB    JETTA        2009        j?iGli               JZ    f   .l~&aQ;l;()a;           ,n   i!IIM! O ' t f ~ ~

                   FTK    JETTA        2009             RFS3                        03/23/2012                           49.00
                   GLB    JETTA        2009             RFS3                        03/23/2012                           50.~
                   HAC    JETTA        2009       ...a.R88$                         00{:@ijii/M   t f.                  e2s.a
                   HRT    JETTA        2009            RFS3                         03/23/2012                           50.00
                   HRT    JETTA        2009            RFS3                         03/23/2012                           70.00
                   HRT    JETTA        2009            RFS3                         03/23/2012                           50.00
                   HRT    JETTA        2009            RFS3                         03i23/2012                           65.00
                   HRT    JETTA        2009            RFS3                         03/23/2012                           50.00
                   HTC    JETTA        2009            RFS3                         03/23/2012                           50.00
                   JAK    JETTA        2009            RFS3                         03/23/2012                           25.00
                   PLR    JETTA        2009            RFS3                         10/02/2015                          100.00
                                       2009            RFS3                         03/23/2012                          175.00

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                   QTR    JETTA
                   RDR    JETTA        2009            RFS3                         03/23/2012                          175.00
                   RSA    JETTA        2009   '
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                   RSA    JETTA        2009            al I i i ~ ~                Qi/.l~~Q~d . -                      ~
                   RSB    JETTA        2009            A25S5                        11/06/2012                           25.00
                   SPN    JETTA        2009            RFS3                         10/02/2015                           45.00
                   STR    JETTA        2009   ...J)QJMiR&:                        ~12                      I !&SL
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                   STT    JETTA        2009            RFS3                         10/02/2015                            35.00
                   TRC    JETTA        2009            •eipi                        "fflffl~t·n ~                        ')§,66.
                   UCM    JETTA        2009            _,,_ Q..Q Fil ..             @&4411@~6                            ~
                   UCM    JETTA        2009            RFS3                         10/02/2015                           85.00
                   VIS    JETTA        2009            RFS3                         03/23/2012                           85.00
                   VIS    JETTA        2009            RFS3                         03/23/2012                           85.00
                   vuc    JETTA        2009            RFS3                         03/23/2012                            0.00 /
                   WHL    JETTA        2009            ~l"'l"t1!1'e                 BM6fi01w:                            ~
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                                  STOCK NUMBER ANALYSIS
                                       STOCK# C0804
                                         Yard: 389


                   Part   Model       Year      Location                DateEntered        Retail Price
      INVENTORY:
                   ASH    COROLL       2008     RFS3                    08/19/2015                19.00
                   ASH    COROLL       2008     RFS3                    08/19/2015                20.00
                   BAX    COROLL       2008     RFS3                    08/19/2015               125.00
                   BMT    COROLL       2008     RFS3                    08/19/2015                25.00
                   CAL    COROLL       2008    .~liil!!          11111~Q!.llil~~                  ,~ Q.Q,, VFW


                   CAL    COROLL       2008    AQ.l~~~           . .I   Qi~,,Q~ •• •              25.00 _.
                   CSX    COROLL       2008     RFS3                    08/19/2015                35.DO    A


                   CSX    COROLL       2008     RFS3                    08/19/2015                35.00
                   COi    COROLL       2008     RFS3                    08/19/2015                19.00
                   COi    COROLL       2008     RFS3                    08/19/2015                19.00
                   COi    COROLL       2008     RFS3                    08/19/2015                19.00
                   COi    COROLL       2008     RFS3                    08/19/2015                19.00
                   COL    COROLL       2008     RFS3                    08/19/2015                50.00
                   COM    COROLL       2008    ~"                  - e~~                          ~
                   CON    COROLL       2008    /,~.:.              ,a~(i).,1,1,l                  JC¥.~
                   csw    COROLL       2008     RFS3                    08/19/2015                24.00
                   csw    COROLL       2008     RFS3                    08/19/2015                24.00
                   DLG    COROLL       2008     RFS3                    08/19/2015               125.00
                   DWM    COROLL       2008     RFS3                    08/19/2015                19.00
                   DWM    COROLL       2008     RFS3                    08/19/2015                19.00
                   EBX    COROLL       2008    ~'                       08{; Qi(3,Q ~ Ii   Ji     45.0~
                   EFB    COROLL       2008     RFS3                    08/19/2015                75.00
                   EMA    COROLL       2008    ~liiil;.                 cim ~,0.1.Q..,,           ~
                   ENV    COROLL       2008     RFS3                    08/19/2015                45.00
                   FBR    COROLL       2008     RFS3                    06/15/2016               125.00
                   FCN    COROLL       2008     RFS3                    08/19/2015                25.00
                   FDR    COROLL       2008     RFS3                    08/19/2015               125.00
                   FDR    COROLL       2008     RFS3                    08/19/2015                50.00
                   FDW    COROLL       2008     RFS3                    08/19/2015                35.00
                   FLS    COROLL       2008     RFS3                    08/19/2015                45.00
                   FLY    COROLL       2008     RFS3                    08/19/2015                20.00
                   FNR    COROLL       2008     RFS3                    06/15/2016               100.00
                   FPM    COROLL       2008     RFS3                    08/19/2015                60.00
                   FST    COROLL       2008   · RFS3                    08/19/2015                40.00
                   FST    COROLL       2008     RFS3                    08/19/2015                40.00
                   FTK    COROLL       2008     RFS3                    08/19/2015                 60.00_.//
                   GLB    COROLL       2008     RFS3                    08/19/2015              ,--40:-CiO
                   GPO    COROLL       2008     RFS3                    08/19/2015                25.00
                   HAC    COROLL       2008     RFS3                    08/19/2015                22.50
                   HLP    COROLL       2008     RFS3                    08/19/2015                35.00
                   LCF    COROLL       2008     RFS3                    08/19/2015                25.00
                   NOS    COROLL       2008     RFS3                    08/19/2015               250.00
                   OOH    COROLL       2008     RFS3                    09/16/2015                25.00
                   OOH    COROLL       2008     RFS3                    09/1p/2015                25.00
                   PBR    COROLL       2008     RFS3                    08/19/2015                30.00
                   PSR    COROLL       2008     RFS3                    08/19/2015                30.00
                   RBR    COROLL       2008     RFS3                    08/19/2015               125.00
                   RDO    COROLL       2008     RFS3                    08/19/2015                35.00
                   RDR    COROLL       2008     RFS3                    08/19/2015               150.00
                   RSP    COROLL       2008     RFS3                    08/19/2015               100.00
                   SPM    COROLL       2008     AA)@i.1!~5              ee, 1!li!e 15             ~.00
                   SPN    COROLL       2008    ~4iR4=5                  08ff9fib 15               ee,.oo
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                   STT
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                   STT    COROLL       2008     ~
                   THB    COROLL       2008    MA+R-4                   03)24120~6                3!1.00
                   TLP    COROLL       2008     RFS3                    08/19/2015                 35.00
                                                                                                Printed on: 7/19/2016 at 12:40:48P
Page 2 of 3
Ver:1.04
                         STOCK NUMBER ANALYSIS
                              STOCK # C0804
                                    Yard: 389
              VIS   COROLL   2008      RFS3     08/1 ~/2015            25.00
              vuc   COROLL   2008      RFS3     08/19/2015              0.00
              WAR   COROLL   2008      RFS3     08/19/2015             15.00
              WAR   COROLL   2008      RFS3     08/1 S/2015            15.00
              WMF   COROLL   2008      RFS3     08/19/2015             15.00
              WTR   COROLL   2008      RFS3     08/19/2015             35.00,,, . ·
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Page 3 of 3                                                         Printed on: 7/19/2016 at 12:40:48PM
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                                  STOCK NUMBER ANALYSIS
                                       STOCK # A0606
                                         Yard: 389


                   Part   Model       Year            Location              DateEntered                  Retail Price
      INVENTORY:
                   ACL    CIVIC        1997           RFS3                   06/12/2013                            24.00
                                       1~         uu,A,0~&UZ: •-· a ~-·~ a t!itse)~I'ztrr3'U4H"J~~~t,£tlJ.&Mit
                   ALT    CIVIC
                   BAG    CIVIC        1997           RFS3                       06/12/2013                        25.00
                   BAG    CIVIC        1997           RFS3                       06/12/2013                        25.00
                   BMT    CIVIC        1997           RFS3                       06/12/2013                        20.00
                   BWN    CIVIC        1997           RFS3                       06/12/2013                        35.00
                   CAL    CIVIC        1997           RFS3                       06/12/2013                        20.00
                   CAL    CIVIC        1997           RFS3                       06/12/2013                        20.00
                   CBX    CIVIC        1997           RFS3                       06/12/2013                        25.00
                   CBX    CIVIC        1997           RFS3                       06/12/2013                        25.00
                   COi    CIVIC        1997           RFS3                       06/12/2013                        35.00
                   COL    CIVIC        1997           RFS3                       06/12/2013                        45.00
                   CON    CIVIC        1997           RFS3                       06/12/2013                        35.00
                   CRB    CIVIC        1997           RFS3                       06/12/2013                        10.00
                   csw    CIVIC        1997           RFS3                       06/12/2013                        14.00
                   DMR    CIVIC        1997           RFS3                       06/12/2013                        25.00
                   DMR    CIVIC        1,i@)ii!                              5eM!@1li i if, e             ,.~El,,
                   EBX    CIVIC       a189l.                              ··-•                  .la!r<~~,.-.~·- t,     I!,!=!




                   ECM    CIVIC        1               ·-                                                                       ~
                   FEN    CIVIC        1997           RFS3                   06/12/2013                            30.00
                   FEN    CIVIC        1997           RFS3                   06/12/2013                            30.00
                   FPM    CIVIC        19-Q,1 -   &   #l'ti"fR'B""         • 0"611 212'0 fj®     a;      to      .£P~otf          iii!~



                   FTK    CIVIC        1997           RFS3                   06/12/2013                            50.00
                   GLB    CIVIC        1997           RFS3                   06/12/2013                            35.00
                   HED    CIVIC        1997           RFS3                   06/12/2013                           150.00
                   HLT    CIVIC        1997           RFS3                   06/01/2016                            25.00
                   IMA    CIVIC        1997           RFS3                   06/12/2013                           100.00
                   LCF    CIVIC        1997           RFS3                   06/12/2013                            35.00
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                   LCR    CIVIC        1997           RFS3                   06/12/2013                            50.00
                   LCR    CIVIC        1997           RFS3                   06/12/2013                            50.00
                   LID    CIVIC        1997           RFS3                   06/12/2013                            75.00
                   QTR    CIVIC        1997           RFS3                   06/12/2013                           140.00
                   QTR    CIVIC        1997           RFS3                   06/12/2013                           140.00
                   QWN    CIVIC        1997           RFS3                   06/12/2013                            45.00
                   QWN    CIVIC        1997           RFS3                   06/12/2013                            45.00
                   RBR    CIVIC        1997           RFS3                   06/12/2013                            35.00
                   RSA    CIVIC        1997           RFS3                   06/12/2013                            65.00
                   RSA    CIVIC        1997           RFS3                   06/12/2013                            50.00
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                   SPM    CIVIC        151QZ          ~~                   ~tt!'                                   25.00
                   SPN    CIVIC        1997 ·         RFS3                   06/12/2013                            25.00
                   SPN    CIVIC        1997           RFS3                   06/12/2013                            25.00
                   STR    CIVIC        1997           RFS3                   06/12/2013                            30.00
                   TLP    CIVIC        1997           RFS3                   06/12/2013                            35.00
                   TLP    CIVIC        1997           RFS3                   06/12/2013                            35.00
                   VIS    CIVIC        1997           RFS3                   06/12/2013                            15.00
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                   WWB    CIVIC        1997           RFS3                   06/12/2013                            25.0)//
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Page 2 of 2
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                        DEQ
           A       R    K     A   N   S    A   S
           Department of Environmental Quality
                                                                                                  AL ECKERT
         October 1, 2004                                                                                               (501) 379-1700
                                                                                                                          Telecopier
                                                                            Quattlebaum, Grooms, Tull & Burrow PLLC    (501) 379-1701
         Mr. Mike Stockton                                                                 111 Center Street          aeckert@qgtb.com
                                                                                              Suite 1900                 Direct Dial
         AA Auto                                                                    Little Rock, Arkansas 72201        (501) 379-1712
         8125 Hwy. 161
         North Little Rock, AR 72117


         RE: General Storm Water Runoff Permit for lnduslrial Activity (Permit T r a c k i n ~ v

         Dear Mr. Stockton:                                                                                      ~

         The initial permit fee and Notice oflntent (NOI) for coverage under the attached general storm water runoff
         permit (ARR000000) was received on 9/27/2004. The NOI has been reviewed and determined to be complete.
         Coverage under the general storm water runoff permit (ARR000000) is effective immediately. For tracking
         purposes, the facility has been assigned permit tracking number, ARR000044.

         By signing the NOI, you certified that a Storm Water Pollution Prevention Plan (SWPPP) has been developed
         for this facility in accordance with Part III.A of the general permit. A copy of the SWPPP shall be retained at
         the facility per Part III.A.2.a. of the general storm water runoff permit.

        Additionally, the NOI states that monitoring requirements do apply for this facility. Please find attached
        preprinted Discharge Monitoring Report (DMR) forms, DMR instructions, and supplemental requirements for
        monitoring category number II.B.12. The facility will need to make the appropriate number of copies for
        future use in monitoring and reporting the runoff data or download the DMR forms from our website at:
        http://www.adeq.state.ar.us/water/npdes/stormwater/default.htm.

        If you have any questions concerning this matter or need additional information, please feel free to contact the
        NPDES Stom1 Water Section at (501) 682-0623.

         Sinq:rely,
               /

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J~       Martin Maner, P.E.
-t)      Chief, Water Division

        MM:MS:KF
        Attachment

        cc:            Central Files, (ARR000044, w/ attachments)
                       Sherry Hopkins, NPDES Permits
                       Frank Esry, Inspection Branch
                       James Purvis, ADEQ Administration (w/o attachments)
                       Patricia Goff, APC&E Commission Secretary (w/o attachments)




                                                              WATER DIVISION
        8001 NATIONAL DRIVE / POST OFFICE BOX 8913 / LITTLE ROCK, ARKAt'-ISAS 72219-8913 / TELEPHONE 501-682-2199 / FAX 501-682-0910
                                                             www.adeq,slo1e ar, us
                <l v ct 1'"t e,r Iy                                Ali. - a.Jf Inspection Checklist
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                                                                                                                                      Jl,
   Date:    l'l .    8 -~ l l                       Inspected b~                          ~
                                                                                                                  I.
                                                                                                                          .          ~- ,•· /fme:             ~edi_~
                      AreafAction                                                                                What did you see?                                       What did you do about
                                                                                          ..                                                                                      it?
            Holding Area
   Look at each v~hicle for leaks. clutter. hoods
   down                                                                                                                        (]/C
            Dismantling Area                                                                                                   -                          '
                                                                                                                                                                  =··-
                                                                                                                                                                          -
                                                                                                                              (}f<                    .
   Check for stains, spilis, leaks of fluids                                                                                                                  .
                                                                                                                              -
  Is dismantling being done in the designated                                                                                            ...
                                                                                                                                                                  ..
  area                                                                                                                    <1I<
                                                                                                                           -                   -

  Drain gasoline when vehicles come in so it can                                                                          --                                                  -
  be reused or recycled                                                                                                --_fJI<
                                                                                                                        --
          Fluid Storage Area
                                                                                                                         .-
  Check all fluid containers for leaks, levels,
  labeling, and housekeeping                                                                                              ft!< -
           Inside Parts Storage Area
                                                                                      . -- -~                                               -- . -

                                                                                                            -.,_,":.---. tJI<
  Ensure drip pans are in place if .necessary                                                        .l:
                                                                                                                         nk
                                                                                           <·

  Inspect for leaks and spills
                                                                                           :
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                                                                                                                 =-:. -.-._(J/0
                                                                                                    -                       . _. .:( __;;.;:
 Ensure p~ are stored on racks or palle1s.
        Outside Parts sto~ae-Area                                                                           ,·
 Ensure parts are comp!e;tely drained before
                                      -··
 storage                 a

                         -                          .    ·-                                                             t11<
 Ensure parts are stored off the ground.                                                                               of"}/<'_
                                                                                  ·- ,.-_.a             :-./.-
 Inspect for lealq; and spills
        Vehicle Storage,i:\rea          - =--:::
                                         ·-.,-;_
                                                               --·-. -- ·-
                                                                      --
                                                                                                   ·: ___
                                                                                                                        nl<
 Ensure all fluids have beeri rel'!)oved fr~:··: -
                                                                                      .
                                                                             -
vehicles                                                                     -
                                                                                                                       dK
 Ensure all batteries- have been removed
                                   .•.:  from
·vehicles           ~:.'                                                                                               ()/(
Ensure hoods are kepfi:lpwn ·-=-·
                        ·... ------..~·::. ••-£;:._._-:.- ·-                                                            (lJ/
                                                                                                                        -
Ensure vehicles are stored.in rows or in an                                                                                "
appropriately organized.manner                                                                                     (l/c
                    Area/Action                                                                             What did you see?                                     What ditl you do about
                                                                                                                                                                            it?
        Parts Washing/Pressure Washing                                                                                         .
        Area
                                                                                  .
Ensure no wash-water runs onto the ground.
down a drain or into septic system                                                                                (Jk
Ensure all equipment is in good working order
                                                                                                                 111<
                                                                                                                  -
If solvent sin_k is used, ensure regular servicing



                                                                                 Storm Water 13
  and proper disposal of spent solvent                                      l}f/
          Core and Scrao Storaae Areas
  Ensure cores are completely drained before
  storage                                                                  -Ok
 Ensure cores are stored un$1" cover over an
 impervious surface or out of the rain          •                          ()J<
         Crushing Area
 Ensure aJI fluids and batteries have been                                                                         ;

 removed from vehicles before crushing                                                                        ..
                                                                           ('}/(
                                                                                                     - -·-
 fnspect crusher for leaks and spills                                      ()k                               ...
         Storm Water Sampling Location                                                     ·-                 '
                                                                                       ·;.
 Ensure sample point is accessible and clean
                                                                           Of.<
Ensure nothing is stored around the sample
point                                                           ..
                                                                 . .   .
                                                                           (j I<
Look at the vegetation for signs of oil                                (')f<                    ..
        Emrioment Maintenance
Evaluate each piece of equipment for leaks                             ()/<        ,f:;:
                                                - . .                                      '
Repair any hydraulic lines, hoses, cylinders.
etc. promptly
                                                    .. .·
                                                        - ...      .
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                                          Storm Water 14
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                                                Annual Inspection Checklist
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        Date:   ~ -· ds O ·· { J       Inspected by:                PJlA-A.,-vi
                                                                    .
                                                                                                  I.
                                                                                                                                  e:       /4, V' eJ;. i'-
                             Area/Action                                                         What did you see?                                    What did you do about
                                                                                                                                                               it?
                 Holdina Area
        Look at each v~hicle for leaks, clutter, hoods
        down                                                                                                    (}/C                        :   ...
                 Dismantlina Area                                                                                                      '
       Check for stains, spilis, leaks of fluids                                                              111<
       Is dismantling being done in the designated                                                                                         ..
                                                                                                                        ...
       area                                                                                                  ()/<
       Drain gasoline when vehicles come in so it can                                                        ..-
       be reused or recycled                                                                           ··... (JJ<
                 Fluid Storaae Area
                                                                                                            .-
       Check all fluid containers for leaks1 levels,
       labeling, and housekeeping                                                                            it!<·
                Inside Parts Storaae Area                                                                                   ..
                                                                    - -~ ---                                                     ..
      Ensure drip pans are in place if _necessary                   ·- -:-            ;_:.                  tJI<
      Inspect for leaks and spills
                                                                         :
                                                                            :                -_._, :.: · . . (!_/<
                                                                                                       ... "!. • • •




      Ensure parts are stored on racks or pallets.                                               •:.   ::-{)'-/(\;: ,;___


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             Outside Parts Ston,m· Area
      Ensure parts are comp~etely drained before
      storage                 ' ...        -··.                                                           (Jf<
      Ensure parts are stored off      the ground.                                                       f'Ji<'
                                           ..                  ·-                     --~_::~-
      Inspect for le~ and spills
                Vehicle Storaae,Area
                                                 - :zo.,:
                                                     -, ·=-
                                                                        '
                                                                                ·:.
                                                                                                           nl<
     Ensure all fluids have beeri rerpoved fro~:··:· ..
     vehicles                         ...                                                                 (Ji(
      Ensure all batterie~ have been re.moved from
                                         •.•
     -vehicles           -::·,        -·                                                                 ()/(
     Ensure hoods are k~pf~9wn
                        ... . . . ...,:                                                                  (l//'
                                   ~




     Ensure vehicles are sto~scffn rows or in an
                                                                                                        - v
     appropriately organized.manner                                                                    (l/c
                         Area/Action                                                     What did you see?                                      What did you do about
                                                                                                                                                         it?
             Parts Washing/Pressure Washing                                                                       ,
             Area
     Ensure no wash-water runs onto the ground,
     down a drain or into septic system                                                           (Jk
     Ensure all equipment is in good working order
                                                                                                 111<
     If solvent sink is used, ensure regular servicing



                                                              Storm Water 13
  and proper disposal of spent solvent                                      111<
                                                                            -. '
          Core and Scrap Storage Areas
 Ensure cores are completely drained before
 storage                                                               :ft
                                                                        =
                                                                           l<:.
 Ensure cores are stored und~r cover over an
 impervious surface or out of the rain       '                        Ill<
                                                                      - -
         Crushing Area
 Ensure all fluids and batteries have been
 removed from vehicles before crushing
                                                                      ffl<                                :   .•
                                                                                                     -
 Inspect crusher for leaks and spills
         Storm Water Sampling Location
                                                                    nl<
                                                                    ...,,                  ..
                                                                                                     •'

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 Ensure sample point is accessible and clean
                                                                   iJK--
Ensure nothing is stored around the sample
point
                                                                  .. ti I<
                                                                                                ..
Look at the vegetation for signs of oil
                                                                     <tl<
        Equipment Maintenance
Evaluate each piece of equipment for leaks                         t1I<            ,f;,
Repair any hydraulic lines, hoses, cylinders.                                              '
                                                        .. .-
etc. promptly                                              - ..
                                                                   fJl<
                                                                   .;.:.;   .




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                                          .-.. ·_-...




                                               Storm Wat.er 14
   Date: '    ~3 . . (I
                          Area/Action                     What did you see?     What did you do about
                                                                                          it?
             Holding Area
   Look at each vehicle for leaks, clutter, hoods
   down                                                            ()l<
           Dismantling Area
   Check for stains, spilis, leaks of fluids                      ril<
  Is dismantling being done in the designated
  area
  Drain gasolfne when vehicles come in so it can
  be reused or recycled
           Fluid Storage Area
  Check all fluid containers for leaks, levels,
  labeling, and housekeeping
        Inside Parts Storaae Area
 Ensure drip pans are in place if _necessary
 Inspect for leaks and spills
 Ensure parts are stored on racks or pallets
        Outside Parts Storc,ae· Area
 Ensure parts are completely drained before
 storage               · ' _..        ··
 Ensure parts are stored off the ground.
 Inspect for leak$ an·d spills
         VehJcle Storage,Area
 Ensure all fluids have bee~· removed fro~·:· · ..
vehicles
                                                                 rJI<
Ensure all batteries have been removed from
vehicles           ·             . ··
                                                             nlc
Ensure hoods are kepfdown
                     '. -~ .
                               .,:
                             . .
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                             ' '~~.·!..:'~:,:
Ensure vehicles are stored.in rows or in an
appropriately organized .manner
                   ArealAction                         What did you see?      What did you do about
                                                                                       it?
        Parts Washing/Pressure Washing
        Area
Ensure no wash-water runs onto the ground,
down a drain or into septic system
Ensure all equipment is in good working order                ()J<
If solvent sink is used, ensure regular servicing


                                                Storm Water 13
  and proper disposal of spent solvent
          Core and Scrao Storaae Areas
                                                                     ot<
 Ensure cores are completely drained before
 storage                                                             ()K
 Ensure cores are stored under cover over an
 impervious surface or out of the rain                    I/ /l'I"~~;       n~'Lefil 1~~o('                           lo l'ziit:\. ,J)~ .,~,•
         Crushina Area
 Ensure all fluids and batteries have been                                                                        :
 removed from vehicles before crushing                                  'fjk                         -
                                                                                                         ;        ~




 Inspect crusher for leaks and spills                                   ./7//J
                                                                                                    •'


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         Storm Water Samolina Location                                                 ..                    ,.
                                                                                  •;.
Ensure sample point is accessible and clean
                                                                        f1l<-
Ensure nothing is stored around the sample
point
                                                                        n l<
Look at the vegetation for signs of oil
                                                                        (JI<                "


        Eauioment Maintenance
Evaluate each piece of equipment tor leaks                             nic -,·
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Repair any hydraulic lines, hoses, cylinders,
                                                                       --              '
                                                                                                ..
etc. promptly                                             -         . ti I<                     '




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                                                   Storm Water 14
                              AA
                  (l v q \"t e,t- Iy Mt_ :at Inspection Checklist
   Dale:     3 -- 9 - {I         _"" P.JM,t1 ~~,~ kfeJ-i,..
                          Area!Action          you see? did
                                                         What did               What     you do about
                                                                                         it?
              Holding Area
   Look at each vehicle for leaks. clutter2 hoods
   down                                                          (J/C
             Dismantling Area
   Check for stains. spilis. leaks of fluids                    11¥
   Is dismanfffng being done in the designated
   area
   Drain gasoline when vehicles come in so it can
  be reused or recycled                                    ---_(JI<
             Fluid Storage Area
  Check all fluid containers for leaks. levels,
  labeling, and housekeeping                                    ft/(-.
            Inside Parts Storage Area
  Ensure drip pans are in place it.necessary                    nl< -._._·
  Inspect for leaks and spills
 Ensure pa~ are stored on racks or pallets.
           Outside Pans Stol"Qrie° Area
 Ensure parts are oomp!etelY drained b~re
 storage             . .-_ • ·. ..   ~-~-                    (JJ<
 Ensure parts are stored off the ground.
 Inspect for le~ arid spilLo;
         Vehicle Storaoe,Juea
                                                             ril<.
Ensure all fluids have beeri reipoved rroiii: ·: - .
vehicles                         .- _      :.                e1K
 Ensure all batteries have been removed from
-vehicles         -·              ·"'-!
                      -:..r                                 (J/C
                    -~ -- -... . - ..-=-·
Ensure hoods are k~pJ:~tl9wn
Ensure vehicles are       st~~d~fil
                            rows or in an                    - "'
appropriately organized.manner                             .()/c
                      AreafAction                      What did you see?     What dill you do about
                                                                                        it?
          Parts Washing/Pressure Washing
          Area
Ensure no wash-water runs onto the ground.
down a drain or inio septic system

Ensure an equipment is in good working order

If solvent sin_k is used. ensure regular servicing


                                               Stonn Water 13
  and proper disposal of spent solvent                                     r}//
          Core and Scrap Storaae Areas
 Ensure cores are completely drained before
 storage                                                                  nk
 Ensure cores are stored und~r cover over an
 impervious surface or out of the rain       '                            Ok'
         Crushing Area
 Ensure all fluids and batteries have been                                                                 C

                                                                                                       ..
 removed from vehicles before crushing                                   (}/('
 Inspect crusher for leaks and spills
                                                                                                 ..-
                                                                         (JJ<                          .   .
         Storm Water Sampling Location                                                 ..
                                                                                   ..
Ensure sample point is accessible and clean                               (JI<
Ensure nothing is stored around the sample
point                                                              ... . . (jf<
Look at the vegetation for signs of oil                                  ()/<               ..
        Eauipment Maintenance
Evaluate each piece of equipment for leaks                               ()/<!_ ,[;,
Repair any hydraulic lines, hoses, cylinders,                                          '
etc. promptly
                                                    ..
                                                         -.   •.     .   Ok\




                                          ·;-:..




                                              Storm Water 14
                                                       Environmental Inspection Checklist

Date:   _9\_'··~·,...-_1_1_·"_·_L_'<_)~I_,._3_ _ _ Inspected by: _'J_... _..~v_'"_'-_.._..·~]_···_7_;,,__,,,,,..j_·/'_·"_--_ Title: _1_l_··_1:_1.~/_:!_. ._;~1~···_,1:_:>- - - -

                     Area/Action                                                      What did you see?                               What did you do about it?
                    Holding Area
  Look at each vehicle for Leaks, Clutter, Hoods
  down
                  Dismantling Area
 Check for Stains, spills, leaks of fluids
                                                                                                ,,.,,....
 Is dismantling being done In the designated
 area                                                                                 ...   ~      '
  Drain gasoline when Vehicles Come in so it
 can be reused or recycled                                                             --~,.,.,·...

                 Fluid Storage Area
 Check all fluid containers for leaks, levels,
                                                                                                  ,••··
 labeling, and housekeeping.
            Inside Parts Storage Area
 Ensure drip pans are in place if necessary                                            .,· .. ..
 Inspect for leaks and spills                                                               ,/'
 Ensure parts are stored on racks or pallets                                           ,,.,,,,..,.,,.~·
           Outside parts storage area
 Ensure parts are completely drained before
 storage
 Ensure parts are stored off the ground                                                         ,.,~
                                                                                                 ,,.
                                                                                                       -·
 Inspect for leaks and spills                                                          ,./'

               Vehicle Storage Area
 Ensure all fluids have been removed from
                                                                                       _.,,.... ,..
vehicles
 Ensure all batteries have been removed from
vehicles
 Ensure hoods are kept down                                                           ./
 Ensure vehicles are stored in rows or in an                                           _,,..,.·"'"
appropriately organized manner
     Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
down a drain or into septic system
Ensure all equipment is in good working                                                   ,/

order
If solvent sink is used, ensure regular                                       /'/
servicing and proper disposal of spent solvent
          Core and Scrap Storage Area
Ensure cores are completely drained before
                                                                                  ,   .. / '
storage
Ensure cores are stored under cover over an
impervious surface or out of the rain
                   Crushing area
Ensure all fluids are batteries have been                                         ,,,,,.,.,..,
                                                                           ·'
removed from vehicles before crushing
Inspect crusher for leaks and spills                                       ......../
                                                                            ,,,,,,~•'"
        Storm Water Sam piing Location
Ensure sample point is accessible and clean                                ,,,.,.~'"' '
Ensure nothing is stored around the sample
point
Look at the vegetation for signs of oil                                   ·"'"/
            Equipment Maintenance
                                                                          :,~~-
Evaluate each piece of equipment for leaks
Repair and hydraulic lines, hoses, cylinders,
etc. promptly
                   Area/Action                                    What did you see?                          What did you do about it?
                   Holding Area
Look at each vehicle for Leaks, Clutter, Hoods                              .,   . ,,,, ....,.,,,     ....
down
                Dismantling Area
                                                                             •.,,,,«<.,,
Check for Stains, spills, leaks of fluids
Is dismantling being done in the designated                                 _.,      _,il-f".,,....

area                                                                                                  ,
                                                                                  .,,,,,.,,.,,.. •"
Drain gasoline when Vehicles Come in so it                              .......
can be reused or recycled
               Fluid Storage Area
Check all fluid containers for leaks, levels,                               .,,.,,,,,.,..
labeling, and housekeeping.
           Inside Parts Storage Area
                                                                            ,,,,,....~- ·•
Ensure drip pans are in place if necessary
Inspect for leaks and spills                                                /
Ensure parts are stored on racks or pallets                                 _/....
           Outside parts storage area
Ensure parts are completely drained before
                                                                                           .....
                                                                           .........✓
storage
Ensure parts are stored off the ground                                     .,/"

Inspect for leaks and spills
                                                                           ,,,.,.•
              Vehicle Storage Area
Ensure all fluids have been removed from                                              ,,.
                                                                    ./
vehicles
Ensure all batteries have been removed from                           .,,,,,....
                                                                ,,,..
vehicles
Ensure hoods are kept down                                      /'
Ensure vehicles are stored in rows or in an
                                                               ,,/
                                                                            /
appropriately organized manner
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
                                                               .,.#''"',,,.. . .
down a drain or into septic system
Ensure all equipment is in good working                                          /
                                                              _..,,,,-,,,.,"
order
If solvent sink is used, ensure regular                   .,..,.,,,,,,
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area
Ensure cores are completely drained before
storage                                               -~·-·/'
Ensure cores are stored under cover over an                  ,,.~.--
                                                      /
impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been             ~,,,,,...
                                                                     ,,.
removed from vehicles before crushing
inspect crusher for leaks and spills                  ,,.,,,,..,....
        Storm Water Sampling Location
                                                          .,,,,,.,,.,,,,
Ensure sample point is accessible and clean
Ensure nothing is stored around the sample            _,...,,/
point
                                                          _.,...,,.•.
Look at the vegetation for signs of oil
            Equipment Maintenance
Evaluate each piece of equipment for leaks                   ~·~,,r-
Repair and hydraulic lines, hoses, cylinders,    ;.       /~,,.-·
etc. promptly
                                             Environmental Inspection Checklist
           c!,/'?:7 1·Z. . 1::;; l c(
Date: _ _,,,__...;;;.--1-,----=---"--1nspecte d by:                           '-"J
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                                                                                                                     Tit e:
                                                                                                                              11
                                                                                                                              r1   A A·.....-' J-0
                   Area/Action                                     What did you see?                                          What did you do about It?
                   Holding Area
Look at each vehicle for Leaks, Clutter, Hoods                      ,_,,.,..,.,...
down
                Dismantling Area
Check for Stains, spills, leaks of fluids                          ./'
Is dismantling being done in the designated                        .//
area
Drain gasoline when Vehicles Come in so it                                    _,.,,..,,.,.
                                                             ,/
can be reused or recycled
               Fluid Storage Area
Check all fluid containers for leaks, levels,
labeling, and housekeeping.
                                                            --~-
           Inside Parts Storage Area
Ensure drip pans are In place if necessary
                                                                   __,.,,
Inspect for leaks and spills                                    _,,,,,..--
Ensure parts are stored on racks or pallets                        /
           Outside parts storage area
Ensure parts are completely drained before                                ,,,-/
                                                         ~r·.,.
storage
Ensure parts are stored off the ground                        ~
Inspect for leaks and spills
                                                              _____,-


vehicles
              Vehicle Storage Area
Ensure all fluids have been removed from

Ensure all batteries have been removed from
                                                         -~--
                                                         ./·"'
vehicles
Ensure hoods are kept down                                  _,./

Ensure vehicles are stored in rows or in an                ,,,..,,,.,.,---
appropriately organized manner
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,             ,,/
down a drain or into septic system
Ensure all equipment is In good working
order
                                                           /
If solvent sink is used, ensure regular                 //
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area
Ensure cores are completely drained before             r"",,...,~-
storage
Ensure cores are stored under cover over an            ./'/
impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been             _,,,./
removed from vehicles before crushing
Inspect crusher for leaks and spills                      /
        Storm Water Sampling Location
                                                      ,,,.,.,,,.,,.,
Ensure sample point is accessible and clean
Ensure nothing is stored around the sample                                "
point
                                                     ,.,,,.,,,~· "
                                                          .....~ ....--
Look at the vegetation for signs of oil
            Equipment Maintenance
Evaluate each piece of equipment for leaks             .,.,--~-
Repair and hydraulic lines, hoses, cylinders,
etc. promptly
                                                     __/
                                                 Environmental Inspection Checklist

                                                                                         Title:   l~fo !lu./-e;
                  Area/Action                                     What did you see?                What did you do about It?
                  Holding Area
Look at each vehicle for Leaks, Clutter, Hoods
                                                                          ,,.,..,,.,..
down
                Dismantling Area
Check for Stains, spills, leaks of fluids                             /
Is dismantling being done in the designated
area                                                              /
Drain gasoline when Vehicles Come in so it
can be reused or recycled
                                                                  /
               Fluid Storage Area
Check all fluid containers for leaks, levels,
                                                              ____./
labeling, and housekeeping.
           Inside Parts Storage Area
Ensure drip pans are In place if necessary                    ../
Inspect for leaks and spills                                  _,,,,/
 Ensure parts are stored on racks or pallets                  ./
           Outside parts storage area
Ensure parts are completely drained before                    ___..,.
storage
Ensure parts are stored off the ground                        /
Inspect for leaks and spills                                  ./
              Vehicle Storage Area
Ensure all fluids have been removed from
vehicles
                                                          /
Ensure all batteries have been removed from
                                                              /r
vehicles
Ensure hoods are kept down                                    /-
Ensure vehicles are stored in rows or in an
appropriately organized manner                                ./
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
down a drain or into septic system
                                                              -/"
Ensure all equipment is in good working
order                                                         /
If solvent sink is used, ensure regular
                                                          ;-,/
servicing and proper disposal of spent solvent
          Core and Scrap Storage Area
Ensure cores are completely drained before                /
storage
Ensure cores are stored under cover over an               ,/'~/

impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been
removed from vehicles before crushing
                                                              /
Inspect crusher for leaks and spills                      /'
        Storm Water Sampling Location
Ensure sample point is accessible and clean              ./
Ensure nothing Is stored around the sample
                                                          /'
point
Look at the vegetation for signs of oil
                                                          _.,,,,.,.
          Equipment Maintenance
Evaluate each piece of equipment for leaks                /
Repair and hydraulic lines, hoses, cylinders,             /
etc. promptly
                                                  Environmental Inspection Checklist




                    Area/Action                                          What did you see?        What did you do about it?
                   Holding Area
                                                                                           ,.--
 Look at each vehicle for Leaks, Clutter, Hoods
 down
                                                                              ~-- --
                 Dismantling Area
                                                                               <~..-
 Check for Stains, spills, leaks of fluids
 is dismantling being done in the designated                                           /

 area
 Drain gasoline when Vehicles Come in so it                              ..
 can be reused or recycled
                Fluid Storage Area
 Check all fluid containers for leaks, levels,                 ••✓



 labeling, and housekeeping.
            Inside Parts Storage Area
 Ensure drip pans are in place if necessary
 Inspect for leaks and spills
 Ensure parts are stored on racks or pallets
           Outside parts storage area
Ensure parts are completely drained before
storage
                                                                    ,·
Ensure parts are stored off the ground
Inspect for leaks and spills                                       ...-
              Vehicle Storage Area
Ensure all fluids have been removed from                                           ,

vehicles
Ensure all batteries have been removed from
vehicles
Ensure hoods are kept down                                         -··        --
Ensure vehicles are stored in rows or In an
appropriately organized manner
     Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
down a drain or into septic system
Ensure all equiprnent is in good working
order
if solvent sink is used, ensure regular
servicing and proper disposal of spent solvent             .
          Core and Scrap Storage Area
Ensure cores are completely drained before
storage                                                         .. ,·
Ensure cores are stored under cover over an
                                                           ,-
impervious surface or out of the rain
                  Crushing area
                                                                          ,
Ensure all fluids are batteries have been                      .,
removed from vehicles before crushing
                                                                          ,.
Inspect crusher for leaks and spills                           ✓



        Storm Water Sampling Location
                                                                              ,,
Ensure sample point Is accessible and clean                        .,
Ensure nothing Is stored around the sample
                                                                \/
point
Look at the vegetation for signs of oil                            ,/

            Equipment Maintenance
Evaluate each piece of equipment for leaks                     '
Repair and hydraulic lines, hoses, cylinders,
etc. promptly
                                                 Environmental Inspection Checklist

 Date: _ _
         ,. _ _         ~
              I 7_-··_i_...,_______ Inspected by:                    ;5 rv"'- •'fh"' -'J';J-c,.              Title:   AA AJ       +c·,

                 Area/ Action                                   What did you see?                                     What did you do about It?
                Holding Area
                                                                                                      ,...
Look at each vehicle for Leaks, Clutter, Hoods
                                                                                   l•/
down
               Dismantling Area                                                                  ,.
 Check for Stains, spills, leaks of fluids                                     ,.
                                                                                             /
 Is dismantling being done in the designated
area
 Drain gasoline when Vehicles Come in so it                                        ..•. /

can be reused or recycled
               Fluid Storage Area
Check all fluid containers for leaks, levels,                            ,..
labeling, and housekeeping.
          Inside Parts Storage Area
Ensure drip pans are in place if necessary                           -·        ,•·


                                                                                    ,•
Inspect for leaks and spills                                         ,.
Ensure parts are stored on racks or pallets
          Outside parts storage area
Ensure parts are completely drained before
                                                                 .,.··
storage
Ensure parts are stored off the ground                            ,Jf
                                                                                    ,
Inspect for leaks and spills                                     ,.. ,..
              Vehicle Storage Area
                                                  -
Ensure all fluids have been removed from                                   /


vehicles                                                   ,.

Ensure all batteries have been removed from
vehicles
                                                           .
Ensure hoods are kept down                                      ,/
Ensure vehicles are stored In rows or in an                          ,.
appropriately organized manner
   Parts Washing/Pressure Washing Area
 Ensure no wash water runs onto the ground,
                                                                     "
down a drain or into septic system                                                           /

Ensure all equipment is In good working
order
If solvent sink is used, ensure regular
                                                                                   ...
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area
Ensure cores are completely drained before                           ::.,·
storage
                                                                                         /
Ensure cores are stored under cover over an                      ,,.
impervious surface or out of the rain
                Crushing area
Ensure all fluids are batteries have been                        ✓/
removed from vehicles before crushing                                          ,
Inspect crusher for leaks and spills                            ./
       Storm Water Sampling Location                                           /


                                                                :/'
Ensure sample point is accessible and clean
Ensure nothing is stored around the sample
                                 ,
point
Look at the vegetation for signs of oil                        //

           Equipment Maintenance
Evaluate each piece of equipment for leaks                     ,/',,.

Repair and hydraulic lines, hoses, cylinders,                        /

etc. promptly                                              vi
                                                   Environmental Inspection Checklist

                                                                                                                                                   Title:   A.A
                    Area/Action                                                          What did you see?                                                   What did you do about It?
                   Holding Area
  Look at each vehicle for Leaks, Clutter, Hoods
                                                                                                  ,/'
 down                                                                                     I
                 Dismantling Area
 Check for Stains, spills, leaks of fluids                                                    /
 Is dismantling being done In the designated                                              ,.,,.)
 area                                                                        \,/
 Drain gasoline when Vehicles Come in so it                                     ,.,,,,,.,,
                                                                                              I'
 can be reused or recycled
                Fluid Storage Area
 Check all fluid containers for leaks, levels,
 labeling, and housekeeping.                         lleA.VI                VJ?                                 0:J       U) ,,   h,.; . -- elf,
            Inside Parts Storage Area                c{,6....   /J..     " ;, ,Lo.1                                   ~l--1-,c.   / O,'\.j,., j,' /<:'
 Ensure drip pans are in place If necessary                                                            ✓       ,,,
 Inspect for leaks and spills                                                                         ,/
 Ensure parts are stored on racks or pallets                                                           _,/

           Outside parts storage area
 Ensure parts are completely drained before
storage
                                                                                                         •"
 Ensure-parts are stored off the ground                                                    ..,.,,'

                                                                                          /'_,.
 Inspect for leaks and spills
              Vehicle Storage Area
Ensure all fluids have been removed from                                                            .,,,...,
vehicles                                                                                -,·
Ensure all batteries have been removed from
                                                                                _,.,..,,•"
vehicles
Ensure hoods are kept down                                                          ,,./

Ensure vehicles are stored In rows or in an                                             ,,..,···
                                                                          ..,...•
appropriately organized manner
     Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,                                                    ,..
                                                                              .,,/'
down a drain or into septic system
Ensure all equipment is in good working
                                                                           ,,, . -·•"'"
order
If solvent sink Is used, ensure regular                                         ,-
                                                                          ~
servicing and proper disposal of spent solvent
          Core and Scrap Storage Area
Ensure cores are completely drained before
stprage                                                                  ........
Ensure cores are stored under cover over an
                                                                       _,..,,,/
impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been
                                                                       ;//"
removed from vehicles before crushing
Inspect crusher for leaks and spills                                          _ .....
        Storm Water Sampling Location
Ensure sample point is accessible and clean                            .. ,· /
Ensure nothing is stored around the sample                                      ..,r·"
                                                                       ,.,,✓·
point
Look at the vegetation for signs of oil                                 -~./
            Equipment Maintenance                                                         "
                                                                                    /
Evaluate each piece of equipment for leaks                              \/
Repair and hydraulic lines, hoses, cylinders,
etc, promptly
                                                                       .,/
                                                  Environmental Inspection Checklist
                                                                                                    ii   ,.
Date:     /,J   t.'.c.••              5                                                   Title:   /1 . .11,...•-_ _ _ _ _ _ _ _ __




                    Area/Action                             What did you see?                        What did you do about It?
                   Holding Area
 Look at each vehicle for Leaks, Clutter, Hoods
 down                                                                           l/

                 Dismantling Area
                                                                            _./
 Check for Stains, spills, leaks of fluids
 Is dismantling being done In the designated
 area
 Drain gasoline when Vehicles Come in so it
 can be reused or recycled
                Fluid Storage Area
 Check all fluid containers for leaks, levels,
 labeling, and housekeeping.
            Inside Parts Storage Area
 Ensure drip pans are in place if necessary
 Inspect for leaks and spills
                                                                     -,..       -•·



 Ensure parts are stored on racks or pallets                         .,.
           Outside parts storage area
 Ensure parts are completely drained before
storage                                                      ;,,·
                                                                 ,....··
Ensure parts are stored off the ground
Inspect for leaks and spills                                         i,./

              Vehicle Storage Area
Ensure all fluids have been removed from
vehicles                                                             '
                                                                     1.,,
                                                                                      .
Ensure all batteries have been removed from
vehicles
Ensure hoods are kept down                                        ,,..,--
Ensure vehicles are stored in rows or in an
appropriately organized manner                                    '
     Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
                                                             ,:,.,
down a drain or into septic system
Ensure all equipment is In good working
order                                                        '·
                                                                            .
if solvent sink is used, ensure regular
                                                             s·
servicing and proper disposal of spent solvent
          Core and Scrap Storage Area
Ensure cores are completely drained before
                                                              V
storage
Ensure cores are stored under cover over an
                                                             V
impervious surface or out of the rain
                  Crushing area
                                                                                     .·
Ensure all fluids are batteries have been
removed from vehicles before crushing                         V

Inspect crusher for leaks and spills                         ,.../·
        Storm Water Sampling Location
Ensure sample point Is accessible and clean
Ensure nothing is stored around the sample
                                                                  "              /

point                                                                "
Look at the vegetation for signs of oil                          -
            Equipment Maintenance
Evaluate each piece of equipment for leaks                        ,.
Repair and hydraulic lines, hoses, cylinders,                              ,,
                                                             ..•
etc, promptly
                                                     Environmental Inspection Checklist

                                                                                             Title: ----'-'-./}_,_-A_-_ _ _ _ __


                               Area/Action                        What did you see?                   What did you do about It?
                               Holding Area
   Looi< at each vehicle for Leaks, Clutter, Hoods
                                                                             ,,,/./
   down·
                             Dismantling Area
   Check for Stains, spills, leaks of fluids                                     t/
   Is dismantling being done in the designated
                                                                             j_,/
   area
   Drain gasoline when Vehicles Come in so it
   can be reused or recycled
                             Fluid Storage Area
  Checl, all fluid containers for leaks, levels,                        //
~llrg,       and housekeeping.
                                                                      1/

   ~:}. _._,;,.;.    Inside Parts Storage Area
                                                                                         -
  tn~LYe drip pans are in place if necessary                      /
   Inspect for leaks and spills                                 i,·,,.......-
r----=--• ..                                                         /
   Ensure parts are stored on racks or pallets                 ,.,~r"


                     Outside parts storage area
  Ens\Jr;e parts are completely drained before                                   /
                                                                      ;../
  storage                                                                                /

  Ensure parts are stored off the ground                              v
  Inspect for leaks and spills                                        ,./
                            Vehicle Storage Area
                                                                                         /
  Ensure all fluids have been removed from                            t,,,,/

  vehicles
  Ensure all batteries have been removed from                                    /
                                                                  'y/
  vehicles
 Ensur~ hoods are kept down                                       .,,/
 _Ens_u~.e veh_lcles are stored in rows or In an
~ppropriatE!ly organized manner
 ;::· :"fiarts 1/'.Jashing/Pressure Washing Area
  Enst~r'" no·_1ivash water runs onto the ground,
                                                              \///
  down.a drain or into septic system
  Ensure all equipment is in good working
  order,
  If sol\'ent sink is used, ensure regular                    v/
  servicing and proper disposal of spent solvent
                    Core and Scrap Storage Area
  Ensure cores are completely drained before                        /
                                                              ;,/
  storage
  Ensure cores are stored under cover over an
  impervious surface or out of the rain
                                                              /
                               Crushing area
                                                                         /
  Ensure all fluids are batteries have been
                                                              \,/
  r.en:10v.ed from vehicles before crushing                                  /



.Jnsr;~9t cru.sher for leaks and spills                        v/
         ;i,,rStor.r.n Water Sampling Location                                   /'
  Ensure sample point is accessible and clean                   ;/
                                                                      ,/···
 _Ensu_r_e nothing is stored around the sample
                                                               )/
  point•                                                                             /
                                                                  ,;l/
  Look.at the vegetation for signs of oil
             ,,.     Equipment Maintenance                                   /

  Evaluate each piece of equipment for leaks                   ,/
                                                                                     /

  Repair and hydraulic lines, hoses, cylinders,                          /
                                                               1/
  etc. promptly




                     I,,·
                                                Environmental Inspection Checklist

         1··· Is.: ·-·2. I b
                    0
Date: --''---'------...;_-'------ Inspected by:            ·-:5 /""'-rho t/'L--
                                                                          I

                 Area/Action                              What did you see?           What did you do about it?
                 Holding Area
Look at each vehicle for Leaks, Clutter, Hoods
down
                                                             1,/'
               Dismantling Area
Check for Stains, spills, leaks of fluids                   ,../
                                                                      /
Is dismantling being done in the designated                 ✓
area                                                                      ·•'
Drain gasoline when Vehicles Come in so it                  ✓
can be reused or recycled
              Fluid Storage Area
Check all fluid containers for leaks, levels,                ,.../ /
labeling, and housekeeping.
           Inside Parts Storage Area
Ensure drip pans are in place if necessary                   ../
Inspect for leaks and spills                                ,/
Ensure parts are stored on racks or pallets                  /
          Outside parts storage area
Ensure parts are completely drained before                  \..-".....~-·...    ••'


storage
Ensure parts are stored off the ground                     ....,/
Inspect for leaks and spills                                 __,/'
             Vehicle Stc;,rage Area
Ensure all fluids have been removed from
                                                            ...,.-•'/
vehicles
Ensure all batteries have been removed from
vehicles
                                                           /              /

Ensure hoods are kept down                                  v'
Ensure vehicles are stored in rows or in an
appropriately organized manner
                                                           ,/
   Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,                ~-·",.,,,...••"
down a drain or Into septic system
Ensure all equipment is in good working
order
                                                          ../
if solvent sink is used, ensure regular
servicing and proper disposal of spent solvent
                                                          .../
        Core and Scrap Storage Area
Ensure cores are completely drained before
storage
Ensure cores are stored under cover over an                       /
                                                          ·v,.I'
impervious surface or out of the rain
                 Crushing area
Ensure all fluids are batteries have been                    v'/
removed from vehicles before crushing
Inspect crusher for leaks and spills                          /
       Storm Water Sampling Location
Ensure sample point is accessible and clean                  /
Ensure nothing is stored around the sample                            /

point                                                      ;/
Look at the vegetation for signs of oil                    ✓
           Equipment Maintenance
Evaluate each piece of equipment for leaks                 ,/
Repair and hydraulic lines, hoses, cylinders,              (../
etc. promptly
                                             Environmental Inspection Checklist




                   Area/Action                                   What did you see?   What did you do about it?
                   Holding Area
Look at each vehicle for Leaks, Clutter, Hoods
down                                                               t/
                Dismantling Area
Check for Stains, spills, leaks of fluids                        L/"
Is dismantling being done in the designated
area
Drain gasoline when Vehicles Come in so it
                                                                 \..,/
can be reused or recycled
               Fluid Storage Area
Check all fluid containers for leaks, levels,
                                                       \ ....
labeling, and housekeeping.
           Inside Parts Storage Area
Ensure drip pans are in place if necessary                  ,./

Inspect for leaks and spills                                .,-
Ensure parts are stored on racks or pallets                 <-
           Outside parts storage area
Ensure parts are completely drained before
                                                           \.-·
storage
Ensure parts are stored off the ground
Inspect for leaks and spills                               t
                                                            "
              Vehicle Storage Area
Ensure all fluids have been removed from
                                                           &-
vehicles
Ensure all batteries have been removed from
                                                           V
vehicles
Ensure hoods are kept down                                  L,-

Ensure vehicles are stored in rows or in an
appropriately organized manner                        -
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
down a drain or into septic system
Ensure all equipment is in good working
order                                                 -·
If solvent sink is used, ensure regular                    ,.
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area
Ensure cores are completely drained before                   ·:V
storage
Ensure cores are stored under cover over an
                                                            ;le,
impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been
                                                           1__
removed from vehicles before crushing                                    .·

Inspect crusher for leaks and spills                        \,

        Storm Water Sampling Location
Ensure sample point is accessible and clean                \.

Ensure nothing is stored around the sample
point
                                                             '
Look at the vegetation for signs of oil                ,·

            Equipment Maintenance
                                                      \,.
Evaluate each piece of equipment for leaks
Repair and hydraulic lines, hoses, cylinders,         _.

etc. promptly
                                                  Environmental Inspection Checklist




                    Area/Action                             What did you see?             What did you do about it?
                   Holding Area
 Look at each vehicle for Leaks, Clutter, Hoods
                                                                                   ,,r•
 down
                 Dismantling Area                                                            ,
 Check for Stains, spills, leaks of fluids                               .,,/~

 Is dismantling being done In the designated
 area                                                                   V
 Drain gasoline when Vehicles Come in so it                                        /'
 can be reused or recycled                                             \/
                Fluid Storage Area
 Check all fluid containers for leaks, levels,                                 /
 labeling, and housekeeping,                                    i,/
            Inside Parts Storage Area
 Ensure drip pans are in place if necessary                      v·/·
 Inspect for leaks and spills                                            ·"'·•·'
 Ensure parts are stored on racks or pallets
                                                                    "
                                                                  ..,.,1,,-
           Outside parts storage area
 Ensure parts are completely drained before                              ./'
 storage                                                                    ,
 Ensure parts are stored off the ground                         ,,
 Inspect for leaks and spills                                   \,•"


               Vehicle Storage Area
 Ensure all fluids have been removed from                       I_.
vehicles
 Ensure all batteries have been removed from
vehicles
                                                                        .•··
 Ensure hoods are kept down                                  c,,-

 Ensure vehicles are stored in rows or in an
appropriately organized manner
     Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
down a drain or into septic system
Ensure all equipment is In good working
                                                             1,//
order
If solvent sink is used, ensure regular
servicing and proper disposal of spent solvent
          Core and Scrap Storage Area
Ensure cores are completely drained before
                                                            V
storage
Ensure cores are stored under cover over an                             /

impervious surface or out of the rain                        1/
                  Crushing area
Ensure all fluids are batteries have been                               '
                                                             j/
removed from vehicles before crushing                                    .,
Inspect crusher for leaks and spills                         v···
        Storm Water Sampling Location                                       ,.
Ensure sample point is accessible and clean                  v···-
Ensure nothing Is stored around the sample                          /

point                                                       I/
Look at the vegetation for signs of oil                      ,,/
            Equipment Maintenance
Evaluate each piece of equipment for leaks                  v'
Repair and hydraulic lines, hoses, cylinders,
etc, promptly
                                             Environmental Inspection Checklist

Date:_,_._·_··_,_-~_-__!_·
                         _•_-c,_•_ _ _ _ _   Inspected by:_.._. _._,,_..__/_l_\_r:___,.••~;,:_,-_{~_-___ Title: __f_'·_f_"_-._:,_?_-_-:_..._,{_)_,·_•'._,··_,._._ __

                   Area/Action                                     What did you see?                                        What did you do about it?
                   Holding Area
Look at each vehicle for Leaks, Clutter, Hoods                                              /
                                                                                 i..-//C
down
                Dismantling Area
Check for Stains, spills, leaks of fluids                                ;/
Is dismantling being done in the designated
                                                                         ,,.,//
area
Drain gasoline when Vehicles Come in so it
                                                                         L,·//
can be reused or recycled
               Fluid Storage Area
Check all fluid containers for leaks, levels,
labeling, and housekeeping.
           Inside Parts Storage Area
Ensure drip pans are in place if necessary                                             /

Inspect for leaks and spills                                                       ,/'
                                                                                 i,,F,.,,.•"
Ensure parts are stored on racks or pallets
           Outside parts storage area
Ensure parts are completely drained before                                '\,,//,'
storage
                                                                                      ~

Ensure parts are stored off the ground                                   i,,.,..
                                                                                           ·'

Inspect for leaks and spills                                                 /
                                                                         '
              Ve hlcle Storage Area
Ensure all fluids have been removed from                                 !,-//
vehicles
Ensure all batteries have been removed from                           ,.,//
vehicles
Ensure hoods are kept down                                          ·v·_,,..
Ensure vehicles are stored in rows or in an                          /,/,,/·
appropriately organized manner
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,                           ,//,,..
down a drain or into septic system
Ensure all equipment is in good working                                  /.,//
order
If solvent sink is used, ensure regular
servicing and proper disposal of spent solvent                       ;/

          Core and Scrap Storage Area
Ensure cores are completely drained before                                            ,,
                                                                     , ;·'
storage                                                              V

Ensure cores are stored under cover over an                                  ,/
                                                                    1/
impervious surface or out of the rain
                   Crushing area
                                                                                           ✓

Ensure all fluids are batteries have been
                                                                     1~,/
removed from vehicles before crushing                                              ,
                                                                         ,..,
Inspect crusher for leaks and spills                                •·
        Storm Water Sampling Location
                                                                                 ,.
Ensure sample point is accessible and clean                          !,.'...

Ensure nothing is stored around the sample
point                                                                /,/
                                                                     ,.,,,,,r"
 Look at the vegetation for signs of oil
            Equipment Maintenance
 Evaluate each piece of equipment for leaks                               .,
 Repair and hydraulic lines, hoses, cylinders,                           ,//
 etc. promptly
                                             Environmental Inspection Checklist

Date:
              ,·
         >·er)·
         ;'
                       (61 2.c:/7
             J           I

                   Area/Action                          What did you see?                    What did you do about it?
                   Holding Area
                                                                                        ,"
Look at each vehicle for Leaks, Clutter, Hoods
                                                                    v/
down
                Dismantling Area
Check for Stains, spills, leaks of fluids                     1/
                                                                                    /
Is dismantling being done in the designated                                 /
                                                                V
area
                                                                                        ,.
Drain gasoline when Vehicles Come in so it                          /
                                                                            /

can be reused or recycled                                   v·
               Fluid Storage Area
Check all fluid containers for leaks, levels,               ///
labeling, and housekeeping,
           Inside Parts Storage Area                                            .
Ensure drip pans are in place if necessary              (,/

Inspect for leaks and spills                             ,.,.,,,.
                                                            /
Ensure parts are stored on racks or pallets               ,/

           Outside parts storage area
Ensure parts are completely drained before
storage
Ensure parts are stored off the ground                  v_.,.,
inspect for leaks and spills                                 //
              Vehicle Storage Area
Ensure all fluids have been removed from
vehicles
Ensure all batteries have been removed from                                 /
                                                                    /
                                                         ./
vehicles
Ensure hoods are kept down                                  ,/
Ensure vehicles are stored in rows or in an                         /
                                                            v'
appropriately organized manner
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,                          ,//
down a drain or into septic system
Ensure all equipment is in good working                     .,,,./
order
If solvent sink is used, ensure regular
                                                         I/
servicing and proper disposal of spent solvent
          Core and Scrap Storage Area
Ensure cores are completely drained before                      ,,/
storage                                                 V

Ensure cores are stored under cover over an
impervious surface or out of the rain
                                                            ,.,/
                   Crushing area
Ensure all fluids are batteries have been                               /
                                                         V
removed from vehicles before crushing                                   /
                                                                /
inspect crusher for leaks and spills                     V


        Storm Water Sampling Location
 Ensure sample point is accessible and clean                ,../
 Ensure nothing is stored around the sample                             /
                                                            ,., ;
 point                                                                      ;

 Look at the vegetation for signs of oil                    ✓
            Equipment Maintenance
 Evaluate each piece of equipment for leaks                     l,/
 Repair and hydraulic lines, hoses, cylinders,               ,/_.·
 etc. promptly
                                                    Envir.onmental Inspection Checklist
                                                                       .•.. -~
Date: ~;_'·,_?__-_·_,_[_,__/_   _,___ _ _ _ _ _ _   Inspected by:          ,)/'1/'""'-




                   Area/Action                                      What did you see?            What did you do about it?
                   Holding Area
Look at each vehicle for Leaks, Clutter, Hoods
down
                Dismantling Area
Check for Stains, spills, leaks of fluids
                                                                                  '
Is dismantling being done in the designated
                                                                                     !i
area
Drain gasoline when Vehicles Come In so it
                                                                                1..,.,.-
can be reused or recycled
               Fluid Storage Area
                                                                                           /
Check all fluid containers for leaks, levels,
labeling, and housekeeping.
           Inside Parts Storage Area
Ensure drip pans are in place if necessary                                      ,.         ,,

Inspect for leaks and spills                                                    ,,,,·

Ensure parts are stored on racks or pallets                                     1,
          Outside parts storage area
Ensure parts are completely drained before                                                 .··
storage
Ensure parts are stored off the ground                                      v·

Inspect for leaks and spills                                               v·
              Vehicle Storage Area
Ensure all fluids have been removed from
                                                                           v'
vehicles
Ensure all batteries have been removed from
vehicles                                                                   <·

Ensure hoods are kept down                                                  ,/
Ensure vehicles are stored in rows or in an
                                                                           V
appropriately organized manner
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,
down a drain or into septic system                                   '
Ensure all equipment is in good working
order                                                                V

If solvent sink is used, ensure regular
                                                                     V
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area
Ensure cores are completely drained before                           V
storage
Ensure cores are stored under cover over an
                                                                     V
impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been
                                                                     !i
removed from vehicles before crushing
Inspect crusher for leaks and spills                                 1/
        Storm Water Sampling Location
Ensure sample point is accessible and clean                          i.•

Ensure nothing is stored around the sample
                                                                    V
point
Look at the vegetation for signs ofoil                                !,

            Equipment Maintenance
 Evaluate each piece of equipment for leaks                          l•
 Repair and hydraulic lines, hoses, cylinders,
etc. promptly                                                         I.
                                             Environmental Inspection Checklist

                f ~- - - - - - - Inspected by:
          3 ·- h -
Date: ~ - - - - -                                          7f:,v-- 1fof'I#-
                                                                     l!L 7

                   Area/Action                             What did you see?      What did you do about It?
                   Holding Area
Look at each vehicle for Leaks, Clutter, Hoods
down
                                                           ,/
                Dismantling Area
Check for Stains, spills, leaks of fluids                  ./
Is dismantling being done in the designated
area                                                       /
                                                           ✓
Drain gasoline when Vehicles Come in so it
can be reused or recycled
               Fluid Storage Area
Check all fluid containers for leaks, levels,
labeling, and housekeeping.                                ✓
           Inside Parts Storage Area
Ensure drip pans are in place if necessary                 ✓
Inspect for leaks and spills                               ✓
Ensure parts are stored on racks or pallets                     /
          Outside parts storage area
Ensure parts are completely drained before
storage
                                                           ,,,/      r

Ensure parts are stored off the ground                      ,/
Inspect for leaks and spills                               ✓
              Vehicle Storage Area
Ensure all fluids have been removed from
vehicles
                                                           /'
Ensure all batteries have been removed from
vehicles
                                                           ,//
Ensure hoods are kept down                                 /
Ensure vehicles are stored in rows or in an
appropriately organized manner
                                                           ,,/
    Parts Washing/Pressure Washing Area
                                                                     /
Ensure no wash water runs onto the ground,
down a drain or into septic system                         ✓
Ensure all equipment is in good working
order
                                                       v/
If solvent sink is used, ensure regular                ✓/
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area                                ,.
Ensure cores are completely drained before
storage
                                                       ✓
Ensure cores are stored under cover over an
impervious surface or out of the rain
                                                       /
                  Crushing area
Ensure all fluids are batteries have been             ✓
removed from vehicles before crushing
Inspect crusher for leaks and spills                   ./
        Storm Water Sampling Location
Ensure sample point is accessible and clean            /
Ensure nothing is stored around the sample
point                                                  /
Look at the vegetation for signs of oil                ./
            Equipment Maintenance                           /

Evaluate each piece of equipment for leaks             ✓

Repair and hydraulic lines, hoses, cylinders,
etc. promptly
                                                       /
                                             Environmental Inspection Checklist




                   Area/Action                                        What did you see?                  What did you do about It?
                   Holding Area
Look at each vehicle for Leaks, Clutter, Hoods
                                                                                       ✓/'
down
                Dismantling Area
Check for Stains, spills, leaks of fluids                                          ,, /
Is dismantling being done in the designated                                        't,,.,.,1•'

area
Drain gasoline when Vehicles Come In so it
can be reused or recycled
               Fluid Storage Area
Check all fluid containers for leaks, levels,
                                                                                   j                 '
labeling, and housekeeping.
           Inside Parts Storage Area
Ensure drip pans are In place if necessary
                                                    ,..             ,,. ✓

                                                                     v"
                                                                          ___                    .



Inspect for leaks and spills                                         ..        /
Ensure parts are stored on racks or pallets                           •• ;!'




           Outside parts storage area
Ensure parts are completely drained before
                                                                   ',/
storage
                                                                          ,'
Ensure parts are stored off the ground                             ., ;
                                                                     /
Inspect for leaks and spills
              Vehicle Storage Area
Ensure all fluids have been removed from
vehicles
Ensure all batteries have been removed from
                                                              •/
vehicles
Ensure hoods are kept down
Ensure vehicles are stored in rows or in an
appropriately organized manner
    Parts Washing/Pressure Washing Area
Ensure no wash water runs onto the ground,                    ._/
down a drain or into septic system
Ensure all equipment is in good working
order
If solvent sink is used, e.nsure regular                  .,.,,/
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area
Ensure cores are completely drained before
storage
Ensure cores are stored under cover over an
Impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been
                                                          .,
removed from vehicles before crushing
Inspect crusher for leaks and spills                      -
        Storm Water Sampling Location
Ensure sample point is accessible and clean
Ensure nothing is stored around the sample
point
Look at the vegetation for signs of oil                   V
                                                               /



            Equipment Maintenance
Evaluate each piece of equipment for leaks                ;,.//

Repair and hydraulic lines, hoses, cylinders,
etc. promptly
                                             Environmental Inspection Checklist

Date:.~.·. ,.:1 .f   j/,ti:::iS:             Inspected by:                     ·-::5; ,s-.              . -r-t, 't -~                         Title:   l\ A-                    n(\,       A

            '          I
                                                                                                                                                                                f\lJV
                   Area/Action                                                 What did you see?                                                        What did you do about it?              ~



                   Holding Area                                                                                                                                     -               n11/VV
Look at each vehicle for Leaks, Clutter, Hoods
down                                             r
                                                 ,-~?     .,J'"      i;;,i(                    A. ry Al;-) •r.l                  1........                        fmf blJ:V: / 1 /
                Dismantling Area                                                                                                                                 If-'          (hf   I/ /J
                                                 '                                                                                                                         rJ~             cA J,.
                                                                                                                                                                                n.
Check for Stains, spills, leaks of fluids        1 ./"l           _S,jj"'(.",i~,;i,                 1-_/         l, I'   ;· ·L                                                        I\
                                                                     ¥
Is dismantling being done in the designated
area
                                                 ::·          I
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                                                                                                                                                                                      \1
                                                                                                                                                                                                    ~
Drain gasoline when Vehicles Come in so it              ,.'
can be reused or recycled                        ~·- .J-· ,' 1---
                                                                                                                                                                           p


               Fluid Storage Area
Check all fluid containers for leaks, levels,
                                                                                ,.,.
labeling, and housekeeping.
           Inside Parts Storage Area
Ensure drip pans are in place if necessary                                         \,r'


Inspect for leaks and spills
Ensure parts are stored on racks or pallets                                        ..~-~·
          Outside parts storage area
Ensure parts are completely drained before                                         ./--'"
storage
Ensure parts are stored off the ground                                             ...
Inspect for leaks and spills                                                       .........
              Vehicle Storage Area
Ensure all fluids have been removed from
vehicles
Ensure all batteries have been removed from                                      ,,/
vehicles
Ensure hoods are kept down                                                      1/
Ensure vehicles are stored in rows or in an
appropriately organized manner
    Parts Washing/Pressure Washing Area                                                                                                                                         i
Ensure no wash water runs onto the ground,
down a drain or into septic system
Ensure all equipment is in good working
order
If solvent sink is used, ensure regular
                                                                               <•
servicing and proper disposal of spent solvent
         Core and Scrap Storage Area
Ensure cores are completely drained before
storage
Ensure cores are stored under cover over an
                                                                               V
impervious surface or out of the rain
                  Crushing area
Ensure all fluids are batteries have been                                      ,..,/'
removed from vehicles before crushing                                                     .
Inspect crusher for leaks and spills                                       v/

        Storm Water Sampling location
Ensure sample point is accessible and clean                                     ,,./
Ensure nothing Is stored around the sample
point
Look at the vegetation for signs of oil                                            v'


            Equipment Maintenance
                                                                                          /
Evaluate each piece of equipment for leaks
Repair and hydraulic lines, hoses, cylinders,
etc. promptly                                                                   I.,,"/
                                                    Environmental Inspection Checklist

  Date: _
            1
            _·_ _ _ _ _,_S_·______              Inspected by: ;y:',,,                                                            --;•"?1,·, ·.i,:.,
                     Area/ Action                                                         What did you see?                                                  What did you do about it?
                     Holding Area
   Look at each vehicle for Leaks, Clutter, Hoods
                                                                                                                                   f ~:( Jyf·
   down
                  Dismantling Area
                                                      ~:~--#••(,; : \.".,. l;· /
                                                                        .J
                                                                                   ,I                             · tr:: ,. " ..                ll;1.. ,/"
                                                                                                                                                               .
   Check for Stains, spills, leaks of fluids                 !.-)   ">t..    ;t    ~Jo                     1t,,              c t( iit           ,,.+
   Is dismantling being done in the designated
   area
   Drain gasoline when Vehicles Come in so it
                                                                                                          ,/··"'"/
   can be reused or recycled
                  Fluid Storage Area
  Check all fluid containers for leaks, levels,                                                                 ... /
   labeling, and housekeeping.                                                                  l,/

              Inside Parts Storage Area
   Ensure drip pans are in place if necessary                                                   i.-··~•''
                                                                                                                  ·"
   Inspect for leaks and spills                                                                     ,./
   Ensure parts are stored on racks or pallets                                                       v··"·
             Outside parts storage area
   Ensure parts are completely drained before
  storage                                                                                            l-····
  Ensure parts are stored off the ground                                                        \..,/
   Inspect for leaks and spills                                                                ,/··
                Vehicle Storage Area
  Ensure all fluids have been removed from                                                                 ..         ··•·
  vehicles
   Ensure all batteries have been removed from
                                                                                                    ,·.•
  vehicles
                                                                                                      ,,        ...
   Ensure hoods are kept down
  Ensure vehicles are stored in rows or in an
  appropriately organized manner
       Parts Washing/Pressure Washing Area
                                                                                                                             .
  Ensure no wash water runs onto the ground,
  down a drain or into septic system
  Ensure all equipment is in good working                                                             ,..• •'
  order
  If solvent sink is used, ensure regular
  servicing and proper disposal of spent solvent
            Core and Scrap Storage Area
  Ensure cores are completely drained before
  storage
  Ensure cores are stored under cover over an
  impervious surface or out of the rain                                                       i,/
                    Crushing area
  Ensure all fluids are batteries have been
                                                                                                     ,'

  removed from vehicles before crushing                                                       /,/

  Inspect crusher for leaks and spills                                                    /'
          Storm Water Sampling Location
                                                                                               .•
  Ensure sample point is accessible and clean                                             ;


  Ensure nothing is stored around the sample
                                                                                          y'
  point
-                                                                                        ,..
  Look at the vegetation for signs of oil
              Equipment Maintenance
  Evaluate each piece of equipment for leaks                                         ,·
  Repair and hydraulic lines, hoses, cylinders,                                                     /'
                                                                                    y•'·
  etc. promptly
6Ri                                                 Environmental Inspection Checklist

      Date: _ _ _ _ _ _ _ _ _ _ _ Inspected by:_·_,_~_;________ Title:--~---''-'----'''-'._
                                                                                          ..,_•._ __


                         Area/ Action                          What did you see?              What did you do about It?
                         Holding Area
       Look at each vehicle for Leaks, Clutter, Hoods
       down                                                             ''
                       Dismantling Area
      Check for Stains, spills, leaks of fluids                         .,.
      Is dismantling being done In the designated
      area                                                         ,·

      Drain gasoline when Vehicles Come in so it
      can be reused or recycled                                    '
                      Fluid Storage Area
      Check all fluid containers for leaks, levels,                     ,.,
      labeling, and housekeeping,
                  Inside Parts Storage Area
      Ensure drip pans are in place if necessary                    .
      Inspect for leaks and spills                                                ·''
                                                                    '.
      Ensure parts are stored on racks or pallets                      ,.
                 Outside parts storage area
                                                                                        ,,.
      Ensure parts are completely drained before
      storage                                                           \1.,-c




      Ensure parts are stored off the ground
      Inspect for leaks and spills
                    Vehicle Storage Area
      Ensure all fluids have been removed from
                                                                        V
      vehicles
      Ensure all batteries have been removed from
      vehicles
      Ensure hoods are kept down
      Ensure vehicles are stored in rows or in an
      appropriately organized manner
          Parts Washing/Pressure Washing Area
      Ensure no wash water runs onto the ground,
                                                                        v·
      down a drain or into septic system
      Ensure all equipment is in good working
      order
                                                                         -·
      If solvent sink Is used, ensure regular
      servicing and proper disposal of spent solvent                '
               Core and Scrap Storage Area
      Ensure cores are completely drained before
      storage                                                          ,.
      Ensure cores are stored under cover over an
      Impervious surface or out of the rain
                        Crushing area
      Ensure all fluids are batteries have been
                                                                   ,.
      removed from vehicles before crushing
      Inspect crusher for leaks and spills
              Storm Water Sampling Location
      Ensure sample point Is accessible and clean
                                                               '
      Ensure nothing Is stored around the sample
      point                                                                  .·
      Look at the vegetation for signs of oil
                  Equipment Maintenance                                           c·

      Evaluate each piece of equipment for leaks               \
      Repair and hydraulic lines, hoses, cylinders,
      etc. promptly
